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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA


INTERNATIONAL BROTHERHOOD OF
ELECTRICAL WORKERS LOCAL 98                         Case No. 3:19-cv-3304
PENSION FUND on behalf of itself and all
others similarly situated,                          ANSWER OF DEFENDANTS
                                                    DELOITTE & TOUCHE LLP
                                                    AND DELOITTE LLP TO
                                                    CONSOLIDATED COMPLAINT

              Plaintiffs,

vs.

DELOITTE & TOUCHE LLP;
DELOITTE LLP,

              Defendants.
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       Defendants Deloitte & Touche LLP (“D&T”) and Deloitte LLP (collectively, “Deloitte”),

by their undersigned counsel, hereby answer Plaintiffs’ consolidated complaint (the “Complaint”).

Deloitte categorically denies any allegation that it violated any applicable laws, rules, regulations,

or standards governing its conduct as the independent auditor of SCANA Corporation

(“SCANA”). At all relevant times, D&T’s experienced audit engagement team conducted itself

with integrity and proficiency and in accordance with applicable professional standards when

auditing SCANA. D&T’s audit opinions were the result of carefully planned audits that were

conducted professionally and in good faith. The resulting audit opinions, based on the information

made available to D&T by SCANA and its executives, were entirely truthful at the time they were

made. There is no basis to Plaintiffs’ claim that Deloitte acted in a fraudulent or reckless manner

as would be necessary for Plaintiffs’ to prevail on their claim under Section 10(b).

       This Answer is based on the present knowledge of Deloitte based upon a reasonable

investigation following the Court’s decision on the motion to dismiss. In particular, the Complaint

cites to and quotes from numerous documents, and it is unreasonable for Deloitte to have to

perform a search to determine whether every such document is in its possession, custody, or

control. Deloitte reserves the right to supplement and amend this Answer and reserves the right to

add additional defenses of which it becomes aware through discovery or other investigation.

       The Complaint violates Rule 8(a) of the Federal Rules of Civil Procedure, which requires

that the Complaint set forth “a short and plain statement of the claim,” and Deloitte reserves all

rights in connection therewith.

       All allegations not specifically admitted herein are denied. To the extent a footnote

contains a factual allegation, it is denied. To the extent that headings in the Complaint are not

included in the numbered paragraphs, no response is required. To the extent a response is required,




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Deloitte denies the allegations set forth in the headings. Deloitte does not adopt any of the defined

terms in the Complaint.

       With respect to the introductory and numbered paragraphs of the Complaint, Deloitte

answers as follows:

        Lead Plaintiff, International Brotherhood of Electrical Workers Local 98 Pension Fund
(“IBEW Local 98”), individually and on behalf of a class of similarly situated persons and entities,
bring this federal securities class action against Deloitte & Touche, LLP, and Deloitte LLP
(collectively, “Deloitte” or “Defendants”), on behalf of themselves and a class consisting of all
persons and entities who purchased, or otherwise acquired, the publicly traded securities of
SCANA Corporation (“SCANA” or the “Company”) from February 26, 2016 through December
20, 2017, inclusive (the “Class Period”), and who were damaged thereby. Lead Plaintiff’s and the
Class’s claims arise under Sections 10(b) of the Securities Exchange Act of 1934 (“Exchange
Act”) and Rule l0b-5 promulgated thereunder.
        Lead Plaintiff’s allegations concerning matters other than itself and its own acts are based
upon the investigation conducted by and through its counsel, which included, among other things,
the review and analysis of: (i) public statements made by Deloitte; (ii) transcripts, press releases,
news articles, and other public statements issued by or concerning SCANA and South Carolina
Electric & Gas (“SCE&G,” and together, “SCANA”); (iii) research reports issued by financial
analysts concerning SCANA; (iv) reports and other documents filed publicly by SCANA, including
Deloitte’s audit reports, with the U.S. Securities and Exchange Commission (“SEC”); (v) transcripts
of hearings before SCANA’s regulators and select committees of the South Carolina Senate and
House of Representatives; (vi) documents produced to Lead Plaintiff through Freedom of
Information Act (“FOIA”) requests; (vii) documents publicly available through the South Carolina
Attorney General’s office; (viii) documents publicly available from the Lightsey, et. al. v. South
Carolina Electric & Gas Company, et. al., Case No. 2017-CP-25-0335 litigation; (ix) regulatory
orders and testimony; (x) the complaint filed by the SEC in Securities and Exchange Commission v.
SCANA Corporation, et al., No. 3:20-CV-00882-MGL (D.S.C.) (the “SEC Complaint”), and (xi)
other publicly available information. Lead Plaintiff believes that substantial additional evidentiary
support will exist for the allegations set forth herein, including in Deloitte’s audit papers, after a
reasonable opportunity for discovery.

       ANSWER: The introductory paragraphs above set forth conclusions of law to which no

response is required. To the extent a response is required, Deloitte denies the allegations, except

admits that Plaintiffs have asserted these claims on behalf of a putative class.

I.     INTRODUCTION

        1.      Throughout the Class Period, Deloitte repeatedly violated its professional
responsibilities, failed in its role of gatekeeper and deceived investors about SCANA’s accounting
for, and expected completion of, a multi-billion dollar nuclear energy expansion project of the
Virgil C. Summer Nuclear Station in Fairfield County, South Carolina (the “Nuclear Project”).


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Specifically, Deloitte gave unqualified, “clean” audit reports on SCANA’s financial statements
and internal control over financial reporting, misleading investors into believing that SCANA
would complete the Nuclear Project in time to obtain $1.4 billion in nuclear tax credits. Deloitte
did so despite possessing voluminous evidence that SCANA could not possibly achieve this goal—
evidence so obvious that, as a former SCANA senior engineer testified, “even Ray Charles could
have seen” it. By the time SCANA eventually acknowledged this reality and the true status of the
Nuclear Project was revealed, SCANA’s investors had suffered over a billion dollars in losses.

       ANSWER NO. 1: Deloitte denies the allegations set forth in paragraph 1, except admits

that the Virgil C. Summer Nuclear Station is located in Fairfield County, South Carolina.

         2.     From the very beginning, it was well-understood by SCANA, its investors,
government regulators, and Deloitte that the success of the Nuclear Project—one of the largest and
most expensive construction projects in South Carolina history—depended on it obtaining $1.4
billion in federal production tax credits and being able to raise energy rates on consumers to cover
construction costs. But to qualify for the federal tax credits, SCANA was required to have the
Nuclear Project operational and placed into service by January 1, 2021. And SCANA could only
apply to raise rates after submitting detailed construction schedules, capital costs, projections and
other information to the South Carolina Public Service Commission (“PSC”) to demonstrate that
it was managing the Nuclear Project “prudently” and that the Nuclear Project would be in service
by January 1, 2021.

       ANSWER NO. 2: Deloitte denies the allegations set forth in paragraph 2, except denies

knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

the first sentence of paragraph 2.

       3.      As SCANA’s external auditor for over 70 years, Deloitte was responsible for
understanding SCANA’s business, identifying and responding to risks of material misstatements,
and obtaining sufficient, appropriate audit evidence in response to such risks so that it could
provide a high level of assurance that SCANA’s financial statements—including those portions
discussing the expected completion date of the Nuclear Project and the expectation of nuclear tax
credits—were in accordance with Generally Accepted Accounting Principles (“GAAP”).

       ANSWER NO. 3: Deloitte denies the allegations set forth in paragraph 3, except admits

that D&T was the independent registered public accounting firm for SCANA during the Class

Period and that D&T’s work was governed by, among other things, certain professional standards

and engagement letters, which paragraph 3 incompletely summarizes. Deloitte refers to those

professional standards and engagement letters for their complete contents and affirmatively avers

that Deloitte complied with the applicable standards and contractual terms at all relevant times.


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        4.      SCANA and its partner in the Nuclear Project, Santee Cooper, selected
Westinghouse Electric Company LLC (“Westinghouse” or “WEC”) to be the lead contractor on
the Nuclear Project. Construction finally began in 2013, however, the Nuclear Project immediately
was beset with significant delays and substantial cost overruns. Throughout 2015, it was clear to
both SCANA and Deloitte that the Nuclear Project would not be in service in time for SCANA to
obtain the nuclear tax credits. For example, based on historical date-to-date performance—a key
metric Deloitte was required to review and test in connection with its audits—a SCANA senior
engineer (and later whistleblower) projected in January 2015 that it would take 26.5 years to
complete the Nuclear Project. By February 2015, other internal SCANA documents showed that
at the current rate of progress—another key metric Deloitte was required to review and test in
connection with its audits—only 30% of the project would be completed by 2020. Furthermore,
an internal memorandum circulated on April 28, 2015, made clear that Westinghouse (i) “has no
credibility for developing a realistic schedule”; (ii) that SCANA has “no confidence in
[Westinghouse’s] ability to complete Unit 3 by the end of 2020 and suspects that production tax
credits are in jeopardy for that unit”; and (iii) “[t]he continued failure to meet schedule (Unit 2
now at least 39 months late, and Unit 3 at least 18 months late . . .) has severely impacted credibility
and has placed ongoing regulatory and financial support in jeopardy.” 1

        ANSWER NO. 4: Deloitte denies the allegations set forth in paragraph 4, except denies

knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

the second and final sentences of paragraph 4, and admits the allegations set forth in the first

sentence of paragraph 4.

        5.      The Nuclear Project’s construction issues and delays were so severe that SCANA
hired Bechtel Corporation (“Bechtel”), one of the world’s most respected engineering,
construction and project management companies, to conduct an analysis of the Nuclear Project.
By October 2015, Bechtel’s initial findings demonstrated that SCANA’s forecasts and schedules
for the Nuclear Project were “unrealistic,” that there was insufficient and inadequate oversight
over all aspects of the Nuclear Project, and that SCANA’s Unit 2 would not be complete until
“1826 months” after the current June 2019 date—or at the earliest, December 2020—and that Unit
3 would not be complete until “24-32 months” after the current June 2020 date—or at the earliest,
June 2022. These revised completion dates—based on a best-case scenario assuming
implementation of Bechtel’s substantial recommendations—provided SCANA with just one
month to spare before the deadline to obtain tax credits expired for Unit 2, and Unit 3 would not
be in service in time to qualify for the tax credits at all.

        ANSWER NO. 5: Deloitte denies knowledge or information sufficient to form a belief as

to the truth of the allegations set forth in paragraph 5.


1
  All internal SCANA documents cited to or quoted from herein were either obtained pursuant to FOIA requests to
Santee Cooper, the South Carolina Attorney General’s Office and the South Carolina Office of Regulatory Staff, or
from exhibits and depositions transcripts publicly available from the Lightsey litigation.


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        6.       On November 9, 2015, Bechtel then issued its formal assessment report (the “First
Bechtel Report”), which concluded that “the current schedule is at risk” because “installation rates,
productivity, and staffing levels all point to project completion later than the current forecast.”
Importantly, Bechtel concluded that the current schedule would be delayed up to three years, with
the second reactor likely not coming on-line until June 2023, and June 2022 at the earliest—long
after the critical deadline for the federal tax credits. Moreover, Bechtel advised that the Nuclear
Project’s monthly construction progress rate—which was averaging only 0.5% at the time—had
to increase by six-hundred fold to 3%.

           ANSWER NO. 6: Deloitte denies the allegations set forth in paragraph 6, except admits

that Bechtel produced a report in or around November 2015, and refers to that report for its

complete contents. Deloitte affirmatively avers that it did not receive the First Bechtel Report until

after SCANA announced its abandonment of the Nuclear Project.

        7.      Deloitte was well-aware of Bechtel’s findings and its auditors reviewed and
analyzed its Reports as they were made. As SCANA’s former Chief Financial Officer, Jimmy
Addison, confirmed in a sworn deposition, at the time of the Bechtel assessment, Sean Bird,
Deloitte’s audit engagement partner for the Nuclear Project, had told Addison that Deloitte had
“gone back with their local team and their national team and reviewed all the disclosures at the
point in time that they were made, and read [the Bechtel report]” 2 and claimed to “not see any gaps
in the disclosure at the time they were made.” Internal emails similarly make clear that Deloitte
was aware of Bechtel’s work at least as early as September 2015.

           ANSWER NO. 7: Deloitte denies the allegations set forth in paragraph 7, except admits

that Addison has provided deposition testimony, and refers to that testimony for its contents.

        8.      Though Deloitte knew by at least November 2015, based on the Bechtel Report and
other internal documents, as well as the overall progress of construction, that the Nuclear Project
could not possibly be in service by 2021, Deloitte nonetheless misleadingly told investors in
violation of Public Company Accounting Oversight Board standards (“PCAOB Standards”) that
SCANA’s financial statements confirming that the Nuclear Project was on schedule were
“present[ed] fairly, in all material respects” and in accordance with GAAP, and that SCANA’s
related internal control over financial reporting was effective. For example, in the financial
statements to SCANA’s 2015 Form 10-K filed on February 26, 2016, SCANA falsely stated that
“[b]ased on the guaranteed substantial completion dates,” the Nuclear Project was “expected to be
operational and to qualify for the nuclear production tax credits.” SCANA’s financial statements
also misleadingly stated that of the total estimated gross construction costs of the Nuclear Project
of approximately $7.6 billion, SCANA’s “investment in the New Units totaled $3.6 billion, for
which the financing costs on $3.2 billion have been reflected in rates under the BLRA.”



2
    Internal quotations are omitted, and emphases added, unless stated otherwise.


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        ANSWER NO. 8: Deloitte denies the allegations set forth in paragraph 8.

       9.      Throughout 2016 and early 2017, Deloitte continued to receive documents,
including audit evidence required to be reviewed by Deloitte, that further warned and raised
substantial doubts regarding the feasibility of the Nuclear Project and SCANA’s ability to place
the Nuclear Project in service in time to qualify for the federal tax credits.

        ANSWER NO. 9: Deloitte denies the allegations set forth in paragraph 9.

       10.     For example, a March 3, 2016 memorandum circulated in advance of a SCANA
Board of Directors meeting explained that “schedule adherence [was] unrealistic” and the project
management failures “do not support construction need dates.” Similarly, Monthly Progress
Reports showed that the Nuclear Project’s monthly progress rate never improved significantly
from the 0.5% rate observed by Bechtel in 2015; instead it remained, on average, at only 0.7% in
2016 and 2017—less than one-fourth the 3% rate that Bechtel stated was necessary for timely
completion. A July 26, 2016 Board of Director’s meeting presentation similarly reported
substantial problems in “Five Project Focus Areas,” including that: “The majority of project
milestones are not met on their scheduled dates. The percentage of schedule activities completed
on time is well below the goal and does not allow for a reliable Integrated Project Schedule.”

        ANSWER NO. 10: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 10.

        11.     Despite this continuing, mounting evidence, and the fact that the available
information also contradicted assertions made by SCANA to the PSC—thereby heightening the
risk that the capitalized costs associated with the Nuclear Project would not be fully recoverable
and/or previously approved electric rate increases could subject the Company to related refunds –
Deloitte permitted SCANA to represent in its quarterly, interim financial statements on Forms 10Q
that the Nuclear Project, at an estimated total gross construction cost of no more than $7.7 billion,
would be placed into service prior to 2021, and would qualify for nuclear tax credits of “as much
as approximately $1.4 billion,” in violation of PCAOB Standards and without either withdrawing
as SCANA’s auditor or notifying the SEC.

        ANSWER NO. 11: Deloitte denies the allegations set forth in paragraph 11.

        12.      It also again issued another “clean” audit report on the Company’s 2016 financial
statements and internal control over financial reporting in violation of PCAOB Standards in
connection with SCANA’s 2016 Form 10-K, filed with the SEC on February 24, 2017, despite the
fact that the financial statements misleadingly failed to acknowledge that placement of the Nuclear
Project into service prior to 2021 was not just “substantially uncertain,” but in fact, highly unlikely.

        ANSWER NO. 12: Deloitte denies the allegations set forth in paragraph 12.

       13.    As such, and unbeknownst to the investing public, Deloitte’s clean audit reports
lacked any reasonable basis. Had it not been for Deloitte’s imprimatur on SCANA’s materially



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false and misleading financial statements, Lead Plaintiff and the Class would not have purchased
their SCANA shares, and certainly not at the prices they paid.

       ANSWER NO. 13: Deloitte denies the allegations set forth in paragraph 13.

        14.     Ultimately, the truth about the Nuclear Project and the risks of non-completion in
time to obtain the nuclear tax credits began to be revealed in a series of partial disclosures
beginning in late 2016. On December 26, 2016, Westinghouse’s parent, Toshiba, announced an
estimated impairment of “several billion dollars” due to “cost overruns and missed deadlines” on
projects, including the Nuclear Project. On February 14, 2017, Toshiba announced the possibility
that it would sell all or a part of its stake in Westinghouse and take a $6.3 billion write-down
related to the Nuclear Project, further calling into question the viability of the Nuclear Project. In
March 2017, news regarding Westinghouse’s bankruptcy began to leak, and days later
Westinghouse filed for Chapter 11 bankruptcy. Then, on July 31, 2017, SCANA issued a press
release announcing that it was abandoning the Nuclear Project. Construction of the Nuclear Project
was only approximately one-third complete at the time. It soon became clear that the abandonment
was not the result of the Westinghouse bankruptcy or new construction issues, but rather the
manifestation of issues that SCANA and Deloitte had known about—but deliberately or recklessly
concealed—for many years.

       ANSWER NO. 14: Deloitte denies knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 14, except admits the allegations set forth in the

second, third, and fifth sentences of paragraph 14.

         15.    The fall-out from SCANA’s abandonment of the Nuclear Project was severe and is
still ongoing more than three years later. In August 2017, special committees of the South Carolina
General Assembly began conducting public hearings regarding the decision to abandon the
Nuclear Project. In September 2017, SCANA was served with a subpoena from the United States
Attorney’s Office for the District of South Carolina, and South Carolina’s Attorney General’s
Office and Speaker of the House of Representatives requested that the South Carolina Law
Enforcement Division conduct a criminal investigation into the handling of the Nuclear Project by
SCANA. One month later, on October 16, 2017, the SEC subpoenaed SCANA for information
regarding the Nuclear Project, including Deloitte’s audit work. Then, on February 27, 2020, the
SEC filed a damning 416 paragraph complaint against SCANA and two of its senior officers. The
SEC Complaint makes clear that SCANA’s Class Period statements regarding the status and
ultimate failure of the $9 billion Nuclear Project violated the securities laws, and that numerous
reports and documents were available to any reasonably diligent auditor demonstrating that
SCANA’s financial statements were not in accordance with GAAP, despite Deloitte’s “clean”
audit reports to the contrary. While the SEC has tentatively settled its claims against SCANA for
a $25 million penalty and $112.5 million in disgorgement, both civil and criminal investigations
into various parties connected to the Nuclear Project are still ongoing, including an FBI
investigation into alleged criminal wrongdoing. Notably, it was only the result of these regulatory
investigations and the litigation that followed that Deloitte’s involvement in the fraud was
revealed.



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        ANSWER NO. 15: Deloitte denies the allegations set forth in paragraph 15, except denies

knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

the first, second, and sixth sentences of paragraph 15, and admits that various regulators have

subpoenaed SCANA and that on or about October 16, 2017, the SEC issued a subpoena to SCANA

and that on or around February 27, 2020, the SEC filed a complaint against SCANA and two

individuals.

        16.    In total, SCANA’s stock price declined from a Class Period high of $76.12 per
share on July 6, 2016, to $37.39 per share, a decline of more than 50%, as the news about the fraud
and its risks materialized, causing substantial losses to investors.

        ANSWER NO. 16: Deloitte denies the allegations set forth in paragraph 16, except admits

that SCANA’s stock price declined from $76.12 per share on July 6, 2016.

II.     JURISDICTION AND VENUE

      17.     This Court has jurisdiction over the subject matter of this action under § 27 of the
Exchange Act, 15 U.S.C. § 78aa and 28 U.S.C. §§ 1331 and 1337. The claims asserted herein arise
under §§ 10(b) of the Exchange Act, 15 U.S.C. §§ 78j(b), and the rules and regulations
promulgated thereunder, including SEC Rule 10b-5 and 17 C.F.R. § 240.10b-5.

        ANSWER NO. 17: Paragraph 17 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

17, except admits that Plaintiffs purport to assert claims under and pursuant to Section 10(b) of the

Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder by the SEC [17 C.F.R.

§ 240.10b-5].

        18.     Venue is proper in this District pursuant to § 27 of the Exchange Act, 15 U.S.C. §
78aa, and 28 U.S.C. §§ 1391(b), (c), and (d). Many of the acts and omissions that constitute the
alleged violations of law, including the dissemination to the public of untrue statements of material
facts, occurred in this District.

        ANSWER NO. 18: Paragraph 18 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies knowledge or information sufficient

to form a belief as to the truth of the allegations set forth in paragraph 18.


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      19.    In connection with the acts and conduct alleged in this Consolidated Complaint,
Defendant Deloitte, directly or indirectly, used the means and instrumentalities of interstate
commerce, including, but not limited to, the United States mail, interstate telephone
communications, and the facilities of national securities markets.

         ANSWER NO. 19: Deloitte denies the allegations set forth in paragraph 19.

III.     THE PARTIES

         A.     LEAD PLAINTIFF

         20.   Lead Plaintiff International Brotherhood of Electrical Workers Local 98 is a multi-
employer defined benefit retirement plan for approximately 5,000 employees. As set forth in its
updated certification attached hereto as Exhibit A, IBEW 98 purchased SCANA securities during
the Class Period and was damaged as a result of Defendants’ wrongdoing as alleged in this
Complaint. On February 18, 2020, this Court appointed IBEW 98 as the Lead Plaintiff for this
litigation.

         ANSWER NO. 20: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 20, except admits the allegations set forth in

the final sentence of paragraph 20.

         B.     DEFENDANTS

                1.      Deloitte & Touche, LLP

         21.   Deloitte & Touche, LLP is the accounting arm of Deloitte, LLP, the United States
affiliate of the “Big 4” international accounting firm Deloitte Touche Tohmatsu Limited,
headquartered in the United Kingdom. Deloitte & Touche, LLP offers audit and enterprise risk
services. As part of its business, the firm provides clients with audit and financial statement
reviews. Other services include financial reporting, regulatory updates, employee benefit audits
and venture capital services. Deloitte & Touche, LLP has more than 90 offices and 95,000
employees in the United States. Deloitte & Touche, LLP is Delaware limited liability partnership
duly organized under the laws of the State of Delaware. It is registered with the PCAOB and Office
of the South Carolina Secretary of State and is authorized to conduct business, and in fact does
business, in South Carolina. The audit engagement partner on the SCANA audit during the Class
Period was Sean Bird.

         ANSWER NO. 21: Deloitte admits that Deloitte & Touche LLP is a Delaware limited

liability partnership, organized and registered as set forth in the sixth and seventh sentences of

paragraph 21. D&T admits that it provides audit, assurance, and risk and financial advisory

services to clients and is registered with the PCAOB to perform audits of US public companies.



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Deloitte admits that Deloitte LLP is the US member firm of Deloitte Touche Tohmatsu Limited, a

UK private company limited by guarantee. Deloitte denies the remaining allegations of paragraph

21.

               2.      Deloitte, LLP

        22.    Deloitte, LLP manages U.S. subsidiaries that offer tax, consulting, and financial
advisory services. Deloitte, LLP is the largest professional service organization in the United States
with U.S. revenue, in 2018, of $19.9 billion. Deloitte, LLP is a Delaware limited liability
partnership duly organized under the laws of the State of Delaware. It is registered with the Office
of the South Carolina Secretary of State and is authorized to conduct business, and in fact does
business, in South Carolina.

        ANSWER NO. 22: Deloitte admits that Deloitte LLP is a Delaware limited liability

partnership organized and registered as alleged in the third and fourth sentences of paragraph 22.

Deloitte admits that Deloitte LLP has several subsidiaries, including Deloitte & Touche LLP; each

of the subsidiaries is a separate and distinct legal entity. The subsidiaries provide an array of

distinct, complementary services including audit & assurance, advisory, tax, and consulting

services. Deloitte admits that Deloitte LLP and its subsidiaries reported revenue for fiscal year

2018 as alleged in the second sentence of paragraph 22. Deloitte denies that Deloitte LLP performs

any audits or provides any professional services to clients.         Deloitte denies the remaining

allegations in paragraph 22 to the extent they are inconsistent with these responses.

        C.     RELEVANT NON-PARTIES

               1.      SCANA

         23.    SCANA is an energy-based holding company engaged, through subsidiaries, in
electric and natural gas utility operations and other energy-related businesses. SCANA’s principal
and wholly owned subsidiary, South Carolina Electric & Gas (“SCE&G”) is a regulated public
utility engaged in the generation, transmission, distribution and sale of electricity primarily in
South Carolina. SCANA’s stock is traded on New York Stock Exchange (“NYSE”) under the
ticker symbol “SCG.” In addition, SCANA Corporation was a regulated monopoly in South
Carolina. In January 2019, SCANA Corporation was acquired by Dominion Energy, Inc.
(“Dominion”), with SCANA Corporation continuing as a surviving corporation and a wholly
owned subsidiary of Dominion.



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        ANSWER NO. 23: Deloitte admits the allegations set forth in paragraph 23, except denies

that SCANA’s stock is traded on the New York Stock Exchange under the ticker symbol “SCG”.

        24.  For purposes of this Complaint, references to SCANA refer to SCANA, SCE&G,
or both companies, unless otherwise noted.

        ANSWER NO. 24: Paragraph 24 contains no factual allegations and requires no response.

                        a.      Kevin Marsh

        25.      Kevin B. Marsh (“Marsh”) joined SCANA in 1984. Marsh became Vice President
and Chief Financial Officer (“CFO”) of SCANA in 1996, President of SCE&G in 2006, and
President and Chief Operating Officer (“COO”) of SCANA in January 2011. In December 2011,
Marsh became Chairman of the SCANA Board of Directors and Chief Executive Officer (“CEO”)
of SCANA. On October 31, 2017, SCANA announced that Marsh was retiring as CEO, effective
January 1, 2018. On December 21, 2017, SCANA announced that Marsh would resign as a
director, effective December 31, 2017. As the CEO of SCANA, Marsh’s responsibilities included
overseeing the nuclear expansion project at V.C. Summer. Prior to joining SCANA, March [sic]
worked at Deloitte in Columbia, South Carolina, for seven years. Marsh was charged with
securities fraud in the SEC Complaint, and has pleaded the Fifth Amendment in civil depositions.

        ANSWER NO. 25: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 25, except admits the allegations set forth in

the second through seventh sentences of paragraph 25, and further admits that Marsh was named

as a defendant in the SEC Complaint, and refers to that Complaint for its complete contents.

                        b.      Jimmy Addison

        26.    Jimmy E. Addison (“Addison”) served as SCANA’s CFO since April 2006 and its
Executive Vice President since January 2012. On October 31, 2017, SCANA announced that
Addison would become SCANA’s CEO and relinquish his role as CFO, effective January 1, 2018.
Prior to joining SCANA, Addison worked at Deloitte for seven years. Addison has pleaded the
Fifth Amendment in civil depositions.

        ANSWER NO. 26: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 26, except admits the allegations set forth in

the first, second, and third sentences of paragraph 26.




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                        c.      Stephen Byrne

        27.     Stephen A. Byrne (“Byrne”) joined SCANA in 1995. In 2009, Byrne became an
Executive Vice President of SCANA, and in 2011, he became President, Generation and
Transmission, and COO of SCE&G. On October 31, 2017, SCANA announced that Byrne was
retiring from all of his positions, effective January 1, 2018. He joined SCE&G in 1995 as the Plant
Manager at the V.C. Summer plant, and he later became the company’s Chief Nuclear Officer.
From 2012 until January 2018, Byrne was an Executive Vice President of SCANA and President
of Generation and Transmissions and Chief Operating Officer of SCE&G. His responsibilities
included overseeing all nuclear operations for SCANA, including construction of the two new
nuclear units at V.C. Summer. Byrne was charged with securities fraud in the SEC Complaint, and
has pleaded the Fifth Amendment in civil depositions.

        ANSWER NO. 27: Deloitte admits the allegations set forth in the first through sixth

sentences of paragraph 27, admits that Byrne was named as a defendant in the SEC Complaint,

and refers to that Complaint for its complete contents, and denies knowledge or information

sufficient to form a belief as to the truth of the allegations set forth in paragraph 27.

                2.      Westinghouse Electric Company LLC

       28.      Westinghouse is a nuclear power company headquartered in Pennsylvania, and
wholly-owned by Toshiba Corporation (“Toshiba”). Westinghouse offers nuclear products and
services to utilities, including the design of nuclear power plants. Westinghouse was the lead
contractor for the Nuclear Project. In May 2008, Westinghouse and Stone & Webster, Inc. (“Stone
& Webster”), a subsidiary of The Shaw Group Inc. (together with Stone & Webster, “The Shaw
Group”), entered into an Engineering, Procurement, and Construction contract with SCANA and
Santee Cooper for the design and construction of the nuclear electric-generating units at the site of
the V.C. Summer Nuclear Station (the “EPC Contract”). On March 29, 2017, Westinghouse filed
for Chapter 11 bankruptcy.

        ANSWER NO. 28: Deloitte admits allegations set forth in paragraph 28.

                3.      Stone & Webster, Inc.

        29.      Stone & Webster is an engineering services company headquartered in
Massachusetts. In 2012, Chicago Bridge & Iron, Inc. (“CB&I”), a provider of technology and
infrastructure for the energy industry, acquired the Stone & Webster nuclear construction business
as part of its $3 billion acquisition of The Shaw Group, which resulted in the formation of a nuclear
power subsidiary named CB&I Stone & Webster. In October 2015, Westinghouse agreed to
purchase CB&I Stone & Webster from CB&I for $229 million in an effort to help contain the costs
of the Nuclear Project by taking over the construction function. Westinghouse’s acquisition of
CB&I Stone & Webster was completed in January 2016.




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        ANSWER NO. 29: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 29.

                4.      Toshiba Corporation

        30.     Toshiba, a Japanese multinational conglomerate, was the parent company of
Westinghouse, the lead contractor for the Nuclear Project. Toshiba purchased Westinghouse in
October 2006. After Westinghouse filed for bankruptcy, Toshiba sold Westinghouse for $2.16
billion to a group of hedge funds led by the Baupost Group in January 2018.

        ANSWER NO. 30: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 30, except admits the allegations set forth in

the first and second sentences of paragraph 30.

        31.    The various parties to the EPC Contract who were the contractors on the Nuclear
Project retained by SCANA and Santee Cooper are sometimes herein referred to, collectively, as
the “Consortium.” Because of the acquisitions described above, the identities of the members of
the Consortium changed over the course of the Class Period.

        ANSWER NO. 31: The first sentence of paragraph 31 contains no factual allegations and

requires no response. Deloitte admits the allegations set forth in the second sentence of paragraph

31.

                5.      South Carolina Public Service Authority

        32.      The South Carolina Public Service Authority (a/k/a Santee Cooper) is a state-owned
public utility that provides electricity to more than two million customers in South Carolina. It co-
owned the Nuclear Project with SCANA.

        ANSWER NO. 32: Deloitte admits the allegations set forth in paragraph 32.

                6.      The South Carolina Public Service Commission

        33.     The South Carolina Public Service Commission (“PSC”) is a publicly elected
executive board that regulates utility rates in South Carolina. The PSC regulated the rates that
SCANA charged its approximately 700,000 electricity customers in the state and also regulated
the fixed assets that were invested in SCANA’s business so that utility service could be provided
to the company’s customers. During the Class Period, the PSC held public hearings on SCANA’s
rate petitions and also maintained a website where many of SCANA’s false and misleading
statements to the regulatory body were accessible by the public and Deloitte.




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        ANSWER NO. 33: Deloitte denies the allegations set forth in paragraph 33, except admits

the allegations set forth in the first and second sentences of paragraph 33, and further admits that

during the Class Period the PSC held public hearings on SCANA’s rate petitions and maintained

a website.

IV.     FACTUAL BACKGROUND AND SUBSTANTIVE ALLEGATIONS OF THE
        FRAUD

        A.     SCANA AND ITS NUCLEAR BUSINESS

        34.     SCANA was an electric and gas utility company engaging primarily in electric and
natural gas utility operations and other energy-related business in South Carolina, North Carolina
and Georgia. Its principal, wholly owned subsidiary was SCE&G. SCE&G generated, transmitted,
distributed, and sold to approximately 700,000 electricity customers and 350,000 natural gas
customers in South Carolina. Its electric service territory extended into 24 counties and its natural
gas service territory encompassed all or part of 35 counties in South Carolina. More than 3.4
million people lived in the counties serviced by SCE&G.

        ANSWER NO. 34: Deloitte admits the allegations set forth in paragraph 34.

        35.    SCE&G was the operator and two-thirds joint owner of the V.C. Summer Site.
Santee Cooper, a South Carolina state-owned electric and water utility, owned the remaining one-
third share. SCE&G and Santee Cooper split the operating costs and energy output of the plant
according to their respective shares. The V.C. Summer Site initially was comprised only of V.C.
Summer Unit 1, a nuclear reactor supplying a net output of 966-megawatts which first began
commercial operation in 1984.

        ANSWER NO. 35: Deloitte admits the allegations set forth in paragraph 35, except denies

knowledge or information sufficient to form a belief as to the truth of the allegations regarding the

net output of the V.C. Summer Unit 1.

        36.    In 2005, SCANA concluded that to meet the future energy demands of its customers
it needed to generate more power. SCANA sought proposals from various nuclear generation
construction firms on the best way to meet the energy needs of its customers over the coming
decades. In December 2005, SCE&G and Santee Cooper notified the U.S. Nuclear Regulatory
Commission (“NRC”)—the federal agency that regulates commercial nuclear power plants and
other uses of nuclear materials in the United States—of their intent to submit a joint application
for a combined construction and operating license to build two new reactors in South Carolina. On
February 10, 2006, SCE&G and Santee Cooper announced the selection of the V.C. Summer Site
as the preferred site for potential new nuclear construction, and plans to build nuclear reactors
using “AP1000,” a new advanced light water reactor designed by Westinghouse. SCE&G and
Santee Cooper aimed to build the new nuclear reactors by the mid-2010s, in time to meet an


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anticipated increase in “base load” electricity demand—the minimum amount of electric power
needed to be supplied.

        ANSWER NO. 36: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 36, except admits the allegations contained

in the third sentence of paragraph 36, and further admits that on or around February 10, 2006,

SCE&G and Santee Cooper announced the selection of the V.C. Summer Site as the preferred site

for a potential new nuclear construction.

        37.    In May 2008, SCE&G and Santee Cooper (together, the “Owners”) agreed to build
two new 1,117-megawatt AP1000 nuclear reactors at the V.C. Summer Site as joint owners (the
“Nuclear Project”). SCE&G had a 55% ownership stake and Santee Cooper had a 45% ownership
stake in the Nuclear Project. The Owners agreed to share operating costs and generation output of
the two additional units (“Unit 2” and “Unit 3”) according to their respective shares. Unit 2 and
Unit 3 would have been among the first new nuclear plants to be built in the U.S. since the 1980s.
The Owners also selected Westinghouse to be the lead contractor on the Nuclear Project and agreed
to hire Westinghouse and Stone & Webster to build two Westinghouse AP1000 nuclear reactors
at the V.C. Summer Site.

        ANSWER NO. 37: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 37, except admits the allegations set forth in

the first, second, third, and final sentences in paragraph 37.

       38.     On May 23, 2008, SCANA signed an Engineering, Procurement, and Construction
agreement with Westinghouse and Stone & Webster. Under the EPC Contract, Westinghouse and
Stone & Webster agreed to design, engineer, and construct the new nuclear units by contractually-
defined Guaranteed Substantial Completion Dates (“GSCD”)—April 1, 2016 for Unit 2 and
January 1, 2019 for Unit 3. From the very beginning, SCANA made clear that the GSCDs had
been set to ensure that that the Nuclear Project would be in service by the deadline for the
production tax credits.

        ANSWER NO. 38: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 38, except admits that the contract exists,

and refers to the contract for its complete and accurate contents.

       39.      The Nuclear Project was the largest capital project undertaken in SCANA’s history.
The total cost for the Nuclear Project was originally estimated at approximately $9.8 billion, and
SCANA’s 55% share of the cost amounted to approximately $5.4 billion. The cost to build the



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Nuclear Project thus amounted to more than two times SCANA’s entire market capitalization at
the time, which amounted to approximately $4.5 billion.3

       ANSWER NO. 39: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 39 and including footnote 3, including the

second sentence of paragraph 39, which does not attribute the estimate to any person or entity.

         40.      Accordingly, it was essential to SCANA and its investors that the Nuclear Project
succeed. On September 12, 2008, a Wachovia analyst remarked that “[m]anagement readily admits
that it is ‘betting the family farm’ on the project.”

       ANSWER NO. 40: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 40.

        41.     Construction of the Nuclear Project was financially feasible for SCANA due to two
pieces of legislation passed in 2005 and 2007, respectively.

       ANSWER NO. 41: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 41.

               1.      The 2005 Energy Policy Act Creates Billions of Dollars of Tax Credits
                       Available for Nuclear Construction Completed by January 2021

        42.      In 2005, Congress passed the Energy Policy Act (the “Energy Policy Act”), which
established a large nuclear production tax credit (the “Nuclear Tax Credits”) to incentivize the
construction of new nuclear facilities in the U.S. 4 26 U.S.C. §45J. The Nuclear Tax Credits were
available if (i) the nuclear reactor design was approved by the NRC after 1993; and (ii) the new
nuclear plant was placed in service before January 1, 2021. In short, as SCANA told investors, in
order to receive the Nuclear Tax Credits, the Nuclear Project had to be operational and producing
power by the end of 2020.

       ANSWER NO. 42: Deloitte admits that the Energy Policy Act was enacted, refers to the

statute for its complete contents, and denies any allegation or characterization inconsistent

therewith.




3
   SCANA’s primary competitors were significantly larger: Duke Energy and Southern Company had market
capitalizations of $19 billion and $25 billion, respectively.
4
  26 U.S.C. §45J.


                                                  16
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        43.    As SCANA repeatedly told investors in its Forms 10-K, if the Nuclear Project were
placed in service prior to the January 1, 2021 deadline, it would qualify for production tax credits
estimated to be “as much as” $85,937,500 annually per unit, or $1.4 billion in total, over 8 years.

        ANSWER NO. 43: Deloitte denies the allegations set forth in paragraph 43, except admits

that SCANA filed Form 10-Ks, and refers to the Form 10-Ks for their complete contents.

        44.    The Nuclear Project’s eligibility for these Nuclear Tax Credits was critical to
SCANA’s ability to finance the project in a cost-effective manner and make the project financially
viable. SCANA, describing the Nuclear Tax Credits as a “strategic imperative,” repeatedly
emphasized that receiving the production tax credits was essential in order to maintain regulatory
and financial support for the nuclear expansion project. Indeed, not only would the Nuclear Tax
Credits mitigate the costs that rate payers would bear for the project, but SCANA’s ability to
receive the Nuclear Tax Credits was also crucial to the PSC, who regulated the electricity rates
that SCANA charged.

        ANSWER NO. 44: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 44, including, but not limited to, the portions

of paragraph 44 that appear to be quotations from an unidentified document.

                2.      The BLRA Allows SCANA to Charge Increased Energy Rates to
                        Recover “Prudent” Nuclear Project Construction Costs

        45.      In 2007, the South Carolina legislature passed the Base Load Review Act, S.C.
Code § 58-33-210 et seq. (2007), (the “BLRA”). The BLRA was designed to allow utility
companies to recoup “prudently incurred” capital for a base load generating power plant during its
construction, rather than waiting until it was built. Prior to the BLRA’s passage, South Carolina
required utilities to complete construction before charging ratepayers for the costs associated with
that construction.

        ANSWER NO. 45: Deloitte admits that the BLRA was enacted, refers to the statute for its

complete contents, and denies any allegation or characterization inconsistent therewith.

        46.    In a November 21, 2017 legal filing before the PSC, South Carolina’s Attorney
General explained that, “as applied to SCE&G ratepayers, [the BLRA] requires a utility and its
investors to be paid ‘up front’ by customers in order to finance the construction of exorbitantly
expensive nuclear power plants.” Similarly, a December 10, 2017 article in The Post and Courier
titled “Power Failure: How utilities across the U.S. changed the rules to make big bets with your
money” explained that the BLRA “shift[ed] risks of construction projects from power companies
to their customers. . . . It was like paying a grocer as it builds its store — with the hope that
groceries might be a little cheaper when it opens.”




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           ANSWER NO. 46: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 46, except admits that the referenced article

was published and the South Carolina Attorney General submitted a brief as intervenor on

November 21, 2017, and refers to the cited documents for their complete contents.

        47.     The BLRA allowed SCANA to apply to the PSC for permission to increase electric
rates charged to customers in order to recoup the cost of capital associated with the Nuclear
Project.5 This “base load review application” required SCANA to submit, among other things, the
construction schedule, the capital costs and schedule for incurring them, the selection of principal
contractors and suppliers, the proposed rate design used in formulating revised rates, and the
revised rates that the utility intends to put in place after the issuance of a base load review order. 6
The BLRA also required SCANA to file quarterly reports, or the “BLRA Quarterly Reports,” that
detailed the progress of construction on the new nuclear units, the costs of the project, and the
scheduled completion dates for the new units.

           ANSWER NO. 47: Deloitte admits that the BLRA was enacted, refers to the statute for its

complete contents, and denies any allegation or characterization inconsistent therewith.

        48.    Under the BLRA, SCANA could be held responsible for imprudently incurred
costs. Pursuant to section 55-33-275(E) of the Base Load Review Act:

                   In cases where a party proves by a preponderance of the evidence
                   that there has been a material and adverse deviation from the
                   approved schedules, estimates, and projections set forth in Section
                   58-33-270(B)(1) and 58-33-270(B)(2), as adjusted by the inflation
                   indices set forth in Section 58-33-270(B)(5), the commission may
                   disallow the additional capital costs that result from the deviation,
                   but only to the extent that the failure by the utility to anticipate
                   or avoid the deviation, or to minimize the resulting expense, was
                   imprudent considering the information available at the time
                   that the utility could have acted to avoid the deviation or
                   minimize its effect.

           ANSWER NO. 48: Deloitte admits that the BLRA was enacted, refers to the statute for its

complete contents, and denies any allegation or characterization inconsistent therewith.

        49.     In addition, under the BLRA, a utility may recover costs from ratepayers for
abandoned nuclear construction projects only “to the extent that the failure by the utility to
anticipate or avoid the allegedly imprudent costs, or to minimize the magnitude of the costs, was

5
    S.C. Code § 58-33-230 (2007).
6
    S.C. Code § 58-33-250 (2007).


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imprudent considering the information available at the time that the utility could have acted to
avoid or minimize the costs.”

       ANSWER NO. 49: Deloitte admits that the BLRA was enacted, refers to the statute for its

complete contents, and denies any allegation or characterization inconsistent therewith.

               3.      SCANA Petitions to Build Two New Nuclear Reactors at the V.C.
                       Summer Site

        50.    On March 31, 2008, SCANA submitted a combined construction and operating
license application to the NRC to build the Nuclear Project.

       ANSWER NO. 50: Deloitte admits the allegations set forth in paragraph 50.

        51.    On May 30, 2008, SCANA submitted to the PSC a “Combined Application For
Certificate of Environmental Compatibility, Public Convenience and Necessity and For a Base
Load Review Order to the PSC” (the “Combined Application”).

       ANSWER NO. 51: Deloitte admits the allegations set forth in paragraph 51.

       52.     The Combined Application detailed SCANA’s request, under the BLRA, for an
increase of 36% in customers’ electric rates during the Nuclear Project’s construction over the next
12 years based on the GSCD for unit 3—two years in advance of the January 1, 2021 deadline for
the Nuclear Tax Credits.

       ANSWER NO. 52: Deloitte admits that SCANA submitted the Combined Application,

refers to the document for its complete contents, and denies any allegation or characterization

inconsistent therewith.

       53.     The PSC held public hearings to consider the Combined Application. During a
September 16, 2008 PSC hearing, Marsh and Byrne represented that SCANA would directly
exercise close oversight over the Nuclear Project.

       ANSWER NO. 53: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 53, except admits that a public hearing was

held on September 16, 2008, and refers to the transcript thereof for its complete contents.

       54.     For example, Marsh testified that:

               SCE&G is assembling a team of engineering and construction
               personnel, with accounting and administrative support, to monitor
               all aspects of the construction process and to ensure that the EPC



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               contract is administered as intended. . . . In all, we estimate more
               than 50 people will be assigned to this task. At the center of this
               structure will be a dedicated group of SCE&G personnel that will
               monitor each aspect of the construction process on a day-to-day
               basis and will report progress, issues and variances to an
               executive steering committee that includes me as SCE&G’s
               president, and a senior executive from Santee Cooper and to the
               SCANA board of directors. This project will be monitored on a
               sustained and continuous basis by all levels of the reporting
               chain . . . .

       ANSWER NO. 54: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 54, except admits that Marsh testified at the

September 16, 2008 PSC hearing, and refers to the transcript of the testimony for its complete

contents.

       55.     In his testimony, Byrne described how this oversight team would “monitor each
aspect of construction, []sit in on the construction meetings Westinghouse/Stone & Webster will
conduct with its personnel and subcontractors, []participate in inspection and testing and
acceptance protocols, and []review and monitor closely issues of cost, budget compliance and
milestone progress.” This team would then also provide monthly progress reports regarding the
Nuclear Project to Byrne and to the Executive Steering Committee (which included Marsh), and
meet in-person with the Executive Steering Committee to provide quarterly status updates.

       ANSWER NO. 55: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 55, except admits that Byrne testified at the

September 16, 2008 PSC hearing, and refers to the transcript of the testimony for its complete

contents.

        56.     On March 2, 2009, the PSC issued No. 2009-104(A), a comprehensive written order
approving the Combined Application and the revised rate schedule. This order specifically noted
that the “definitive substantial completion deadlines for Unit 2 and 3 [were] April 1, 2016 and
January 1, 2019.” The order estimated costs for the Nuclear Project to be $6.3 billion in future
dollars. The order further permitted SCE&G to start charging increased rates, as long as it (a)
remained on track to complete the new units for the approved costs, or (b) obtained the PSC’s
approval for a change in those costs.




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        ANSWER NO. 56: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 56, except admits that the PSC issued an

order on March 2, 2009, and refers to the order for its complete contents.

       57.    The PSC’s order made clear that, given the enormous costs of constructing the
Nuclear Project, it was essential that SCANA “prudently” manage the Nuclear Project.

        ANSWER NO. 57: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 57, except admits that the PSC issued an

order on March 2, 2009, and refers to the order for its complete contents.

        58.   In May 2009—just two months after the PSC’s approval—SCE&G filed its initial
rate adjustment request for an overall electric rate increase of 1.1%, equivalent to an annual
revenue increase of $22,533,000, to help finance its Nuclear Project costs. This increase was on
top of the 36% increase already listed in the initial Combined Application.

        ANSWER NO. 58: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 58, except admits the allegations set forth in

the first sentence of paragraph 58.

        59.     In March 2012, the NRC approved SCANA’s plan to build the two new nuclear
reactors at the V.C. Summer Site.

        ANSWER NO. 59: Deloitte admits the allegations set forth in paragraph 59.

        60.    On May 15, 2012, SCANA petitioned the PSC requesting approval of an updated
construction and capital cost schedules for the Nuclear Project. SCANA’s updated construction
schedule delayed the completion of Unit 2 until March 15, 2017, from April 1, 2016, and
accelerated Unit 3’s completion to May 15, 2018, from January 1, 2019. The PSC approved the
petition on November 15, 2012.

        ANSWER NO. 60: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 60, except admits that SCANA filed a

petition with the PSC on May 15, 2012 and the PSC issued an order on November 15, 2012, and

refers to the petition and order for their complete contents.




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        61.        Ultimately, SCANA successfully petitioned the PSC for nine rate hikes under the
        7
BLRA:
    Year-End                   Action              Amount              Allowed Return on Common
                                                                            Equity (“ROE”)
            2008                    0.4%               $7.8                      11.0%
            2009                    1.1%              $22.5                      11.0%
            2010                    2.3%              $47.3                      11.0%
            2011                    2.4%              $52.8                      11.0%
            2012                    2.3%              $52.1                      11.0%
            2013                    2.9%              $67.2                      11.0%
            2014                    2.8%              $66.2                      11.0%
            2015                    2.8%              $64.5                      11.0%
            2016                    2.7%              $64.4                      10.5%

        ANSWER NO. 61: Deloitte denies the allegations set forth in paragraph 61, except admits

that SCANA made multiple petitions to the PSC under the BLRA to raise rates, and refers to the

orders issued by the PSC for their complete contents.

        62.   These rate increases resulted in SCANA customers paying over $1.4 billion over
time, as shown below:8




        ANSWER NO. 62: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 62, and denies that the information presented

in paragraph 62 is available at the cited source, which appears to be an article written for law




7
  2008 Annual Report on Form 10-K filed on February 27, 2009, Management’s Discussion and Analysis; 2009
Annual Report on Form 10-K filed on March 1, 2010, p. 13; 2012 Annual Report on Form 10-K filed on February 28,
2013, p. 61; 2014 Annual Report on Form 10-K filed on February 27, 2015, p. 118; 2015 Annual Report on Form 10-
K filed on February 26, 2016, p. 116; 2016 Annual Report on Form 10-K filed on February 24, 2017, p. 65.
8
    SCE&G Customers Have Paid $1.4B for Unfinished Nuclear Reactors (Apr. 7, 017),
https://www.law.georgetown.edu/wp-content/uploads/2018/07/Rule-18-Handout-1.Secara-1.pdf.


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students about how to conform to the Blue Book citation requirements and does not mention

SCANA at all.

        63.      As a result, South Carolina residents are forced to pay some of the highest
electricity bills in the country.

        ANSWER NO. 63: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 63.

        B.      FINANCIAL  REPORTING                       AND        GENERALLY             ACCEPTED
                ACCOUNTING PRINCIPLES

                1.      Explanation of Financial Statements

       64.     SCANA’s annual financial statements filed with the SEC during the Class Period
included the following, along with the referenced notes to those statements: (1) a Consolidated
Balance Sheet, (2) a Consolidated Statements of Income and Comprehensive Income, (3) a
Consolidated Statement of Cash Flows, and (4) a Consolidated Statement of Changes in Common
(shareholders’) Equity.

        ANSWER NO. 64: Deloitte admits the allegations set forth in paragraph 64.

        65.      The balance sheet provides a useful snapshot of the liquidity of a company and its
financial stability at a particular point in time, including its assets and liabilities, equity and capital.

        ANSWER NO. 65: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 65, except admits that a balance sheet is one

type of financial statement, and that it presents information about a company’s assets, liabilities,

equity, and capital, among other features, as of a specified point in time.

       66.      The income statement provides information about a company’s financial
performance over a certain period of time. This includes information such as sales, cost of sales,
overhead costs, net income, and trends in those numbers from period to period. This type of
information helps investors to assess historical trends and future performance. It also helps
investors to assess the likelihood of receiving adequate returns on their investments or loans.

        ANSWER NO. 66: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 66, except admits the allegations set forth in

the first and second sentences of paragraph 66.




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         67.     The statement of cash flows details how much cash a company has at a point in
time, the cash inflows and outflows that have taken place over a given period, the sources of the
cash (e.g., from business operations or from outside lenders or investors), and the uses of the cash
(e.g., to fund the company’s operations, pay off financings, or make investments).

           ANSWER NO. 67: Deloitte admits the allegations set forth in paragraph 67.

       68.    Each of SCANA’s financial statements during the Class Period explicitly tell
investors to “See Notes to Consolidated Financial Statements.” 9 This is because financial
statements must include certain required by disclosures in the notes to comply with GAAP.
Accordingly, Deloitte’s responsibility under PCAOB Standards and its audit reports in this matter
applied to SCANA’s notes to its financial statements and the referenced consolidated statements
themselves.

           ANSWER NO. 68: Deloitte admits the allegations set forth in the first sentence of

paragraph 68, and admits that generally accepted accounting standards, or GAAP, contain

requirements about disclosure and refers to GAAP for a complete recitation of those requirements.

Deloitte further admits that D&T’s audit engagements at issue in this case, including the content

of the opinions it issued, were governed by PCAOB Standards and refers to those standards for

their complete contents.           Deloitte denies any remaining any allegation or characterization

inconsistent with those principles and standards.

           2.      Generally Accepted Accounting Principles

       69.     GAAP are those principles recognized by the accounting profession as the
conventions, rules, and procedures that define accepted accounting practice at a particular time. In
the United States, GAAP is established through accounting standards issued by the Financial
Accounting Standards Board (“FASB”).

           ANSWER NO. 69: Deloitte admits that that the FASB issues standards that form the basis

of GAAP in the United States, and that GAAP contains authoritative literature related to

accounting standards and financial reporting, and refers to GAAP for a complete recitation of that

information and guidance, and denies anything in paragraph 69 inconsistent therewith.




9
    See Regulation S-X Rule 1-01(b), 17 CFR 210.1-01(b). PCAOB standards often refer to the notes as “disclosures”.


                                                         24
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      70.     GAAP enhances the credibility of the information in the financial statements by
making it relevant, comparable, complete, timely, neutral and unbiased, representative of the
economic transactions entered into, and useful for decision-making purposes.

           ANSWER NO. 70:           Deloitte denies the allegations set forth in paragraph 70, and

affirmatively avers that that GAAP contains authoritative literature related to accounting standards

and financial reporting, and refers to GAAP for a complete recitation of those statements and

denies anything in paragraph 70 that is inconsistent with them.

        71.     In deciding where to invest their capital, investors and lenders consider various
factors, including the likelihood that they will receive a return on their capital in the form of
interest, dividends, or an increase in value of the investment. Accordingly, one of the fundamental
objectives of financial reporting is that it provides reliable and useful information concerning a
company’s financial performance during the period being presented. FASB, Statement of Financial
Accounting Concepts No. 8 states:

                   The objective of general purpose financial reporting1 is to provide
                   financial information about the reporting entity that is useful to
                   existing and potential investors, lenders, and other creditors in
                   making decisions about providing resources to the entity. Those
                   decisions involve buying, selling, or holding equity and debt
                   instruments and providing or settling loans and other forms of
                   credit.10

           ANSWER NO. 71: Paragraph 71 does not contain allegations of fact, but rather incomplete

hypotheticals and argument, and, on that basis, Deloitte denies knowledge or information sufficient

to form a belief as to the truth of the allegations set forth in paragraph 71, except admits that FASB,

Statement of Financial Accounting Concepts No. 8, OB2 contains the excerpted language in

paragraph 71, and refers to the statement for its complete contents.

       72.     A lack of credible information significantly increases investment or lending risk,
and also creates a need for commensurate higher returns to compensate for that risk. Financial
statements thus provide the information necessary for making informed decisions. If financial
statements filed with the SEC are not prepared in conformity with GAAP, they are presumed to be
misleading and inaccurate.11



10
     FASB Statement of Financial Accounting Concepts No. 8 OB2, see also OB3 – OB11.
11
     Regulation S-X (17 C.F.R. §210.4-01(a)(1)).


                                                      25
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       ANSWER NO. 72: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 72, except admits that 17 C.F.R. § 210.4-

01(a)(1) states that “[f]inancial statements filed with the Commission which are not prepared in

accordance with generally accepted accounting principles will be presumed to be misleading or

inaccurate, despite footnote or other disclosures, unless the Commission has otherwise provided.

This article and other articles of Regulation S-X provide clarification of certain disclosures which

must be included in any event, in financial statements filed with the Commission.”

       C.      THE ROLE OF THE INDEPENDENT EXTERNAL AUDITOR

        73.     Management prepares and is responsible for a company’s financial statements and
disclosures. This necessarily raises questions regarding the reliability of those financial statements,
which may reflect on the competence and stewardship of management, or affect management’s
compensation. To address this concern and enhance the credibility of the financial statements,
companies often engage an independent certified public accountant to opine on whether its
financial statements are prepared in accordance with GAAP. As such, the auditor has an important
role as a “gatekeeper” for the capital markets. That is why publicly traded companies must obtain
financial statement audits and provide those audited financial statements to the investing public.

       ANSWER NO. 73: Deloitte admits the allegations in the first sentence of paragraph 73.

The remaining allegations in Paragraph 73 do not contain allegations of fact, but rather incomplete

hypotheticals and argument, and, on that basis, Deloitte denies knowledge or information sufficient

to form a belief as to the truth of the allegations set forth in paragraph 73.

        74.     An audit is conducted for the benefit of the stakeholders of a company. An
independent auditor adds credibility to financial statements by verifying the numbers and
disclosures. The goal and objective of the audit is to provide the users of the financial statements
with reasonable assurance the financial statements are presented correctly. The audit reports issued
by the auditor actually use the words “reasonable assurance.” As a result, the departments at the
public accounting firms that provide audits, such as SCANA’s auditor, Deloitte, are commonly
referred to as the “assurance line of practice.”

       ANSWER NO. 74: Paragraph 74 does not contain allegations of fact, but rather incomplete

hypotheticals and argument, and, on that basis, Deloitte denies knowledge or information sufficient

to form a belief as to the truth of the allegations set forth in paragraph 74.



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       75.      The auditing profession’s Center for Audit Quality explains the gatekeeping role of
the auditor this way:

                 Independent audits are a core component of the U.S. financial system
                 and help give investors, and the capital markets, the confidence to
                 invest in public companies. Although clearly not a guarantee of the
                 performance of such investments (which is affected by many factors),
                 the close scrutiny provided by audits reduces “information risk”—the
                 possibility that investment decisions will be based on inaccurate data.
                 Without independent audits, investors would have to rely on
                 management’s word that its financial statements are accurate. Many
                 investors likely would be less willing to risk their assets on data that
                 has not withstood independent scrutiny.12

        ANSWER NO. 75: Deloitte admits that the referenced document exists, and refers to it for

its complete contents.

       76.    An audit includes, for example, “examining, on a test basis, evidence supporting
the amounts and disclosures in the company’s financial statements, an assessment of the
accounting principles used and significant estimates made by management, as well as evaluating
whether the overall financial statements taken as a whole are free of material misstatement.” 13

        ANSWER NO. 76: Deloitte admits that the referenced document exists, and refers to it for

its complete contents.

         77.    Auditors do this independently as a double check on the managers of the company.
Auditors are not supposed to just take management’s word for things. They are required to perform
independent procedures and tests to verify the reported information so they can tell the company’s
board of directors or management committee—and investors—if there are inadvertent mistakes or
intentional misstatements by management. Auditors also consider whether the financial statements
reflect the substance of the company’s economic activity, not just the form. 14

        ANSWER NO. 77: Paragraph 77 does not contain allegations of fact, but rather incomplete

hypotheticals, argument, and an incomplete description of the standards applicable to an audit.




12
   Center for Audit Quality, Guide to Public Company Auditing (2011).
13
   Center for Audit Quality, In-Depth Guide to Public Company Auditing: The Financial Statement Audit, at 3 (May
2011).
14
   PCAOB, AU § 411: The Meaning of Present Fairly in Conformity With Generally Accepted Accounting Principles
(“AU § 411”), ¶ .06. PCAOB AS 2815, The Meaning of “Present Fairly in Conformity with Generally Accepted
Accounting Principles” (AS 2815) (2016 Audit).


                                                      27
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Deloitte admits that PCAOB standards apply to public company audits, refer to those standards

for their complete contents, and denies any allegations inconsistent therewith.

       78.     Even if a certain accounting entry is technically accurate under GAAP, it could still
be incomplete or misleading to readers of the financial statements, in which case the auditor will
require additional explanation in the financial statements so that readers can understand the
substance of the company’s activities.

        ANSWER NO. 78: Paragraph 78 does not contain allegations of fact, but rather incomplete

hypotheticals, argument, and an incomplete description of the standards applicable to an audit.

Deloitte admits that PCAOB standards apply to public company audits, refer to those standards

for their complete contents, and denies any allegations inconsistent therewith .

        79.     If the auditor finds the financial statements to be materially correct and presented
fairly in accordance with GAAP, the auditor issues what is commonly referred to as an
“unqualified” or “clean” report, and no exceptions are noted. However, when the auditor
determines that the financial statements have a material deviation from GAAP, such as incorrect
numbers or missing disclosures, the auditor is required to note the information in the auditor’s
report.15 In doing so, the auditor alerts investors, lenders, and other users of the financial statements
that the credibility of the financial statements is in question. Failure on the part of the auditor to
state that GAAP has not been complied with by a company is a serious violation by the auditor of
professional standards.

        ANSWER NO. 79: Paragraph 79 does not contain allegations of fact, but rather incomplete

hypotheticals, argument, and an incomplete description of the standards applicable to an audit.

Deloitte admits that PCAOB standards apply to public company audits, refer to those standards

for their complete contents, and denies any allegations inconsistent therewith.

        D.      DELOITTE’S RESPONSIBILITIES AS SCANA’S AUDITOR

       80.     Deloitte and SCANA have a prolonged and intertwined relationship spanning
decades. Deloitte served as SCANA’s “independent auditor” for more than 70 years, beginning in
1945 and continuing throughout the Class Period.




15
 PCAOB, AU § 508: Reports on Audited Financial Statements (“AU § 508”), ¶ .10. (2015 Audit); PCAOB AS 3105,
Departures from Unqualified Opinions and Other Reporting Circumstances (“AS 3105”) (2016 Audit).


                                                    28
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        ANSWER NO. 80: Deloitte denies the allegations set forth in paragraph 80, except admits

the allegations set forth in the final sentence of paragraph 80.

        81.    Deloitte acted as a “feeder” to SCANA senior management. For example, Kevin
Marsh, SCANA’s former CEO and Chairman, worked at Deloitte in Columbia, South Carolina,
for seven years prior to joining SCANA. Jimmy Addison, SCANA’s former CFO and latter CEO,
also worked at Deloitte for seven years prior to joining SCANA. James E. Swan, SCANA’s Vice
President and Controller, worked at Deloitte for 18 years before joining SCANA. Finally, Gregory
E. Aliff served worked at Deloitte for 28 years before retiring in May 2015—a mere five months
before becoming a member of the SCANA Board of Directors and head of SCANA’s Audit
Committee—which is responsible for overseeing Deloitte—in October 2015. 16

        ANSWER NO. 81: Deloitte denies the allegations set forth in paragraph 81, except denies

knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

the footnote to paragraph 81, and admits that the individuals named in paragraph 81 held positions

at D&T during the stated times.

        82.     Deloitte was paid nearly $10 million for its audit work for SCANA and SCE&G
for the years 2015, 2016, and 2017.

        ANSWER NO. 82: Deloitte admits that D&T received a total of nearly $10 million for its

work in connection with SCANA and its subsidiaries during the years 2015 through 2017.

        83.    As set forth below, Deloitte was responsible for auditing SCANA’s 2015 and 2016
financial statements included in the Company’s Forms 10-K, and also for conducting interim
reviews of SCANA’s quarterly financial information presented in the SCANA’s Quarterly Reports
on Form 10-Q filed with the SEC during the Class Period.

        ANSWER NO. 83: Deloitte admits the allegations set forth in paragraph 83 with respect

to D&T, and denies them with respect to Deloitte, LLP.




16
   Deloitte and Aliff continued to maintain close ties during the Class Period. For example, all 31 people mentioned
in the Acknowledgements Section of his book, Accounting for Public Utilities, are current Partners, Principals, and
Senior Managers at Deloitte. ROBERT L. HAHNE & GREGORY E. ALIFF, ACCOUNTING FOR PUBLIC UTILITIES (2020).


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                   1.      Deloitte was Responsible for Auditing SCANA’s Financial Statements
                           and Determining Whether they Were in Compliance with GAAP

                           a.      Deloitte Was Obligated to Follow Public Company Accounting
                                   Oversight Board Auditing Standards in Conducting its SCANA
                                   Audits

        84.    To oversee independent auditors, the Sarbanes-Oxley Act of 2002 established the
Public Company Accounting Oversight Board (“PCAOB”). The PCAOB is responsible for
establishing professional audit standards applicable to audits of publicly-traded companies,
including SCANA (the “PCAOB Standards”).

           ANSWER NO. 84: Deloitte admits that the Sarbanes-Oxley Act of 2002 established the

PCAOB and further admits the allegations set forth in the final sentence of paragraph 84, refers to

the statute for its complete contents, and denies any allegations or characterization inconsistent

therewith.

        85.     The PCAOB Standards set the minimum level of ethical, performance and quality
that auditors are expected to achieve. They are intended to “provide a measure of audit quality and
the objectives to be achieved in an audit.” 17 During Deloitte’s 2015 Audit, PCAOB Standards
consisted of, among other requirements, three general standards, three standards of fieldwork, and
four standards of reporting. These standards were initially developed by the AICPA Auditing
Standards Board prior to the formation of the PCAOB in 2002. Subsequent to the formation of the
PCAOB, it adopted as auditing standards many of those of the ASB until such time as they were
revised. PCAOB Standards during this period were referred to as either “AU” or “AS.” As the
independent auditor of SCANA, Deloitte is required by law and SEC regulations to follow the
standards of the PCAOB.

           ANSWER NO. 85: Deloitte admits that PCAOB standards apply to public company audits,

refer to those standards for their complete contents, and deny any allegations inconsistent

therewith.

    86.   Effective December 31, 2016, and therefore applicable to Deloitte’s 2016 audit of
SCANA, PCAOB Standards were reorganized and grouped into the following five categories:

                  General Auditing Standards—Standards on broad auditing principles, concepts,
                   activities, and communications;




17
     PCAOB AU Section 150, Generally Accepted Auditing Standards, (“AU § 150”), AU § 150.01 (2015 Audit).


                                                       30
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               Audit Procedures—Standards for planning and performing audit procedures and
                for obtaining audit evidence;

               Auditor Reporting—Standards for auditors' reports;

               Matters Relating to Filings Under Federal Securities Laws—Standards on certain
                auditor responsibilities relating to U.S. Securities and Exchange Commission
                filings for securities offerings and reviews of interim financial information; and

               Other Matters Associated with Audits—Standards for other work performed in
                conjunction with an audit of an issuer or of a broker or dealer. 18

The various reorganized PCAOB Auditing Standards are referred to as “AS.” Notably, the
reorganization and amendments to PCAOB Standards as of December 31, 2016, did not impose
new requirements on auditors or change the substance of the requirements for performing and
reporting on audits under PCAOB standards.19

        ANSWER NO. 86: Deloitte denies the allegations set forth in paragraph 86, except admits

that the five points listed therein are partial quotations from Securities and Exchange Commission

Release No. 34-75935, and refers to that document for its complete contents, and further admits

the allegations set forth in the second and third sentences of paragraph 86.

                i.      Deloitte was Responsible for Planning and Performing its SCANA Audits
                        to Obtain Reasonable Assurance that SCANA’s Financial Statements were
                        Fairly Presented in Conformity with GAAP

       87.     The objective of a financial statement audit under PCAOB Standards is the
expression of an opinion on the fairness with which the financial statements present, in all material
respects, the financial position, results of operations, and the cash flows, in conformity with
GAAP.20 PCAOB Standards recognize that judgment concerning the “fairness” of financial




18
   Securities and Exchange Commission Release No. 34-75935; Filed No. PCAOB-2015-01; Reorganization of
PCAOB Auditing Standards and Related Amendments to PCAOB Standards and Rules, PCAOB Release No. 2015-
002, March 31, 2015.
19
   Reorganization of PCAOB Auditing Standards and Related Amendments to PCAOB Standards and Rules, PCAOB
Release No. 2015-002, March 31, 2015.
20
   AU § 110.01 (2015 Audit); AS § 1001.01 (2016 Audit).


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                         21
statements “should”           be applied within the framework of generally accepted accounting
principles.”22

        ANSWER NO. 87: Deloitte denies the allegations set forth in paragraph 87 because they

fail to completely and accurately reflect the cited standards, refers to those standards for their

complete and accurate contents, and denies any allegations set forth in paragraph 87 inconsistent

therewith.

        88.     Accordingly, Deloitte’s audit reports during its 2015 and 2016 SCANA audits were
to be based on its “judgment as to whether (a) the accounting principles selected and applied have
general acceptance; (b) the accounting principles are appropriate in the circumstances; (c) the
financial statements, including the related notes, are informative of matters that may affect
their use, understanding, and interpretation 23; (d) the information presented in the financial
statements is classified and summarized in a reasonable manner, that is, neither too detailed nor
too condensed (AS 2810.31); and (e) the financial statements reflect the underlying transactions
and events in a manner that presents the financial position, results of operations, and cash flows
stated within a range of acceptable limits, that is, limits that are reasonable and practicable to attain
in financial statements.”24

        ANSWER NO. 88: Deloitte denies the allegations set forth in paragraph 88 because they

fail to completely and accurately reflect the cited standards, refers to those standards for their

complete and accurate contents, and denies any allegations set forth in paragraph 88 inconsistent

therewith.

        89.    To achieve this objective, Deloitte was required to plan and perform audit
procedures sufficient to obtain “reasonable assurance” about whether SCANA’s 2015 and 2016
financial statements were free of material misstatement, whether caused by error or fraud. 25



21
   The word “should” reflects that Deloitte’s responsibility to comply with this requirement was “presumptively
mandatory” under PCAOB Standards. To the extent that such a procedure was not performed, Deloitte was required
to perform and document additional audit procedures that achieved the same result as well as document the reasons
why alternative procedures met the objective of the presumptively mandatory procedure. Similarly, the words “must”
or “is required” indicate an unconditional requirement. PCAOB Rule 3101, Certain Terms Used in Auditing and
Related Professional Practice Standards.
22
   PCAOB AU Section 411, The Meaning of “Present Fairly in Conformity with Generally Accepted Accounting
Principles” (“AU § 411”), AU § 411.03.
23
   PCAOB AS 2810, Evaluating Audit Results (“AS 2810”), AS 2810.31.
24
   AU § 411.04 (2015 Audit); PCAOB AS 2815, The Meaning of “Present Fairly in Conformity with Generally
Accepted Accounting Principles” (“AS 2815”), AS 2815.04 (2016 Audit).
25
   AU § 110.02 (2015 Audit); AS 1001.02 (2016 Audit).


                                                       32
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PCAOB Standards recognize that “reasonable assurance” generally means a “high level” of
assurance.26

         ANSWER NO. 89: Deloitte denies the allegations set forth in paragraph 89 because they

fail to completely and accurately reflect the cited standards, refers to those standards for their

complete and accurate contents, and denies any allegations set forth in paragraph 89 inconsistent

therewith.

                  ii.      Deloitte was Required to Apply Due Professional Care and Exercise
                           Professional Skepticism

        90.     PCAOB Standards require an auditor to obtain “reasonable assurance” by reducing
audit risk27 to an appropriately “low” level through the application of due professional care,
including obtaining sufficient appropriate audit evidence. 28 Due professional care required that
Deloitte utilize the “knowledge, skill, and ability called for by the profession of public accounting
to diligently perform, in good faith and with integrity, the gathering and objective evaluation of
evidence” obtained during its audits.29

         ANSWER NO. 90: Deloitte denies the allegations set forth in paragraph 90 because they

fail to completely and accurately reflect the cited standards, refers to those standards for their

complete and accurate contents, and denies any allegations set forth in paragraph 90 inconsistent

therewith.

       91.    Due professional care also required that Deloitte apply “professional skepticism”
during its 2015 and 2016 audits and reviews of the SCANA’s interim financial information
included in the Company’s Forms 10-Q. 30 Professional skepticism is generally defined under
PCAOB Standards as “an attitude that includes a questioning mind and a critical assessment of
audit evidence.” 31 Accordingly, Deloitte’s “responses to the assessed risks of material

26
   PCAOB AU Section 230, Due Professional Care in the Performance (“AU § 230”), AU § 230.10 (2015 Audit);
PCAOB AS 1015, Due Professional Care in the Performance of Work (“AS 1015”), 1015.10 (2016 Audit).
27
   Audit risk is the risk that the auditor expresses an inappropriate audit report when the financial statements are
materially misstated, i.e., the financial statements are not presented fairly in conformity with the applicable financial
reporting framework. Audit risk is a function of the risk of material misstatement and detection risk. PCAOB Auditing
Standard No. 8, Audit Risk (“AS 8”), AS 8.4 (2015 Audit); PCAOB AS 1101, Audit Risk (“AS 1101”), 1101.04 (2016
Audit).
28
   AS 8.3, PCAOB Auditing Standard No. 13, The Auditor’s Responses to the Risks of Material Misstatement (“AS
13”), AS 13.8 (2015 Audit); AS 1101.03, PCAOB AS 1105, Audit Evidence (“AS 1105”), PCAOB AS 2301, The
Auditor’s Responses to the Risks of Material Misstatement (“AS 2301”), 2301.08 (2016 Audit).
29
   AU § 230.07 (2015 Audit); AS 1015.07 (2016 Audit).
30
   AU § 230.07 to .09 (2015 Audit); AS 1015.07 to .09 (2016 Audit).
31
   AU § 230.07 to .09 (2015 Audit); AS 1015.07 to .09 (2016 Audit).


                                                          33
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misstatement, particularly fraud risks, should involve the application of professional skepticism in
gathering and evaluating audit evidence.”32 Risks of material misstatement refers to the risk that
the financial statements, including disclosures in the notes to the financial statements, are
materially misstated.33

        ANSWER NO. 91: Deloitte denies the allegations set forth in paragraph 91 because they

fail to completely and accurately reflect the cited standards, refers to those standards for their

complete and accurate contents, and denies any allegations set forth in paragraph 91 inconsistent

therewith.

                 iii.    Deloitte was Responsible for Understanding SCANA’s Business and
                         Identifying and Responding to Risks of Material Misstatements Affecting
                         SCANA’s Financial Statements

         92.     Deloitte was required to perform risk assessment procedures that were “sufficient
to provide a reasonable basis for identifying and assessing” the risks of material misstatement
affecting SCANA’s 2015 and 2016 Financial Statements, whether due to error or fraud. 34 In this
regard, Deloitte was first required to obtain a sufficient understanding of SCANA, its environment
and its internal control over financial reporting.35 This included understanding the following:36

                Relevant industry, regulatory, and other external factors affecting SCANA.
                 Obtaining an understanding of relevant industry, regulatory, and other external
                 factors encompasses industry factors, including the competitive environment and
                 technological developments; the regulatory environment, including the applicable
                 financial reporting framework and the legal and political environment; and external
                 factors, including general economic conditions.37

                The nature of the Company, including the organizational structure, management
                 personnel, key personnel, key supplier and customer relationships, significant
                 investments, joint ventures and the Company’s operating characteristics, including
                 its size and complexity;38 and

                The Company’s objectives and strategies and those related business risks that might
                 reasonably be expected to result in risks of material misstatement. Examples of

32
   AS 13.7 (2015 Audit); AS 2301.07 (2016 Audit).
33
   AS 8.5 (2015 Audit); AS 1101.05 (2016 Audit).
34
   PCAOB Auditing Standard No. 12, Identifying and Assessing Risks of Material Misstatement (“AS 12”), AS 12.4
and AS 12.74 (2015 Audit); PCAOB AS 2110, Identifying and Assessing Risks of Material Misstatement (“AS 2110”),
AS 2110.04 and AS 2110.74 (2016 Audit)
35
   AS 12.5 (2015 Audit); AS 2110.05 (2016 Audit).
36
   AS 12.7 (2015 Audit); AS 2110.07 (2016 Audit).
37
   AS 12.9 (2015 Audit); AS 2110.09; AS 1101; AS 2110; and AS 2301 (2016 Audit).
38
   AS 12.10 (2015 Audit); AS 2110.10 (2016 Audit).


                                                      34
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                  situations in which business risks might result in material misstatement of the
                  financial statements include industry developments, expansion of the business,
                  current and prospective financing requirements and regulatory requirements
                  (including increased legal exposure).39

         ANSWER NO. 92: Deloitte denies the allegations set forth in paragraph 92 because they

fail to completely and accurately reflect the cited standards, refers to those standards for their

complete and accurate contents, and denies any allegations set forth in paragraph 92 inconsistent

therewith.

        93.     Deloitte was also required to gain an understanding of the regulatory environment
and the implications of illegal acts that had a material effect on the financial statements, including,
for example, any misrepresentations made to regulators that would have implications for the
financial statements such as:

                 Noncompliance with tax laws providing tax credits if it was determined the project
                  could not be completed with the time period the tax law provided;

                 Misrepresentation to the regulator, such as the PSC, with respect to rate filing
                  applications, where the auditor was aware of evidence that contradicted statements
                  SCANA was making to the regulators; and

                 Violations of U.S. Securities laws and regulations with respect to compliance with
                  GAAP and SEC disclosure requirements.

         ANSWER NO. 93: Deloitte denies the allegations set forth in paragraph 93 because they

fail to completely and accurately reflect the cited standards, refers to those standards for their

complete and accurate contents, and denies any allegations set forth in paragraph 93 inconsistent

therewith.

      94.   In the Company’s financial statements and notes thereto, SCANA’s management
made numerous assertions40 regarding the Nuclear Project, including:



39
  AS 12.15 (2015 Audit); AS 2110.15 (2016 Audit).
40
  PCAOB standards recognize that those assertions can be classified into the following categories: (1) Existence or
occurrence – Assets or liabilities of the company exist at a given date, and recorded transactions have occurred during
a given period, (2) Completeness – All transactions and accounts that should be presented in the financial statements
are so included, (3) Valuation or allocation – Asset, liability, equity, revenue, and expense components have been
included in the financial statements at appropriate amounts, (4) Rights and obligations – The company holds or
controls rights to the assets, and liabilities are obligations of the company at a given date, and (5) Presentation and


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               Capitalized construction work in progress related to the Nuclear Project;

               Regulatory rate revisions and related pending, approved or denied regulatory orders
                regarding the Nuclear Project;

               Expected completion date of the Nuclear Project;

               Ongoing commitments and contingencies associated with the Nuclear Project; and

               Anticipated tax credits.

        ANSWER NO. 94: Deloitte denies the allegations set forth in paragraph 94, except admits

that the Company made assertions in its financial statements and notes thereto, and refers to those

documents for their complete contents.

       95.     Given these assertions by SCANA management, Deloitte was also required to
understand the following types of information:

               Key regulatory matters affecting the Nuclear Project, including SCANA rate
                applications and their implications for financial statement reporting including
                disclosures. In this regard, Deloitte should have obtained and reviewed the
                legislation passed at the beginning of the project (2007) that provided for among
                other things, the ability of SCANA to recover through rates, the financing costs for
                the units during their construction. This understanding would include, for example:
                the full implications of rate orders and any requirements or conditions the rate
                regulator place on SCANA.

               The tax law related to the tax credits SCANA was expected to receive for the
                Nuclear Project, including the criteria that had to be met in order to obtain the tax
                credits. This included the ability to bring the units online in time to meet the criteria
                and receive the tax credits;

               How construction project was to be overseen and managed from the initial
                beginning to the completion of the project. This would include the project and
                financial reporting controls over the recording of contingencies, costs,
                measurement of project historical performance, projected project completion dates,
                and the filing of the necessary annual rate application filings. In this regard, Deloitte
                should have also read the original construction contract and consider the
                implications of the contract with respect to the financial reporting by SCANA. This
                would have included any language related to project management, schedules, costs,
                claims, and changes;



disclosure – The components of the financial statements are properly classified, described, and disclosed. [AS
15.11 (2015 Audit); AS § 1105.11 (2016 Audit)].


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                The Company’s policies, processes, procedures and related internal controls for
                 monitoring and supervising the construction of the Nuclear Project. This would
                 include understanding: (1) significant reports from external consultants hired, as
                 well as internal reports, issued in connection with Nuclear Project; (ii) who was
                 conducting the monitoring and supervision at SCANA, how often reviews
                 occurred, what the review entailed, what qualifications such reviewers had and how
                 were such reviews were evidenced and documented; (iii) who had approval
                 authority and at what levels for changes in either costs and/or schedules associated
                 with the Nuclear Project; and (iv) how Nuclear Project-related claims were
                 processed and approved, including the role of the Nuclear Project engineers,
                 accounting, and legal departments;

                Internal audit reports 41 related to the Nuclear Project, including related findings,
                 recommendations and remediation steps if any;

                The original timeline for the Nuclear Project, including each major milestone, the
                 expected dates for completion of those milestones, and the expected costs;

                The “run rate” and percentage of completion on costs on an ongoing basis and as
                 compared to the physical completion percentage of applicable milestones;

                Movement or changes (especially delays) in the expected (projected) completion
                 dates, the quantified impact of delays and changes on costs, any construction claims
                 that had been proposed/submitted, the response of the Company to those, and the
                 new expected completion dates and costs. This would include: (i) the specific
                 reasons for delays and the impact of those reasons on the timeline as well as on the
                 costs, and (ii) whether or not there were any differences of opinion between those
                 expressed by the engineers and project managers at Westinghouse, SCANA and
                 outside retained consultants;

                Nuclear Project management related reports and or documented summaries
                 provided to executives evident in the Company’s Board of Director (including joint
                 SCANA/Santee Cooper board meetings), Audit Committee, Risk Management
                 Committee, and Disclosure Committee meetings and related minutes;

                Nuclear Project related matters and concerns evident in SCANA’s Annual Director
                 and Officer Questionnaire submitted in connection with Annual/Interim Reporting
                 and D&O insurance submissions, whistleblower program submissions, and other
                 internal representation letters applicable to SEC financial reporting and disclosures;
                 and

                Communications between SCANA and its regulators, including for example, the
                 ORS and SCPSC.


41
   See reference to SCANA’s Internal Audit reviews of the project at Testimony of Carlette L. Walker, electronically
filed November 2, 2018.


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         ANSWER NO. 95: Deloitte denies the allegations set forth in paragraph 95.

        96.     The purpose of gaining this understanding was so that Deloitte could “understand
the events, conditions, and company activities that might reasonably be expected to have a
significant effect on the risks of material misstatement” affecting SCANA’s 2015 and 2016
financial statements.42 With this understanding, Deloitte was then required to “assess” the risk of
material misstatement at the following two levels: (1) SCANA’s financial statement level 43, and
(2) at SCANA’s assertion level.44

         ANSWER NO. 96: Deloitte denies the allegations set forth in paragraph 96 because they

fail to completely and accurately reflect the cited standards, refers to those standards for their

complete and accurate contents, and denies any allegations set forth in paragraph 96 inconsistent

therewith.

         97.     SCANA’s “ultimate recovery” of its investment in the Nuclear Project construction
was also “subject to multiple uncertainties” and “risks.” 45 First, “the potential impact of future
decisions by [ORS], actions by the co-owners of the [Nuclear Project],” was a risk. Second,
“litigation or other legal proceedings involving the [Nuclear Project],” was a risk. Third, SCANA’s
“ability to meet its cost and schedule forecasts could impact its capacity to fully recover its
investment in the project” was a risk.


42
   AS 12.7 (2015 Audit); AS 2110.07 (2016 Audit).
43
   PCAOB Standards note, “Risks of material misstatement at the financial statement level relate pervasively to the
financial statements as a whole and potentially affect many assertions. Risks of material misstatement at the financial
statement level may be especially relevant to the auditor’s consideration of the risk of material misstatement due to
fraud. For example, an ineffective control environment, a lack of sufficient capital to continue operations, and
declining conditions affecting the company's industry might create pressures or opportunities for management to
manipulate the financial statements, leading to higher risk of material misstatement.” [AS 8.6 (2015 Audit); AS §
1101.06 (2016 Audit)].
44
   AS 8.5 (2015 Audit); AS 1101.05 (2016 Audit). PCAOB Standards further note that the risks of material
misstatement at the assertion level consists of the following components: (a) Inherent risk, which refers to the
susceptibility of an assertion to a misstatement, due to error or fraud, that could be material, individually or in
combination with other misstatements, before consideration of any related controls, and (b) Control risk, which is the
risk that a misstatement due to error or fraud that could occur in an assertion and that could be material, individually
or in combination with other misstatements, will not be prevented or detected on a timely basis by the company's
internal control. Control risk is a function of the effectiveness of the design and operation of internal control. [AS 8.7
(2015 Audit); AS 1101.07 (2016 Audit)].
45
   Deloitte Audit Report, Southern Company, dated February 19, 2020. Pursuant to PCAOB auditing standards
established after the Relevant Period, auditors are now required to make disclosures associated with Critical Audit
Matters in connection with its audits. PCAOB AS 3101, The Auditor’s Report on an Audit of Financial Statements
When the Auditor Expresses an Unqualified Opinion (“AS 3101”), AS 3101.11. When releasing its new audit reporting
standard, the PCAOB observed that “a critical audit matter is defined as a matter that was communicated or required
to be communicated to the audit committee." [PCAOB Release No. 2017-001, June 1, 2017]. Importantly, the
underlying audit standard that establishes specific audit committee communication requirements for Southern, was in
substance, the same as the required audit committee communications applicable to Deloitte during its audits of
SCANA. PCAOB AS 1301, Communications with Audit Committees.


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        ANSWER NO. 97: Deloitte denies the allegations set forth in paragraph 97, which

contains partial quotations from an audit report of another company, which was dissimilar for

multiple reasons.

        98.    As Deloitte acknowledged in the context of a similar-type of audit, “accounting for
the economics of rate regulation impacts multiple financial statement line items and disclosures,
including, but not limited to, property, plant, and equipment; other regulatory assets; other
regulatory liabilities; other cost of removal obligations; deferred charges and credits related to
income taxes; under and over recovered regulatory clause revenues; operating revenues; operations
and maintenance expenses; and depreciation.” 46 The PSC “sets [sic] the rates the regulated utility
subsidiaries are permitted to charge customers based on allowable costs, including a reasonable
return on equity. Rates are determined and approved in regulatory proceedings based on an
analysis of the applicable regulated subsidiary’s costs to provide utility service and a return on,
and recovery of, its investment in the utility business. As a result, current and future regulatory
decisions can have an impact on the recovery of costs, the rate of return earned on investments,
and the timing and amount of assets to be recovered by rates. [PSC’s] regulation of rates is
premised on the full recovery of prudently incurred costs and a reasonable rate of return on invested
capital.”47

        ANSWER NO. 98: Deloitte denies the allegations set forth in paragraph 98, which

contains partial quotations from an audit report of another company, which was dissimilar for

multiple reasons.

        99.      Accordingly, as Deloitte has also subsequently admitted in the context of a similar-
type of audit, in conducting its audits of SCANA, Deloitte should have “identified the impact of
rate regulation as a critical audit matter due to the significant judgments made by management to
support its assertions about impacted account balances and disclosures (e.g., asset retirement costs,
property damage reserves, and net book value of retired assets) and the high degree of subjectivity
involved in assessing the potential impact of future regulatory orders on the financial
statements.”48 These management judgments include “assessing the likelihood of (1) recovery in
future rates of incurred costs, (2) a disallowance of part of the cost of recently completed plant or
plant under construction, and/or (3) a refund to customers.” 49




46
   Deloitte Audit Report, Southern Company, dated February 19, 2020, at 2.
47
   Id.
48
   Id.
49
   Id.


                                                       39
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          ANSWER NO. 99: Deloitte denies the allegations set forth in paragraph 99, which

contains partial quotations from an audit report of another company, which was dissimilar for

multiple reasons.

         100. As Deloitte recognizes, “[g]iven that management’s accounting judgments are
based on assumptions about the outcome of future decisions by [PSC], auditing these judgments
required specialized knowledge of accounting for rate regulation and the rate setting process due
to its inherent complexities and significant auditor judgment to evaluate management estimates
and the subjectivity of audit evidence.” 50 Accordingly, the audit procedures Deloitte should have
employed relating to the uncertainty of future decisions by the PSC included the following, among
other things:

                Testing the effectiveness of management’s controls over the evaluation of the
                 likelihood of (1) the recovery in future rates of costs incurred as property, plant,
                 and equipment and deferred as regulatory assets, and (2) a refund or a future
                 reduction in rates that should be reported as regulatory liabilities, as well as the
                 effectiveness of management’s controls over the initial recognition of amounts as
                 property, plant, and equipment; regulatory assets or liabilities; and the monitoring
                 and evaluation of regulatory developments that may have a material effect on the
                 financial statements and accompanying disclosures. This would include a material
                 affect arising from the likelihood of recovering costs in future rates or of a future
                 reduction in rates.51 See, e.g., PCAOB AS 2201, An Audit of Internal Control Over
                 Financial Reporting That Is Integrated with An Audit of Financial Statements (“AS
                 2201”).

                Reading the relevant regulatory orders issued by PSC and OSR, regulatory statutes,
                 interpretations, procedural memorandums, filings made by intervenors, and other
                 publicly available information to assess the likelihood of recovery in future rates or
                 of a future reduction in rates based on precedence of the PSC and OSR’s treatment
                 of similar costs under similar circumstances. 52 See, e.g., PCAOB AS 1105, Audit
                 Evidence (“AS 1105”), AS 2101, AS 2110, AS 2301, PCAOB AS 2401,
                 Consideration of Fraud in a Financial Statement Audit (“AS 2401”); PCAOB AS
                 2405, Illegal Acts by Clients (“AS 2405”).

                Conducting a comparison of external information to management’s recorded
                 regulatory asset and liability balances for completeness. 53 See, e.g., AS 1105, AS
                 2101, AS 2110, AS 2301, AS 2401, AS 2405.

                Inspection of filings with the PSC by both SCANA and other interested parties that
                 could impact SCANA’s future rates for any evidence that might contradict
50
   Id.
51
   Id. at 2-3.
52
   Id. at 3.
53
   Id.


                                                  40
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               management’s assertions.54 See, e.g., AS 1015, AS 1105, AS 2101, AS 2110, AS
               2301, AS 2401, AS 2405.

              Evaluation of regulatory filings for any evidence that intervenors are challenging
               full recovery of the cost of any capital projects. 55 See, e.g., AS 1105, AS 2101, AS
               2110, AS 2301, AS 2401, AS 2405.

              Testing selected costs included in the capitalized project costs for completeness and
               accuracy.56 See, e.g., AS 1105, AS 2301, AS 2401, AS 2405.

              Obtainment of representations from management regarding probability of recovery
               for regulatory assets or refund or future reduction in rates for regulatory liabilities
               to assess management’s assertion that amounts are probable of recovery, refund, or
               a future reduction in rates.57 See, e.g., PCAOB AS 2805, Management
               Representations (“AS 2805”).

              Evaluation of SCANA’s disclosures related to the impacts of rate regulation,
               including the balances recorded and regulatory developments.58 See, e.g., AS 1105,
               AS 2101, AS 2110, AS 2301, AS 2401, AS 2405, AS 2815.

         ANSWER NO. 100: Paragraph 100 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

100, which contains partial quotations from an audit report of another company, which was

dissimilar for multiple reasons.

       101. SCANA’s “cost and schedule forecasts” were also “subject to numerous
uncertainties which could impact the Company’s cost recovery,” including:

               [C]hallenges with management of contractors and vendors;
               subcontractor performance; supervision of craft labor and related
               craft labor productivity, particularly in the installation of electrical
               and mechanical commodities, ability to attract and retain craft labor,
               and/or related cost escalation; procurement, fabrication, delivery,
               assembly, installation, system turnover, and the initial testing and
               start-up, including any required engineering changes or any
               remediation related thereto, of plant systems, structures, or
               components (some of which are based on new technology that only
               within the last few years began initial operation in the global nuclear

54
   Id.
55
   Id.
56
   Id.
57
   Id.
58
   Id.


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                industry at this scale), or regional transmission upgrades, any of
                which may require additional labor and/or materials; or other issues
                that could arise and change the projected schedule and estimated
                cost.59

          ANSWER NO. 101: Deloitte denies the allegations set forth in paragraph 101, which

contains partial quotations from an audit report of another company, which was dissimilar for

multiple reasons.

        102. Further, SCANA made disclosures regarding the status, risks, and uncertainties
associated with the Nuclear Project, “including (1) the status of construction; (2) challenges to the
achievement of [the] cost and schedule forecasts; (3) the status of regulatory proceedings; (4) the
status of legal actions or issues involving the co-owners of the project; and (5) other matters which
could impact the ultimate recoverability of [SCANA’s] investment in the project.” 60

          ANSWER NO. 102: Deloitte denies the allegations set forth in paragraph 102, which

contains partial quotations from an audit report of another company, which was dissimilar for

multiple reasons.

       103. As a result, as Deloitte also subsequently admitted in the context of a similar-type
of audit, it should have “identified as a critical audit matter the evaluation of these disclosures
which involved significant audit effort requiring specialized industry and construction expertise,
extensive knowledge of rate regulation, and difficult and subjective judgments.” 61 And, its’ audit
procedures should have included the following, among others:

               Testing of the effectiveness of internal controls over the on-going evaluation and
                monitoring of the construction schedule and capital cost forecast and over the
                disclosure of matters related to the construction and ultimate cost recovery of the
                Nuclear Project.62 See, e.g., AS 2201.

               Collaboration with construction specialists to assist in Deloitte’s evaluation of
                SCANA’s processes for on-going evaluation and monitoring of the construction
                schedule and cost forecast and to assess the disclosures of challenges to the
                achievement of such forecasts.63 See, e.g., AS 1105, PCAOB AS 1210, Using the
                Work of a Specialist (“AS 1210”), AS 2101, AS 2110, AS 2301, AS 2401, AS 2405.



59
   Id.
60
   Id. at 4.
61
   Id.
62
   Id.
63
   Id.


                                                 42
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            Attendance at meetings with SCANA and Santee Cooper officials, project
             managers (including contractors), independent regulatory monitors, to evaluate and
             monitor construction status and identify cost and schedule challenges. 64 See, e.g.,
             AS 1105, AS 2101, AS 2110, AS 2301.

            Review of reports of external independent monitors employed by PSC to monitor
             the status of construction at the Nuclear Project and to evaluate the completeness
             of SCANA’s disclosure of challenges to the achievement of cost and schedule
             forecasts.65 See, e.g., AS 1105, AS 2101, AS 2110, AS 2301.

            Inquiry of SCANA officials and project managers regarding the status of
             construction, the construction schedule, and cost forecasts to assess the financial
             statement disclosures with respect to project status and potential risks and
             uncertainties to the achievement of such forecasts.66 See, e.g., AS 1105, AS 2101,
             AS 2110, AS 2301.

            Inspection of regulatory filings and transcripts of PSC hearings regarding the
             construction of the Nuclear Project to identify potential challenges to the recovery
             of SCANA’s construction costs and to evaluate the disclosures with respect to such
             uncertainties.67 See, e.g., AS 1105, AS 2101, AS 2110, AS 2301, AS 2401, AS
             2405.

            Inquiry of SCANA and Santee Cooper management and internal and external legal
             counsel regarding any potential legal actions or issues arising from project
             construction or issues involving the co-owners of the project. 68 See, e.g., AS 2401,
             AS 2405, AS 2805.

            Comparison of the financial statement disclosures relating to this matter to the
             information gathered through the conduct of all Deloitte’s procedures to evaluate
             whether there were omissions relating to significant facts or uncertainties regarding
             the status of construction or other factors which could impact the ultimate cost
             recovery of the Nuclear Project. 69 See, e.g., AS 1001, AS 1015, AS 1105, AS 2101,
             AS 2110, AS 2301, AS 2401, AS 2405.

            Obtain representations from management regarding disclosure of all matters related
             to the cost and/or status, including matters related to a co-owner or regulatory
             development, that could result in a potential disallowance of costs related to the
             construction of the Nuclear Project. 70 See, e.g., AS 2401, AS 2405, AS 2805.

64
   Id.
65
   Id.
66
   Id.
67
   Id.
68
   Id.
69
   Id.
70
   Id.


                                              43
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        ANSWER NO. 103: Deloitte denies the allegations set forth in paragraph 103, which

contains partial quotations from an audit report of another company, which was dissimilar for

multiple reasons.

        104. After obtaining an appropriate understanding of the Nuclear Project and identifying
applicable risks of material misstatement, regulatory risks and legal risks, PCAOB Standards
required Deloitte to “design and implement audit responses that address the [assessed] risks of
material misstatement” and reduce “audit risk to an appropriately low level.” 71 In simple terms, an
“audit response” is the procedure, work step, or action the auditor performs to adequately address
the identified risks of material misstatement so that the auditor can assess whether a material
misstatement exists.72

        ANSWER NO. 104: Deloitte denies the allegations set forth in paragraph 104 because

they fail to completely and accurately reflect the cited standards, refers the Court to those standards

for their complete and accurate contents, and denies any allegations set forth in paragraph 104

inconsistent therewith.

       105. In doing so, Deloitte should have also considered if there was sufficient expertise
on the audit engagement team to review and evaluate the progress on the Nuclear Project, and if
appropriate and necessary to evaluate the project and related internal controls, identify audit areas
where the use of a specialist was required. 73

        ANSWER NO. 105: Paragraph 105 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

105, and refers to the auditing standards in effect during the relevant period for their complete

contents.

         106. Audit responses recognized by PCAOB Standards to address risks of material
misstatement include: (1) “[r]esponses that have an overall effect on how the audit is conducted”
(e.g., evaluating the company's “selection and application of significant accounting principles” and
“[p]roviding the extent of supervision that is appropriate for the circumstances, including, in
particular, the assessed risks of material misstatement”), 74 and (2) “responses involving the nature,



71
   AS 8.3 and AS 13.3 (2015 Audit); AS § 1101.03 and AS § 2301.03 (2016 Audit).
72
   AS 13.4, AS 13.5, AS 13.8-10 (2015 Audit); AS § 2301.04, AS § 2301.05, AS § 2301.08-.10 (2016 Audit).
73
   AS § 1210 (PCAOB AS 1210. See in particular paragraphs 1210.06-.07).
74
   AS 13.4 and AS 13.5 (2015 Audit); AS § 2301.04 and AS § 2301.05 (2016 Audit).


                                                      44
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timing and extent of audit procedures to be performed.” 75 For significant risks, including the risk
that SCANA’s revenue was overstated in violation of GAAP, 76 PCAOB Standards required
Deloitte to “perform substantive procedures, including tests of details, that are specifically
responsive to the assessed risks.”77 In this regard, PCAOB Standards recognize that as risk of
material misstatement increases, “the amount of evidence that the auditor should obtain also
increases. For example, more evidence is needed to respond to significant risks.” 78

        ANSWER NO. 106: Paragraph 106 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

106, and refers to the auditing standards in effect during the relevant period for their complete

contents.

                 iv.     Deloitte was Responsible for Obtaining Sufficient Appropriate Evidence to
                         Afford a Reasonable Basis for its Audit Report

       107. Deloitte was required to “plan and perform audit procedures to obtain sufficient
appropriate audit evidence to provide a reasonable basis” for its audit report during the 2015 and
2016 audits.79

        ANSWER NO. 107: Paragraph 107 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte admits that the paragraph contains an

incomplete quotation from the referenced standard, refers to the auditing standards in effect during

the relevant period for their complete contents, and denies any allegation inconsistent therewith.

        108. Under PCAOB Standards, auditors “should not be satisfied with less than
persuasive evidence because of a belief that management is honest.” 80 In developing its audit
report, Deloitte should have “take[n] into account all relevant audit evidence, regardless of whether
it appears to corroborate or to contradict the assertions in the financial statements.” 81

        ANSWER NO. 108: Paragraph 108 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte admits that the paragraph contains an


75
   AS 13.4 (2015 Audit); AS § 2301.04 (2016 Audit).
76
   AS 13.11 (2015 Audit); AS § 2301.11 (2016 Audit).
77
   AS 13.11 (2015 Audit); AS § 2301.11 (2016 Audit).
78
   AS 15.5 (2015 Audit); AS § 1105.05 (2016 Audit).
79
   AS 15.4 (2015 Audit); AS § 1105.04 (2016 Audit).
80
   AU § 230.09 (2015 Audit); AS § 1015.09 (2016 Audit).
81
   AS 14.3 (2015 Audit); AS § 2810.03 (2016 Audit).


                                                     45
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incomplete quotation from the referenced standard, refers to the auditing standards in effect during

the relevant period for their complete contents, and denies any allegation inconsistent therewith.

        109. When the auditor obtains audit evidence during the course of the audit that
contradicts or is inconsistent with the audit evidence on which the auditor originally based his or
her risk assessment, PCAOB Standards state that the auditor “should revise the related risk
assessments and modify the planned nature, timing, or extent of substantive procedures covering
the remaining period as necessary,” in response to the revised risk assessments. 82 To the extent
Deloitte obtained audit evidence from one source that was inconsistent with that obtained from
another, or if Deloitte had doubts about the reliability of information to be used as audit evidence
during the 2015 and 2016 audits, PCAOB Standards note that Deloitte “should perform the audit
procedures necessary to resolve the matter and should determine the effect, if any, on other aspects
of the audit.”83

         ANSWER NO. 109: Paragraph 109 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte admits that the paragraph contains an

incomplete quotation from one or more of the referenced standards, refers to the auditing standards

in effect during the relevant period for their complete contents, and denies any allegation

inconsistent therewith.

         110.     Consistent with this understanding PCAOB Staff Practice Alert No. 8 states:

                  PCAOB standards require auditors to design and perform audit
                  procedures in a manner that addresses the assessed risks of
                  material misstatement and to obtain more persuasive evidence
                  the higher the assessment of risk.[] The auditor is required to
                  apply professional skepticism, which includes a critical
                  assessment of the audit evidence.[] Substantive procedures
                  generally provide persuasive evidence when they are designed and
                  performed to obtain evidence that is relevant and reliable.[] When
                  discussing the characteristics of reliable audit evidence, PCAOB
                  standards observe that generally, among other things, evidence
                  obtained from a knowledgeable source independent of the company
                  is more reliable than evidence obtained only from internal company
                  sources and evidence obtained directly by the auditor is more

82
   AS 13.46 (2015 Audit); AS 2301.11 (2016 Audit). See also, AS 12.74 (2015 Audit); AS 2110.74 (2016 Audit)
which states: “The auditor’s assessment of the risks of material misstatement, including fraud risks, should continue
throughout the audit. When the auditor obtains audit evidence during the course of the audit that contradicts the audit
evidence on which the auditor originally based his or her risk assessment, the auditor should revise the risk assessment
and modify planned audit procedures or perform additional procedures in response to the revised risk assessments.”
83
   AS 15.29 (2015 Audit); AS 1105.29 (2016 Audit).


                                                          46
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                   reliable than evidence obtained indirectly.[] Taken together, this
                   means that in higher risk areas, the auditor's appropriate
                   application of professional skepticism should result in
                   procedures that are focused on obtaining evidence that is more
                   relevant and reliable, such as evidence obtained directly and
                   evidence obtained from independent, knowledgeable sources.[]
                   Further, if audit evidence obtained from one source is
                   inconsistent with that obtained from another, the auditor should
                   perform the audit procedures necessary to resolve the matter
                   and should determine the effect, if any, on other aspects of the
                   audit.

           ANSWER NO. 110: Deloitte admits that paragraph 110 contains an incomplete quotation

from a PCAOB Practice Alert, refers to that document for its complete contents, and denies any

allegation inconsistent therewith.

       111. Here, Deloitte’s evaluation of audit results was presumptively required to include
an evaluation of several items, including the following:

                  The presentation of the financial statements, including the disclosures;

                  Misstatements accumulated during the audit, including, in particular, uncorrected
                   misstatements;

                  Conditions identified during the audit that relate to the assessment of the risk of
                   material misstatement due to fraud ("fraud risk"); and

                  The sufficiency and appropriateness of the audit evidence obtained. 84

           ANSWER NO. 111: Paragraph 111 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

111, and refers to the auditing standards in effect during the relevant period for their complete

contents.

       112. Deloitte was also responsible for reading SCANA’s financial statements and
disclosures to (a) evaluate the auditor’s conclusions formed regarding significant accounts and
disclosures and (b) provide a report on whether the financial statements as a whole are free of
material misstatement.85


84
     AS 14.4 (2015 Audit); AS 2810.04 (2016 Audit).
85
     AS 14.5 (2015 Audit); AS 2810.05 (2016 Audit).


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        ANSWER NO. 112: Paragraph 112 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

112, and refers to the auditing standards in effect during the relevant period for their complete

contents.

        113. Importantly, PCAOB Standards recognize that management representations are
“not a substitute for the application of those auditing procedures necessary to afford a reasonable
basis for an opinion regarding the financial statements under audit.” 86 PCAOB Standards further
recognize that “if a representation made by management is contradicted by other audit evidence,
the auditor should investigate the circumstances and consider the reliability of the representation
made.”87

        ANSWER NO. 113: Paragraph 113 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

113, and refers to the auditing standards in effect during the relevant period for their complete

contents.

                2.       Deloitte was Required to Respond to Information Demonstrating that
                         SCANA’s Interim Financial Information Did Not Comply with GAAP

        114. During the Class Period, Deloitte also conducted interim reviews of SCANA’s
quarterly financial information presented in the Company’s Quarterly Reports on Form 10-Q. The
objective of a review of interim financial information differs from that of an audit. The purpose of
such objective reviews was to provide Deloitte with a basis for communicating to SCANA’s
management and Audit Committee whether it was aware of any material modifications that should
be made to the interim financial information for it to conform with GAAP. 88

        ANSWER NO. 114: Deloitte denies the allegations set forth in paragraph 114, except

admits that, during the Class Period, D&T conducted interim reviews of financial information in

SCANA’s reports on Form 10-Qs, and refers to the cited auditing standards for their complete

contents.

        115. To satisfy this objective, PCAOB Standards required that Deloitte perform certain
analytical procedures and make inquiries of persons responsible for financial and accounting

86
   AU § 333.02; AS 2805.02 (2016 Audit).
87
   AU § 333.04; AS 2805.04 (2016 Audit).
88
   AU 722.07 (2015 and 2016 Interim Reviews); AS 4105.07 (2017 Interim Reviews).


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matters.89 To the extent Deloitte became aware of information that led it to conclude that the
interim financial information may not be presented in accordance with GAAP, it was required to
make additional inquiries or perform other procedures to provide a basis for communicating
whether it is aware of any material modifications that should be made to the interim financial
information.90

           ANSWER NO. 115: Paragraph 115 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

115, and refers to the auditing standards in effect during the relevant period for their complete

contents.

           E.      THE NUCLEAR PROJECT CONSISTENTLY SUFFERS FROM
                   SIGNIFICANT AND MATERIAL DELAYS AND COST OVERRUNS,
                   THREATENING SCANA’S ABILITY TO OBTAIN $1.4 BILLION IN
                   NUCLEAR TAX CREDITS

                   1.      From the Beginning, the Nuclear Project Suffers from Significant
                           Delays

        116. Construction began on Units 2 and 3 in March and November 2013, respectively.
Within months, it became clear that there were flaws in the “modular” construction system and
that the Nuclear Project was suffering from significant delays.

           ANSWER NO. 116: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 116, except admits the allegations set forth

in the first sentence of paragraph 116.

         117. Throughout 2013 and 2014, Marsh, and his counterpart at Santee Cooper, Lonnie
Carter, and contractors Westinghouse and CB&I wrote to each other extensively, indicating that
the Nuclear Project was “in danger” because of submodule shipment delays and design failures.
For example, in an August 23, 2013 letter, Carter detailed to Marsh that Westinghouse and CB&I’s
were having “submodule delivery issues,” which “has been a major source of concern and risk
for this project for a long time” and which “plac[ed] the project schedule in jeopardy once again.”
Carter further stated that CB&I and Westinghouse “do not function well as a team to resolve
critical project issues” and that, in Santee Cooper’s view, “the Consortium’s inability to fulfill their
contractual commitments in a timely matter [sic] places the project’s future in danger.” Carter
also noted that, “based on [their prior] discussion,” Marsh “shares [Carter’s] concern” about this
“critical issue for the project and our companies,” and asked Marsh to help “develop a plan


89
     AU 722.07 (2015 and 2016 Interim Reviews); AS 4105.07 (2017 Interim Reviews).
90
     AU 722.22 (2015 and 2016 Interim Reviews); AS 4105.22 (2017 Interim Reviews).


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forward” and “insist on the Consortium providing a realistic plan . . . to fabricate and deliver the
submodules in a timely manner to complete the project on schedule.”

        ANSWER NO. 117: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 117.

        118. In response, on September 5, 2013, Marsh sent an e-mail to Carter, Byrne and
Addison, requesting a meeting with the Westinghouse and CB&I Nuclear Project heads, stating
that they needed to meet “to discuss the status of our nuclear project” because SCANA and Santee
Cooper “continue to have serious concerns about the consortium’s ability to deliver modules from
the Lake Charles facility” after three years “of unsuccessful attempts to resolve its manufacturing
problems.” Marsh emphasized that “missed deadlines put potentially unrecoverable stress on the
milestone schedule approved by the SC Public Service Commission.” At that time, the latest
construction schedule approved by the PSC called for Nuclear Project completion by May 2018.

        ANSWER NO. 118: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 118.

        119. But the Nuclear Project’s delays and missed deadlines continued. The submodules
that were delivered to the Nuclear Project site suffered from numerous design and construction
flaws. In a joint letter, on May 6, 2014, Marsh and Carter wrote to the leaders of Westinghouse
and CB&I to detail the history of the contractors’ “poor performance” on delivery and design,
“and their combined effect on the expected completion date and cost of the project.” The letter
described how the submodules that had been delivered were flawed and “required documentation
processing and repairs” that were still not corrected by May 2014. Marsh and Carter identified
numerous failures, each of which “tested our resolve,” and informed the Consortium that “[a]s a
result of these events, our frustration continues to mount” because “[y]ou have made promise
after promise, but fulfilled few of them.” They also noted that these “unexcused delays will
cause our project costs to increase greatly.”

        ANSWER NO. 119: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 119.

        120. Further, according to Ken Browne, a former senior engineer with SCANA and later
whistleblower to the PSC, by 2014, there was substantial doubt throughout SCANA that the
Nuclear Project could be completed at all. As Browne testified in Lightsey, et. al. v. South Carolina
Electric & Gas Company, et. al., Case No. 2017-CP-25-0335, by 2014, “the absurdity of finishing
the project on schedule at the current rates of performance” was so obvious that “even Ray Charles
could have seen it,”91 and it was “not possible” that “management was unaware of [the Nuclear



91
  Deposition of Ken Browne, Lightsey, et. al. v. South Carolina Electric & Gas Company, et. al., Case No. 2017-CP-
25-0335, 63:10-14; 64:3-7.


                                                       50
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Project’s issues regarding] scheduling and productivity” because “there were internal reports and
communications that provided the status of the project to management.” 92

        ANSWER NO. 120: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 120.

       121. One of those internal reports was a cost estimate model, titled “Target Construction
Productivity”—a report Deloitte did or should have reviewed and tested both in connection with
its audits of SCANA’s financial statements and its audits of project costs incurred—which
analyzed the timeframe necessary to complete the Nuclear Project: 93




This report demonstrated that based on the Nuclear Project’s historical date-to-date performance,
it would take 26.5 years to complete the Nuclear Project. 94 According to Browne, “it just became
unreasonable to think that a – the change required to finish on time could be implemented.” 95




92
   Id. 21:10-18.
93
   See id. at 23:21-25:3; see also Deposition of Ty Troutman, 242:2-243:6; Exhibit 8.
94
   Deposition of Ty Troutman, Exhibit 8; Deposition of Ken Browne, Lightsey, et. al. v. South Carolina Electric &
Gas Company, et. al., Case No. 2017-CP-25-0335, 61:13-22.
95
   Deposition of Ken Browne, Lightsey, et. al. v. South Carolina Electric & Gas Company, et. al., Case No. 2017-CP-
25-0335, 64:5-14.


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         ANSWER NO. 121: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations in paragraph 121, except denies the allegations set forth in the first sentence

of paragraph 121.

       122. Browne also testified that “the progress of [the Nuclear Project] was not correctly
represented in [the SEC] filings,” noting that he “d[idn’t] recall ever seeing a discussion of the
performance factors or the inefficiencies or anything of the sort occurring in the SEC filings.” 96

         ANSWER NO. 122: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 122.

       123. As a result of these problems, by mid-2014 SCANA and Santee Cooper started
looking into an independent third-party assessment of the project. As alleged in the SEC
Complaint, 97 on August 7, 2014, SCANA executives, including Marsh and Byrne, and
representatives from Santee Cooper met with representatives from Westinghouse to discuss the
scheduling delays. At the meeting, Byrne notified Westinghouse that SCANA and Santee Cooper
doubted whether Westinghouse could complete the Nuclear Project by the revised dates approved
by the PSC, and therefore wanted an independent third-party assessment of the schedule
performed.

         ANSWER NO. 123: Deloitte denies the allegations set forth in paragraph 123, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the first sentence of paragraph 123, and refers to the SEC Complaint for its complete

contents.

       124. Westinghouse acknowledged that it would not meet the 2018 completion date for
Unit 2, but represented that it could complete Unit 2 by June 2019 and Unit 3 by June 2020.
However, SCANA’s senior management, including Marsh and Byrne, doubted Westinghouse’s
claims regarding the construction schedule, noting in an earlier letter to Westinghouse that “[y]ou
have made promise after promise, but fulfilled few of them.”

         ANSWER NO. 124: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 124.


96
  Id. 278:15-20; 279:23-25.
97
  The allegations in the SEC Complaint were filed after the SEC served SCANA with an extensive subpoena on
October 16, 2017, with a return date of November 10, 2017, for information and documents regarding the Nuclear
Project, including Deloitte’s audits of SCANA’s financial statements. Lead Plaintiff believes that it will obtain further
and similar evidence to support its allegations after a reasonable opportunity for discovery.


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        125. As alleged in the SEC Complaint, a few months later, on December 10, 2014,
Marsh and Byrne met with representatives from Westinghouse. Byrne reiterated to Westinghouse
that, based on the history of delays on the project, he did not have confidence in their schedule for
completing the Nuclear Project.

        ANSWER NO. 125: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 125, and refers to the SEC Complaint for its

complete contents.

        126. Then, according to the SEC Complaint, on January 6, 2015, SCANA held an
internal meeting to discuss how to move forward with Westinghouse on the Nuclear Project in
light of the substantial delays in construction. Byrne’s notes from that meeting reflect that
Westinghouse was “not meeting critical milestones to achieve June 2019” completion for Unit 2.

        ANSWER NO. 126: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 126, except admits that it sets forth a partial

quotation from the SEC Complaint.

       127. Westinghouse’s repeated failure to meet critical milestones and various
performance metrics was well known, monitored closely and the subject of regular reports.

        ANSWER NO. 127: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 127.

        128. For example, “overall construction complete” and the “monthly percent complete”
metrics were regularly tracked and showed that the Nuclear Project not be completed in accordance
with the stated schedule and in time for SCANA to receive the Nuclear Tax Credits. These metrics
were generated by taking how much construction work had been completed on the project and then
dividing the remaining balance of work to be done by the number of months outstanding prior to
the scheduled completion date (or the production tax credit deadline of January 1, 2021). Under
PCAOB Standards, Deloitte should have reviewed these metrics and reports on a regular, sample
basis during the course of its audits.

        ANSWER NO. 128: Deloitte denies the allegations set forth in paragraph 128, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the first and second sentences of paragraph 128.

        129. The performance factor, the ratio of actual time versus the planned amount of time
labor spends doing a particular task, which measured construction site efficiency, was also
regularly tracked and also showed that the Nuclear Project would not be completed in accordance


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with the stated scheduled and in time for SCANA to receive the Nuclear Tax Credits. A
performance factor of 1.0 means that it took as many labor hours to complete a task than was
planned. A performance factor of 2.0 means that it took twice as many labor hours than was
planned to complete a task. Thus, higher performance factor indicates less efficient labor. The
deadlines for completion of the Nuclear Project assumed that Westinghouse would achieve a
performance factor of 1.15, even though Westinghouse had never achieved an efficiency level that
low during the years that it had been working on the project. Under PCAOB Standards, Deloitte
should have also reviewed this metric on a regular, sample basis during the course of its audits.

       ANSWER NO. 129: Deloitte denies the allegations set forth in paragraph 129, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the first through fifth sentences of paragraph 129.

       130. On January 7, 2015, SCANA executives, including Byrne, met again with
representatives from Westinghouse. At this meeting, Westinghouse stated that June 2019 and June
2020 were the most “realistic” completion dates for Unit 2 and Unit 3, respectively. Westinghouse
then asked whether SCANA believed the revised schedule for the new nuclear units was realistic,
to which Byrne answered “No.”

       ANSWER NO. 130: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 130.

        131. Instead of improving, however, construction delays continued to worsen. The
overall performance factor was around 1.8 for the last six months of 2014; however, by February
2015, the performance factor had increased to 2.37—meaning that it was taking more than twice
as many labor hours to complete a task than planned.

       ANSWER NO. 131: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 131.

       132. The overall construction complete percentages were equally dismal. In February
2015, only about 15% of the project was completed. At that rate of progress, only about 30% of
the Nuclear Project would be completed by July 2019.

       ANSWER NO. 132: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 132.

        133. These metrics were so poor that, according to the SEC Complaint, on March 6,
2015, SCANA and Santee Cooper executives attended a meeting regarding the Nuclear Project’s
lack of progress. The executives discussed the overall construction complete percentage and the
performance factor at the meeting. Both metrics showed that the current construction schedule was
not credible or achievable.


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       ANSWER NO. 133: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 133, and refers to the SEC Complaint for its

complete contents.

               2.      SCANA Petitions PSC for Approval of Revised Delayed Schedules

        134. Due to the continued delays for the Nuclear Project, on March 12, 2015, SCANA
again petitioned the PSC for approval of an updated construction schedule which would delay the
substantial completion dates for Units 2 by 27 months, to June 2019, and Unit 3 by 25 months, to
June 2020. SCANA also sought approval for $698 million in additional costs, bringing its share of
the total costs up to $6.8 billion. Deloitte was aware of this petition.

       ANSWER NO. 134: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 134, except admits that on or about March

12, 2015, SCANA petitioned the PSC for approval of an updated construction schedule and

additional costs.

        135. On September 10, 2015, the PSC approved SCANA’s petition. The PSC concluded
that “the modified construction schedule and capital cost schedule presented in the Company’s
petition were not the result of imprudence” under the terms of the BLRA. In reaching this
conclusion, the PSC cited Byrne’s testimony that “the construction schedule presented here
represents a reasonable and prudent schedule for completing the construction of the Units,”
as well as SCANA’s representation that “[t]he cause of the delay in the project to date has been
[the] delay in the production of submodules for the Units.”

       ANSWER NO. 135: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 135, except admits that it sets forth partial

quotations from the PSC order dated September 10, 2015, and refers to the order for its complete

contents.

        136. The PSC emphasized that the fact that the requested completion dates ensured that
SCANA would receive the expected billions of dollars of Nuclear Tax Credits was an important
factor in its approval, stating “[t]imely completion of the Units is particularly important given
the narrow gap between the current substantial completion date for Unit 3 and the date by
which power must be generated by that Unit to earn the full $2.2 billion in special Federal
Production Tax Credits, net of tax, that are potentially available for the Units.”




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       ANSWER NO. 136: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 136, except admits that it sets forth partial

quotations from the PSC order dated September 10, 2015, and refers to the order for its complete

contents.

        137. The PSC further concluded that “the delay in the project schedule to date results
from delay in the submodule production,” and that “there is no basis on this record to conclude
that the project delays reflected in the updated construction schedule are the result of imprudence
by SCE&G.” The PSC also credited Byrne’s testimony that, while additional delays could occur
in the future, “construction of the Units has proceeded to a point where many of the initial risks
and challenges of new nuclear construction have been overcome.” The PSC found that the
proposed schedule “is a reasonable and prudent plan for completing construction of the Units given
the information available at this time.”

       ANSWER NO. 137: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 137, except admits that it sets forth partial

quotations from the PSC order dated September 10, 2015, and refers to the order for its complete

contents.

               3.      Further Evidence Demonstrates that the Nuclear Project Would Not
                       Be Complete in Time

        138. By April 2015, just weeks after SCANA’s March 2015 petition to delay the
completion date of the Nuclear Project to June 2020, internal communications between SCANA
and Santee Cooper make clear that a completion date in 2020 was unlikely, and that the project
was significantly over budget. On April 6, 2015, Santee Cooper’s Senior Vice President for
Nuclear Energy, Michael Crosby (“Crosby”), emailed Byrne and SCANA’s Jeff Archie a series of
charts regarding the schedule delays and cost overruns on the Nuclear Project “that were discussed
in the Executive Steering Committee meeting” with SCANA held on March 6, 2015. In this email,
Crosby noted that for one chart depicting the “total target cost impact of the Consortium’s poor
management of productivity and labor ratios,” “a total cost curve” using an “average of the actual
numbers recorded on the project” over the last five months “is not shown on the graph because it
would be off the chart.” He further discussed that even in the positive scenarios represented in this
chart “still result in cumulative target costs that are significantly over budget.”

       ANSWER NO. 138: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 138.

        139. Given Deloitte’s responsibility to track the actual performance on the Nuclear
Project to date compared to the original budgeted performance, such information should have been


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reviewed and tested by Deloitte. Thus, both SCANA and Deloitte knew or should have known as
early as April 2015 that the total costs for the Nuclear Project would substantially exceed the public
cost estimates, even in the unlikely event that SCANA was able to improve construction
productivity considerably.

       ANSWER NO. 139: Deloitte denies the allegations set forth in paragraph 139.

       140. The April 6, 2015 email to Byrne also attached another chart titled “Percent
Complete – Direct Craft Work,” (a metric Deloitte should have been reviewing and testing) which
depicted the Nuclear Project’s progress based on skilled labor hours:

       ANSWER NO. 140: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 140.




        141. This chart showed the dramatic disparity between the Nuclear Project’s “actual
progress to date” and the percent of direct craft work (i.e., skilled labor) that would be completed
at the current rate of progress, represented by the blue dotted line, versus the progress “required to
achieve [the] Jun[e] 2019/Jun[e] 2020 SCDs [substantial completion dates” for Units 2 and 3
(represented by the green dotted line). It also revealed that construction of the Nuclear Project was
roughly 16% complete by January 2015, and had progressed only 8% in the prior 24 months—a
rate of 0.33% progress completed per month. According to the chart, Unit 2 would not even reach


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35% completion by its July 2019 purported completion date if progress continued at the same pace.
As Deloitte knew or should have known, this chart demonstrated clearly that in order to complete
the remaining 86% of construction over the remaining 42 months left in the schedule for Unit 2,
the rate of construction progress would have to increase to at least 2% per month—over six times
the current rate—and it would have to improve immediately.

        ANSWER NO. 141: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 141, except denies the allegations set forth

in the last sentence of paragraph 141.

       142. Indeed, as alleged in the SEC Complaint, on April 21, 2015, Marsh attended a
meeting with Santee Cooper during which it was discussed that the Nuclear Project would, in fact,
not meet its deadline for completion. Marsh’s notes from the meeting state that the “current pace
won’t achieve 2020,” referring to the fact based on the current rate of progress, the Nuclear Project
would not be completed in time for SCANA to qualify for the Nuclear Tax Credits.

        ANSWER NO. 142: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 142, except admits that it sets forth a partial

quotation from the SEC Complaint.

       143. Just one week later, on April 28, 2015, Byrne’s nuclear team emailed Byrne a “CEO
Talking Points” memorandum in preparation for an upcoming joint SCANA – Santee Copper
meeting, which listed numerous “schedule concerns” that SCANA and Santee Cooper had
regarding the nuclear expansion project including that:

               Westinghouse “has no credibility for developing a realistic schedule”;

               Westinghouse “continues to fail on executing critical work”;

               “The cumulative direct craft productivity factor (PF) has gotten worse every month
                for the past two years”;

               “In the last 2 years, less than 8% of direct work has been completed”;

               “And despite the negative trend in craft productivity, in the next 4-1/2 years, 84%
                will need to be completed to meet the Jun 2019/Jun 2020 SCDs”;

               SCANA and Santee Cooper have “no confidence in [Westinghouse’s] ability to
                complete Unit 3 by the end of 2020 and suspect[] that production tax credits are in
                jeopardy for that unit”; and




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               “The continued failure to meet schedule (Unit 2 now at least 39 months late, and
                Unit 3 at least 18 months late . . . ) has severely impacted credibility and has placed
                ongoing regulatory and financial support in jeopardy.”

        ANSWER NO. 143: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 143.

       144. The memorandum concluded that “Production Tax Credits are at risk”; “Financing
Costs are at risk for increasing”; and “BLRA rate recovery is at risk.”

        ANSWER NO. 144: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 144.

       145. The SEC Complaint alleges that when asked by a SCANA executive how these
conclusions could be reconciled with SCANA’s recent petition to the PSC (a task Deloitte too was
responsible for conducting), a member of SCANA’s nuclear team responded “[r]espectfully,
there is no way to comment on these talking points and remain consistent with the recent
PSC filing. This is more like a tale of two projects.”

        ANSWER NO. 145: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 145, except admits that it sets forth a partial

quotation from the SEC Complaint.

      146. In June 2015, SCANA’s and Santee Cooper’s nuclear teams prepared another
“CEO Meeting Talking Points” memorandum for an upcoming meeting on June 5 with
Westinghouse.

        ANSWER NO. 146: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 146.

        147.    The memorandum stated:

                Completion of the [Westinghouse] AP1000 design has been a
                significant project challenge affecting procurement and
                construction. The incomplete design of the AP1000 has resulted in
                3–4 years of inefficient (and very poor) site execution. As a result,
                [Westinghouse] has not been able to achieve success on any
                schedule or cost estimate published to date. These issues have
                created a significant question of [Westinghouse’s] credibility
                regarding the delivery of the project.




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        ANSWER NO. 147: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 147.

       148. The memorandum also noted again that Westinghouse “has little credibility for
developing a realistic cost estimate.”

        ANSWER NO. 148: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 148.

       149. The memorandum further noted that the continued failure to meet milestones has
placed the “regulatory and financial support in jeopardy” and, for SCANA, put the “production
tax credits in jeopardy.” In short, SCANA and Santee Cooper had “little confidence in
[Westinghouse’s] ability to complete Unit 3 by the end of 2020.”

        ANSWER NO. 149: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 149.

       150. The SEC Complaint alleges that at that June 5, 2015 meeting, SCANA and Santee
Cooper notified Westinghouse that, in light of these serious issues, they planned to have an
independent third party evaluate the Nuclear Project.

        ANSWER NO. 150: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 150, and refers to the SEC Complaint for its

complete contents.

       151. These delays were so severe that, according to the SEC Complaint, on January 4,
2016, a member of SCANA’s own nuclear team informed Marsh that she “did not want to be
involved in any of the SEC reporting activities because she was scared of [SCANA’s] disclosures,”
according to Marsh’s notes from the meeting.

        ANSWER NO. 151: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 151, except admits that it sets forth a partial

quotation from the SEC Complaint.

        152. A few weeks later, on January 25, 2016, SCANA’s Risk Management Committee
held a quarterly meeting (minutes of which Deloitte should have reviewed). The SEC Complaint
alleges that at the meeting, SCANA executives identified “schedule delays” and the receipt of
“production tax credits” as “key risk[s]” and rated them “Red.” SCANA defined “Red” risk areas
as: “Higher area of management concern. Events related to this area have progressed or are



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progressing in a manner that could be ultimately adverse to the accomplishment of SCANA’s
strategic plan. Requires very heightened management attention and activity in this area.”

       ANSWER NO. 152: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 152, except admits that it sets forth partial

quotations from the SEC Complaint.

               4.      SCANA Elects the Fixed Price Option

         153. As a result of the continuing construction delays and problems, just eight months
after its last petition, on May 26, 2016, SCANA again petitioned the PSC for approval to update
the capital cost schedule and construction milestone schedule for the Nuclear Project. Deloitte was
again aware of this petition. In its petition, SCANA informed the PSC that it had “notified
Westinghouse that it will elect the Fixed Price Option” under the EPC Amendment, subject to
Santee Cooper’s concurrence and PSC approval. The petition reflected an increase in total project
costs of approximately $852 million over the cost approved by the PSC in September 2015, of
which approximately $505 million was directly attributable to the fixed price option. The Nuclear
Project’s estimated gross construction cost was estimated to be approximately $7.7 billion.

       ANSWER NO. 153: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 153, except admits the allegations set forth

in the second sentence of paragraph 153 as they relate to D&T, and that SCANA filed a petition

on May 26, 2016, and refers to the petition for its complete contents.

        154. On June 3, 2016, Santee Cooper’s Board of Directors allowed SCANA to formally
elect the fixed price option on both companies’ behalf. The fixed price option amended the EPC
Contract to fix substantially all of the costs to be paid for the remaining scope of the Nuclear
Project, and thus was expected to limit the Nuclear Projects’ construction cost.

       ANSWER NO. 154: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 154, except admits that in 2016, SCANA

elected to exercise an option under the EPC contract to fix the total amount to be paid under the

contract for work performed after June 30, 2015, subject to certain exceptions.

        155. The market reacted favorably to SCANA’s decision to elect the fixed price option.
For example, on June 5, 2016, a Wells Fargo analyst report reiterated its outlook on SCANA as
offering investors an “attractive risk/reward proposition.” The Wells Fargo analyst report noted
that SCANA “expressed confidence in the target substantial completion dates of August 2019
(Unit 2) and August 2020 (Unit 3).” Furthermore, regarding the BLRA’s requirement that


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SCANA must act prudently to recover costs, SCANA’s statements left Wells Fargo to “believe
SCG will be able to demonstrate the rationale, customer benefits, etc. of the FPO [Fixed Price
Option]”—i.e. that it has acted prudently in managing the Nuclear Project. Specifically, the report
stated as follows:

               Prudency - Importantly, the ORS stressed that their diligence
               efforts will be consistent with what is prescribed under the state’s
               2007 Base Load Review Act (BLRA). Specifically, the BLRA
               allows SCG to recover higher costs unless the ORS (or other
               parties) can show that the company acted imprudently. Thus, the
               burden of proof for disallowance of costs is on the intervenors, not
               the utility. The imprudence test does not extend to the
               actions/performance of other members of the Engineering,
               Procurement & Construction consortium (i.e. Westinghouse, CBI,
               etc.). Ultimately, we believe SCG will be able to demonstrate the
               rationale, customer benefits, etc. of the FPO.

       ANSWER NO. 155: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 155.

       156.    On July 1, 2016, SCANA executed the fixed price option, subject to PSC approval.

       ANSWER NO. 156: Deloitte admits the allegations set forth in paragraph 156.

       157. In a directive dated November 9, 2016, the PSC approved the revised schedule,
costs and election of the fixed price option, and found that “the evidence of record justifies a
finding that the changes are not the result of imprudence on the part of” SCANA.

       ANSWER NO. 157: Deloitte denies the allegations set forth in paragraph 157, except

admits that in or about November 2016, the PSC approved the revised schedule and election of the

fixed price option and refers to the directive for its complete contents.

        158. The election of fixed price option created the expectation that Westinghouse would
be willing and able to pay for any costs that exceeded the $7.7 billion fixed price. In reality,
SCANA and Deloitte knew or should have known that (i) costs would vastly exceed the $7.7
billion fixed price, and (ii) Westinghouse and its parent Toshiba would be unable to fund those
excess costs.

       ANSWER NO. 158: Deloitte denies the allegations set forth in paragraph 158, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the first sentence of paragraph 158.



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                    5.      SCANA Retains Bechtel to Assess the Nuclear Project

       159. Meanwhile, given the dire construction delays and issues, SCANA also hired a third
party, Bechtel—an internationally known engineering, procurement, construction, and project-
management company based in Virginia98 to assess the Nuclear Project. Bechtel was paid $1
million for its assessment.

           ANSWER NO. 159: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 159.

        160. On February 10, 2015, Bechtel submitted an “Assessment Proposal” to SCANA
and Santee Cooper. According to the proposal, Bechtel would provide an “assessment [] to assist
the owners of the V.C. Summer Nuclear Generating Stations Units 2 & 3 in better understanding
the current status and potential challenges of the project as a first step in helping to ensure the
project is on the most cost-efficient trajectory to completion.” Bechtel made clear in its Assessment
Proposal that it “will not evaluate the ownership of past impacts or validity of pending or future
claims”—in short, that its work would not be used in the context of current or anticipated litigation:
No immediate action was taken on Bechtel’s proposal.

           ANSWER NO. 160: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 160.

        161. According to an internal Santee Cooper document dated November 28, 2016 that
recounted the history of the Bechtel relationship (the “SC Nuclear Timeline”), on April 7, 2015,
Marsh and other SCANA and Santee Cooper executives met with Bechtel’s nuclear team to discuss
their Assessment Proposal, and to decide whether to proceed with the engagement.

           ANSWER NO. 161: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 161.

        162. Numerous internal emails show that both SCANA and Santee Cooper envisioned
Bechtel’s role as providing a “third party assessment or act[ing] as Owner’s Engineer,” —i.e. a
qualified engineering expert to assess the project. SCANA and Santee Cooper agreed to Bechtel
signing a non-disclosure agreement (“NDA”) so that Bechtel could more quickly gain access to
confidential documents related to the Nuclear Project for purposes of beginning its assessment.

           ANSWER NO. 162: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 162.

      163. Further, Bechtel clearly conveyed that its work was not privileged as it was shared
with—and even conducted on behalf of—the Consortium. On June 1, 2015, Bechtel executed the

98
     Bechtel has worked on mega-projects for over 80 years, including construction of the Hoover Dam in Nevada.


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Proprietary Data Agreement and NDA with SCE&G that allowed Bechtel access to confidential
“information in oral, written or physical form” related to the “AP1000 Nuclear Power Plant(s) and
related facilities.” Notably, Westinghouse and Stone & Webster were “expressly recognized as
third party beneficiary(ies) to this Agreement” such that the Proprietary Data Agreement was
enforceable by Westinghouse. Moreover, as evidenced in communications between counsel for
Westinghouse, CB&I, SCANA and Santee Cooper on July 28, 2015 and July 30, 2015,
Westinghouse and CB&I were active participants in providing edits to and then approving the
language of the agreement retaining Bechtel and setting out the terms of Bechtel’s assessment (the
“Bechtel Agreement”).

       ANSWER NO. 163: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 163.

               6.      The Bechtel Assessment and First Bechtel Report

        164. Bechtel performed a comprehensive, in-depth assessment of the Nuclear Project. In
a span of three months, the Bechtel team (i) reviewed over 350 Nuclear Project documents; (ii)
attended 70 meetings with personnel from Westinghouse, CB&I, SCANA and Santee Cooper; (iii)
conducted 25 interviews with personnel from Westinghouse, CB&I, SCANA and Santee Cooper;
(iv) completed 24 site walkdowns and real time observations; and (v) attended 7 presentations on
various subjects. Bechtel interviewed high-level SCANA executives including Byrne; Ron Jones,
SCANA’s Project Director for the Nuclear Project and Vice President of New Nuclear Operations;
Alan Torres, SCANA’s General Manager of Nuclear Plant Construction; Jeff Archie, SCANA’s
Chief Nuclear Officer and Senior Vice President; and Carlette Walker, SCANA’s Vice President
of Nuclear Financial Administration, who reported directly to Addison. Bechtel also interviewed
leaders of the Nuclear Project from the Consortium, including but not limited to Westinghouse’s
Nuclear Project Manager and Director of Licensing.

       ANSWER NO. 164: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 164.

       165. Throughout its assessment, Bechtel provided regular updates to Marsh, including
weekly update calls from August 10 to October 16, 2015 between the President of Bechtel Nuclear,
Security & Environmental, Craig Albert, and Marsh and Santee Cooper CEO Carter. Bechtel also
provided Weekly Reports to SCANA documenting the work completed by Bechtel each week, and
the work planned for the next week.

       ANSWER NO. 165: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 165.

        166. By October 2015, Bechtel was ready to discuss key observations from its
assessment with SCANA and Santee Cooper. At that time, and as discussed above, the Nuclear
Project was still significantly behind schedule, and had been falling further behind schedule each
month. As alleged in the SEC Complaint, a SCANA nuclear construction manager stated that


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“[b]asically, not a single schedule mitigation has worked.” Another SCANA nuclear finance
manager stated that “it would take 22 years to complete the plants” at the current rate of
progress. Accordingly, the Bechtel team determined there were “significant issues” facing the
Nuclear Project that threatened its “successful completion.”

       ANSWER NO. 166: Deloitte denies the allegations set forth in paragraph 166, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the first and second sentences of paragraph 166, and admits that the paragraph sets forth

partial quotations from the SEC Complaint.

        167. On October 13, 2015, Bechtel emailed Crosby, Santee Cooper’s Senior Vice
President, its “Preliminary Assessment” which “form[ed] the basis of [Bechtel’s] presentation” to
the SCANA and Santee Cooper executives. Bechtel noted that its recommendations were “still in
development but will [also] be part of the exec review.” This email indicated that the “Scope of
the Assessment” was focused on “evaluat[ing] the status of the project to assess the Consortium’s
ability to complete the project on the forecasted schedule.” On October 14, 2015, Crosby
forwarded this email to Carter, explaining that after the “CEO meeting” with Marsh and Carter
around October 22nd or 23rd was scheduled, Bechtel would “schedule a sit-down meeting with
Byrne” and Crosby, “and also a separate meeting with [SCANA’s] Jeff Archie’s staff” before the
Bechtel Assessment meeting with the CEOs. Thus, although Crosby noted that “SCE&G has not
seen this [Preliminary Assessment] yet,” the email clearly indicated that it would be discussed with
SCANA even before the October 22, 2015 Bechtel Assessment meeting.

       ANSWER NO. 167: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 167.

       168. Accordingly, on October 16, 2015, the Bechtel team met in person with Marsh to
discuss the final results of their assessment. Then, on October 22, 2015, Bechtel presented its
“project assessment, findings, and high-level recommendations” to SCANA’s and Santee
Cooper’s executive management in SCANA’s Cayce, South Carolina headquarters (the “Bechtel
Assessment”).

       ANSWER NO. 168: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 168.

       169. Bechtel’s findings did not take SCANA executives by surprise. In an October 14,
2015 email forwarding Bechtel’s preliminary assessment to Carter, Crosby noted that although he
did “not see any real surprises . . . the Bechtel projection on commercial operation dates is
sobering.” Bechtel’s “preliminary assessment of the project schedule [was] that the commercial
operation dates will be extended.” Bechtel projected that Unit 2 would not be in operation until
“18-26 months beyond the current June 2019 commercial operation date” and Unit 3 would



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not be completed until “24-32 months beyond the current June 2020 commercial operation
date.”

       ANSWER NO. 169: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 169.

        170. Bechtel’s presentation thus included highly critical findings regarding the project
schedule. Specifically, Bechtel found that “the current schedule is at risk” and that “[t]o-go scope
quantities, installation rates, productivity, and staffing levels all point to completion later than
current forecast.” Bechtel also found that “[t]he Consortium’s forecasts for schedule durations,
productivity, forecasted manhour peaks, and percent complete are unrealistic.” With respect to
engineering, Bechtel found that “the issued design is often not constructible (currently averaging
over 600 changes per month).” Bechtel also observed that Westinghouse’s “forecasts for schedule
durations, productivity, forecasted manpower peaks, and percent complete do not have a firm
basis.”

       ANSWER NO. 170: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 170.

        171. Thus, Bechtel’s preliminary results indicated that Unit 2, which was currently
scheduled to be completed by June 2019, would not be in service until between December 2020
and August 2021 or 18 to 26 months later than scheduled. Bechtel’s preliminary results also
indicated that Unit 3, which was scheduled to be completed by June 2020, would not be completed
until between June 2022 and June 2023 or 24 to 36 months later than scheduled. Unit 2 was left
with a small, one month window for to qualify for the Nuclear Tax Credits under these revised
dates, while Unit 3 would not be completed in time to qualify.

       ANSWER NO. 171: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 171.

        172. Importantly, Bechtel’s revised completion dates were projected under a best-case
scenario for SCANA that assumed implementation of Bechtel’s recommendations, and a
significant improvement in the rate of construction.

       ANSWER NO. 172: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 172.

       173. Bechtel’s presentation also included several highly critical findings regarding
SCANA’s management of the project. Bechtel found that “[t]he Owners do not have an
appropriate project controls team to assess/validate Consortium reported progress and
performance.” In addition, Bechtel’s assessment found that the Nuclear Project suffered from a
“lack of accountability,” and “[t]he current hands-off approach taken by the Owners towards
management of the Consortium does not allow for real- time, appropriate cost and schedule


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mitigation.” In its presentation, Bechtel made several recommendations on how SCANA could
improve its oversight of the Nuclear Project.

       ANSWER NO. 173: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 173.

        174. In conclusion, Bechtel found that “the V.C. Summer Units 2 and 3 project suffers
from various fundamental EPC and major project management issues that must be resolved for
project success.”

       ANSWER NO. 174: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 174.

       175. On October 27, 2015, a mere five days after Bechtel issued his initial findings that
the Nuclear Project would be delayed by at least three years, SCANA announced in a press release
and Form 8-K that it had amended the EPC Contract (the “EPC Amendment”), delaying the
GSCDs by only two months—August 31, 2019 for Unit 2 and August 31, 2020 for Unit 3—along
with another $300-800 million increase to SCANA’s total construction costs.

       ANSWER NO. 175: Deloitte denies the allegations set forth in paragraph 175, except

admits that SCANA issued a press release and Form 10-K on October 27, 2015, and refers to the

cited materials for their complete contents.

      176. The October 22, 2015 Bechtel Assessment presented to SCANA’s and Santee
Cooper’s executive management was then detailed in a 130-page Project Assessment Report, dated
November 9, 2015 (the “First Bechtel Report”).

       ANSWER NO. 176: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 176, except admits that Bechtel prepared the

First Bechtel Report, and refers to the First Bechtel Report for its complete contents.

        177. The First Bechtel Report consisted of five areas of assessment: (i) Project
Management; (ii) Engineering and Licensing; (iii) Procurement; (iv) Construction and Project
Controls, including an “Analysis of the Project Construction Schedule”; and (v) the Startup plans
for the nuclear units once completed. The Weekly Reports attached to the First Bechtel Report
indicate Bechtel’s team spoke openly with SCANA, Santee Cooper, Westinghouse, and CB&I
employees and officers without the attendance, participation, or input of any legal counsel. While
the cover of the First Bechtel Report notes that it is “Strictly Confidential,” there is no mention of
the report being created in anticipation of litigation, being directed by attorneys, or otherwise being
subject to attorney-client privilege.



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       ANSWER NO. 177: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 177, except admits that Bechtel prepared the

First Bechtel Report, and refers to the First Bechtel Report for its complete contents.

        178. The First Bechtel Report was again highly critical of SCANA’s management of the
project, stating that “the current schedule is at risk” because “[t]he to-go scope quantities,
installation rates, productivity, and staffing levels all point to project completion later than the
current forecast.” In sum, Bechtel concluded that the schedule that was approved by the PSC just
weeks before, on September 10, 2015—with completion dates of June 2019 and June 2020,
respectively—was impossible to achieve. The First Bechtel Report also concluded that the current
approved schedule would be delayed up to three years, and included the following timeline:

                            Impacts on Commercial Operation Dates
                                             Unit 2                     Unit 3
 Current COD                               June 2019                  June 2020
 Adjustment                             18 to 26 months            24 to 36 months
 New COD                             Dec 2020 to Aug 2021       June 2022 to June 2023

       ANSWER NO. 178: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 178, except admits that it contains partial

quotations from the First Bechtel Report, and refers to the First Bechtel Report for its complete

contents.

        179. Bechtel provided an objective performance metric that had to be met in order for
the Nuclear Project to have even a chance of being completed by the end of 2020. Specifically,
Bechtel’s projections relied on the Nuclear Project reaching a rate of 3% monthly construction
progress. However, at that time, the Nuclear Project reached only 0.5% construction progress per
month on average, and was only 21% complete to date. SCANA would, therefore, somehow need
to improve performance from 0.5% to 3%—or by 600%—and the improvement would have to
happen immediately, in order for the Nuclear Project to be completed by the end of 2020. Such
improvement would be impossible without addressing and correcting the numerous significant
deficiencies in project management, engineering, licensing, procurement, and construction
identified by Bechtel and addressed in over 80 separate “Observations” and “Recommendations”
in the First Bechtel Report.

       ANSWER NO. 179: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 179, except admits that it contains partial

quotations from the First Bechtel Report, and refers to the First Bechtel Report for its complete

contents.


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        180. The First Bechtel Report provided an Executive Summary summarizing numerous
reasons why the Nuclear Project’s recently approved schedule was “at risk.” In addition to the
specific conclusions on the timing of the schedule, Bechtel concluded that:

              “While the Consortium’s engineering, procurement, and construction (EPC) plans
               and schedules are integrated, the plans and schedules are not reflective of actual
               project circumstances.”

              “The Consortium lacks the project management integration needed for a successful
               project.”

              “There is a lack of shared vision, goals, and accountability between the Owners and
               the Consortium.”

              “The Contract does not appear to be serving the Owners or the Consortium
               particularly well.”

              “The detailed engineering design is not yet completed which will subsequently
               affect the performance of procurement and construction.”

              “The issued design is often not constructible resulting in a significant number of
               changes and causing delays.”

              “The oversight approach taken by the Owners does not allow for real-time,
               appropriate cost and schedule mitigation.”

              “The relationship between the Consortium partners . . . is strained, caused to a large
               extent by commercial issues.”

              “The recently announced acquisition of CB&I and WEC and the hiring of another
               construction contractor” could “caus[e] further delays in mitigating the
               resulting project impacts” because “the issues at V.C. Summer rest with both
               engineering, procurement, and construction”.

       ANSWER NO. 180: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 180, except admits that it contains partial

quotations from the First Bechtel Report, and refers to the First Bechtel Report for its complete

contents.

    181. The First Bechtel Report also identified deficiencies related specifically to
SCANA’s management of the Nuclear Project including, but not limited to, the following:

              “As the Owners, SCE&G and Santee Cooper have the responsibility to manage
               their portion of the prime contract and ensure that the Consortium contractors are


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                     fulfilling their contractual observations.” Yet, Bechtel observed that “[t]here is a
                     lack of accountability” in various SCANA departments, and [t]he approach [to
                     project management] taken by [SCANA and Santee Cooper] does not allow for
                     real-time, appropriate cost and schedule mitigation.”

                    “The Owners’ [SCANA and Santee Cooper] organization lacks the appropriate
                     personnel to provide the proper level of review and oversight required to drive
                     the project to successful completion.”

                    “The Owners’ oversight organization does not have a proper Project Controls
                     staff.”

                    “The Consortium does not appear to be commercially motivated to meet Owner
                     goals.”

                    “[T]he V.C. Summer Units 2 & 3 project suffers from various fundamental EPC
                     and major project management issues that must be resolved for project success.”

           ANSWER NO. 181: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 181, except admits that it contains partial

quotations from the First Bechtel Report, and refers to the First Bechtel Report for its complete

contents.

         182. Bechtel’s stark conclusions were not a surprise to SCANA or to Deloitte. Indeed,
Browne later testified that “[t]here were people in the project who knew everything that was in the
Bechtel study before Bechtel ever showed up on site.”99 Further, Marsh admitted under oath in
2017 testimony that Bechtel’s conclusions were “not news” because SCANA already knew “the
majority” of the things contained within the Bechtel Report before October 2015. Byrne similarly
testified in 2017 that “the issues that were raised by Bechtel had largely been raised by our folks
before the Bechtel report.”

           ANSWER NO. 182: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 182.

       183. Despite receipt of the First Bechtel Report, in November 2015, SCANA told the
PSC that the GSCD would be met well in advance of the January 1, 2020 tax credits deadline. For
example, Marsh stated that SCANA “wanted to focus Westinghouse very keenly on meeting the
deadlines for the production tax credits,” and remarked that there was sufficient time between the
GSCDs and tax credit deadline because the units would be substantially completed 6 to 12 months
in advance of the tax credits deadline:


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     Id. 64:20-23.


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               As you know, those tax credits expire at the end of 2020. We have
               to have our plants on line at the end of 2020 to qualify for those. The
               first plant is certainly more than a year ahead of that; the second
               plant is a little bit less than six months ahead of that, . . . so we
               wanted to make sure we kept them focused on trying to reach those
               goals so we could secure those benefits for customers that amount
               to about $2.3 billion on a pretax basis.

       ANSWER NO. 183: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 183, except admits that Marsh testified

before the PSC, and refers to the testimony for its complete contents.

               7.      The Second Bechtel Report

       184. On or about February 5, 2016, Bechtel delivered a second Project Assessment
Report (the “Second Bechtel Report”) (together with the First Bechtel Report, the “Bechtel
Reports”). No new assessment work had been performed by Bechtel since the First Bechtel Report,
and no additional information had been added.

       ANSWER NO. 184: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 184, except admits that Bechtel prepared the

Second Bechtel Report, and refers to the Second Bechtel Report for its complete contents. Deloitte

affirmatively avers that it did not receive the Second Bechtel Report until after SCANA announced

its abandonment of the Nuclear Project.

        185. The Second Bechtel Report listed many of the same problems identified in the First
Bechtel Report. These problems made clear that it would be impossible for the Nuclear Project to
be completed by the end of 2020. As The Post and Courier later reported, the Second Bechtel
Report demonstrated that “SCANA and Santee Cooper knew the effort to construct two nuclear
reactors was failing more than a year before the ambitious energy project was scrapped [in July
2017].”

       ANSWER NO. 185: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 185, except admits that Bechtel prepared the

Second Bechtel Report, and that the paragraph contains a partial quotation from the referenced

article and refers to the article and Second Bechtel Report for their complete contents.




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        186. Both the First and Second Bechtel Reports stated that the recently-revised schedule,
approved by the PSC in September 2015, “has slipped significantly” and “continues to slip,” and
identified “Major Issues Affecting Schedule and Performance,” including:

              “A large percentage of the personnel on the project” have been “working too many
               hours for an extended period,” which is proven to “reduc[e] productivity” and
               “negatively affect[] morale, decision making, and safety”;

              “Significant Non-Manual Turnover” of “greater than 17%, which is high for a
               typical nuclear plant” and is likely attributable to the Nuclear Project’s “safety, cost,
               and schedule concerns” that were “compounded with the frustrations of design
               change” at the Units;

              A poor management process that minimized, rather than maximized, actual
               craftsmen time at the workface;

              “A large part of the schedule slip is related to late design changes, slow resolution
               of interference issues, and the time it takes to resolve construction errors and quality
               problems. . . . As long as there are late design changes occurring and there is not
               expeditious resolution of issues that arise, there will continue to be significant
               schedule slippages”; and

              The modular design strategies employed at the Units, “while a great concept, have
               proven to be an impediment to the construction and are more complicated to
               fabricate.”

       ANSWER NO. 186: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 186, except admits that it contains partial

quotations from the First Bechtel Report and the Second Bechtel Report, and refers to those

documents for their complete contents.

        187. The most important “key schedule challenge” identified by Bechtel in both the
First and Second Bechtel Reports remained the Nuclear Project’s dismal progress percentages.
Without improving this key indicator, it would be impossible for SCANA to complete the Nuclear
Project in time to qualify for the Nuclear Tax Credits. Indeed, as Bechtel repeated, “[i]n order for
the plant to complete on schedule, monthly construction progress must increase to close to
3%.”

       ANSWER NO. 187: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 187, except admits that it contains partial




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quotations from the First Bechtel Report and the Second Bechtel Report, and refers to those

documents for their complete contents.

       188. In the wake of the Second Bechtel Report, in February 2016, Santee Cooper
authored a one-page memorandum titled the “Bechtel Report Action Plan,” as later confirmed by
Santee Cooper’s General Counsel in a letter to South Carolina Governor McMaster on September
27, 2017. The Bechtel Report Action Plan is divided into three sections: (i) “SCE&G Concerns”;
“Santee Cooper Proposal for Use of Report”; and (iii) “Santee Cooper Action Steps.”

       ANSWER NO. 188: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 188, except admits that Santee Cooper sent

a letter to Governor McMaster on September 27, 2017, and refers to its complete contents.

       189. Santee Cooper wrote in the Bechtel Report Action Plan, in a section titled “SCE&G
Concerns,” “What mitigation effort is required to defend potential shareholder suit -- Now that
SCE&G is specifically aware of problems in [the] report, failure to act may result in O&D
[Officers’ and Directors’] liability.” The Bechtel Report Action Plan further described how
SCANA and Santee Cooper colluded to ensure that any “disclosures” made to prospective buyers
of each company’s corporate debt—the primary source of funds used for the Nuclear Project—
were “similar,” given that they both knew the Nuclear Project was seriously troubled and they
were concerned about how “to defend [a] potential shareholder suit.” Thus, the Bechtel Report
Action Plan demonstrates that SCANA (and by implication, Deloitte) was acutely aware of how
its public statements since October 2015 differed materially from Bechtel’s undisclosed
Assessment and Reports.

       ANSWER NO. 189: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 189.

               8.      SCANA Files its 2015 Form 10-K and Deloitte Issues a Clean Audit
                       Report

       190. On February 26, 2016, SCANA filed its annual report on Form 10-K for the year
ended December 31, 2015. In it, SCANA represented that SCANA fully expected to complete the
Nuclear Project in time to receive the $1.4 billion in tax credits, stating “[b]ased on the
guaranteed substantial completion dates provided above [August 2019 and 2020], both New
Units are expected to be operational and to qualify for the nuclear production tax credits.”

       ANSWER NO. 190: Deloitte denies the allegations set forth in paragraph 190, except

admits that SCANA filed a Form 10-K on February 26, 2016, and refers to the Form 10-K for its

complete contents.



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        191. Further, despite its receipt of the Bechtel Report and all of the internal documents
and metrics demonstrating that the Nuclear Project was besieged by significant delay, Deloitte
gave its imprimatur to these representations, issuing an unqualified, clean audit report and stating
that SCANA’s financial statements “present fairly, in all material respects, the consolidated
financial position” of SCANA “in conformity with accounting principles generally accepted in the
United States.”

       ANSWER NO. 191: Deloitte denies the allegations set forth in paragraph 191.

               9.      SCANA Rejects the Recommendations in the Bechtel Action Plan

        192. As discussed above, Bechtel made numerous recommendations to SCANA in an
effort to get the Nuclear Project on track in a manner that would allow it to reach completion.
Following Bechtel’s assessment, Santee Cooper repeatedly sought SCANA’s cooperation in
implementing them. SCANA ignored these recommendations.

       ANSWER NO. 192: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 192.

        193. Specifically, one month after receipt of the Second Bechtel Report and one week
after the 2016 Form 10-K was filed, on March 4, 2016, Santee Cooper sent Marsh a five-page
memo titled “Santee Cooper Recommendations,” in which Santee Cooper wrote: “Over the past
seven years, the Consortium’s inability to coordinate itself and complete the engineering,
procurement, and construction work necessary to deliver this project on a schedule has come at a
high cost to the Owners.” Santee Cooper estimated its own share of the cost as “approximately
$35 million” for each month of delay (SCANA’s share of the costs would be larger in light of its
majority interest in the Nuclear Project). Santee Cooper also conclusively stated that “[n]ew
project management and leadership are needed to overcome these challenges,” which have
“significant impact upon the Owners.”

       ANSWER NO. 193: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 193.

        194. Santee Cooper impressed upon SCANA the need to act quickly due to the then-
existing, significant “risk” that SCANA would “not receiv[e] the production tax credits” worth
$1.4 billion to the Company: “Considering the Consortium’s record, nearly three years of delays,
and the risk associated with not receiving the production tax credits, it is incumbent upon the
Owners to employ increased and magnified oversight to ensure that WEC and Fluor will properly
coordinate efforts to resolve the challenges facing the Project.”

       ANSWER NO. 194: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 194.




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       195. In this memorandum, Santee Cooper also emphasized the monthly progress
percentage also set forth by Bechtel that had to be met for the Nuclear Project be completed by the
end of 2020:
               In 2015, only 3.7% direct craft progress (0.31% per month) was
               earned towards completion of the combined units. The year closed
               with overall direct craft construction at 18.7% complete. With 81%
               of the work to go, the monthly construction progress must
               increase to around 2.5% if contract dates are to be achieved.
               Failure to realize a significant and sustained increase on this
               metric over the next six months will invariably result in more
               project delay.

       ANSWER NO. 195: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 195.

        196. In order to increase the monthly progress percentage Santee Cooper recommended,
among other things, that SCANA improve the “professional oversight of the EPC [Contract]” by
choosing one of the two options described in the Bechtel Report Action Plan: (i) hire “a career
professional with extensive experience in complex, new-build generation projects” who would
report directly to Marsh and answer to Santee Cooper’s CEO Carter; or (ii) retain an independent
“qualified EPC firm, including executive leadership and support personnel” to provide the needed
oversight services.

       ANSWER NO. 196: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 196.

         197. On March 3, 2016, Santee Cooper drafted another four-page memorandum titled
“V.C. Summer – United 2 & 3 – Concerns with Consortium and EPC Management,” which was
sent to Santee Cooper’s Board of Directors in preparation for a March 21, 2016 joint meeting of
SCANA and Santee Cooper’s Boards of Directors. Given that such materials were shared with
Santee Cooper’s Board in advance of the March 21, 2016 joint Board meeting, it is likely that they
were also shared with SCANA’s Board, and therefore Deloitte as well. The memorandum stated
that “[t]he SCE&G oversight staff lacks the experience, and in some cases, the support of upper
management, to hold the Consortium accountable for the work sold under the EPC [Contract].”
The memorandum also set forth (without specific attribution to Bechtel) Bechtel’s opinion that (i)
“SCE&G needs to on- board professional EPC management support for the V.C. Summer Project”;
(ii) the changing members of the Consortium’s inability to “fully complete[] and integrate[] the
engineering, procurement and construction plans and schedules necessary to deliver the Project”;
(iii) evidence that Westinghouse “is not properly funding Fluor to allow the addition of needed
contractor employees”; (iv) a lack of transparency on the part of the Consortium; (v) the fact that
Westinghouse’s “design engineering has been a significant impediment to the Project from the
outset”; and (vi) Westinghouse’s design “is often not constructible requiring change modifications,
impedes performance, and a source of numerous delays.”




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        ANSWER NO. 197: Deloitte denies the allegations set forth in paragraph 197, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the first, third, and final sentences of paragraph 197.

        198. In the memorandum, Santee Cooper stated that “schedule adherence [was]
unrealistic” because the “[p]lans and schedules contain unreasonable assumptions and do not
reflect actual project circumstances.” Santee Cooper also stated that the “project completion dates
[were] artificially constrained,” “[c]ritical path material deliveries . . . do not support construction
need dates,” and “[m]issed milestones push-out and are rarely recovered.” Finally, Santee Cooper
specifically emphasized the urgent need for SCANA’s oversight of the Nuclear Project’s
“planning, scheduling and execution.”

        ANSWER NO. 198: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 198.

       199. Given the lack of progress on the Nuclear Project as well as its crucial role in
achieving completion of the project in time to obtain the Nuclear Tax Credits, Deloitte was
required to have inquired as to Santee Cooper's view of the Nuclear Project. Had it done so, it
would have learned Santee Cooper had continuously been conveying to SCANA the impossibility
of completing the Nuclear Project by the end of 2020, based on historical performance.

        ANSWER NO. 199: Deloitte denies the allegations set forth in paragraph 199.

        200. On March 7, 2016, shortly after receiving the Santee Cooper Recommendations,
Marsh and his team met with Carter and other Santee Cooper executives to discuss the concerns
laid out in the Santee Cooper Recommendations in advance of the joint Board of Directors’
meeting on March 21, 2016. A March 14, 2016 email from Carter to Santee Cooper’s Board of
Directors attached the Santee Cooper Recommendations as preparatory “materials for our
Executive Section with the SCANA Board members on March 21, 2016,” and referenced Marsh’s
May 7, 2016 meeting. As stated above, the Santee Cooper Recommendations were likely also sent
to SCANA’s Board (and therefore Deloitte) in advance of the joint Board of Directors’ meeting,
particularly given SCANA’s oversight responsibilities with respect to the Nuclear Project. The
email also stated that Carter “had a long and frank discussion [with Marsh] regarding item 5
[concerning getting additional oversight] and the need for management changes to the Project.”
However, “Kevin [Marsh] noted that he supported changes in the management of the Project but
seemed to not want to go as far as we recommend.” According to Carter, Marsh agreed to “think
about the issue and be ready to discuss on March 11” when Marsh met with Harold Stowe
(SCANA’s Lead Director), Leighton Lord (Santee Cooper’s Chairman of the Board) and Carter.

        ANSWER NO. 200: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 200.




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       201. Thus, on March 11, 2016, Carter and Lord met Marsh and Stowe to discuss Santee
Cooper’s concerns and recommendations before companies’ joint Board Meeting. During this
high-level meeting, Santee Cooper “emphasized the need to address item 5 and associated Project
management changes.” In addition, Carter “stressed the need for talent in the area of very large
construction projects” who would “report to Kevin [Marsh] and I frequently.”

       ANSWER NO. 201: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 201.

       202. The November 2016 Santee Cooper Nuclear Timeline corroborates that on March
11, 2016 a CEO meeting took place in Columbia, South Carolina where “Marsh, Harold Stowe,
Carter, Leighton Lord – meet to discuss Santee Cooper’s formal recommendations and
expectations of SCANA for the planned Mar 21 Joint Board meeting.” Minutes from that meeting
should have been reviewed by Deloitte.

       ANSWER NO. 202: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 202.

       203. Ultimately, SCANA rejected many of Bechtel’s and Santee Cooper’s
recommendations. SCANA refused to hire either “an executive EPC professional” or “a qualified
EPC firm.” According to the November 2016 SC Nuclear Timeline and other internal Santee
Cooper documents, Marsh and Byrne pushed back against Bechtel’s and Santee Cooper’s
recommendations. Specifically, on March 18, 2016, Marsh rejected hiring either an “owner’s
engineer” EPC firm or a dedicated SCANA EPC professional to report to him. Marsh’s resistance
was a recurring source of tension between SCANA and Santee Cooper.

       ANSWER NO. 203: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 203.

        204. For example, the Boards of Directors of SCANA and Santee Cooper held a joint
Board Meeting on March 21, 2016 (minutes of which should have been reviewed by Deloitte)
where they “discussed Bechtel Report, Santee Cooper March 3 formal recommendations and
SCANAs [sic] plan forward to address issues.” At this meeting, nearly six months after Bechtel
completed its disastrous assessment, Marsh finally “committed that SCANA and Santee Cooper
would work to identify actionable Bechtel recommendations, SCANA would add EPC experts to
its team, and that SCANA would charter a V.C. Summer Construction Oversight Review Board to
help SCANA with project execution.” However, SCANA still did not agree to retain the
independent EPC professional or firm, as recommended by Bechtel and Santee Cooper.

       ANSWER NO. 204: Deloitte denies the allegations set forth in paragraph 204, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the second through final sentences of paragraph 204.


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        205. As alleged in the SEC Complaint, at the meeting, a SCANA Board member noted
that “for whatever reason progress isn’t happening and that needs to change.” Marsh did not
disagree with this statement and, according to notes from the meeting, he acknowledged that “the
ultimate problem is performance.”

       ANSWER NO. 205: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 205, except admits that it sets forth partial

quotations from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        206. Marsh’s March 21, 2016 commitment to effect change in the management of the
Nuclear Project was illusory. According to the November 28, 2016 SC Nuclear Timeline, SCANA
failed to even convene a Construction Oversight Review Board (“CORB”) until July 2016, and
this step was only taken after several months of inactivity and another joint meeting of the SCANA
and Santee Cooper Boards, on June 20, 2016, where the issue of the CORB was raised once again
(minutes of which Deloitte should have reviewed).

       ANSWER NO. 206: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 206.

        207. After the joint Board meeting, on March 23, 2016, Carter sent Marsh a letter
regarding the meeting, copying Stowe. Carter noted that the slide presentation at the March 21
joint Board meeting (which should have been reviewed by Deloitte) “was informative and fully
consistent with information provided to us by Michael Crosby and our nuclear team.” Carter
indicated that the Nuclear Project’s troubles were “open[ly]” discussed at the March 21, 2016 Joint
Board meeting, and stated that the “[t]he discussion between our Boards was frank.”

       ANSWER NO. 207: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 207.

       208. As alleged in the SEC Complaint, on March 28, 2016, SCANA held a Risk
Management Committee meeting. At the meeting, executives again identified “schedule delays”
and the receipt of “production tax credits” as “key risk[s]” facing the Company. Deloitte was
required to review project management related reports and/or documented summaries provided to
executives from the Risk Management Committee meetings, as well as any minutes from the
meetings, and thus would have reviewed the minutes from this meeting.

       ANSWER NO. 208: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 208, except admits that it sets forth partial

quotations from the SEC Complaint, and refers to the SEC Complaint for its complete contents.




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               10.     Cost Overruns and Schedule Delays Continue

      209. On April 15, 2016, SCANA’s nuclear team sent the Company’s senior
management, including Marsh and Byrne, a document titled “SGE&G List.” The SGE&G List
demonstrated the nuclear team’s agreement with many of Bechtel’s observations and
recommendations regarding the lack of progress on the expansion project. Specifically, the
SGE&G List stated:
            “Work activities should be planned based on a realistic evaluation of the work,
             rather than optimistic projections due to schedule pressure from management”;

              “Work was performed out of sequence to support fictitious milestone completion
               of Setting CA20 Module, knowing that a significant effort was required to complete
               the module”;

              “Contractor needs to resource load the schedule based on reasonable unit rates and
               set performance goals and schedules based on realistic information. Overly
               aggressive and optimistic schedule dates are not the best way to encourage craft
               labor performance. This has been demonstrated by the repeated failure of the
               contractor to meet published schedule dates for project milestones”; and

              The Contractor has continually modified metrics and graphs to obscure the poor
               performance. Baselines have been repeatedly set and then re-set at a later date, thus
               making any performance measurement impossible. We should be looking at total
               project data instead of short-term 9–12 months[.]”

       ANSWER NO. 209: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 209.

        210. SCANA’s nuclear team also stated that “[i]t would be a good idea to encourage and
recognize meaningful progress and successes. This is difficult to accomplish when the project is
not seeing meaningful successes.”

       ANSWER NO. 210: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 210.

       211. The SEC Complaint then alleges that on May 19, 2016, Byrne attended a meeting
with Westinghouse regarding the Nuclear Project. According to the minutes from the meeting
(which Deloitte was required to review), a member of SCANA’s nuclear team noted that
Westinghouse was not achieving the schedule milestones that it needed to meet for Unit 2 to be
completed by August 2019, and Unit 3 to be completed by August 2020 (Unit 3), and further noted
that Westinghouse’s mitigation efforts to date had not been successful in remedying these
problems. Difficulties in other areas of the project that were affecting the schedule, such as
procurement, were also discussed.




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        ANSWER NO. 211: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 211, and refers to the SEC Complaint for its

complete contents.

       212. At this meeting, Westinghouse acknowledged that during the first four months of
2016 it had averaged a monthly percent complete rate of only 0.5%. The EPC Amendment
assumed that Westinghouse could complete Unit 2 by August 2019 and Unit 3 by August 2020 by
achieving a percent complete per month rate of 3%. At the current rate of progress of 0.5%, it
would take an additional seven years to finish the project—well past the end of 2020.

        ANSWER NO. 212: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 212.

        213. On or about June 30, 2016, the Executive Director of the ORS sent a letter to Marsh
detailing the ORS’s concerns regarding the validity of the schedules for the Nuclear Project. 100
Deloitte should have reviewed such regulatory correspondence. The letter explained that “[t]he
ORS is currently in a heightened state of concern regarding the construction cost overruns and
schedule delays for V.C. Summer (VCS) Nuclear Units 2 & 3. . . . In the case of Unit 2, ORS
believes that, while the date in the filing of August 31, 2019 is unlikely to be met, it is possible
that Unit 2 may still be able to qualify for the Federal Production Tax Credits that expire on
December 31, 2020. However, completing Unit 2 in time to receive the Federal Production Tax
Credits will require improvements to the current construction methodology.” The ORS’s letter
further stated that the “ORS has no confidence that Unit 3 can meet the Current Federal
Production Tax Credit Deadline of December 31, 2020. . . . This makes the validity of the
current schedule highly suspect.”

        ANSWER NO. 213: Deloitte denies the allegations set forth in paragraph 213, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in first, and third through final sentences of paragraph 213.

        214. The SEC Complaint alleges that the ORS also informed SCANA that it wanted to
depose a Westinghouse representative regarding the project, and in particular the EPC Amendment
and the project schedule. Finally, the ORS letter requested that SCANA “respond to the issues
raised in the letter before they complete the final version.”




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   The ORS drafted the letter to be sent to the Public Utilities Review Committee (“PURC”) and the governor of
South Carolina.


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        ANSWER NO. 214: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 214, except admits that it sets forth a partial

quotation from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

       215. On July 1, 2016, Marsh forwarded ORS’s letter to Byrne and other SCANA
executives, and tasked Byrne and another SCANA executive with drafting a response on behalf of
SCANA that could be incorporated into ORS’s letter.

        ANSWER NO. 215: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 215.

       216. The SEC Complaint further alleges that then, on June 29, 2016, Marsh and another
SCANA executive met with the ORS’s Executive Director to discuss the deposition of a
Westinghouse representative. Marsh drafted his own “notes for discussion” to use in an upcoming
conversation with the ORS’s Executive Director. These notes clearly show that Marsh hoped that
the ORS did not express its doubts about the project publicly, and would not depose a
Westinghouse representative.

        ANSWER NO. 216: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 216, except admits that it sets forth a partial

quotation from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        217. Marsh’s notes also describe the impact such public statements by the ORS would
have on SCANA’s ability to sell securities at favorable rates, stating “[o]ur public disclosures to
the SEC and investors will have to address this and address as a risk. The ‘supportive regulatory
environment’ in SC is the foundation of our bond ratings and the support we receive from the
financial community. Without that support, we will have difficulty selling our securities at
favorable prices, which will raise prices for our customers.”

        ANSWER NO. 217: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 217, except admits that it sets forth a partial

quotation from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

       218. Marsh also wrote that “[i]f you [ORS] go forward, it will be hard to put this genie
back in the bottle. Potential for devastating results,” and further stated:

                The financial markets see the ORS, and you specifically, as the face
                of regulation in SC.

                       Credit rating agencies


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                      Bond underwriters
                      Investment analysts
                      Shareholders
                      Banks

               Your planned actions will send shock waves to this group. You will
               be overrun with calls and inquiries. They will jump to conclusions
               and publish their thoughts and concerns.

       ANSWER NO. 218: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 218, except admits that it sets forth partial

quotations from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        219. In June 2016, Santee Cooper was also still urging SCANA to retain an external,
independent EPC management firm to help address the continuing problems with the Nuclear
Project. For example, on June 2, 2016, Santee Cooper’s Senior Vice President for Nuclear Energy,
Michael Crosby, emailed SCANA’s Jeff Archie, copying Marsh and Byrne and Lonnie Carter,
among others, commenting on “SCANA’s Project Assessment Report,” which Santee Cooper had
received at a “May 19 meeting with Kevin [Marsh,] Steve [Byrne] and [Archie],” among other
things. Crosby wrote that “we have reviewed and appreciate the SCE&G commentary relative to
the engineering challenges that continue to impede progress on the [Project]– namely design
debt, design constructability, change paper, complex work packages, and emergent issue
management.” Crosby also stated that “[u]nfortunately, five months after WEC has had complete
control of the Project, there is little evidence that (WEC) is taking the steps necessary to
resolve these challenges and relieve pressure on the substantial completion dates. Each
meeting I attend we continue to report out and discuss the same basic issues as progress on the
critical path continues to slip,” emphasizing the continued absence of significant improvement
in the Nuclear Project’s progress to date. Accordingly, Carter reiterated that Santee Cooper
“remain[ed] steadfast that at this juncture of the project, we could only benefit by adding outside
EPC resources [i.e. the EPC management firm] to guide and assist with this effort on these
challenges,” explaining that this was necessary for Santee Cooper and SCANA, “[a]s Owners, . .
. to ensure [] that we are doing all we can do to analyze project challenges . . . and hold WEC
accountable for executing the project on the contract schedule.”

       ANSWER NO. 219: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 219.

        220. As alleged in the SEC Complaint, on June 17, 2016, Marsh received a “Project
Assessment Report” and an “Executive Summary” from SCANA’s nuclear team that addressed
some of the issues raised by Bechtel. These documents recognized that Bechtel had raised “valid
concerns” with the construction schedule. The nuclear team also listed the development of “a
project schedule plan to achieve construction completion of at least 3% per month” as a “key
issue.” Given the serious discrepancy between the actual performance of construction and that



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budgeted by the Company, such Project Assessment Reports should have been reviewed by
Deloitte.

       ANSWER NO. 220: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 220, except admits that it sets forth partial

quotations from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        221. On July 13, 2016, Carter emailed Marsh regarding the lack of progress on the
project since October 2015. In his email, Carter noted that the monthly construction progress rate
remained at the same 0.5% rate observed by Bechtel—only one sixth of the necessary 3% monthly
rate. Carter explicitly recognized that, contrary to SCANA’s public representations, this ongoing
lack of improvement meant made it impossible for the Nuclear Project to meet the 2020 completion
date and thus to qualify for the $2.2 billion of Nuclear Tax Credits.

       ANSWER NO. 221: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 221.

       222. Carter also expressed Santee Cooper’s frustrations with Westinghouse’s continued
poor performance, and SCANA’s role in allowing Westinghouse’s poor performance to continue
unchecked:
             What has particularly frustrated Santee Cooper from the date of the
             2015 Amendment [October 27, 2015] is WEC’s failure to seize an
             opportunity and significantly ramp up construction progress at the
             site. . . . Through the last 6 months, while the Owners have paid
             $600 million dollars, construction progress has only been an
             aggregate of 3% [i.e., 0.5% per month]. Moreover, for the June
             billing period, had the Owners accepted WEC’s milestones and
             payment schedule, which contained twenty-seven milestones and
             requested payment of $156 million for the month, only four of the
             twenty-seven were completed, which would entitle WEC to
             payment of just $23.1 million. This rate of progress will never
             meet the current completion schedule, impacting production tax
             credits, the availability of cheaper energy for our customers,
             and bringing the costs of construction to conclusion.

               The DRB [Dispute Resolution Board] time crunch in which we find
               ourselves is unfortunate, but respectfully, was avoidable. The Santee
               Cooper team has been requesting since the first of this year that
               we immediately engage an independent analysis of the project’s
               progress and needs going forward in order to better inform the
               Owner’s position in the construction milestone debate. Our first
               suggestion as to a particular vendor was not satisfactory to the
               SCE&G team. We continued to persist in our request through various
               delays we did not understand, the actual engagement with another


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               vendor was not finalized until much later, and now we are in time
               constraints.

       ANSWER NO. 222: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 222.

       223. That same day, Marsh received an email from a member of the Company’s nuclear
team stating that Westinghouse “completed 4 of the 27 projected milestones (14.8% complete
85.2% not complete).” Another SCANA nuclear team member noted that this was a “dismal
performance.” Given the serious discrepancy between the actual performance of construction and
that budgeted by the Company, Deloitte should have reviewed how many of the projected
milestones were being met.

       ANSWER NO. 223: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 223, except admits that it sets forth partial

quotations from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        224. As also alleged in the SEC Complaint, on July 21, 2016, Byrne attended a meeting
with other members of SCANA’s nuclear team and Westinghouse. At the meeting, Westinghouse
reported that the monthly percent complete percentages for March through June 2016 were still
far below the 3% needed to complete Unit 2 by August 2019 and Unit 3 by August 2020.

       ANSWER NO. 224: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 224, and refers to the SEC Complaint for its

complete contents.

       225. At this time, eight months after SCANA entered into the EPC Amendment, the pace
of construction still lagged far behind where it needed to be for SCANA to complete the new units
on schedule. More specifically, as Deloitte knew or should have known, for the first six months of
2016 the monthly percent complete percentages were as follows:

                                EXPECTED PERCENT                       ACTUAL PERCENT
        MONTH
                                    COMPLETE                             COMPLETE
 January 2016                          3%                                   0.3%
 February 2016                         3%                                   0.5%
 March 2016                            3%                                   0.6%
 April 2016                            3%                                   0.6%
 May 2016                              3%                                   0.7%
 June 2016                             3%                                   0.8%
 TOTAL                                18%                                   3.5%




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       ANSWER NO. 225: Deloitte denies the allegations set forth in paragraph 225, except

denies knowledge or information sufficient to form a belief as to the allegations in the first sentence

of paragraph 225.

       226. One week later, on July 26, 2016, Marsh and Byrne attended SCANA’s quarterly
Board of Directors meeting, minutes of which Deloitte was required to review.

       ANSWER NO. 226: Deloitte denies the allegations set forth in paragraph 226.

        227. As alleged in the SEC Complaint, at the meeting Byrne presented a “New Nuclear
Construction Update” (which Deloitte was required to review) that highlighted the unreliability of
the construction schedule and raised serious doubts about SCANA’s ability to complete the
expansion project in time to receive the production tax credits. Bryne’s presentation was based on
a PowerPoint presentation that Westinghouse and its sub-contractor planned to present to the
senior executives at SCANA and Santee Cooper. Although Westinghouse was going to present the
information, SCANA’s own nuclear team drafted slides regarding the five project focus areas for
the presentation.

       ANSWER NO. 227: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 227, except admits that it sets forth certain

allegations in the SEC Complaint, and refers to the SEC Complaint for its complete contents.

       228.    Byrne’s presentation addressed the following “Five Project Focus Areas”:

              “The project does not have equipment and commodities that meet requirements
               readily available to support construction work fronts. This impacts the ability of the
               project to reliably achieve schedule.”

              “Modules are not being fabricated and delivered in accordance with the project
               execution plan. Modules are delivered later than the construction need date. A
               significant number of modules are delivered incomplete or with quality issues. This
               requires outfitting, rework or repair at the project site that is not part of the baseline
               schedule.”

              “The project does not adequately address constructability issues requiring design
               changes or interpretations. All engineering design is not finalized in time to procure
               adequate material and plan work in advance of construction. This adversely impacts
               the ability to reliably achieve schedule.”

              “The project does not have sufficient resources to support active construction work
               fronts. This impacts the ability of the project to reliably achieve schedule or
               mitigate issues from engineering, procurement or constructability delays.”



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              “The project performance factor (PF) is consistently above the goal (PF>2 each
               month in 2016) and trending in a negative direction. The majority of project
               milestones are not met on their scheduled dates. The percentage of schedule
               activities completed on time is well below the goal and does not allow for a reliable
               Integrated Project Schedule.”

       ANSWER NO 228: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 228, except admits that it sets forth partial

quotations from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        229. The presentation made clear that the extensive problems in all of the focus areas
affected the reliability of the construction schedule and raised doubts about Westinghouse’s ability
to complete Unit 2 and Unit 3 in time for SCANA to qualify for the $1.4 billion in production tax
credits. On June 30, 2016, Westinghouse and its sub-contractor made the presentation at a meeting
that included Santee Cooper’s and SCANA’s senior management, including Marsh and Byrne.

       ANSWER NO. 229: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 229.

        230. The SEC Complaint alleges that on June 27, 2016, Marsh and Byrne attended a
Risk Management Committee meeting, minutes of which Deloitte was required to review. At the
meeting, SCANA executives again identified “schedule delays” and the receipt of “production tax
credits” as “key risk[s]” facing the company, and rated these risks as “Red,” indicating that there
was significant risk that the company would not qualify for the tax credits.

       ANSWER NO. 230: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 230, except admits that it sets forth partial

quotations from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        231. On June 28, 2016, SCANA filed a revised rate petition with the PSC in which it
sought to receive increased rates from its customers. The petition was made publicly available
shortly after it was filed.

       ANSWER NO. 231: Deloitte denies the allegations set forth in paragraph 231, except

admits that on or about June 27, 2016, SCANA filed a petition with the PSC.

               11.     SCANA Establishes a Construction Oversight Review Board, which
                       Echoes Bechtel’s Concerns

        232. The CORB was finally assembled in July 2016. The CORB conducted “initial site
visits” in July and August 2016, provided an “executive debrief” on August 16, 2016, and


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circulated a draft report on September 16, 2016, nearly a full year after the Bechtel Assessment
(the “First CORB Report”). Marsh & Byrne received copies of the draft report and Deloitte should
have received and reviewed the draft report as well. The purpose of the CORB, as made clear in
the First CORB Report, was “to offer insights and suggestions to enhance the execution of the
V.C. Summer Unit 2 and Unit 3 Construction Project.” Further, while “responses will be reviewed
by the CORB during future visits” scheduled quarterly, the CORB was explicit that “[o]bservations
do not necessitate responses by project management.” Thus, it was clear from the face of the First
CORB Report that the CORB’s role was advisory only—nothing close to the dedicated EPC
professional employee or firm recommended by Santee Cooper and Bechtel.

       ANSWER NO. 232: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 232, except admits that a construction

oversight review board was created in 2016.

        233. The CORB came to many of the same conclusions Bechtel and Santee Cooper
reached nearly one year earlier. In particular, the CORB highlighted the significant risks and
impediments to completing the Nuclear Project on time, noting that “the Unit 2 & Unit 3 project
schedules include significant risks to achieve substantial completion” and “project schedule
uncertainty is impacting the efficient assignment of oversight resources.” The CORB also
noted that the schedule being used by SCANA did not even include “all work to complete the
project that should be in the schedule,” meaning that additional time would have to be added to
account for the work identified by the CORB, including “subcontractor tasks,” “engineering
punch-lists,” “test progress,” and “licensing inspections, tests, analyses, and acceptance criteria.”

       ANSWER NO. 233: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 233, except admits that a construction

oversight review board was created.

        234. The CORB also concluded that “[t]he current schedule for Unit 2 has slipped 5
months in a 6-month period.” This meant that the Nuclear Project was not progressing at all and
in fact, for every month that passed the Nuclear Project schedule lost an additional month.
According to the First CORB Report, by August 2016 even SCANA’s own internal schedule
(which was still unachievable based on Bechtel’s contradictory findings) had moved Unit 2’s
completion date from August 2019 into 2020. This fact was never disclosed to the public.

       ANSWER NO. 234: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 234, except admits that a construction

oversight review board was created.

      235. Indeed, at this time SCANA was still publicly insisting that Unit 2 would be
completed by August 31, 2019, in direct contrast to SCANA’s own internal conclusions. For


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example, on a July 28, 2016, earnings call, Byrne stressed that “[t]he guaranteed [substantial]
completion dates remain at August of 2019 for Unit 2 and August 2020 for Unit 3. We don’t
see anything to change those.” SCANA’s August 5, 2016 Form 10-Q, which Deloitte was
required to review for the purpose of obtaining a reasonable basis to report to the Company’s Audit
Committee whether it had identified any material modifications to or possible GAAP violations in
the interim financial statements, similarly reiterated these completion dates.

        ANSWER NO. 235: Deloitte denies the allegations set forth in paragraph 235, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the first and second sentences of paragraph 235, except admits that they set forth partial

quotations from the July 28, 2016 earnings call, and refers to the transcript thereof for its complete

contents, and admits that SCANA filed a Form 10-Q on August 5, 2016.

        236. The First CORB Report also highlighted many of the design and engineering
problems identified by Bechtel, writing that “[t]here is a growing backlog of constructability
issues that are not getting the attention needed to not impact constructability.” In addition, the
CORB warned that “[w]ithout improved metrics, it will be difficult to ensure the Project is
and remains on track and to determine when recovery actions need to be identified.”

        ANSWER NO. 236: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 236.

        237. The CORB did not return to the Nuclear Project site between August and November
2016. Instead, it “debrief[ed]” SCANA executives on November 22, 2016. The SEC Complaint
alleges that, according to Byrne’s notes from the meeting, Santee Cooper’s CEO asked a CORB
member whether there was “a fully integrated proj schedule that takes proj to completion?” to which
the CORB Chairman responded “No.” Another executive from Santee Cooper then asked whether
they have the “right people” in Westinghouse and Fluor, the new sub-contractor, to which the
CORB Chairman answered “Probably Not.” Finally, another CORB member succinctly stated:
“Still don’t have realistic sked,” indicating that, even after several years of construction and the
expenditure of several billion dollars, there still was not a realistic project schedule to complete the
new nuclear units.

        ANSWER NO. 237: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 237, except admits that it sets forth partial

quotations from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

       238. Afterwards, the CORB issued a general draft six-page Report in December 2016
(the “December CORB Report”). This December CORB Report too, was or should have been
reviewed by Deloitte. The December CORB Report highlighted a number of other continuing


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deficiencies concerning the schedule and Nuclear Project management and oversight, noting that
“oversight is insufficient for some project activities, including: the Project Execution Strategy,
prioritization of project tasks, schedule performance, contract administration, and performance
monitoring.” The December CORB report further identified four recommendations that were all
virtually identical to recommendations made by Bechtel in October 2015, November 2015, and
February 2016, and by Santee Cooper in March 2016—all of which SCANA had had failed to
implement.

        ANSWER NO. 238: Deloitte denies the allegations set forth in paragraph 238, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the first, third, and fourth sentences of paragraph 238.

                12.     The Nuclear Project’s Problems Continue

        239. As alleged in the SEC Complaint, on October 20, 2016, SCANA’s nuclear team,
including Byrne, and Santee Cooper personnel attended another meeting with Westinghouse
regarding the lack of progress on the Nuclear Project. At the meeting, an executive from Santee
Cooper questioned whether achieving the required monthly progress necessary to complete Unit
2 and Unit 3 under the schedule was “a pipe dream” and if they will “ever get there.” A member
of SCANA’s nuclear team noted that “there are so many loose ends” that he doesn’t have “a high
level of comfort that we will be successful,” and another member of SCANA’s nuclear team noted
that construction progress was still lagging behind where it needed to be in order to complete the
project on schedule. SCANA’s nuclear team emphasized to Westinghouse that they need “more
energy and commitment to meeting schedule dates” and that they need to “look at how they are
managing schedule adherence.”

        ANSWER NO. 239: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations in paragraph 239, except admits that it sets forth partial quotations

from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        240. On November 28, 2016, Santee Cooper CEO Carter wrote Marsh an email in
advance of a November 30, 2016 meeting for their “teams” to prepare for a December 5, 2016
joint meeting of the two companies’ Boards of Directors. Byrne received a copy of this email as
well. In this email, Carter attached the SC Nuclear Timeline and identified three “primary items”
that Marsh, Carter, and their respective teams needed to discuss before the joint Board meeting.
One primary item was “[i]ncreased project management expertise in large scale EPC
construction.” Carter noted that “[w]e need to be prepared to discuss with our board, after two
years of requests and an affirmative commitment from you on more than one occasion,” why there
has not been an increase in “project management expertise” in response to the Bechtel Report.
Carter stated that SCANA’s formation of the CORB, discussed above, was entirely unsatisfactory
and ineffective, and that he was “concerned that we learn critical information too late from an
outside team that comes in quarterly for a few days, [information] which should have been brought
to our attention by our teams.”


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        ANSWER NO. 240: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 240.

       241. At the end of the SC Nuclear Timeline attached to this November 28, 2016 email,
Santee Cooper stated that “SCANA’s project management team . . . does not have the
comprehensive skills and depth of experience necessary in engineering, scheduling, project
controls and construction to manage a large new build project laced with complexities.” Thus,
Santee Cooper reiterated the need to add independent, qualified EPC managers to oversee the
Nuclear Project:

                The Project would be greatly benefitted by infusing the current
                project management team with a framework of qualified EPC
                managers charged with working collaboratively with the Owner and
                Consortium to identify areas for improvement, suggest proven
                solutions, and to provide an independent perspective on actual
                progress – the effort aimed at increasing the accountability of the
                Consortium and the success of the Project.

        ANSWER NO. 241: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 241.

        242. Then, according to the SEC Complaint, on December 15, 2016 Byrne attended yet
another meeting with Santee Cooper and Westinghouse to discuss the expansion project. At the
meeting, a Santee Cooper executive expressed concern about the lack of progress each month and
stated: “if you do the math it’s hard to see that we are going to get there.” Byrne’s handwritten
notes from the meeting echoed this belief: “Doesn’t seem to be plan to improve % complete –
Need 2x-3x.” In short, Westinghouse would need to double or triple the rate of progress on the
project to meet the deadlines in the schedule—something Westinghouse had been unable to do
during the multi-year project.

        ANSWER NO. 242: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations in paragraph 242, except admits that it sets forth partial quotations

from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        243. On December 27, 2016, Westinghouse’s parent company, Toshiba Corporation,
publicly announced that the cost to complete the nuclear expansion project would far surpass the
original estimates.

        ANSWER NO. 243: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 243.




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      244. That same day, the SEC Complaint alleges that Marsh participated in a call with
Westinghouse regarding the project. Marsh’s notes from the call state: “Schedules unrealistic.”

        ANSWER NO. 244: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 244, except admits that it sets forth a partial

quotation from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

       245. Two days later on December 29, 2016, according to the SEC Complaint, Byrne and
Santee Cooper’s Senior Vice President for Nuclear Energy met with a representative from
Westinghouse’s sub-contractor (Fluor). According to the Santee Cooper executive’s notes from
the meeting, Fluor stated that Westinghouse would not allow Fluor to create a re-baselined
schedule to determine when the new units would actually be completed, and was instead using
mandatory constraints to hold the schedule to artificial completion dates. Bechtel had noted this
issue more than a year earlier, and it had not been fixed. Marsh received a copy of the Santee
Cooper executive’s notes from the meeting a few days later.

        ANSWER NO. 245: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 245, and refers to the SEC Complaint for its

complete contents.

       246. On January 4, 2017, Marsh and Byrne received an e-mail from Santee Cooper’s
CEO including a list of “proposed issues” to raise at a planned meeting with Westinghouse in a
couple days. With respect to the construction schedule, Santee Cooper’s CEO wrote: “Current
production factors, which are in decline, render meeting the stated project schedule an
impossibility.”

        ANSWER NO. 246: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 246.

        247. The SEC Complaint alleges that on January 6, 2017, SCANA’s senior management,
including Marsh and Byrne, attended the meeting with Santee Cooper and Westinghouse to discuss
the deteriorating status of the expansion project. Byrne’s notes from the meeting reflect that Marsh
asked “How did we get here?” and went on to recognize that the schedule has “a lot more risk in
it” than previously acknowledged publicly and that Westinghouse’s sub-contractor estimates
additional delays. Santee Cooper’s CEO observed that it would be a “disaster” to send their
regulator a schedule that “is unbelievable.” Marsh’s notes reflect that Westinghouse “did not
confirm 2020.” In short, at this meeting Westinghouse did not commit to completing the Nuclear
Project in time for SCANA to qualify for the Nuclear Tax Credits.




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       ANSWER NO. 247: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 247, except admits that it sets forth partial

quotations from the SEC Complaint, and refers to the SEC Complaint for its complete contents.

        248. The Nuclear Project continued to fall further behind schedule as SCANA refused
to fix any of the repeatedly recognized deficiencies. An internal February 13, 2017 Santee Cooper
memorandum sent by CEO Carter to the Santee Cooper Board, showed that the work productivity
factor remained at an abysmal 0.7% per month at the end of 2016, and that only 30.9% of
the project had been completed to date. Per this memorandum, between October 2015 and
February 2017 just over 10% of the Nuclear Project was completed. Both the work productivity
factor and the percentage of the project that was complete were or should have been reviewed by
Deloitte on a regular, sample basis.

       ANSWER NO. 248: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 248, except Deloitte denies the allegations

in the last sentence of paragraph 248.

        249. Carter further noted the recommendations made by CORB in late 2016, where the
CORB concluded “that more Owner management was needed in three specific areas of the
Project (infrastructure, execution, and schedule quality).” Unfortunately, no action had been taken
in the intervening three months. As Carter noted, the CORB’s November 2016 conclusions and
recommendations were no different than the recommendations made sixteen months earlier by
Bechtel: “[CORB’s report] is consistent with Santee Cooper’s position all along [and] the
Bechtel report delivered in October of 2015.”

       ANSWER NO. 249: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 249.

       250. Lonnie Carter wrote in an internal June 14, 2017 email to Santee Cooper executives
and directors that SCANA and Santee Cooper estimated “an additional cost of over $4.5B and
schedule delays in excess of 3 years” to complete the Nuclear Project. Bechtel and Santee Cooper
ultimately proved to be completely accurate in their predictions.

       ANSWER NO. 250: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 250.

               13.     The Risk of the Westinghouse and Toshiba Bankruptcy Intensifies

        251. Westinghouse and Toshiba’s financial condition—and the likelihood that the fixed
price option could force one or both of them into bankruptcy—was a constant topic of discussion
and concern between SCANA and Santee Cooper throughout the Class Period. On November 28,


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2016, Santee Cooper’s Carter sent Marsh a document titled “Nuclear Timeline – Project
Bankruptcy Counsel” (the “Santee Cooper Bankruptcy Timeline”). According to the Santee
Cooper Bankruptcy Timeline, by March 2016 Santee Cooper and SCANA were not only aware of
financial hardships facing Westinghouse and Toshiba, but were even weighing the likelihood that
Westinghouse would declare bankruptcy rather than pay the true costs of the Nuclear Project in
excess of the fixed price. SCANA never disclosed these concerns to the public when it elected the
fixed price option in May 2016.

       ANSWER NO. 251: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 251.

        252. Santee Cooper tasked SCANA with securing bankruptcy counsel to consider a
potential Westinghouse/Toshiba bankruptcy during a March 21, 2016 joint meeting of the
companies’ Boards of Directors (minutes of which Deloitte was required to review), “as a
proactive measure given Toshiba’s and potentially WEC’s financial condition.” SCANA never
retained bankruptcy counsel, despite constant reminders and requests by Santee Cooper between
March 2016 and November 2016.

       ANSWER NO. 252: Deloitte denies the allegations set forth in paragraph 252, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the final sentence of paragraph 252.

       253. For example, on June 7, 2016—less than two weeks after SCANA filed a petition
with the PSC announcing its intention to elect the fixed price option—Crosby, Santee Cooper’s
Senior Vice President for Nuclear Energy, sent Byrne a proposed agenda for a joint Board meeting
on June 20, 2016. In that agenda, listed under the discussion of the “Fixed Price Option” was
“Potential Bankruptcy – outside legal opinion and plan to address.”

       ANSWER NO. 253: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 253.

        254. In a June 16, 2016 email to Carter, Marsh pushed back against discussing the
potential bankruptcy with the companies’ Boards. That same day, Carter replied insisting:

               [T]he possibility of [a Westinghouse or Toshiba] bankruptcy cannot
               be entirely divorced from our joint board discussions on Monday.
               For example, Item No. 2 on your agenda relating to the fixed price
               option obviously shifts risk away from the Owners and to
               Toshiba/Westinghouse, making their credit worthiness all the more
               important. Similarly, with respect to Item No. 3, getting the
               milestone payment schedule right will make it less likely that
               Westinghouse view as desirable a strategic Chapter 11 bankruptcy
               to rid itself of uneconomical executory contract.


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       ANSWER NO. 254: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 254.

        255. The impact of a Toshiba or Westinghouse bankruptcy was ultimately discussed at
the June 20, 2016 joint meeting of the SCANA and Santee Cooper Boards of Directors, minutes
of which Deloitte was required to review. According to a letter written by Carter to Marsh on
October 25, 2016, “[d]uring the June 20 joint meeting, members of both our Boards expressed
concern about the financial difficulties being faced by Toshiba Corporation and Westinghouse
Electric Company and how those problems could possibly impact the timely and successful
completion of the project.” Thus, SCANA and Deloitte both knew there was significant “concern”
regarding the likelihood and potential impact of a Toshiba and a Westinghouse bankruptcy on the
continued viability of the Nuclear Project as early as June 2016. Carter’s October 25, 2016 letter
also reiterated that the “[o]ne action item that SCANA agreed to take on was securing Project
Bankruptcy Counsel who would help us think through Toshiba/Westinghouse insolvency scenarios
so that we might begin planning now on how [to] mitigate the impact of such an unfortunate
possibility.”

       ANSWER NO. 255: Deloitte denies the allegations set forth in the paragraph 255, except

denies knowledges or information sufficient to form a belief as to the truth of the allegations set

forth in the second and final sentences of paragraph 255.

       256. By October 24, 2016, Santee Cooper’s CEO, Lonnie Carter, and General Counsel
J. Michael Baxley, traveled to New York and interviewed potential bankruptcy counsel. In Carter’s
October 25, 2016 letter referenced above, Carter also wrote to Marsh that the financial conditions
of Toshiba and Westinghouse must be formally presented to the Boards of both companies:

               [I]n a June 16, 2016 email to me, you expressed the very same
               concerns describing “the potential bankruptcy of Toshiba or
               Westinghouse [as] critical” but expressing the “prefer[ence] to have
               some detailed discussions and debate within our project teams before
               making a formal presentation to either of our Boards.” The time for
               that formal presentation to the Board has arrived.

       ANSWER NO. 256: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 256.

        257. Marsh did not respond to Carter’s email. On October 28, 2016, Santee Cooper sent
an email to Marsh and SCANA’s legal team informing SCANA that Santee Cooper had stepped
in and retained a respected team of bankruptcy counsel for the Nuclear Project.

       ANSWER NO. 257: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 257.


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      258. According to the November 28, 2016 Santee Cooper Bankruptcy Timeline, as of
November 28, Santee Cooper had received no reply from anyone at SCANA. On November 28,
2016 Carter wrote to Marsh again:

               Bankruptcy expertise would significantly inform our team as we
               negotiate with WEC going forward. Our separate, collective and
               independent analysis suggests that the fixed price option offered by
               WEC is likely significantly less than the cost WEC will incur to
               complete the Project. This is the very reason that we selected the
               fixed price. Regrettably, we must anticipate WEC having financial
               difficulty completing the Project, particularly in a timely manner.

       ANSWER NO. 258: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 258.

       259. Carter further noted that Santee Cooper had been forced to retain bankruptcy
counsel “[a]fter no action [was taken by SCANA] on our repeated requests on this topic.”

       ANSWER NO. 259: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 259.

         260. Instead of taking the steps repeatedly requested by Santee Cooper to mitigate, or
prevent, a potential Westinghouse bankruptcy, SCANA began looking for an escape route.
SCANA’s own SEC filings reflect that in the wake of the Nuclear Project fiasco, SCANA sought
to sell itself in “a potential strategic transaction” in December 2016. However, these initial steps
toward a merger or other “strategic transaction” were put on hold following a late December 2016
announcement by Toshiba that, as discussed below, disclosed to the public for the first time the
severity of the risks and issues facing the Nuclear Project.

       ANSWER NO. 260: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 260.

        261. SCANA’s internal concern about the likelihood and impact of a potential
Westinghouse and/or Toshiba bankruptcy directly contradicted its public statements, including its
Class Period Forms 10-K. For example, on a February 18, 2016 earnings call, Addison and Byrne
discussed the supposed financial protections that the EPC Contract provided SCANA, including
the fixed price option. Byrne further stated that “if there were to be a cessation of operations by
the contractor [Westinghouse], that we could finish the plant on our own,” thus falsely minimizing
the risk of such a potential bankruptcy.

       ANSWER NO. 261: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 261, except admits that it sets forth partial



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quotations from the February 18, 2016 earnings call, and refers to the transcript thereof for its

complete contents.

       262. Similarly, on an April 28, 2016 earnings call, in response to analysts’ questions,
Byrne again downplayed the negative impact of a potential bankruptcy by Toshiba or
Westinghouse, stating “[i]f we elect the [F]ixed [P]rice [O]ption, there’s an added cost that comes
with taking [the risk of cost overruns] away.” Byrne reiterated that in the event of a potential
Westinghouse bankruptcy, “we would look to finish the plant [sic] on our own.”

       ANSWER NO. 262: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 262, except admits that it sets forth partial

quotations from the April 28, 2016 earnings call, and refers to the transcript thereof for its complete

contents.

               14.     SCANA Files its 2016 Form 10-K and Deloitte Issues a Clean Audit
                       Report

       263. On February 24, 2017, SCANA filed its annual report on Form 10-K for the year
ended December 31, 2016. The 2016 financial statements again represented that SCANA fully
expected to complete the Nuclear Project in time to receive the $1.4 billion in tax credits, stating
“[b]ased on current tax law and the contractual guaranteed substantial completion dates
(and the recently revised forecasted dates of completion) provided above [August 2019 and
2020], both New Units would be operational and would qualify for the nuclear production
tax credits.”

       ANSWER NO. 263: Deloitte denies the allegations set forth in paragraph 263, except

admits that SCANA filed a Form 10-K for the year ended December 31, 2016 on February 24,

2017, and refers to the Form 10-K for its complete contents.

        264. Deloitte issued another unqualified, clean audit report on these representations,
stating that SCANA’s financial statements “present fairly, in all material respects, the financial
position” of SCANA “in conformity with accounting principles generally accepted in the United
States of America.”

       ANSWER NO. 264: Deloitte denies the allegations set forth in paragraph 264, except

admits that Deloitte provided an opinion with respect to SCANA’s financial statements, and refers

to that opinion for its complete contents.




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        F.       DELOITTE’S “NO AUDIT AT ALL” CONCEALS SCANA’S FRAUD
                 FROM INVESTORS

                 1.       Deloitte Intentionally or Recklessly Fails to Conduct its Audits of
                          SCANA’s       Financial Statements in Accordance with PCAOB
                          Standards

        265. Deloitte issued unqualified or “clean” audit opinions on SCANA’s financial
statement as of and for the years-ended December 31, 2015 and 2016 (the “2015 Audit” and “2016
Audit”), representing that they had audited SCANA’s financial statements in accordance with
PCAOB Standards and determined that those financial statements “present[ed] fairly, in all
material respects, the financial position of the Company . . . in conformity with accounting
principles generally accepted in the United States of America.” 101

        ANSWER NO. 265: Deloitte denies the allegations set forth in paragraph 265, except

admits that D&T issued audit opinions for the years-ended December 31, 2015 and 2016, and

refers to the audit opinions for their complete contents.

       266. As set forth in detail below, the 2015 Audit and the 2016 Audit were not conducted
in accordance with PCAOB standards.

        ANSWER NO. 266: Deloitte denies the allegations set forth in paragraph 266.

                 a.       Deloitte’s Audit Response to Evidence that the Nuclear Project Would
                          Not be Complete by 2021 and that SCANA Would Not Receive Nuclear
                          Project Related Tax Credits Amounted to “No Audit At All”

        267. SCANA told investors that it would be entitled to receive tax credits of up to $1.4
billion pursuant to the Nuclear Tax Production Credit provisions in the law, and that the Nuclear
Project would be operational by 2021. Specifically, SCANA stated the following in its 2015
Financial Statements:102




101
    2015 Annual Report on Form 10-K filed on February 26, 2016, p. 44; 2016 Annual Report on Form 10-K filed on
February 24, 2017, p. 44.
102
    2015 Annual Report on Form 10-K filed on February 26, 2016, p. 133-135. A nearly identical statement was made
in the Company’s 2016 Annual Report on Form 10-K, filed on February 24, 2017, p. 90.


                                                       97
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           ANSWER NO. 267: Deloitte denies the allegations set forth in paragraph 267, except

admits that it contains an excerpt of the notes to the financial statements included in SCANA’s

Form 10-K filed on February 26, 2016, and refers to the notes for their complete contents (and,

with respect to the allegations set forth in footnote 102, refers to the notes in SCANA’s Form 10-

K filed on February 24, 2017).

        268. Further, in the notes to the 2015 financial statements, the Company stated that: the
“guaranteed substantial completion dates of Units 2 and 3 [of the Nuclear Project]” were “August
31, 2019 and 2020, respectively.”103 In the notes to the 2016 financial statements, the Company
similarly stated that the “guaranteed substantial completion dates” were “August 31, 2019 and
August 31, 2020 for Units 2 and 3, respectively.” 104

           ANSWER NO. 268: Deloitte denies the allegations set forth in paragraph 268, except

admits that it contains partial quotations from the notes to the financial statements included in

SCANA’s Form 10-Ks filed on February 26, 2016 and February 24, 2017, and refers to the notes

for their complete contents.

        269. Deloitte was thus required to understand and obtain sufficient audit evidence in
response to the risk that SCANA’s related Nuclear Tax Production Credit disclosures could be
materially misleading and/or misstated, in violation of GAAP. In addition, given the significance
of the tax credits to the Company’s financial condition and regulatory approval orders, Deloitte’s
was required to evaluate the likelihood that the Nuclear Protect would be complete by 2021.

           ANSWER NO. 269: Deloitte denies the allegations set forth in paragraph 269.

         270. Specifically, Deloitte needed to substantiate the existence of the disclosed tax credit
(i.e., up to $1.4 billion) and its applicability to the Nuclear Project, as well as obtain audit support
for SCANA’s disclosed expectations with respect to such credits. This would have included, for
example, obtaining and reviewing, support for the Company’s asserted expected Nuclear Project
completion date prior to 2021, including for example, the October 2015 Agreement, PSC approved
orders, and other information demonstrating that the Company’s disclosed expected unit
completion date was likely to occur.

           ANSWER NO. 270: Deloitte denies the allegations set forth in paragraph 270.

      271. As set forth above in Section IV.E, evidence demonstrating that the Nuclear Project
would be completed by the stated completion dates did not exist. To the contrary; there was

103
      2015 Annual Report on Form 10-K filed on February 26, 2016, p. 133-135.
104
      2016 Annual Report on Form 10-K, filed on February 24, 2017, p. 88.


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significant evidence obtained by and available to Deloitte in 2015 demonstrating that the Nuclear
Project was unlikely to be complete by 2021 and that SCANA would be unable obtain the $1.4
billion in Nuclear Tax Credits.

           ANSWER NO. 271: Deloitte denies the allegations set forth in paragraph 271.

        272. First, Deloitte was repeatedly put on notice that the Nuclear Project suffered from
recurring delays and revised cost estimates during the Relevant Period. For example, as described
above, the recurring rate hikes required Deloitte to obtain evidence regarding changes, including
projected dates of completion and related costs and, thus, Deloitte would have reviewed the nine
rate hikes and related regulatory orders for purposes of conducting its tie-out procedures to
SCANA’s financial statements. Similarly, SCANA’s construction work in progress metrics and
the recurring delays and schedule extensions should have prompted Deloitte to review the
following types of audit evidence, among other things, in connection with its audits: management
project reports (including project status reports and presentations provided to SCANA’s Board of
Directors), Risk Management Committee meeting minutes, SCANA Board of Director meeting
minutes, presentations and memorandum, SCANA/Santee Cooper Joint Board of Director meeting
minutes, presentations and memorandum, key communications from SCANA’s nuclear team to
SCANA management regarding the Nuclear Project, and communications between SCANA and its
regulators for the purpose of understanding the Nuclear Project and changes that may affect SCANA’s
financial statement disclosures. These recurring delays and cost estimate changes, and the documents
concerning the delays and cost estimate changes, would have made clear to Deloitte that SCANA was
not exercising appropriate oversight over, and did not have a robust process for, making cost estimates
or estimating completion schedules. They would also have demonstrated that it was taking
substantially longer and more money to build the Nuclear Project than previously estimated by
SCANA. Most critically, they demonstrated that SCANA would be unable to meet the 2021 deadline
necessary to obtain the $1.4 billion in tax credits.

           ANSWER NO. 272: Deloitte denies the allegations set forth in paragraph 272, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the third through final sentences of paragraph 272, and admits that D&T reviewed

SCANA’s submissions to the PSC and the PSC’s orders regarding those submissions.

        273. Second, the Company’s Nuclear Project job progress reports—which Deloitte was
required to review—also made clear that the actual percentage of project completion deviated
significantly from where the Nuclear Project was supposed to be. For example: 105

                                    EXPECTED PERCENT                            ACTUAL PERCENT
           MONTH
                                        COMPLETE                                  COMPLETE
 January 2016                              3%                                        0.3%
 February 2016                             3%                                        0.5%


105
      United States Securities and Exchange Commission v. SCANA Corporation, et. al, February 27, 2020, p. 61.


                                                         99
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 March 2016                                 3%                                0.6%
 April 2016                                 3%                                0.6%
 May 2016                                   3%                                0.7%
 June 2016                                  3%                                0.8%
 TOTAL                                     18%                                3.5%

       ANSWER NO. 273: Deloitte denies the allegations set forth in paragraph 273.

       274. The fact that SCANA’s actual percent complete was significantly off from the
estimated percent complete made clear that the Company would be unable to meet the 2021
deadline for the provision of the tax credits. Under the actual percent complete, it would have taken
SCANA at least until 2023 to complete the Nuclear Project.

       ANSWWER NO. 274: Deloitte denies knowledge or information sufficient to form a

belief as to the truth of the allegations set forth in paragraph 274.

       275. Third, Deloitte obtained and reviewed the Bechtel Report and presentations.
Specifically, Jimmy Addison, CFO of SCANA testified to the following:

               Q.      You were signing your company's or certifying your
                       company's SEC filings during the time of the Bechtel
                       assessment, correct?

               A.      Correct.

               Q.      It doesn’t disturb you at all that the company spent seven
                       figures on assessment in 2015 regarding the status—
                       regarding the project and you weren't made aware of the
                       results of that assessment while you were certifying these
                       SEC filings?

               A.      It does not. And part of that conclusion is we’ve got an
                       international accounting firm that’s auditing our
                       records, that has gone back and looked at it completely
                       and said the(y) did not see any gaps in our disclosures.

               Q.      Is that Deloitte?

               A.      Yes.

               Q.      You used to work there, right?

               A.      I did about three decades ago.

               Q.      So you trusted your accountants on that issue?




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                    A.       I have a great deal of confidence that they thoroughly
                             vetted that issue especially with the political and
                             regulatory ramifications of it.

                    Q.       Sitting here now, do you know that they did vet that
                             issue?

                    A.       Yes.

                    Q.       How do you know that?

                    A.       They told me that. Q. When?

                    A.       I don’t know specifically when, sometime obviously post
                             abandonment.

                    Q.       Did you have a conversation with them specifically about
                             that issue?

                    A.       The conversation wasn’t specific about that. It was
                             conversation that—a topic that they offered in the middle of
                             another—in the middle of another meeting.

                    Q.       What was the meeting about?

                    A.       A routine quarterly meeting where they meet with me before
                             the financials are published.

                    Q.       And how do they bring up the Bechtel report?

                    A.       I don’t remember the details of it.

                    Q.       What did they tell you about it?

                    A.       That they had gone back with their local team and their
                             national team and reviewed all the disclosures at the
                             point in time that they were made, and read this
                             document. They did not see any gaps in the disclosure at
                             the time they were made.

                    Q.       And who from Deloitte told you that?

                    A.       The partner at Deloitte now, Sean Bird.106




106
      Deposition of Jimmy Addison (rough transcript) dated October 3, 2018, 96:8-98:7.


                                                         101
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         ANSWER NO. 275: Deloitte denies the allegations set forth in paragraph 275, except

admits that it contains partial quotations from Addison’s testimony, and refers to the testimony for

its complete contents.

       276. As discussed more fully above in Section IV.E, the Bechtel Reports and the related
preliminary presentation dated October 22, 2015, raised substantial questions regarding whether
the Nuclear Project would be complete by 2021 and whether the Company would be able to receive
the Nuclear Production Tax Credits of up to $1.4 billion, as it told investors.

         ANSWER NO. 276: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 276.

       277. Specifically, the Bechtel Report found that “[t]he Consortium’s forecasts for
schedule durations, productivity, forecasted manpower peaks and percent complete do not have a
firm basis and that a realistic forecast completion date for Unit 2 was not until “December 2020 to
August 2021” and “June 2022 to June 2023 for Unit 3”:




         ANSWER NO. 277: Deloitte denies the allegations set forth in paragraph 277, and refers

to the Bechtel Report for its complete contents.

        278. This overwhelming evidence was materially inconsistent with—and, in fact,
directly contradicted—assertions by SCANA and SCANA management in the Company’s 2015
and 2016 financial statements included in the Company’s 2015 and 2016 Forms 10-K, including
that: (1) “substantial completion dates of Units 2 and 3” would be August 2019 and 2020,
respectively in the 2015 Form 10-K, 107 and “August 31, 2019 and August 31, 2020” in the 2016

107
   2015 Form 10-K, p. 133-135. Notably, these revised dates differed from the recently approved order by the PSC
in September 2015.


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Form 10-K.108; and (2) based off the revised “substantial completion dates of Units 2 and 3,” the
Company expected to receive nuclear production tax credits of as much as $1.4 billion. For
example:109




         ANSWER NO. 278: Deloitte denies the allegations set forth in paragraph 278, and refers

to SCANA’s 2015 and 2016 Form 10-Ks for their complete contents.

        279. In addition, according to internal documents, SCANA management made a number
of representations to Deloitte in connection with Deloitte’s 2016 audit that were inconsistent with
the Company’s financial statements and numerous internal documents, including the Bechtel
Report and other information known or available to Deloitte. For example, SCANA management
represented to Deloitte that:




         ANSWER NO. 279: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 279, except admits that paragraph 279

contains a partial quotation from a letter provided by SCANA management to D&T in connection

with D&T’s audit for the year ending December 31, 2016, and denies that the quoted portions of




108
    2015 Form 10-K, p. 133-135. Notably, these revised dates differed from the recently approved order by the PSC
in September 2015.
109
    2015 Form 10-K, p. 135. See also 2016 Form 10-K, p. 90 (“Based on current tax law and the contractual guaranteed
substantial completion dates (and the recently revised forecasted dates of completion) provided above, both New Units
would be operational and would qualify for the nuclear production tax credits”).


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the letter are inconsistent with SCANA’s financial statements for 2016. Deloitte affirmatively

avers that under applicable standards, such representations are considered audit evidence.

       280. Deloitte knew, however, that this representation was inconsistent with the Bechtel
Report and findings, and other information known or available to Deloitte. Nevertheless,
SCANA’s 2016 financial statements represented that the “substantial completion dates of Units 2
and 3” would be August 2019 and 2020, respectively, and thus the Company expected to receive
the Nuclear Tax Credits.

         ANSWER NO. 280: Deloitte denies the allegations set forth in paragraph 280.

        281. Similarly, SCANA management represented to Deloitte that “SCE&G has received
certain schedule information from WEC and has only just begun to evaluate it to, among other
things, determine whether the revised completion dates are feasible.” This information,
particularly when coupled with the Bechtel Report and findings and other information known or
available to Deloitte, was inconsistent with SCANA’s 2016 financial statements statement that,
“[b]ased on . . . the recently revised forecasted dates of completion...both New Units would be
operational and would qualify for the NPTC . . . .”

         ANSWER. NO. 281: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 281, except admits that paragraph 281

contains a partial quotation from a letter provided by SCANA management to D&T in connection

with D&T’s audit for the year ending December 31, 2016, and denies that the quoted portions of

the letter are inconsistent with SCANA’s financial statements for 2016. Deloitte affirmatively

avers that under applicable standards, such representations are considered audit evidence.

        282. Indeed, Deloitte’s own annual publication Power and Utilities: Accounting,
Financial Reporting, and Tax Update circulated as early as January 2016 specifically recognized
that “[t]here have been multiple delays with the construction of the reactors” for the Nuclear
Project—confirming that Deloitte knew of the Nuclear Project’s recurring delays. 110

         ANSWER NO. 282: Deloitte denies the allegations set forth in paragraph 282, except

admit that it contains a partial quotation from the referenced document, and refers to that document

for its complete contents.


110
    Deloitte, Power and Utilities: Accounting, Financial Reporting, and Tax Update, January 2016, Accessible at:
https://www2.deloitte.com/content/dam/Deloitte/us/Documents/energy- resources/us-er-power-utilities-accounting-
financial-reporting-and-tax-update.pdf.


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        283. Given this inconsistent information, Deloitte did not have appropriate audit
evidence to have a reasonable basis to conclude that SCANA’s 2016 financial statements were
free of material misstatement and should have resulted in Deloitte expressing a qualified report, or
a disclaimer pursuant to AS 3105.

       ANSWER NO. 283: Deloitte denies the allegations set forth in paragraph 283.

        284. As indicated by the disclosure above, Deloitte failed to appropriately respond to
these inconsistencies in violation of PCAOB Standards. As a result, it was false and misleading
for Deloitte to issue a clean audit report on SCANA’s 2015 and 2016 financial statements when,
based on Bechtel’s findings and other information known or available to Deloitte, it was unlikely
that the Company would complete the nuclear units prior to 2021 to qualify for the disclosed $1.4
billion in possible tax credits.

       ANSWER NO. 284: Deloitte denies the allegations set forth in paragraph 284.

               b.      Deloitte’s Audit Response to SCANA’s Capitalized Project
                       Construction Work in Progress Amounted to “No Audit At All”

        285. As discussed above in Section IV.D., Deloitte was required to plan and perform
audit procedures in response to the assessed risks of material misstatement relating to SCANA’s
capitalized construction work in progress, including amounts capitalized in connection with the
Nuclear Project.

       ANSWER NO. 285: Deloitte denies the allegations set forth in paragraph 285, except

admits that D&T was required to plan and perform audit procedures in response to identified risks

that could result in a material misstatement in SCANA’s financial statements, and avers that D&T

did so, refers to the auditing standards in effect during the relevant period for their complete

contents, and denies any allegation in paragraph 285 inconsistent therewith.

        286. As of December 31, 2015, SCANA’s construction work in progress totaled
approximately $4.1 billion, or 24% of SCANA’s total reported assets. As of December 31, 2016,
SCANA’s construction work in progress totaled approximately $4.8 billion or 26% of SCANA’s
total reported assets. As a result, Deloitte’s audit response should, at a minimum, have include the
following audit procedures:

              Obtaining an understanding of the policies, processes and related internal controls
               over SCANA’s recognition of construction work in progress associated with the
               Project. This understanding would be expected to provide Deloitte with an
               understanding of the risks of material misstatement affecting the Nuclear Project
               and the Company’s related capitalization of work in progress;




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               Examining supporting documentation necessary to understand the terms,
                conditions and the scope of the Project, including for example significant
                agreements in place between the primary parties, ownership structure detail, and
                relevant regulatory orders;

               On a sample basis, testing the effectiveness key internal controls relating to the
                project, including: (1) the Company’s review and analysis of periodic job status
                reporting, (2) the review of capitalized amounts recorded within SCANA’s general
                ledger, (3) the use of automated system functions that support the recording of
                construction work in progress, and (4) the Company’s evaluation of recoverability
                of the amounts capitalized;

               On a sample basis, examining periodic job status reports, cost estimates and related
                forecasts, both current and at completion (e.g., estimates at completion (“EAC”)),
                productivity/performance factors, completion percentages, vendor invoices, time
                records, purchasing contracts, original (or substitute) canceled checks or ACH
                payments, and work orders to substantiate the existence, accuracy and
                completeness of amounts capitalized; and

               Testing the recoverability of the capitalized asset (i.e. the Nuclear Project),
                including approved regulatory filings and orders, and detailed support for changes
                to the construction subsequent the approved order. Such procedures also should
                have included a review of the critical assumptions and conditions set forth in the
                approved regulatory orders. To the extent that those assumptions or conditions were
                contradicted by other information obtained during its 2015 and 2016 audits,
                Deloitte was required to perform additional audit procedures necessary to resolve
                the matter and determine the effect, if any, on other aspects of the respective audit.

        ANSWER NO. 286: Paragraph 286 contains legal conclusions to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in 286,

except admits the allegations set forth in the first two sentences of paragraph 286.

        287. Had Deloitte performed these required audit functions, it would have learned that
there were numerous, severe concerns regarding the schedule for the Nuclear Project. Specifically,
Deloitte knew and/or would have discovered, among other things, (i) that the project
performance/productivity factor was “consistently above the goal” and “trending in a negative
direction”; (ii) that “[t]he majority of project milestones are not met on their scheduled dates”; (iii)
that “[t]he percentage of schedule activities completed on time [was] well below the goal”; and
that (iv) the monthly completion percentages were consistently far below the numbers required to
complete the Nuclear Project in time to receive the tax credits.

        ANSWER NO. 287: Deloitte denies the allegations set forth in paragraph 287.




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         288. Deloitte failed to appropriately plan for and perform audit procedures in response
to this information in violation of PCAOB Standards. As a result, it was false and misleading for
Deloitte to issue a clean audit report on SCANA’s 2015 and 2016 financial statements.

         ANSWER NO. 288: Deloitte denies the allegations set forth in paragraph 288.

                 c.      Deloitte’s Audit Response to SCANA’s Disclosed Rate Revisions
                         Amounted to “No Audit At All”

        289. Deloitte knew that SCANA’s BLRA rate revisions, estimated project costs and
related unit completion schedules were being reviewed and approved by the PSC. It also knew that
SCANA had sought and received approval on nine separate occasions for rate increases due to the
fact that it was continually having to make adjustments to the costs of, and substantial completion
dates for, the Nuclear Project.111

         ANSWER NO. 289: Deloitte denies the allegations set forth in paragraph 289, except

admits the allegations set forth in the first sentence of paragraph 289, and further admits that D&T

knew that SCANA sought and received approval for rate increases at several points, refers to the

content of those applications for their complete contents, and denies any allegations inconsistent

therewith.

        290. As discussed above in Section IV.D., Deloitte was thus required to plan and
perform audit procedures in response to the risk of material misstatements regarding SCANA’s
disclosed rate revisions, estimated project costs and related unit completion schedules. Such
procedures should have included:

                Obtaining an understanding of the BLRA and related legislation and regulations
                 supporting the revenue rates approved by the PSC and billed by SCANA;

                Examining SCANA’s rate order applications and subsequent approved regulatory
                 orders supporting each of the following disclosures: (1) regulatory filings and the
                 approved rate revisions, (2) costs and rates challenged by intervenors, (3) denied
                 claims associated with such orders, (4) pending approvals of rates or other related
                 claims and cost changes, (5) rate orders approving or changing project construction
                 schedules, and (6) information in the orders that may set forth applicable
                 commitments or contingencies associated with the Nuclear Project.




111
   2008 Annual Report on Form 10-K filed on February 27, 2009, Management’s Discussion and Analysis; 2009
Annual Report on Form 10-K filed on March 1, 2010, p. 13; 2012 Annual Report on Form 10-K filed on February 28,
2013, p. 61; 2014 Annual Report on Form 10-K filed on February 27, 2015, p. 118; 2015 Annual Report on Form 10-
K filed on February 26, 2016, p. 116; 2016 Annual Report on Form 10-K filed on February 24, 2017, p. 65.


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           ANSWER NO. 290: Deloitte denies the allegations set forth in paragraph 290, except

admits that D&T was required to plan and perform audit procedures in response to identified risks

that could result in a material misstatement in SCANA’s financial statements, and avers that D&T

did so, refers to the auditing standards in effect during the relevant period for their complete

contents, and denies any allegation in paragraph 290 inconsistent therewith.

        291. These audit procedures should have included a review of the critical assumptions
and conditions set forth in the approved regulatory orders. To the extent that those assumptions or
conditions were contradicted by other information obtained during its 2015 and 2016 audits,
Deloitte was required to perform additional audit procedures necessary to resolve the matter and
determine the effect, if any, on other aspects of the respective audit.

           ANSWER NO. 291: Deloitte denies the allegations set forth in paragraph 291, except

admits that D&T was required to plan and perform audit procedures in response to identified risks

that could result in a material misstatement in SCANA’s financial statements, and avers that D&T

did so, refers to the auditing standards in effect during the relevant period for their complete

contents, and denies any allegation in paragraph 291 inconsistent therewith.

        292. Notably, the Company assumed that Deloitte would inquire about its BLRA
submissions and how such submissions were impacted by the constantly changing—and
increasing—project construction schedules and costs, and did not intend to mislead Deloitte
regarding these issues. For example, in a September 21, 2015 email, James Swan IV, SCANA’s
Controller, states that Deloitte “may ask about whether we ought to say anything about the ORS’
engagement of a CPA firm to consider the value/cost of the BLRA [in the Company’s SEC filings].
I don’t know what we would say about that, and I do not advocate talking about it [in the
Company’s SEC filings]. But it is public anyway, so if Deloitte presses and is willing to offer up
some idea [sic] on language, I am open to it, I guess.”112

           ANSWER NO. 292: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 292, except admits that it sets forth partial

quotations from the September 21, 2015 email, and refers to the email for its complete contents.

       293. Deloitte either did not perform its required audit functions or ignored what they
demonstrated. The Bechtel Report made abundantly clear that the Company’s representations to
the PSC in support of its BLRA submissions were inaccurate. Since the Bechtel Report assessed

112
      Motion Exhibit A, Email from Alvis Bynum dated November 22, 2016, ORS_SCEG_01469466-9467.


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delays of between 18 to 36 months for each of the unit’s respective completion dates, the BLRA
rate revisions, estimated project costs and related unit completion schedules submitted to and
approved by the PSC were also inaccurate.

       ANSWER NO. 293: Deloitte denies the allegations set forth paragraph 293, except denies

knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

the second through final sentences of paragraph 293.

       294. The Company’s false representations to the PSC significantly compromised the
Company’s ability to recover project costs and charge revised rates necessary to support the
Company’s construction work in progress, including because it significantly hampered the ability
of Westinghouse to complete the Nuclear Project, ultimately contributing to its bankruptcy.

       ANSWER NO. 294: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 294.

       295. This is particularly relevant considering SCANA’s acknowledged risk factor,
included in its 2015 and 2016 Forms 10-K, which explicitly recognized the regulatory and financial
implications of schedule deviations of more than 18 months. For example, SCANA’s 2015 Form
10-K stated:
                 Should the construction of the New Units adversely deviate from
                 the schedules (by more than 18 months), estimates, and
                 projections timely submitted to and approved by the SCPSC
                 pursuant to the BLRA, the SCPSC could disallow the additional
                 capital costs that result from the deviations to the extent that it
                 is deemed that the Company's failure to anticipate or avoid the
                 deviation, or to minimize the resulting expenses, was imprudent,
                 considering the information available at the time. Depending
                 upon the magnitude of any such disallowed capital costs, the
                 Company could be moved to evaluate the prudency of
                 continuation, adjustment to, or termination of the project.

               Furthermore, jointly owned projects, such as the current
               construction of the New Units, are subject to the risk that one or
               more of the joint owners becomes either unable or unwilling to
               continue to fund project financial commitments, new joint owners
               cannot be secured at equivalent financial terms, or changes in the
               joint ownership make-up will increase project costs and/or delay the
               completion.

               To the extent that delays occur, costs become unrecoverable, or
               we otherwise become unable to effectively manage and complete
               our capital projects, our results of operations, cash flows and
               financial condition, as well as our qualifications for applicable


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                    governmental programs and benefits, such as production tax
                    credits, may be adversely affected.113

           ANSWER NO. 295: Deloitte denies the allegations set forth in paragraph 295, except

admits that it sets forth partial quotations from SCANA’s 2015 Form 10-K, and refers to the Form

10-K for its complete contents.

        296. PCAOB Standards required Deloitte to read SCANA’s regulatory submissions and
orders (including those with PCS), and thus was aware or should have been aware of key
assumptions from which the rate revisions approval orders appeared to be based (e.g., completion
of project by certain dates, assumed realization of tax credits totaling as much as $1.4B, realistic
future cost and schedule estimates, etc.). Deloitte also had access to other critical information,
including but not limited to, Project Management and Risk Management reports, accumulation of
costs, and the budget to actual comparisons. Thus, Deloitte knew or should have identified the
significant inconsistencies between the information provided to and being assumed by the PCS—
inconsistencies which raised a risk of material misstatement associated with contingencies
associated with regulatory issues/disclosures, including the information provided to the PCS to
support approval of revised rates under the BLRA.

           ANSWER NO. 296: The first sentence of paragraph 296 contains a legal conclusion to

which no response is required. To the extent a response is required, Deloitte denies the truth of

the allegations set forth in the first sentence in paragraph 296 and refers to the PCAOB Standards

for their complete contents. Deloitte denies the allegations set forth in the remainder of paragraph

296.

        297. According to internal documents, during the Nuclear Project, Deloitte also was
retained to conduct separate, regular “special audits” of the Nuclear Project’s costs. Internal
documents make clear that those “special audits” involved examination of “audit evidence about
the amounts and disclosures in the [project] schedule.” As part of those special audits, Deloitte
tested whether the Nuclear Project’s costs were presented fairly in accordance with GAAP. In
conducting these tests, Deloitte would have been aware of the total costs incurred each year on the
Nuclear Project, as well as the total costs incurred on a project to date basis. Through this audit
work, as well as more generally through its audits of SCANA’s financial statements, Deloitte was
well aware that the Nuclear Project costs were well in excess of budgets given the level of
completion, and as compared to budgeted amounts, as well as the lack of progress of the Nuclear
Project—a red flag that SCANA would not be able to complete the Nuclear Project in time to
receive the Nuclear Tax Credits.



113
      2015 Form 10-K, pp. 11-12. See also, 2016 Form 10-K, p. 11.


                                                        110
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         ANSWER NO. 297: Deloitte denies the allegations set forth in paragraph 297, except

denies knowledge or information sufficient to form a belief as to the allegations in the first and

second sentences of paragraph 297, and admits that D&T was engaged to perform an audit of the

Schedule of Nuclear Project Costs for the Company for the years ended December 31, 2016 and

December 31, 2017, in accordance with GAAP and the allegations set forth in the third sentence

of paragraph 297.

        298. As a result of the foregoing, it was knowingly or recklessly false and misleading
for Deloitte to give a clean audit report on SCANA’s financial statements. Deloitte’s acceptance
of SCANA’s financial reporting, including disclosures regarding approved rate revisions, nuclear
production tax credits, and risks and uncertainties, reflected Deloitte’s repeated failure to
appropriately respond to such inconsistencies and corresponding risks of material misstatement in
violation of PCAOB Standards.

         ANSWER NO. 298: Deloitte denies the allegations set forth in paragraph 298.

                  d.        Deloitte Audits of SCANA’s Internal Control Over Financial Reporting
                            Amounts to “No Audit at All”

         299. The Sarbanes-Oxley Act of 2002 (“SOX”) required Deloitte to audit and express
an opinion on the effectiveness of the SCANA’s internal control over financial reporting in order
to bring information about any material weaknesses to public view. 114 A material weakness is a
deficiency, or a combination of deficiencies, in internal control over financial reporting, such that
there is a reasonable possibility115 that a material misstatement of the company’s annual or interim
financial statements will not be prevented or detected on a timely basis. 116




114
    SEC Release No. 33-8810, see II.B.3, at 38.
115
    There is a “reasonable possibility” of an event, as used in this standard, when the likelihood of the event is either
“reasonably possible” or “probable,” as those terms are used in ASC 450, Accounting for Contingencies. AS 5.A7
(2015 Audit); AS § 2201.A7 (2016 Audit).
116
    AS 5.A7 (2015 Audit); AS § 2201.A7 (2016 Audit). “An internal control over financial reporting deficiency exists
when the design or operation of a control does not allow management or employees, in the normal course of
performing their assigned functions, to prevent or detect misstatements on a timely basis. A deficiency in internal
control over financial reporting may pertain to either a deficiency in design or operation. As set forth under PCAOB
AS 5.A3 (AS § 2201.A3 (2016 Audit)), a design deficiency “exists when “(a) a control necessary to meet the control
objective is missing or (b) an existing control is not properly designed so that, even if the control operates as designed,
the control objective would not be met.” An operating deficiency “exists when a properly designed control does not
operate as designed, or when the person performing the control does not possess the necessary authority or competence
to perform the control effectively.”


                                                           111
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         ANSWER NO. 299: Paragraph 299 states conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

299, except admits that it contains a partial recitation of the cited documents, and refers to the cited

statute and standards for their complete contents.            Deloitte affirmatively avers that D&T’s

engagement by SCANA’s Board of Directors was governed by the terms of the engagement letters

under which D&T performed its work, and the applicable professional standards.

        300. Because a company’s internal controls cannot be considered effective if one or
more material weaknesses exist, to form a basis for its report, Deloitte was required to obtain
sufficient evidence to determine with reasonable assurance whether any material weaknesses
existed as of December 31, 2015 and 2016.117 This assessment “underlies the entire audit process,”
and should include a “determination of significant accounts and disclosures and relevant
assertions, the selection of controls to test, and the determination of the evidence necessary for a
given controls.”118

         ANSWER NO. 300: Paragraph 300 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies admits that the allegations set forth

in paragraph 300, except admits that it contains incomplete quotations from the referenced

documents, and refers to the cited standards for their complete contents.

        301. A direct relationship exists between the degree of risk that a material weakness
could exist and the amount of audit attention that should be devoted to that area. 119 As the risk
associated with the internal control being tested increases, the evidence that the auditor must obtain
also increases.120 If deviations from a company’s asserted controls exist, the auditor is required to
“determine the effect of the deviations on his or her assessment of the risk associated with the
control being tested and the evidence to be obtained, as well as on the operating effectiveness of
the control.”121

         ANSWER NO. 301: Deloitte denies the allegations set forth in paragraph 301, and refers

to the cited standards for their complete contents.



117
    AS 5.3 (2015 Audit); AS § 2201.03 (2016 Audit).
118
    AS 5.10 (2015 Audit); AS § 2201.10 (2016 Audit).
119
    AS 5.11 (2015 Audit); AS § 2201.11 (2016 Audit).
120
    AS 5.46 (2015 Audit); AS § 2201.46 (2016 Audit).
121
    AS 5.48 (2015 Audit); AS § 2201.48 (2016 Audit).


                                                       112
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       302. Because, as detailed above in Section IV.E., contradictory information was evident
during the 2015 and 2016 audits, Deloitte was required to consider whether or not the
inconsistencies indicated that the following types of internal controls, including disclosure
controls, surrounding SCANA’s Nuclear Project were deficient:

                   Management’s monitoring and supervising of the construction of the Nuclear
                    Project, including its evaluation and monitoring of the construction schedule and
                    capital cost forecast;

                   Controls associated with the initial recognition of construction work in progress
                    and the management’s evaluation of the likelihood of (1) the recovery in future
                    rates of costs incurred as property, plant, and equipment and deferred as regulatory
                    assets, and (2) a refund or a future reduction in rates that should be reported as
                    regulatory liabilities; and

                   Management’s monitoring and evaluation of regulatory developments that may
                    affect disclosures relating to the likelihood of recovering costs through future tax
                    credits.

           ANSWER NO. 302: Paragraph 302 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

302, except admits that the standards governing D&T’s integrated audit engagements required it

to obtain and evaluate evidence relating to SCANA’s internal controls over financial reporting,

and avers that it complied with those standards, refers to the standards for a complete recitation of

their requirements, and denies any allegations inconsistent therewith.

        303. Because, as detailed above in Section IV.E., Deloitte knew through evidence it was
required to gather in its quest to obtain sufficient appropriate audit evidence—such as the Bechtel
Report, Board of Directors Board minutes, internal project completion summaries, and analyses
reflecting repeated schedule delays—that each of these areas was deficient, PCAOB Standards
also required that Deloitte evaluate the severity of each control deficiency that came to its attention
to determine whether the deficiencies, individually or in combination, are material weaknesses as
of the date of management’s assessment.122

           ANSWER NO. 303: Paragraph 303 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

303, except admits that the standards governing D&T’s integrated audit engagements required it


122
      AS 5.62 (2015 Audit); AS § 2201.62 (2016 Audit).


                                                         113
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to obtain and evaluate evidence relating to SCANA’s internal controls over financial reporting,

and avers that it complied with those standards, refers to the standards for a complete recitation of

their requirements, and denies any allegations inconsistent therewith.

           304.     The severity of a deficiency depends on:

                   Whether there is a reasonable possibility that the company’s controls will fail to
                    prevent or detect a misstatement of an account balance or disclosure; and

                   The magnitude of the potential misstatement resulting from the deficiency or
                    deficiencies.123

Importantly, the severity of a deficiency does not depend on whether a misstatement actually has
occurred, but rather on whether there is a reasonable possibility that the company’s controls will
fail to prevent or detect a misstatement.124

           ANSWER NO 304: Deloitte refers to the cited standards for their complete contents, and

denies any allegation in paragraph 304 to the extent they are inconsistent therewith.

        305. Here, as discussed above in Section IV.E., there can be no question that SCANA’s
internal control over financial reporting deficiencies were so severe that they were unlikely to
prevent or detect a large and material misstatement. For example, the Bechtel Report made clear
that there was an absence of a robust process and effective internal control associated with the
Nuclear Project, stating that the “current schedule [for the Nuclear Project] is at risk” because,
among other things, there were “significant issues” facing the Nuclear Project that threatened its
“successful completion”; “installation rates, productivity, and staffing levels all point to project
completion later than the current forecast”; “[t]he Consortium’s forecasts for schedule durations,
productivity, forecasted manhour peaks, and percent complete are unrealistic”; “[t]he Owners do
not have an appropriate project controls team to assess/validate Consortium reported progress and
performance”; and thus concluding the Nuclear Project “suffer[ed] from various fundamental
[engineering, procurement, and construction] and major project management issues.”

           ANSWER NO. 305: Deloitte denies the allegations set forth in paragraph 305, and refers

to the First and Second Bechtel Reports for their complete contents.

        306. Notably, SCANA’s own executives and internal accounting personnel recognized
that Deloitte was required to inquire as to why Bechtel’s ongoing work was not being disclosed to
investors in the Company’s SEC filings given that it identified numerous internal control
deficiencies. For example, in a September 21, 2015 email, James Swan IV, SCANA’s Controller,
states that “FYI – Deloitte will be asking about whether (or why not) we mention the Bechtel

123
      AS 5.63 (2015 Audit); AS § 2201.63 (2016 Audit).
124
      AS 5.64 (2015 Audit); AS § 2201.64 (2016 Audit).


                                                         114
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consulting engagement . . . in the next 10-Q. If Santee ends up mentioning it, they may feel strongly
that we should too.”125 He went on to state that “[t]he initial thinking I believe is that we will not
mention it [in the next 10-Q]. . . Stay tuned.” 126

           ANSWER NO. 306: Deloitte denies the allegations set forth in paragraph 306, except

admits that it sets forth partial quotations from the September 21, 2015 email, and refers to the

email for its complete contents.

        307. Accordingly, Deloitte’s clean audit report on SCANA’s internal control over
financial reporting as of December 31, 2015 and 2016, respectively, were knowingly or recklessly
false and misleading when made.

           ANSWER NO. 307: Deloitte denies the allegations set forth in paragraph 307.

                  2.      Deloitte Intentionally or Recklessly Fails to Conduct its Reviews of
                          SCANA’s Interim Reports

        308. The following statements and assertions were included in SCANA’s Forms 10-Q
for the first quarter of 2016, second quarter of 2016 and third quarter of 2016:

                  Nuclear Production Tax Credits

                  The IRS has notified SCE&G that, subject to a national megawatt
                  capacity limitation, the electricity to be produced by each of the New
                  Units (advanced nuclear units, as defined) would qualify for nuclear
                  production tax credits under Section 45J of the Internal Revenue
                  Code to the extent that such New Unit is operational before January
                  1, 2021 and other eligibility requirements are met. These nuclear
                  production tax credits (related to SCE&G's 55% share of both
                  New Units) could total as much as approximately $1.4 billion.
                  Such credits would be earned over the first eight years of each New
                  Unit's operations and would be realized by SCE&G over those years
                  or during allowable carry-forward periods. Based on the
                  guaranteed substantial completion dates provided above [August
                  2019 and 2020], both New Units are expected to be operational
                  and to qualify for the nuclear production tax credits; however,
                  further delays in the schedule or changes in tax law could impact
                  such conclusions. When and to the extent that production tax credits
                  are realized, their benefits are expected to be provided directly to
                  SCE&G's electric customers



125
      Motion Exhibit A, Email from Alvis Bynum dated November 22, 2016, ORS_SCEG_01469466-9467.
126
      Motion Exhibit A, Email from Alvis Bynum dated November 22, 2016, ORS_SCEG_01469466-9467.


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         ANSWER NO. 308: Deloitte admits that paragraph 308 sets forth partial quotations from

SCANA’s Form 10-Q for the referenced periods, and refers to the Forms 10-Q for their complete

contents.

        309. Pursuant to Rule 10-01(d) of Regulation S-X, Deloitte was required to conduct a
review of SCANA’s interim financial statements included in the Company’s Quarterly Report on
Form 10-Q prior to its filing with the SEC during the Class Period.127 PCAOB Standard AU § 722,
Review of Interim Financial Information (AS 4105: Reviews of Interim Financial Information (for
2017 interim reviews)) recognizes that the objective of a review of interim financial information
is to provide the accountant with a basis for communicating whether he or she is aware of any
material modifications that should be made to the interim financial information for it to conform
with generally accepted accounting principles. 128 A review consists principally of performing
analytical procedures and making inquiries of persons responsible for financial and accounting
matters, and does not contemplate (a) tests of accounting records through inspection, observation,
or confirmation; (b) tests of controls to evaluate their effectiveness; (c) obtaining corroborating
evidence in response to inquiries; or (d) performing certain other procedures ordinarily performed
in an audit. 129 However, a review may bring to the accountant's attention significant matters
affecting the interim financial information. 130

         ANSWER NO. 309:                 Deloitte admits the allegations set forth in the first sentence of

paragraph 309 with respect to D&T, and admits that the standards referenced in paragraph 309

governed D&T’s interim reviews (among other standards that also applied), refers to the

referenced standards for their complete content, and denies any allegation or characterization

inconsistent therewith.


127
    SEC Regulation S-X, Rule 10-01(d) - “Interim review by independent public accountant. Prior to filing, interim
financial statements included in quarterly reports on Form 10-Q (17 CFR 249.308(a)) must be reviewed by an
independent public accountant using applicable professional standards and procedures for conducting such reviews,
as may be modified or supplemented by the Commission. If, in any filing, the company states that interim financial
statements have been reviewed by an independent public accountant, a report of the accountant on the review must be
filed with the interim financial statements.” Consistent with this understanding, PCAOB AU § 722.03 states: “The
Securities and Exchange Commission (SEC) requires a registrant to engage an independent accountant to review the
registrant's interim financial information, in accordance with this section, before the registrant files its quarterly report
on Form 10-Q or Form 10-QSB. The SEC also requires management, with the participation of the principal executive
and financial officers (the certifying officers) to make certain quarterly and annual certifications with respect to the
company's internal control over financial reporting. Although this section does not require an accountant to issue a
written report on a review of interim financial information, the SEC requires that an accountant's review report
be filed with the interim financial information if, in any filing, the entity states that the interim financial
information has been reviewed by an independent public accountant.”
128
    AU § 722.07.
129
    AU § 722.07.
130
    AU § 722.07.


                                                            116
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        310. If, in performing its review of SCANA’s interim financial information, Deloitte
became, or should have been, aware of information that lead it to believe that the interim financial
information may not be in conformity with GAAP—as it did here—Deloitte was required to make
additional inquiries or perform other procedures necessary to provide a basis for its communication
as to whether any material modifications to the SCANA’s interim financial information were
required.131 Based on the additional procedures, if material modification should be made to the
interim financial information for it to conform with GAAP—as should have been made here—
Deloitte was required to communicate such matters to management and the Audit Committee. If,
in the accountant’s judgment, the audit committee does not respond appropriately to the
accountant’s communication within a reasonable period of time, the accountant should evaluate
whether to resign from the engagement to review the interim financial information and as the
entity’s auditor.132

         ANSWER NO. 310: Deloitte admits the allegations set forth in the first sentence of

paragraph 310 with respect to D&T, and admits that the standards referenced in paragraph 310

governed D&T’s interim reviews (among other standards that also applied), refers to the

referenced standards for their complete content, and denies any allegation or characterization

inconsistent therewith.

        311. In addition to understanding SCANA’s processes, internal control and ongoing
reporting related to the Nuclear Project, Deloitte had access to other critical information such as,
among other things, actual Project Management and Risk Management reports, accumulation of
costs, and the budget to actual comparisons in connection with its 2015 audit. This information
reflected the unlikely operation of SCANA’s nuclear units prior to 2021. In violation of PCAOB
Standards, Deloitte failed to appropriately consider whether such information was materially
inconsistent with SCANA’s interim financial statement disclosures, including the above noted
“expected” operation dates, related disclosures regarding the $1.4 billion of possible nuclear
production tax credits and whether such contradictory information could affect regulatory
disclosures, assumptions and orders associated with SCANA’s electric rate increases under the
BLRA. In fact, the audit evidence gathered in advance of its 2016 and 2017 interim should have
demonstrated to Deloitte that material modifications to SCANA’s interim financial statements
were necessary to comply with GAAP. Nevertheless, and in violation of PCAOB Standards,
Deloitte took no action to resign from the interim engagement. Nor did Deloitte notify the SEC or


131
   AU § 722.22.
132
   AU § 722.29-.31. 1. Similarly, when conducting a review of interim financial information, the accountant may
become aware of matters relating to internal control that may be of interest to the audit committee. Matters that should
be reported to the audit committee are referred to as significant deficiencies. A significant deficiency is a deficiency,
or a combination of deficiencies, in internal control over financial reporting, that is less severe than a material
weakness yet important enough to merit attention by those responsible for oversight of the company's financial
reporting. Deloitte was generally required to communicate significant deficiencies or material weaknesses of which it
became aware to the audit committee in a timely manner and prior to the registrant filing its periodic report with the
SEC. [AU § 722.33]


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SCANA’s investors that the Company’s interim financial statements filed on Forms 10-Q did not
comply with GAAP, as it was required to do.

        ANSWER NO. 311: Deloitte denies the allegations set forth in paragraph 311.

V.      PARTIAL DISCLOSURES AND THE GRADUAL EMERGENCE OF THE FULL
        IMPACT OF THE FRAUD

        312. Beginning on December 27, 2016 and continuing through the end of the Class
Period in December 2017, the true facts concerning the Nuclear Project, including that (i) the
Nuclear Project would not be completed by the end of 2020, or, at all; (ii) the true costs of the
Nuclear Project were astronomically higher than projected; (iii) SCANA knew of and actively
misrepresented these clear risks; (iv) SCANA’s refusal to correct the clear deficiencies identified
by Bechtel and SCANA’s own partner ensured the failure of the Nuclear Project; and (v) election
of the fixed price option agreed to in the EPC Amendment would likely lead to Westinghouse’s
bankruptcy.

        ANSWER NO. 312: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 312.

        A.     THE FINANCIAL MELTDOWN OF TOSHIBA AND WESTINGHOUSE
               CALLS THE NUCLEAR PROJECT INTO QUESTION

        313. On December 26, 2016, a non-trading day, and just six weeks after the PSC
approved SCANA’s revised schedule and a fixed price of $7.7 billion, Westinghouse’s parent
Toshiba announced an estimated impairment of “several billion US dollars” in connection with
Westinghouse’s nuclear construction and integrated services business. Articles published in
Bloomberg Technology and The Wall Street Journal connected Toshiba’s anticipated write-down
directly to the Nuclear Project and SCANA’s recent schedule revision and cost increases,
attributing Toshiba’s financial distress to “cost overruns and missed deadlines on nuclear reactor
projects,” including the Nuclear Project. The Wall Street Journal reported that Toshiba had
“discovered unexpected inefficiencies in the labor force . . . that along with other factors were
driving up costs,” and revealed that Toshiba’s “disclosure suggests that the situation is worse than
was previously understood.” The article quoted a SCANA spokesperson as saying only that
SCANA was “still evaluating the finances of its reactor projects and [would] have more to report
soon.”

        ANSWER NO. 313: Deloitte denies the allegations set forth in paragraph 313, except

admits that the referenced articles were published, and refers to the articles for their complete

contents.

        314. In response to this news, SCANA’s shares declined by $1.51 per share, or 2.03%,
to close at $72.92 per share on December 28, 2016.



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       ANSWER NO. 314: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 314, except admits that SCANA’s stock

price declined from $74.61 per share to $72.92 per share on December 28, 2016.

        315. On February 14, 2017, Toshiba quantified its impairment and reported that it would
take a $6.3 billion write-down related to its U.S. nuclear program—a figure reported by The New
York Times to be “near the top of analysts’ estimates.” Toshiba also announced that it might sell
all or part of its stake in Westinghouse, calling into question the viability of the Nuclear Project.
The timeline and the costs of the Nuclear Project, affirmed just three months earlier, were now
seriously in doubt. Mizuho Securities analyst James Von Riesemann opined in an article published
on Benzinga that day that “SCANA’s construction consortium with [] Westinghouse may not be
economically viable any longer, leaving the construction of two new nuclear units to fall into
[SCANA]’s lap.” Von Riesemann further noted that SCANA might not have the funds needed to
see the project through to completion.

       ANSWER NO. 315: Deloitte denies the allegations set forth in paragraph 315, except

admits that the referenced articles were published, and refers to the articles for their complete

contents.

        316. The market reacted swiftly to Toshiba’s announcement, with SCANA shares
declining $3.17 per share, or 4.53%, to close at $66.86 per share on February 14, 2017 on high
trading volume.

       ANSWER NO. 316: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 316, except admits that SCANA’s stock

price declined from $68.19 per share to $66.86 per share on February 14, 2017.

        317. SCANA quickly acted to reassure its investors. In a press release issued after
trading hours on February 14, 2017, SCANA communicated to investors that both Westinghouse
and Toshiba provided SCANA with assurances that they were “committed to completing the two
new Westinghouse AP 1000 nuclear units.” While SCANA disclosed that Westinghouse had
provided revised completion dates for the new units, the Company assured investors that “[t]he
completion dates provided in the new schedule . . . would enable both units to qualify, under
current law, for the federal production tax credits.”

       ANSWER NO. 317: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 317, except admits that SCANA issued a

press release on February 14, 2017, and refers to the press release for its complete contents.



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        318. SCANA’s February 14, 2017 statement concerning the ability to qualify for the
federal Nuclear Tax Credits was false and misleading. SCANA knew since the beginning of the
Class Period the Nuclear Project could not have any hope of qualifying for the Nuclear Tax Credits
unless the construction progress level rose immediately to 3% per month. Throughout the Class
Period, SCANA was well aware that the Nuclear Project never came close to 3% monthly progress
and, in fact, never topped a 1% monthly progress rate.

       ANSWER NO. 318: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 318.

        319. SCANA succeeded in reassuring its investors, and analysts and the media expressed
optimism in the wake of Toshiba’s announcement. For example, in a February 14, 2017 report,
Wells Fargo noted that “[w]hile Toshiba’s financial woes create a degree of uncertainty and are
concerning, we continue to remain of the opinion that SC’s Baseload Review Act (BLRA) provides
SCG with substantial protections in the event Toshiba is ultimately unable to honor the $7.8B
Fixed Price Option contract due to solvency issues.” Wells Fargo also commented that even “[i]n
the event of additional cost overruns, the BLRA places the burden of proof on opposing parties,
such as the Office of Ratepayer Staff, to show that such cost overruns are due to SCG’s negligence
(a high and challenging threshold to prove).”

       ANSWER NO. 319: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 319, except admits that Wells Fargo

published a report, and refers to the report for its complete contents.

      320. Similarly, The State reported on February 15, 2017, that although “Toshiba’s
announcement initially raised concerns about the future of SCE&G’s plants[, t]hose concerns
were alleviated some by Westinghouse’s commitment.” The State also explained that “[f]or
shareholders, the key issue is that SCANA completes the project and produces the earnings
growth that management is projecting.”

       ANSWER NO. 320: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 320, except admits that the article was

published, and refers to the article for its complete contents.

         321. On SCANA’s quarterly conference call, held before the close of trading on
February 16, 2017, SCANA again attempted to reassure investors. Marsh reiterated SCANA’s
earlier statements that Westinghouse and Toshiba remained committed to the project, stating that
“we continue to look for ways to mitigate project risk for our customers and shareholders. If for
any reason, Westinghouse exits the project, we will evaluate the facts and circumstances at that
time to determine the most prudent action for our Company and customers.” In response to an
analyst’s question about what the “worst case scenario on the nuclear side might look like,” Marsh
explained that, among other things, SCANA could serve as the general contractor for the new


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reactors or enter into a new EPC contract, or SCANA could consider the abandonment provisions
under the BLRA, noting “[t]hat’s not something that’s high on our list.” Byrne similarly reassured
investors on the same call that Toshiba’s financial difficulties would not derail the completion of
the Nuclear Project, stating that “[a]lthough ideally Toshiba would be without these stresses, we
still anticipate completing our two new nuclear units.” Indeed, despite the substantial evidence
that neither the GSDCs nor the tax credits deadline would be met, Byrne told investors that by
January 1, 2021, the Nuclear Project would be “operating at or near 100% for a period of time
where they can guarantee – where they can prove to us that the output guarantee has also been
met.”

       ANSWER NO. 321: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 321, except admits that it sets forth partial

quotations from the February 16, 2017 earnings call, and refers to the transcript thereof for its

complete contents.

          322. Several analysts asked specifically about the BLRA abandonment provision and,
specifically, whether SCANA could retain and secure BLRA funds in the event of abandonment.
In response to a question about whether Marsh “f[elt] confident that given this type of situation
that’s happened, [the BLRA abandonment clause] would still be valid,” Marsh reiterated that
Westinghouse and Toshiba had committed to finishing the project. Another analyst asked whether,
“[i]f . . . the budget and the cost overruns are really driven by . . . more ordinary course scheduling
issues . . . and also the fact that Toshiba may not be able to meet its financial obligations, is that
under the abandonment provision? Is that a cause for being able to get recovery for the money
spent to date?” Marsh explained that “[t]here was not an effort to make a listing of the types of
items that would qualify,” but that “generally prudency is the rule that the Commission banks on
at the end of the day.”

       ANSWER NO. 322: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 322, except admits that it sets forth partial

quotations from the February 16, 2017 earnings call, and refers to the transcript thereof for its

complete contents.

       323. Analysts credited SCANA’s responses. Wells Fargo issued a report on February
16, 2017, stating that “we think the current valuation arguably overstates the risk, particularly
considering the protections afforded SCG under the Baseload Review Act.” On March 3, 2017, a
UBS Research analyst report upgraded its rating on SCANA to “Buy” because “SCG
management appears quite confident regarding contract completion and won’t see material
delays or more importantly, need contract reassignment.”




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       ANSWER NO. 323: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 323, except admits that UBS published a

report, and refers to the report for its complete contents.

       324. Nonetheless, the next trading day, SCANA’s shares slid $1.67 to close at $65.65, a
drop of 2.5%.

       ANSWER NO. 324: Deloitte denies knowledge or information to form a belief as to the

truth of the allegations set forth in paragraph 324, except admits that SCANA’s share price closed

at $65.65 on February 17, 2017.

        325. On February 24, 2017, SCANA filed its annual report on Form 10-K for the year
ended December 31, 2016. The 2016 financial statements further alleviated the investors’ concerns
and represented that SCANA fully expected to complete the Nuclear Project in time to receive the
$1.4 billion in tax credits, stating “[b]ased on current tax law and the contractual guaranteed
substantial completion dates (and the recently revised forecasted dates of completion)
provided above [August 2019 and 2020], both New Units would be operational and would
qualify for the nuclear production tax credits.”

       ANSWER NO. 325: Deloitte admits that SCANA filed its 2016 Form 10-K on February

24, 2017, admits that paragraph 325 contains partial quotes from it, and refers to the Form 10-K

for its complete contents. Deloitte denies knowledge or information sufficient to form a belief as

to the truth of the remaining allegations set forth in paragraph 325.

        326. In March 2017, news of Westinghouse’s pending bankruptcy began to leak. On
March 22, 2017, Morgan Stanley issued an analyst report titled, “Implications of Potential
Westinghouse Bankruptcy Filing” (the “March Morgan Stanley Report”). The March Morgan
Stanley Report called into question many of SCANA’s and Deloitte’s representations concerning
the Nuclear Project, concluding that “further cost overruns and delays will emerge” at the Nuclear
Project. The March Morgan Stanley Report further estimated that the cost for the Nuclear Project
would be $12.6 billion—108% above the original construction cost estimate of $6.05 billion, and
$5.2 billion greater than the latest cost estimate filed just weeks earlier. Morgan Stanley also
reported that there were no silver linings for SCANA that could result from Westinghouse’s
bankruptcy, and predicted three possible negative scenarios: (1) nuclear contracts, such as the EPC
Amendment and its fixed price option, could be modified by a bankruptcy filing to the detriment
of shareholders; (2) SCANA could become embroiled in protracted litigation regarding liability
for cost overruns on the Nuclear Project; or (3) Toshiba might lack the assets necessary to satisfy
SCANA’s claims. Finally, Morgan Stanley noted that, should SCANA choose to abandon the
Nuclear Project as a response to a Westinghouse bankruptcy, its “earnings could be at risk” if the



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PSC can show that SCANA “should have anticipated or avoided costs considering information
available at the time.”

       ANSWER NO. 326: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 326.

        327. The Morgan Stanley analyst report was widely covered in the press. Later that same
day, after the close of trading hours, a Reuters article entitled “Exclusive: Westinghouse’s clients
gear up for bankruptcy fight – sources” reported that Westinghouse had secured bankruptcy
counsel and SCANA had hired restructuring advisers in response, suggesting that a bankruptcy
was imminent.

       ANSWER NO. 327: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 327, except admits that the article was

published, and refers to the article for its complete contents.

       328. In response to the Morgan Stanley Report and the Reuters article, SCANA’s shares
declined for two consecutive trading days, falling $0.53 or 0.78% on March 22, 2017 to close at
$67.74, and another $1.03, or 1.52%, on March 23, 2017, to close at $66.71.

       ANSWER NO. 328: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 328, except admits that SCANA’s stock

price closed at $67.74 on March 22, 2017, and $66.71 on March 23, 2017.

        329. As expected, on March 29, 2017 Westinghouse filed for Chapter 11 bankruptcy
protection in the Southern District of New York. SCANA issued a press release and filed an 8-K
that same day. In its press release, SCANA explained that:

               SCANA and Santee Cooper have been working with WEC in
               anticipation of the bankruptcy filing to reach an agreement, subject
               to bankruptcy court approval, that allows for work on the project to
               continue toward completion of the units. This agreement, which will
               be filed today with the court as part of WEC’s bankruptcy filings,
               allows for a transition and evaluation period during which SCANA
               and Santee Cooper will assess information provided by WEC and
               determine the most prudent path forward for the project.

The press release quoted Marsh as stating that “[t]he agreement with Westinghouse allows
progress to continue to be made on-site while we evaluate the most prudent path to take going
forward.”




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       ANSWER NO. 329: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth paragraph 329, except admits that SCANA issued a press release on

March 29, 2017, and refers to the press release for its complete contents.

        330. During a conference call held on March 29, 2017, SCANA executives sought to
dispel concerns about the impact of the Westinghouse bankruptcy on the Nuclear Project by
focusing on SCANA’s “prudent” decision making and oversight. Marsh explained that SCANA
was evaluating its options in light of the bankruptcy, and “if continuing the construction is not
determined to be the most prudent path forward . . . we will look to exercise the abandonment
clause” under the BLRA. In response to analysts’ concern over SCANA’s ability to recover costs
in the event of abandonment, Marsh responded that “it’s pretty clear that [if] it is deemed it’s not
prudent to continue the project, that the prudently incurred cost to date can be recovered
through the abandonment clause. I don’t expect that to be changed.”

       ANSWER NO. 330: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth paragraph 330, except admits that it sets forth partial quotations from

the March 29, 2017 conference call, and refers to the transcript thereof for its complete contents.

        331. SCANA also claimed that the cost estimates that would arise out of its review of
Westinghouse’s cost estimates was likely to be more reliable than previous estimates, which had
been revised several times, because of access to new information that SCANA had not received
previously. Byrne alluded to information “which [Westinghouse] would consider business-
sensitive and proprietary.” Byrne further stated that “[s]ince we got into this bankruptcy issue,
[Westinghouse] has become much, much more open.” Similarly, Marsh explained that “[w]e’re
going to have access to information we have not seen heretofore. And having access to that
information . . . will help inform our evaluation.”

       ANSWER NO. 331: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth paragraph 331, except admits that it contains partial quotations from

the referenced transcript, and refers to the call transcript for its complete contents.

        332. At no point did SCANA or Defendants disclose that they knew the Nuclear Project
would not be completed by the end of 2020 since at least November 2015, or that SCANA had
considered retaining bankruptcy counsel more than a year earlier in recognition of Westinghouse’s
likely bankruptcy.

       ANSWER NO. 332: Deloitte denies the allegations set forth in paragraph 332.

        333. Marsh downplayed the adverse impact of the Westinghouse bankruptcy and the
possibility of SCANA abandoning the Nuclear Project, reassuring investors that “[a]t this time,
we expect that the resources available from Westinghouse and Toshiba, including its


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parental guarantee, are adequate to compensate us for the Westinghouse estimate of
additional costs.” Moreover, on this same call, Marsh again represented to investors that “[we]’ve
been transparanet [sic] on this project since day 1, and we’re not going to change that.” This
statement was demonstrably false given SCANA and Defendants’ repeated concealment of the
Bechtel Reports’ adverse findings and related, substantial problems with the Nuclear Project
throughout the Class Period.

       ANSWER NO. 333: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth paragraph 333, except admits that it contains partial quotations from

the referenced transcript, and refers to the call transcript for its complete contents.

        334. On March 29, 2017, the Associated Press State & Local reported that SCANA and
Santee Cooper were “committed to finishing the project despite the bankruptcy of builder
Westinghouse Electric Co.” The same day, the Charlotte Business Journal reported that Marsh
had made comments playing down the likelihood of abandonment, stating that there was a “pretty
high hurdle” to abandoning the project. And The State also reported on March 29 that Marsh had
stated that SCANA’s “commitment is still to try to finish these plants. That would be my preferred
option. The least preferred option, I think realistically, is abandonment.”

       ANSWER NO. 334: Deloitte denies the allegations set forth in paragraph 334, except

admits that the reference articles were published, and refers to the articles for their complete

contents.

         335. In response to these statements, on March 30, 2017, Gabelli & Company published
a report explaining that SCANA’s agreement with Westinghouse “gives [SCANA] access to
critical information and resources that it had not been previously provided necessary to plan for
the future of the project,” and that SCANA expected that resources available from Westinghouse
and Toshiba would cover any cost overruns and that SCANA’s investment was “largely protected”
under the BLRA. Wells Fargo stated that SCANA had “kept regulators and other key parties in
the loop” about the risks of a Westinghouse bankruptcy.

       ANSWER NO. 335: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth paragraph 335.

       336. After Westinghouse announced its bankruptcy, SCANA continued to assure
investors that Westinghouse’s parent company Toshiba would honor the fixed price agreement.
For example, during an April 27, 2017 earnings call, Byrne stated that SCANA was looking for
up to an additional 60 days to finish its assessment, but that, based on the cost overrun estimates
Westinghouse had provided, SCANA believed that the incremental cost increase would be
“captured” by the Toshiba parental guarantee.




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       ANSWER NO. 336: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 336, except admits that it sets forth partial

quotations from the April 27, 2017 earnings call, and refers to the transcript thereof for its complete

contents.

     337. Analysts reacted positively to SCANA’s assurances. For example, Gabelli &
Company stated that:

               We believe the project moves forward to completion as $4.634
               billion has been invested and SCG needs the capacity. In a worst
               case scenario, we believe SCG’s nuclear development investment
               is protected under SC’s Baseload Review Act (BLRA), which
               provides for recovery even under the scenario of abandonment. In
               order for SCE&G investment to be imprudent, opposing parties
               would need to prove negligence on SCE&G.

       ANSWER NO. 337: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 337.

          338. Similarly, on April 28, 2017, analysts from UBS published a report reiterating
SCANA’s statement that it expected the Toshiba parental guarantee to cover Westinghouse’s cost
estimate, as well as SCANA’s message to the Commission on April 13, 2017 that “it [would] look
to Westinghouse and Toshiba if required for the incremental costs associated with the project.”
UBS further explained that “we anticipate Toshiba will prove capable of paying off the obligations
. . . . This adds to our relative comfort on an eventual payment.” UBS further explained that “[o]ur
downside case is now focused on the risk of eventually receiving no ROE recovery on project costs
spend thus far. This would appear a downside case principally tied to immediate project
abandonment as well as a punitive commission decision as well.”

       ANSWER NO. 338: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 338, except admits that UBS published a

report, and refers to the report for its complete contents.

        339. On July 27, 2017, after the close of trading, SCANA and Santee Cooper announced
an agreement with Toshiba whereby Toshiba would honor its $2.168 billion ($1.192 billion to
SCANA; $0.976 billion to Santee Cooper) parental guarantee for bankrupt subsidiary
Westinghouse’s liabilities associated with the Nuclear Project. Under the agreement, Toshiba
agreed to a series of installment payments from October 2017 through September 2022 whether
one or two nuclear units were completed or the project was abandoned.




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        ANSWER NO. 339: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 339, except admits that on July 27, 2017,

SCANA and Santee Cooper made an announcement regarding payments by Toshiba, refers to that

announcement for its complete contents, and denies any allegation inconsistent therewith.

        340. This potentially positive news was tempered, however, by SCANA and Santee
Cooper’s joint statement that they expected that the cost of completing the Nuclear Project would
“materially exceed” prior estimates by Westinghouse, and would not be covered by “the
anticipated guaranty settlement payments from Toshiba,” the reactors would not be complete in
time to receive the planned tax credits, and there were “significant challenges” to even completing
just one unit. As reported by The State on the same day as the joint statement, “[d]espite Toshiba’s
guarantee, questions continued to surface about whether the company could make good on the
money.” The article quoted Santee Cooper CEO Carter, who spoke to Santee Cooper’s board that
day, “Quite frankly, Toshiba’s financial condition is a concern, no matter whether we accept this
settlement today or not” because Toshiba could fail to make all of its payments through 2022. The
State also reported that both SCANA and Santee Cooper disclosed that the Nuclear Project “also
likely won’t be completed by 2021, the current deadline for SCE&G to gain production tax
credits for completing the reactors.” The companies faced an August 10 deadline to decide
whether they would complete the Nuclear Units, which were now “$2.5 billion to $3.5 billion over
budget and several years behind schedule. Construction work is about one-third complete.” The
State noted that “the news release issued jointly by the utilities . . . raised questions about their
commitment to building two reactors.”

        ANSWER NO. 340: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 340, except admits that the referenced article

was published and that SCANA made an announcement regarding the subject matter of paragraph

340, and refers to the article and that announcement for their complete contents.

       341. Analysts reacted strongly to the news. For example, Guggenheim issued a report
on July 28, 2017, downgrading SCANA from a “Buy” to a “Sell,” and writing:

                It’s extremely rare for us to make such a rating change,
                especially on a regulated utility, and especially during market
                hours, and especially during such a heavy earnings day, but with the
                news coming out this morning, we believe SCG should be under
                substantially more pressure for some time. At this point, it is
                becoming more evident to us that the situation around VC
                Summer is materially deteriorated and a situation that is
                constructive for shareholders is becoming less evident.




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       ANSWER NO. 341: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 341, except admits that Guggenheim issued

a report, and refers to the report for its complete contents.

       342. In response to the news on July 27, 2017, SCANA shares fell on Friday, July 28,
2017 by $4.53 per share, or 6.63%, to close at $61.29, on heavy trading volume.

       ANSWER NO. 342: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 342, except admits that SCANA’s stock

price declined from $65.22 per share to $61.29 per share on July 28, 2017.

          343. Some analysts saw a bright lining in SCANA’s ability to rely on the rate protections
afforded to SCANA under the BLRA. For example, a July 28, 2017 Gabelli & Company report
explained that “SCG’s nuclear development investment is protected under [the BLRA], which
provides for recovery even under the scenario of abandonment.” Wells Fargo also issued a report
on July 28, 2017, and wrote that “we viewed the language in the press release as strongly
suggesting that the companies are leaning toward project abandonment,” and “[i]n the event of
complete abandonment of the new nuclear project, we believe relative downside is limited given
. . . the protections afforded SCG under the BLRA”.

       ANSWER NO. 343: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 343.

       B.      SCANA ABANDONS THE NUCLEAR PROJECT, CLAIMING IT WAS
               THE “PRUDENT” DECISION, AND RECOGNIZES IMPAIRMENT AND
               RELATED PROJECT LOSSES

        344. On Monday, July 31, 2017, SCANA issued a press release announcing that it would
abandon the Nuclear Project and “promptly file a petition with the [PSC] seeking approval of its
abandonment plan.” SCANA explained that its considerations included the “additional costs” to
complete the two new units and “uncertainty regarding the availability of production tax credits
for the project,” and explained that, after considering all the factors, it “concluded that it would
not be in the best interest of its customers and other stakeholders to continue construction.”
SCANA further explained that it had concluded, based on its analysis following Westinghouse’s
bankruptcy, that “completion of both Units would be prohibitively expensive” and that the “Units
could not be brought online until after” January 1, 2021, which would prevent SCANA from
qualifying for production tax credits. In light of these and other factors, SCANA “concluded that
the only remaining prudent course of action [was] to abandon the construction . . . under the terms
of the [BLRA].” On a conference call held by SCANA the same day, Marsh claimed that the
“Westinghouse bankruptcy removed the benefits and protection of the fixed price option,” which
caused “SCANA and our project co-owner, Santee Cooper, to reevaluate the entire new nuclear
project from all perspectives.”


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       ANSWER NO. 344: Deloitte admits that SCANA issued a press release and held a

conference call on July 31, 2017, and refers to the press release and call transcript for their

complete contents, and denies any allegations inconsistent therewith.

        345. In light of the cancellation of the fixed price contract, abandonment meant that
SCANA would not need to spend more money on the Nuclear Project, and could recoup
abandonment costs from ratepayers under the BLRA. However, unknown to investors, SCANA’s
public justifications for abandonment consisted largely of facts that SCANA and Defendants had
known from the first day of the Class Period, including, among other things, that (i) the Nuclear
Project could not be completed for many years; (ii) “additional costs” to complete the Project
would be needed because of the additional years needed to complete the Project; (iii) “uncertainty
regarding the availability of production tax credits for the project”; and (iv) the likelihood that
Westinghouse would declare bankruptcy rather than pay the skyrocketing costs in excess of the
fixed price option. Marsh indicated that SCANA would soon “file a petition to seek recovery of
the project costs under the abandonment provisions of the Baseload Review Act.” Addison spoke
about the BLRA, explaining that SCANA’s supposed prudence the test that SCANA had to meet
to seek the protections of the BLRA—had been affirmed by the PSC as of June 2016, and would
seek a determination that the “decision to abandon is prudent” and that “the cost incurred after
June of 2016 are prudent.”

       ANSWER NO. 345: Deloitte denies the allegations set forth in the paragraph 345.

       346. In a conference call held on July 31, 2017, SCANA fielded numerous questions
about what could happen should the PSC reject SCANA’s abandonment proposal. SCANA
affirmed that their actions met the test for prudency, and placed the blame for the Nuclear Project’s
demise on “the failure of Westinghouse to deliver on its fixed price contract.”

       ANSWER NO. 346: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 346, except admits that it sets forth partial

quotations from the July 31, 2017 conference call, and refers to the transcript thereof for its

complete contents.

        347. On July 31, 2017, Guggenheim published a report stating, “[w]e already noted SCG
was tilting toward the abandonment route; what was really introduced this afternoon was share
buy-backs, which management expects will allow SCG to maintain a 4-6% growth trajectory.”
Guggenheim further explained:

               At the end of the day, management described a relatively
               constructive path forward for recovery of (and return on) capital
               associated with V.C. Summer nuclear construction, premised upon
               SC’s BLRA, which we acknowledge set the most constructive
               regulatory/policy back-drop in support of nuclear construction that


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               we’ve seen, although as the abandonment plan has yet to be filed
               with regulators (SCG plans to update regulators tomorrow), we look
               forward to reactions from regulators and policy-makers whom
               management acknowledged were disappointed with the decision to
               abandon construction. . . . [W]e recognize the solid
               regulatory/legislative framework for cost recovery provided by
               the BLRA.

       ANSWER NO. 347: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 347, except admits that Guggenheim

published a report, and refers to the report for its complete contents.

        348. The next day, on August 1, 2017, SCANA, represented by Marsh, Byrne and
Addison, went before the PSC to petition for rate increases to cover costs beginning on June 30,
2016 and through abandonment that were not reflected in then-current rates. Before the PSC,
SCANA made numerous false and misleading statements concerning their prior knowledge of the
risks facing the Nuclear Project. For example, Marsh described how SCANA’s decision to
abandon the Nuclear Project was driven by the findings of SCANA’s “evaluation team,” who
concluded that construction of Unit 2 would only be substantially complete by December 31, 2022,
and construction of Unit 3 would only be substantially complete by March 31, 2024. These
completion dates were no surprise to SCANA and Deloitte, though, as Bechtel had provided
remarkably similar dates nearly two years earlier.

       ANSWER NO. 348: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 348, except admits that Marsh testified at

the August 1, 2017 PSC briefing, and refers to the testimony for its complete contents.

         349. Byrne testified that SCANA “thought – in October [2015], when we negotiated our
fixed price option, that we had largely resolved the issues with costs,” and that Toshiba’s
December 2016 announcement of its financial troubles was “the first time that they indicated that
Toshiba had a huge financial liability issue on finishing the cost of the project.” However, SCANA
knew that it and Santee Cooper had identified Toshiba’s financial condition as a serious concern
in early 2016, and Santee Cooper had pressed SCANA to retain bankruptcy counsel in advance of
its election of the fixed price option.

       ANSWER NO. 349: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 349, except admits that Byrne testified at

the August 1, 2017 PSC briefing, and refers to the testimony for its complete contents.

        350. At the hearing, the PSC Commissioners berated SCANA. Chairman Whitfield
stated that “it’s a grim day,” and asked SCANA executives whether they were “aware that this


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Commission was blindsided yesterday by the news.” Commissioner Elam noted that “[o]ver the
course of this project, we’ve seen completion dates that seem to slip exponentially – for lack of
a better word. And when we were talking about increase of costs, they seemed to slip from . . . a
couple hundred million more than we thought it would be. . . [to] billions.” Elam then asked “why
it seemed to get worse as we went along.” In response, Byrne pointed the finger squarely at
Westinghouse, including for its poor management of the supply chain, and also at design issues –
all of which SCANA had been well aware of for years, but had not disclosed to the market. Indeed,
contrary to Bechtel’s findings, Byrne claimed that “[t]he construction work at the site has been
progressing well.”

       ANSWER NO. 350: Deloitte denies the allegations set forth in paragraph 350, except

admits that it contains partial quotations from the August 1, 2017 PSC briefing, and refers to the

transcript thereof for its complete contents.

        351. The following day, the prudence of SCANA’s oversight over the Nuclear Project
was called into serious question, as was SCANA’s ability to walk away from the Nuclear Project
and pin the costs of the failed Nuclear Reactors on South Carolina’s ratepayers. During trading
hours on August 2, 2017, news broke that a group of nearly thirty South Carolina lawmakers had
formed the “South Carolina Energy Caucus” “to push for reforms that will . . . protect ratepayers.”
In an August 2, 2017 press release announcing the formation of the group, Representative James
Smith stated that “[t]here should be safeguards in place for accountability and ratepayers should
have total protection from paying for the failures of a few . . . Those who dropped the ball here
should be held accountable.” In an article published on the afternoon of August 2, 2017 entitled
“S.C. lawmakers want SCANA stockholders to eat costs of two failed nuclear reactors,” The Post
and Courier reported that the goal of the South Carolina Energy Caucus was to force “the
shareholders of SCANA Corp. to eat any remaining costs tied to the high-profile cancellation
of two multi-billion nuclear reactors in Fairfield County.”

               A bipartisan group of legislators met in the Statehouse on
               Wednesday to condemn utility regulators, the executives of SCANA
               and the board of the state-operated utility Santee Cooper, which
               partnered on the V.C. Summer expansion projects more than a
               decade ago.

               Many of the lawmakers went a step further, claiming they will
               investigate how to stop the executives and investors of SCANA —
               the parent company of South Carolina Electric & Gas — from
               charging customers between $2 billion to nearly $5 billion in costs
               over the next 60 years for the wasted concrete, steel and labor
               pumped into the unfinished reactors.

               The company’s investors have seen a more than 10 percent profit on
               nearly $2 billion that has been collected from electric customers
               since 2008.



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               “The bottom line, folks, is that it will cost additional money for
               us to get out of this problem, but the money should not come
               from the pockets of South Carolinians,” Rep. Russell Ott, D-St.
               Matthews, said.

               “Whatever has to be paid for going forward should be paid for
               out of the pockets of these utilities that ultimately got us into this
               mess,” he added.

               The lawmakers said they plan to investigate the past year — before
               the bankruptcy announcement by Westinghouse, the lead contractor
               on the project — to determine if the decisions of the investor-owned
               utility were improper considering the circumstance at the time.

               The elected officials said they expect “glaring examples” of
               improper management practices to arise, which is one of the only
               ways the company can be forced to cover the costs.

       ANSWER NO. 351: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 351.

        352. On the following day, August 3, 2017, SCANA announced its results for the second
quarter of 2017, and later that day, just before the close of trading, hosted an earnings conference
call. The focus of the conference call was not, however, on SCANA’s financial results, but rather,
on the Company’s decision to abandon the Nuclear Project and the public response to that
announcement, including the creation of the South Carolina Energy Caucus.

       ANSWER NO. 352: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 352, except admits that SCANA held an

earnings call on August 3, 2017, and refers to the transcript thereof for its complete contents.

        353. SCANA continued to falsely paint themselves as the victim of Westinghouse’s
financial meltdown. For example, in response to a question from a Morningstar analyst as to
whether they were “confident that the BLRA will be upheld,” Byrne responded:

               It’s clear that the law provides for it. We are following the procedures
               outlined in the law, which will require us to make sure we didn’t do
               anything imprudent to put ourselves in this situation. And we
               validated everything we had done on the project but the fixed
               price option that was approved in 2016, that validated everything
               we had done on the project is prudent at that point. It was shortly
               thereafter that we learned of the news of the Toshiba financial distress,
               followed by the Westinghouse bankruptcy in March of 2017. So
               clearly from our perspective, we had an active project. It was moving


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               forward, we were making progress and looking forward to hitting
               the targets but when Westinghouse withdrew from the project by
               declaring bankruptcy, that put us in a situation we had to do the
               analysis. So we believe we have -- we were prudent to the point we
               learned of the financial distress and bankruptcy of Westinghouse.

       ANSWER NO. 353: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 353, except admits that SCANA held an

earnings call on August 3, 2017, and refers to the transcript thereof for its complete contents.

        354. The impact of the newly-formed South Carolina Energy Caucus was also a topic of
discussion. In response to a Morgan Stanley analyst question regarding the South Carolina Energy
Caucus, Marsh responded that they had not yet spoken to the members, but intended to do so.
Marsh then stated that, “[o]ur process at the commission is very open. . . . And I can understand
their disappointment. I can understand their anger because the state wanted these 2 reactors. At the
same time, we just didn’t feel like it was prudent to proceed with something that was too
expensive for them in the long run and not cost-effective based on what we know today.”
Marsh did not mention the fact that SCANA had concealed material information from the PSC for
nearly two years, and just as the damaging information was “not news” to SCANA or Deloitte.

       ANSWER NO. 354: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 354, except admits that SCANA held an

earnings call on August 3, 2017, and refers to the transcript thereof for its complete contents.

        355. On August 4, 2017, additional pressure was placed on SCANA’s abandonment
petition, which again called into question SCANA’s management of the Nuclear Project. On that
day, South Carolina Attorney General Alan Wilson announced that his office was initiating an
investigation of SCANA “to ensure that all laws were complied with and all applicable procedures
were followed. . . . The public needs to know any recourse the people have to protect those who
were harmed by these actions.” Wilson also urged legislators to “delay any rate increase while [the
Attorney General’s] investigation is ongoing.” That same day, The Post and Courier reported on
Wilson’s decision, noting that “Wilson’s pending investigation could cause more worry among
SCANA investors, who questioned the executives earlier this week after state lawmakers
called for the shareholders to eat the remaining cost of the reactors.” It also reported that
legislators were planning to closely investigate SCANA’s abandonment request and had
encouraged SCANA to walk back its request to recoup costs from ratepayers.

       ANSWER NO. 355: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 355, except admits that the article and press

release were published, and refers to the cited materials for their complete contents.



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         356. That same day, The State also reported on the Attorney General’s investigation and
legislators’ calls for a special session to temporarily block rate increases. It explained that Senate
Majority Leader Shane Massey and Minority Leader Nikki Setzler “want the General Assembly
to return to pass a resolution that would prevent the [PSC] from approving further rate hikes until
. . . next January,” and quoted Setzler as saying that “[t]here has got to be some responsibility
taken for what’s occurred here. It’s not the ratepayers’ responsibility.”

           ANSWER NO. 356: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 356, except admits that the article was

published, and refers to the article for its complete contents.

      357. Also on that same day, SCANA publicly acknowledged for the first time that it
would be unable to earn the $1.4 billion of tax credits previously relied upon to mitigate related
consumer costs incurred as a result of the nuclear unit construction:

                    These nuclear production tax credits (related to SCE&G’s 55%
                    share of both New Units) could have totaled as much as
                    approximately $1.4 billion. Due to the Company’s determination
                    to abandon the construction of the New Units, which
                    determination was based in part on the expectation that the New
                    Units would not be placed in service before January 2021, no
                    such production tax credits will be earned.133

           ANSWER NO. 357: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 357, except admits that SCANA filed a Form

10-Q on August 4, 2017, and refers to the Form 10-Q for its complete contents.

        358. In response to, among other things, the (i) August 2, 2017 news of SCANA’s ill-
received testimony before the PSC and the resulting convocation of the South Carolina Energy
Caucus; (ii) the August 3, 2017 conference call; (iii) the August 4, 2017 announcement of the
Attorney General’s investigation; and (iv) the August 4, 2017 announcement that SCANA would
be unable to earn the $1.4 billion of tax credits—each of which called into serious doubt SCANA’s
prudent oversight and abandonment of the Nuclear Project—SCANA’s common stock declined
precipitously. On August 3, 2017, SCANA’s shares fell $1.81, or nearly 3%, to close at $65.34,
and fell another $1.55 on August 4, 2017, or 2.4%, to close at $63.79.




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      Q2’2017 Quarterly Report on Form 10-Q filed on August 4, 2017, p. 36


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       ANSWER NO. 358: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 358, except admits that on August 3, 2017,

SCANA’s share price closed at $65.34 and, on August 4, 2017, closed at $63.79.

       C.      PUBLIC INVESTIGATIONS THREATEN TO STRIP SCANA OF
               BILLIONS OF DOLLARS OF BLRA FUNDS, AND REVEAL THE FATAL
               RISKS FACING THE NUCLEAR PROJECT

        359. The news continued to worsen for SCANA throughout August and September, as
civil and criminal investigations and lawsuits were launched, and numerous internal documents
evidencing SCANA’s longstanding knowledge of the true risks of the Nuclear Project were
reported in response to the production of internal Santee Cooper documents.

       ANSWER NO. 359: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 359.

        360. On August 9, 2017, after the market closed, The State reported that the ORS “took
legal action . . . against SCE&G’s plan to charge customers for a nuclear expansion project the
utility said had become too expensive to finish.” Specifically, the ORS moved to dismiss
SCANA’s abandonment petition, reasoning, in the words of regulatory director Dukes Scott, that
it would be “very difficult to challenge successfully the costs or rates” if SCANA’s plan was not
dismissed. The State also noted in its article that stopping SCANA’s plan from moving forward
“would give state officials time to study the fallout” arising from SCANA’s abandonment decision.
That same day, James Lucas, the Speaker of South Carolina’s House of Representatives, filed a
petition seeking to intervene in the PSC proceeding to support the ORS’s motion to dismiss.

       ANSWER NO. 360: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 360, except admits that the article was

published and James Lucas filed a petition seeking to intervene on August 9, 2017, and refers to

the referenced materials for their complete contents.

         361. On August 10, 2017, The Post and Courier published an article entitled “CEO:
SCANA may not return to scuttled nuclear project — even if a new partner emerges.” The article
reported on the ORS motion to dismiss, noting that legislators had “urged SCE&G to pull its
request” to charge ratepayers for the failed project, and quoted one as saying to Marsh, “[t]here’s
a lot of public trust and public money at stake here, and I think it would be the right thing for you
guys to do. I fear that if you don’t . . . you may force the General Assembly to be more rash than
we may otherwise would want [sic] to be.”




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        ANSWER NO. 361: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 361, except admits that the article was

published, and refers to the referenced materials for their complete contents.

       362. In response to the ORS motion and The Post and Courier article and other news,
SCANA’s shares closed on August 10, 2017 at $62.01, a drop of nearly $0.70, or just over 1%,
and dropped again on August 11, 2017, to close at $60.69, a drop of over 2%.

        ANSWER NO. 362: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 362, except admits that SCANA’s stock

price closed at $62.01 per share on August 10, 2017 and closed at $60.69 per share on August 11,

2017.

        363. On August 15, 2017, in response to pressure from legislators and the public,
SCANA announced that it would withdraw its abandonment petition before the PSC to seek rate
increases under the BLRA. In the press release, Marsh defended SCANA’s actions, reassured
investors that SCANA had acted prudently, and once again, blamed the Nuclear Project’s failures
solely on Westinghouse and Santee Cooper:

               While ceasing construction was always our least desired option,
               based on the impact of the bankruptcy of Westinghouse on our
               fixed price construction contract, the results of our evaluation of
               the cost and time to complete the project, and Santee Cooper’s
               decision to suspend construction, abandonment was the prudent
               decision.

        ANSWER NO. 363: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 363, except admits that SCANA issued a

press release, and refers to the press release for its complete contents.

        364. On August 22, 2017, Byrne and Addison, as well as Santee Cooper CEO Carter and
Board Chair Leighton Lord, were summoned to testify before the newly- convened South Carolina
Senate V.C. Summer Nuclear Project Review Committee. Chairman Lord revealed, for the first
time, that, following concerns over the Nuclear Project raised in 2014, SCANA and Santee Cooper
“eventually engaged a firm named – known as Bechtel in order to do [an] independent study and
to try to help us better understand the problems that we were facing and better deal with those
problems.” Byrne confirmed the existence of a Bechtel report during the August 22, 2017 hearing,
but immediately stated that he could not provide any testimony about the contents of the Report
because it was “requested by counsel in preparation for potential litigation.” At the close of
testimony, the Senate Committee said it would subpoena Bechtel’s report.


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       ANSWER NO. 364: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 364, except admits that Byrne, Addison,

Carter, and Lord testified on August 22, 2017, and refers to the testimony for its complete contents.

         365. SCANA’s belated assertion of privilege over Bechtel’s work was bogus. As
described in the internal June 1, 2015 email exchange involving Byrne and Bechtel, SCANA and
Santee Cooper executives, Bechtel’s assessment was already underway when SCANA brought in
outside counsel because there was “an advantage in doing so.” That “advantage” turned out to be
SCANA’s belief that it could bury Bechtel’s conclusions to the extent they differed from
SCANA’s public representations concerning the status of the Nuclear Project and its completion
by the end of 2020. Indeed, on multiple occasions Bechtel made it clear that the scope of the
assessment excluded advising SCANA regarding potential claims against the Consortium. In its
official assessment proposal, dated February 10, 2015, Bechtel stated “[f]or clarity, this team will
not evaluate the ownership of past impacts or validity of pending or future claims.” Bechtel re-
emphasized in a July 13, 2015 email to Marsh and Santee Cooper CEO Carter that Bechtel’s
assessment of the Nuclear Project was “[n]ot claims consultancy,” but was limited to “the work, the
consortium, and SS [SCANA/Santee Cooper] oversight.” (Emphasis in original.) Furthermore,
internal documents make clear that SCANA shared the Bechtel Report with Deloitte, so even if a
claim of privilege existed at some point—which it did not—it was waived by that disclosure.

       ANSWER NO. 365: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 365, except denies that SCANA shared the

Bechtel Report with Deloitte, and denies that internal documents prove that SCANA did so.

        366. On Thursday, August 31, 2017, The State published an article titled “SCE&G has
a report critical of nuke project, but won’t hand it over, SC agency says.” The article revealed that
after SCANA “told the Office of Regulatory Staff at least eight months ago that the company did
not have a report by the Bechtel Corp.,” SCANA now says “it won’t give the report to the ORS
because the document is considered private information shared between an attorney and a client.”
The article quoted South Carolina Representative James Smith, who said the power company’s
conflicting stories “appear[] to be evidence of an effort to mislead.” Smith added that SCANA
“need[s] to be forthcoming with all that information. We’ve asked for this report. Where is it?”
Later that day, The State reported that South Carolina Governor Henry McMaster, in a letter to
Santee Cooper Chairman Lord, demanded that Santee Cooper “immediately” provide a report by
Bechtel. The State reported that Chairman Lord wanted to provide the report, but was seeking legal
advice as to whether Santee Cooper could produce the report over SCANA’s objection.

       ANSWER NO. 366: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 366, except admits that the article was

published, and refers to the article for its complete contents.



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        367. After refusing a request by Santee Cooper that the Governor allow for delay to
allow for “a judicial determination . . . with respect to release of the Bechtel Report,” the Governor
again demanded the report on Saturday, September 2, 2017. On September 4, 2017, Santee Cooper
presented Governor McMaster’s office a single hard copy of the Second Bechtel Report, and
requested that the Governor keep the report confidential. Governor McMaster, an attorney who
served eight years as South Carolina’s Attorney General and four years as the United States
Attorney for South Carolina, was well-equipped to ascertain whether the Second Bechtel Report
was a privileged communication. Governor McMaster’s office stated on September 4: “Gov.
McMaster has reviewed the document and believes there is no basis for their ‘assertion of
privilege’ or confidentiality. Therefore, in the legitimate interest of the ratepayers, he has directed
this information to be released to the public immediately.”

       ANSWER NO. 367: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 367.

       368. According to an article in The State on September 4, 2017, “lawmakers fumed after
reviewing the report”:

               I couldn’t believe it when I first learned the utilities weren’t going
               to release the report. Now I know why,” said state Rep. Nathan
               Ballentine, a Richland Republican who is on a House committee
               investigating the project’s failure. “No part of this construction
               and planning appears ‘prudent,’ and as such, I think a strong
               case can be made that ratepayers and taxpayers shouldn’t be
               stuck with the bill for what is now basically a hole in the
               ground.”

               State Rep. James Smith said the Bechtel report confirms to him that
               problems were not isolated to Westinghouse. SCE&G and Santee
               Cooper also share the blame, the Richland Democrat said.

               “It’s what I suspected: that the bankruptcy of Westinghouse had
               little to nothing to do with the project’s failure,” Smith said. “The
               reality is that it was built to fail. ... It was never going to produce
               any power.

       ANSWER NO. 368: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 368, except admits that the article was

published, and refers to the article for its complete contents.

       369. A rash of news stories were published on September 6, 2017 and September 7,
2017, reporting on the fallout of the release of the Second Bechtel Report and the release of a
number of internal documents and communications that revealed new information concerning
SCANA’s and the Defendants’ longstanding knowledge of the risks facing the Nuclear Project,


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and Westinghouse and Toshiba’s ability to pay for the Nuclear Project once the fixed price option
was elected.

       ANSWER NO. 369: Deloitte denies the allegations set forth in paragraph 369.

        370. The State reported on September 7, 2017 that: “For parts of three years, the Santee
Cooper power company urged partner SCE&G to address growing problems with the utilities’
failing nuclear expansion project — but SCE&G was either slow to respond or failed to comply
with the requests, records show.” The article went on to reveal, for the first time, the November
28, 2016 email from Santee Cooper CEO Carter to Marsh, discussed at length above. The article
also quoted from a June 18, 2016 email from Santee Cooper that “questions why SCANA wanted
to continue studying problems with the nuclear project when action was needed” following the
receipt of the $1 million Bechtel report.

       ANSWER NO. 370: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 370, except admits that the article was

published, and refers to the article for its complete contents.

        371. Also on September 7, 2017, The Post and Courier published an article entitled
“Emails: Toshiba, Westinghouse accused of deceit, malfeasance in run-up to South Carolina
nuclear plant failure,” which reported on “newly obtained internal emails [that] reveal that Kevin
Marsh, SCANA Corp.’s chief executive officer, earlier this year accused Toshiba Corp. of
‘financial malfeasance’ in the failed V.C. Summer nuclear project.” The article quoted a Santee
Cooper spokesperson, who said that transparency issues with Westinghouse “came up again and
again” as the utilities “tried to figure out whether to complete or scrap the nuclear project.” The
newly-obtained emails and letters also:

               [S]uggest that SCANA and Santee Cooper quietly prepared more
               than a year ago for the possibility that Westinghouse and Toshiba
               might fall into bankruptcy and bring the nuclear project down in the
               process.

               In an October letter to Marsh, Lonnie Carter, Santee Cooper’s chief
               executive officer, noted that SCANA had agreed in June 2016 to
               hire bankruptcy lawyers “to help us think through
               Toshiba/Westinghouse insolvency scenarios.”

               But SCANA’s public portrayal of the project was much different.
               During a hearing before state utility regulators that October, Bob
               Guild, an attorney for the Sierra Club, specifically asked SCANA
               officials about the possibility of Westinghouse’s insolvency.
               SCANA officials shrugged off the question.




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       ANSWER NO. 371: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 371, except admits that the article was

published, and refers to the article for its complete contents.

       372. As a result of these articles revealing a host of newly-obtained documents that
revealed SCANA’s years’ long discussion of the potentially fatal risks facing completion of the
Nuclear Project, SCANA’s shares declined significantly on September 7 and September 8, 2017.

       ANSWER NO. 372: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 372.

        373. Following the forced release of the Second Bechtel Report, SCANA downplayed
its importance. On September 15, 2017, Marsh was questioned by a Committee of the South
Carolina House of Representative. During that questioning, South Carolina Representative Peter
McCoy rejected Marsh’s attempt to justify SCANA’s “active push to keep [Bechtel’s assessment]
quiet” as “unbelievable,” and noted that he viewed the Santee Cooper-authored Bechtel Report
Action Plan (which has been produced to the House Committee by this time) as indicating that
SCANA and Santee Cooper “got together” and “decided we’re not turning this over at any cost.”

       ANSWER NO. 373: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 373, except admits that Marsh testified

before the Committee, and refers to the testimony for its complete contents.

        374. Three days later, in the September 18, 2017 Senate Hearing, Marsh claimed that
“the Bechtel Report was not news.” He stated that “[t]he majority of those issues, we had
identified. We had put teams together to address those. Some of those issues had already been
addressed.” Yet, as discussed below, SCANA actively refused to or failed to address Bechtel’s
most fundamental concerns.

       ANSWER NO 374: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 374, except admits that Marsh testified on

September 18, 2017, and refers to the testimony for its complete contents.

        375. During the Hearing, Senate Chairman Shane Massey pointed out one of the major
flaws in SCANA’s decision to withhold the Bechtel Report and conceal its conclusions based on
an assertion of privilege. Specifically, through the October 27, 2015 EPC Amendment, SCANA
and Santee Cooper resolved all outstanding litigation and disputes with Westinghouse and
CB&I. Moreover, the EPC Amendment prevented the entities from bringing any litigation against
each other for the life of the Nuclear Project. As Chairman Massey noted, given that the Second
Bechtel Report (the only report known to exist as of September 2017) was dated February 5, 2016,


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it could not have been issued in anticipation of litigation because “that 2015 contract by its terms
resolved every dispute that you had between – with the consortium” and no disputes had arisen
“between October 27, 2015 and February 2016 that would have led to litigation after the
completion of the project.”

        ANSWER NO. 375: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 375, except admits that Marsh testified on

September 18, 2017, and refers to the testimony for its complete contents.

       376. Only the Second Bechtel Report was produced in September 2017. Information
contained in the Second Bechtel Report, and the fact that the dates in the February 5, 2016 Second
Bechtel Report stopped in October 2015, led to the belief that there was another Bechtel report
that had not been turned over. On September 18, 2017, South Carolina Senator Luke Rankin
questioned Marsh:

                SENATOR RANKIN: Mr. Marsh, apparently, and we heard,
                perhaps, again, the narrative world, maybe unreported, whispered,
                but there’s great belief that there are two reports, and, in fact,
                there’s some indication that there is a report issued on October the
                15th, perhaps by Bechtel, perhaps by somebody else. If -- one, is
                there another report that this committee does not have, dated in
                October of 2015?

                MR. MARSH: We had a presentation. I believe it was on October
                22nd, if I remember the date correctly, a preliminary presentation by
                Bechtel. I don’t recall a report being issued because that was
                preliminary information. The report I have from Bechtel is the one
                I believe you’ve been provided. I’m not aware of a second report.

        ANSWER NO. 376: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 376, except admits that Marsh testified on

September 18, 2017, and refers to the testimony for its complete contents.

        377. Marsh’s response was, of course, not true. Marsh was acutely aware of the existence
of the First Bechtel Report. Indeed, he had been reminded directly of its existence when, on
November 28, 2016, Santee Cooper CEO Carter emailed him the SC Nuclear Timeline that
identified, in no uncertain terms, their receipt of the First Bechtel Report and efforts to sanitize its
contents.

        ANSWER NO. 377: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 377.



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        378. On September 21, 2017, SCANA issued a press release announcing that the
Company had been served with a subpoena issued by the U.S. Attorney’s Office for the District
of South Carolina related to the Nuclear Project. SCANA provided no further information
concerning the substance of the subpoena, but indicated that it would cooperate with the
investigation. Later that morning, sources reported in The State that a criminal “federal grand jury
in South Carolina is looking at SCANA’s actions concerning the company’s failed nuclear
construction project.”

       ANSWER NO. 378: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 378, except admits that the article and press

release were published on September 21, 2017, and refers to the cited materials for their complete

contents, and denies any allegations inconsistent therewith.

        379. News reports later that day revealed broad public support for the federal
investigation, and the belief that the U.S. Attorney could possibly “get to the bottom of what
went wrong,” “shine more light on what led to the project’s failure” and reveal evidence of
securities fraud by “examin[ing] whether SCANA misled investors, including its stockholders,
about the outlook for the nuclear project in federal securities filings”:

               Some said news of the probe Thursday validated the efforts of S.C.
               Senate and House committees investigating the project’s failure,
               which will cost S.C. power customers billions of dollars.
               Others complained SCANA executives had been evasive in
               legislative hearings into the $9 billion debacle. “The absolute
               arrogance of the leadership of that company and their response to
               their own conduct is outrageous,” state Rep. James Smith, D-
               Richland, said Thursday.

               One lawmaker, a former prosecutor, predicted federal investigators
               will look closely at what the shareholder-owned SCANA told its
               investors about the outlook for the two reactors it was building.

                                                *****

               Speaker Jay Lucas, R-Darlington, said testimony during two House
               hearings on the project indicates “the collapse of the V.C. Summer
               nuclear project was much more careless and fraudulent than
               initially believed.”

       ANSWER NO. 379: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 379, except admits that it sets forth partial




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quotations from a September 21, 2017 article by The State and refers to the article for its complete

contents.

        380. On the following day, September 22, 2017, The State reported that four SCANA
insiders sold a cumulative $3.4 million in stock in the period from February 2016 through May
2017—after SCANA’s receipt of the Bechtel Report and before its public disclosure. Wells Fargo
issued a “Flash Comment” on September 22, 2017, in the wake of news concerning the U.S.
Attorney subpoena and convening of a federal grand jury, and noted that: Unfortunately, the news
flow is not likely to get any better anytime soon as early next week, per The State, the South
Carolina Attorney General’s (AG’s) office is expected to opine on the constitutionality of the Base
Load Review Act (BLRA) as well as the ability of the SC General Assembly to change the law.
The BLRA affords SCG substantial legal protections in the event of project abandonment
including recovery of and a return on the remaining balance. We think it is likely that the AG
will seek to attack the legality of the BLRA in one form or fashion.

       ANSWER NO. 380: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 380, except admits that the article and Flash

Comment were published on September 22, 2017, and refers to the cited materials for their

complete contents.

        381. In light of these revelations of, among other things, the federal subpoenas, the grand
jury investigation, insider trading, and the likely actions of the South Carolina Attorney General,
on September 22, 2017, SCANA’s stock plummeted $1.96 per share, or 3.43%, to close at $55.22
on heavy volume.

       ANSWER NO. 381: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 381, except admits that SCANA’s stock

price declined from $57.18 per share to $55.22 per share on September 22, 2017.

        382. On September 25, 2017, The State reported that South Carolina House leaders had
asked the South Carolina Law Enforcement Division (“SLED”) to investigate SCANA for possible
criminal fraud based on the Nuclear Project. Significantly, in a letter to SLED, the legislative panel
that had been conducting the hearings on the matter wrote: “it has become our belief that the
proximate cause of the V.C. Summer collapse is a direct result of misrepresentation by
SCANA and SCE&G. We also believe that criminal fraud through the concealment of
material information is also a plausible cause for the project’s disastrous collapse.” The next
day, on September 26, 2017, SLED opened a criminal investigation.




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       ANSWER NO. 382: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 382, except admits that the article was

published on September 25, 2017, and refers to the article for its complete contents.

        383. The bad news continued to accumulate. On September 26, 2017, as reported in The
Post and Courier that same day, “the South Carolina AG issued an opinion, concluding that
elements of the BLRA were ‘constitutionally suspect.’” This opinion, as Wells Fargo noted in a
September 27, 2017 analyst report, “present[ed] [a] potential legal avenue to pursue a challenge”
to the BLRA. Later that same day, and in response to the AG’s filing, the ORS filed a request with
the PSC to (1) prevent SCANA from continuing to collect financing costs related to the Nuclear
project in current rates and (2) asked the PSC to force SCANA to refund ratepayers for past BLRA-
related costs collected in rates in the event the BLRA is ultimately deemed to be unconstitutional
and/or the General Assembly revokes the BLRA.

       ANSWER NO. 383: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 383, except admits that the article was

published, and refers to the article for its complete contents.

       384. Then, again on September 27, 2017, The State published an article entitled “How
much worse was the First Bechtel nuclear report?” In the article, The State reported on the
existence of the First Bechtel Report for the first time:

               A timeline that Santee Cooper CEO Lonnie Carter sent to SCANA
               CEO Kevin Marsh complaining about delays includes this Nov. 12,
               2015, entry: “Bechtel Assessment Report — Issued to George
               Wenick— Weeks go by with Wenick/Bechtel wrangling over
               Wenick’s rejection of initial report, redactions, timeline removal,
               critique of project management.”

               That’s one of the most disturbing details so far in an ever-
               growing pile of the disturbing details about the colossal failure
               of SCANA and Santee Cooper to stop years of bleeding that
               eventually killed the two unfinished nuclear reactors.

               What that suggests is that the damning report that has upended
               the whole conversation about that project was originally much
               worse. What it suggests is that the version of the report that we’ve
               seen pulled some of its punches.




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        ANSWER NO. 384: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 384, except admits that the article was

published, and refers to the article for its complete contents.

       385. In the wake of the revelations about the AG opinion, the ORS ratepayer action, and
the news of the existence of the First Bechtel Report, SCANA’s shares fell $4.35 on September
27, 2017, a drop of 7.8%, to close at $51.22.

        ANSWER NO. 385: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 385, except admits that SCANA’s share

price closed at $51.22 on September 27, 2017.

        386. Two days later, on September 29, 2017, a further raft of bad news related to the
Nuclear Project collapse came out for the Company. Credit rating agencies Fitch and Standard &
Poor’s both downgraded SCANA’s credit ratings and placed SCANA on negative “watch” lists,
indicating that further downgrades might be in store. As Fitch explained:

                Fitch is concerned with the sharp deterioration in the legislative and
                regulatory environment in South Carolina. There is a significant risk
                that SCE&G may have to cease collection of revenues related to the
                new nuclear units, as petitioned by the Office of the Regulatory Staff
                (ORS) to the SC Public Service Commission (PSC) until the legal
                issues regarding the BLRA are resolved. Fitch could consider
                additional negative rating actions if the BLRA were to be found
                unconstitutional and material refunds required. The Rating Watch
                Negative primarily reflects the risk that adverse regulatory orders
                could lead to restricted liquidity, constrained capital access and
                incremental debt issuance . . . .

        ANSWER NO. 386: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 386, except admits that credit rating agencies

Fitch and Standard & Poor issued statements regarding SCANA’s credit ratings, and refers to the

referenced materials for their complete contents.

        387. Standard & Poor’s similarly explained that day that it had lowered SCANA’s rating
“due to adverse regulatory developments in South Carolina that have weakened the consolidated
business risk profile,” and that “[w]e could downgrade the ratings further if the SCPSC orders
large rate refunds or credits, or if the South Carolina legislature retroactively changes the law that
underpins our expectation of substantial recovery of the nuclear plant investment.” Standard &
Poor’s further explained:


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               The CreditWatch with negative implications on SCANA and its
               subsidiaries reflects our view that the political atmosphere in South
               Carolina following the company's decision to abandon [V.C.]
               Summer construction has worsened and could result in regulatory
               and legislative decisions that harm both the business and financial
               risk of SCANA. We could lower the ratings on SCANA and its
               subsidiaries if Summer-related rates are rescinded. We could further
               lower ratings if legal challenges to a rate decrease are unsuccessful,
               if the SCPSC orders cash refunds or rate credits for Summer-related
               costs, if the BLRA is repealed or changed by the legislature, or if the
               BLRA is deemed unconstitutional.

       ANSWER NO. 387: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 387, except admits that Standard & Poor

issued a credit rating report, and refers to the report for its complete contents.

        388. The same day, on September 29, 2017, The Post and Courier published an article
titled “Letter shows S.C. utilities knew Westinghouse's reactor designs would lead to increased
costs and schedule delays.” This article discussed and attached a link to a “previously undisclosed”
May 6, 2014 letter from Marsh and Lonnie Carter to the leaders at Westinghouse and CB&I
concerning engineering problems with the Nuclear Project, discussed above in Section IV.E.1.
According to The Post and Courier, South Carolina Representative Russell Ott stated that the letter
was “‘just more proof, concrete proof, that these guys knew the project was in bad shape.’”
The article also explained that S.C. Attorney General Wilson had petitioned to intervene in the
PSC case determining whether SCANA could continue to charge its customers in connection with
the Nuclear Project, citing his “sworn duty to ‘seek to protect the rights’” of ratepayers.

       ANSWER NO. 388: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 388, except admits that the article was

published, and refers to the article for its complete contents.

        389. On this news, SCANA’s shares fell $2.50 on September 29, 2017, or nearly 5%, to
close at $48.49 on extremely heavy trading.

       ANSWER NO. 389: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 389, except admits that SCANA’s stock

price closed at $48.49 per share on September 29, 2017.

       390. On October 17, 2017, SCANA disclosed that it had been subpoenaed by the SEC
in connection with the abandoned Nuclear Project. Just two days later, on October 19, 2017,


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Governor McMaster sent a letter to Marsh requesting that SCANA “immediately cease collecting
approximately $37 million per month from ratepayers for its abandoned nuclear project.” The
Governor’s letter further requested that SCANA use the Toshiba settlement to repay ratepayers
rather than fund the costs of the Nuclear Project:

               I also urge SCANA to use the Toshiba settlement funds to begin
               refunding to ratepayers money collected for the construction of
               the nuclear reactors in Fairfield County. I believe this is the right
               thing to do under these circumstances. It is unreasonable and
               oppressive for SCANA to require its customers to bear the burden of
               actions and decisions in which customers played no part and over
               which they had no control. Moreover, as SCANA seeks to stabilize
               its future in the face of investigations and ratepayer lawsuits, it would
               be unwise to spend years litigating the constitutionality of the Base
               Load Review Act.

       ANSWER NO. 390: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 390, except admits that SCANA disclosed

that the SEC served a subpoena on SCANA and that Governor McMaster sent a letter.

       391. That same day, The State revealed that SCANA executives had substantial golden
parachutes in place that could reward them handsomely in the event of a sale of the Company, and
had received nearly $3 million in performance-related bonuses for their work on the Nuclear
Project—including nearly $432,000 paid in 2016, after they had received the Bechtel Report.

       ANSWER NO. 391: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 391, except admits that the article was

published, and refers to the article for its complete contents.

       392. When these facts came to light, they revealed further regulatory and legal risk for
the Company, and, in response, SCANA’s stock closed at $48.65, a drop of $0.48, or 0.98%, on
heavy trading.

       ANSWER NO. 392: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 392, except admits that SCANA’s stock

price closed at $48.65 per share on October 19, 2017.

       393. On October 26, 2017, SCANA announced its third-quarter 2017 earnings. Earnings
declined to $34 million, driven in large part by a $210 million impairment taken on grounds that
“the public, political and regulatory response to the abandonment decision has been extremely
contentious,” with the result that cost recovery under the BLRA had been threatened. SCANA also


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reiterated its 2017 GAAP-adjusted weather-normalized earnings guidance, but stated that “we are
unable to provide long-term earnings guidance” on account of uncertainties surrounding
“treatment of the abandoned new nuclear project.”

       ANSWER NO. 393: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 393, except admits that SCANA announced

its third quarter 2017 earnings, and refers to the press release for its complete contents.

        394. During a conference call held later in the afternoon on October 26, 2017, analysts
peppered SCANA with questions concerning recent and expected regulatory developments. Marsh
explained that the Company was pursuing settlement with the regulators, but that “[t]his is a very
different situation, given the attention that’s been given to it.” Nonetheless, SCANA executives
cast ongoing negotiations and the SCANA’s prospects for reaching a settlement optimistically,
with Marsh noting that “I look at it as a positive that we’re having discussions, and that process is
hopefully going to continue to increase,” while Addison stated that the negotiations were “very
professional.” Marsh also minimized the risks associated with the ORS action seeking to suspend
SCANA’s rate collections as based on a South Carolina Attorney General opinion that “has no
weight at this point, in our opinion, which is why we challenged the filing with the Office of
Regulatory Staff at the commission.” Marsh also stated, “We believe what we have done and
invested under law was appropriate and under the law to the extent we reach a settlement,
or otherwise would be recoverable under the terms and conditions of the law.”

       ANSWER NO. 394: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 394, except admits that SCANA held a third

quarter earnings call on October 26, 2017, and refers to the transcript thereof for its complete

contents.

         395. Analysts had mixed reactions to the conference call. Analysts from Guggenheim,
for example, reported on October 26, 2017 that they were buoyed by management’s
representations concerning the possibility of a settlement, calling it “a sight for sore eyes” and
hoping that “‘Professional’ conversations could lead to bigger and better things” while “flagging a
deteriorating political backdrop for a utility that will be carrying around a lot of regulatory/policy
baggage for the foreseeable future.” By contrast, on October 27, 2017, analysts from Morgan
Stanley lowered its price target on the grounds that analysts were “growing increasingly concerned”
about negative scenarios playing out for the company in light of (i) the Governor’s letter; (ii) the
ORS action to force SCANA to stop charging ratepayers for the project until the legislature could
review the BLRA; (iii) the South Carolina AG’s opinion; (iv) comments from legislators; and,
critically, (v) media reports that SCANA management was aware of significant issues with the
project “at the same time that management was allegedly not fully disclosing such issues to
key constituents.”




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        ANSWER NO. 395: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 395.

       396. Investors reacted strongly to SCANA’s results, conference call statements, and the
Morgan Stanley report on October 27, when SCANA’s shares dropped by $1.33, or 2.78%, on
heavy trading volume.

        ANSWER NO. 396: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 396, except admits that SCANA’s stock

price opened at $47.48 and closed at $46.50 per share on October 27, 2017.

        397. On October 28, 2017, news outlets reported that SCANA’s Board of Directors had
“ousted” Marsh and Byrne, while SCANA denied these reports. It soon became clear that these
reports had merit when, on October 31, 2017, The Post and Courier reported that South Carolina
House Speaker Jay Lucas “called for SCANA Chief Executive Officer Kevin Marsh to resign”
during a special House Committee meeting on October 30, 2017. According to The Post and
Courier, Speaker Lucas’ demand was precipitated by SCANA’s October 28 offer “to oust [Marsh]
in exchange for concessions over the canceled $9 billion nuclear plant expansion.” The Post and
Courier reported that state lawmakers had rejected this inartful attempt to use Marsh’s position as
a bartering chip for concessions. Speaker Lucas then demanded Marsh’s resignation, without any
concessions:

                SCANA’s mismanagement of the V.C. Summer nuclear facility has
                proven that the company cannot be trusted to promote or protect its
                consumers’ interests . . . On behalf of the South Carolina ratepayer,
                I believe SCANA CEO Kevin Marsh should resign immediately.
                This measure should have occurred long before now and without
                pressure from elected officials.

        ANSWER NO. 397: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 397, except admits that the article was

published, and refers to the cited article.

        398. Just days after issuing strong denials of their departures, on October 31, 2017,
SCANA announced that, effective January 1, 2018, its top executives, Marsh and Byrne, would be
the first SCANA executives to depart as a result of the collapse of the Nuclear Project. It was
reported later that Marsh and Byrne could receive up to $40 million in total severance
compensation. In the wake of Marsh’s departure, it was announced that Addison would step into
the role of CEO. This news was met with some resistance. For example, on October 31, 2017, The
State reported that an adviser to the Friends of the Earth environmental group “questioned why
Addison had been retained and promoted to chief executive office” because “Addison is one of the
ringleaders of the project,” and “rewarding him is very unsettling.”


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        ANSWER NO. 398: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in the first sentence in paragraph 398, except admits that

the article was published on October 31, 2017, refers to the article for its complete contents, and

denies any allegations inconsistent therewith.

         399. Also on October 31, 2017, The Post and Courier reported that the House committee
“examining the nuclear project fiasco called for legislation Monday that would block SCE&G
nuclear-related charges to ratepayers.” The article noted that such action “could further hurt the
utility's share price that already has lost nearly 25 percent of its value since the project was canceled
in July.”

        ANSWER NO. 399: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in the first sentence in paragraph 399, except admits that

the article was published, and refers to the article for its complete contents.

        400. In response to the news of Marsh’s and Byrnes’ departures and the Committee’s
proposed legislation limiting rate changes, on October 31, 2017, SCANA stock plummeted by
$2.77, or 6.03%, on extremely heavy volume, to close at $45.93 per share.

        ANSWER NO. 400: Deloitte denies the allegations set forth in paragraph 400.

        401. In late November 2017, the First Bechtel Report—the existence of which was
already known to the public through news reports dating back to late September 2017—was
released. Public condemnation followed as it became clear that SCANA actively concealed and
manipulated Bechtel’s findings regarding the viability of the Nuclear Project just weeks earlier.
For example, on November 22, 2017, The Post and Courier published an article in which it
emphasized: “Newly disclosed documents show critical information was scrubbed two years
ago from a report about the V.C. Summer nuclear project — insight that would have alerted
investors and regulators about some of the project’s problems long before they came to
light.” The article noted that after receiving the First Bechtel Report, SCANA “didn’t share
Bechtel’s findings then with investors, state leaders or utility regulators. Instead, they touted
their progress and asked regulators for hundreds of millions of dollars to expand the
project’s budget.” The article also quoted Representative Russel Ott, who stated that SCANA’s
actions constituted a “cover up” that was “deception at its core”:

                “If they would have brought this forward, they knew their investors
                would have gone crazy,” said Rep. Russell Ott, a Democrat from St.
                Matthews who helped lead a special House committee that
                investigated the nuclear project. “This is a cover up. This is
                deception at its core. The bottom line is they lied to everyone and
                they did it intentionally.”



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        ANSWER NO. 401: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth in paragraph 401, except admits that the article was published, and

refers to the cited article for its complete contents.

      402. Representative Bill Sandifer echoed these sentiments during the September 15,
2017 House Committee Hearing:

                One of the focuses of our inquiry is to determine who knew what
                and when. To that end the Bechtel report tells us an awful lot
                about what SCE&G knew dating back to 2015 and I have a
                number of questions to ask about why that information was not
                made available to the appropriate regulatory authorities. I
                believe that if we along with the PSC and the ORS all had access to
                the information from the Bechtel report describing the true extent of
                the problems back in 2015, we all would have been pushing to make
                changes to correct the problem just as we’re coming together now
                to try to correct the problem and move forward responsibly. Along
                the same lines, I believe the concealment of that report led the
                PSC to approve schedules and cost changes that they otherwise
                would not have approved.

                The results of the Bechtel report are highly concerning and I’ll put
                it very clearly, the results seem to indicate that the executive
                leadership of SCE&G intentionally misled the PCS, the ORS,
                the General Assembly, the SCE&G shareholders and investors
                and the ratepayers and the public at large as to the true extent
                of the delays, mismanagement, cost overruns at VC Summer
                and intentionally engaged in an effort to conceal that
                information at the same time, all the while returning a hefty return
                to their shareholders and receiving millions in compensation and
                bonuses.

        ANSWER NO. 402: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth in paragraph 402, except refers to the record of the referenced hearing

for its complete contents.

        403. The Post and Courier also cited to Santee Cooper’s internal records, which showed
that SCANA “wanted Bechtel to ax criticisms about the utilities’ oversight” and “to remove any
mention of the reactors being finished after 2020, the deadline needed to receive the federal tax
credits.” The article noted that, in the end, “more than 30 pages that analyzed the project’s
construction schedule disappeared from the audit,” “include[ing] Bechtel’s estimated
completion dates.” The article quoted Jeff Nelson, the Chief Counsel for the ORS, as stating:
“There was information that was withheld from us and the Public Service Commission.” Indeed,


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the article noted that “[a]fter receiving Bechtel’s findings in the fall of 2015, SCANA continued
to assure the state’s seven member utility commission that the reactors would be finished before
December 2020. . . The Public Service Commission, in turn, increased SCANA’s nuclear budget
by more than $800 million and approved a fixed-price agreement.” Representative Ott was further
quoted: “I think it’s clear evidence that the executives of SCANA knew beyond a shadow of the
doubt that the project was in peril,” and “[e]verything they were working for and working
toward had come off the tracks.”

        ANSWER NO. 403: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth in paragraph 403, except admits that the article was published, and

refers to the cited article for its complete contents.

        404. On December 20, 2017, after the close of trading, the PSC issued a press release
announcing that it had denied SCANA’s motion to dismiss the ORS request for immediate relief
for ratepayers, and ordered that a hearing be set. The press release further provided that the PSC
had ordered the ORS to “perform a thorough inspection and audit . . . to determine the
reasonableness of SCE&G’s retail electric rates.” It also explained that the PSC had consolidated
the ORS request with proceedings initiated by Friends of the Earth and the Sierra Club, which
included requests for review of SCANA’s previous prudency determinations. That same day, The
Post and Courier reported on the PSC’s decision, noting that, “[b]y combining that action with
another proposal, the utility commission will also consider whether SCANA should refund
customers for the roughly $1.8 billion it has collected to finance its share of the nuclear project
since 2009.” The article further explained that Commissioner Elam had “ordered the Office of
Regulatory Staff — the state's utility watchdog agency — to determine whether SCANA's
bankruptcy warnings were accurate or whether the utility could absorb the lost revenue.”

        ANSWER NO. 404: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth in paragraph 404, except admits that the article and press release were

published, and refers to the cited materials for its complete contents.

        405. The following day, Morgan Stanley issued an analyst report discussing the PSC’s
ruling. Among other things, the report explained that the PSC had permitted the two regulatory
dockets to move forward, characterizing the Friends of the Earth and Sierra Club’s proceeding as
seeking to “re-examine past prudency decisions to charge customers for nuclear construction
financing costs (and possibly refund past collections).” Morgan Stanley further explained that the
petitioner success in either or both dockets would dramatically reduce SCANA’s value:

                By our estimates, if the company were to receive no nuclear cost
                recovery (in addition to a lower 8% ROE at the core utilities) the
                stock would be worth $30/share, and if SCG were to also refund all
                revenue collected thus far the stock would be worth $18/share.




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       ANSWER NO. 405: Deloitte denies knowledge or information sufficient to form a belief

as to the allegations set forth in paragraph 405.

        406. On the news, SCANA’s stock dropped precipitously on December 21, 2017, falling
$3.93, or 9.51%, on extremely heavy trading volume, to close at $37.39.

       ANSWER NO. 406: Deloitte denies the allegations set forth in paragraph 406, except

admits that SCANA’s stock price closed at $37.39 per share on December 21, 2017.

       D.      SCANA RECORDS $2.5 BILLION IN IMPAIRMENT LOSSES,
               ADMITTING THAT ITS PAST FINANCIAL STATEMENTS WERE NOT
               IN ACCORDANCE WITH GAAP

       407. In connection with the abandoned Nuclear Project, SCANA recorded impairment
and related project losses totaling approximately $2.5 billion between the third quarter ended
December 31, 2017 through December 31, 2018. SCANA first recorded impairment losses of
approximately $210 million in its Form 10-Q for the third quarter of 2017:

               Uncovered [sic] nuclear project costs represents expenditures by
               SCE&G that have been reclassified from construction work in
               process as a result of the decision to stop construction of the New
               Units and to pursue recovery of costs under the abandonment
               provisions of the BLRA or through a general rate case or other
               regulatory means, net of an estimated loss of $210 million. . . . This
               amount includes $210 million recorded in the third quarter of
               2017, which represented costs of approximately $1.2 billion that
               had been expended on the project, exclusive of transmission
               costs, but which had not yet been determined to be prudent by
               the SCPSC in connection with revised rates proceedings under
               the BLRA, offset by the amount of approximately $1 billion,
               which amount represents the recovery of the Toshiba Settlement
               proceeds that are in excess of amounts from that settlement that the
               Company and Consolidated SCE&G estimated may be necessary to
               satisfy certain project liens.

       ANSWER NO. 407: Deloitte denies the allegations set forth in paragraph 407, except

admits that SCANA filed a Form 10-Q for the third quarter of 2017, and refers to the Form 10-Q

for its complete contents.

       408. In its Form 10-Q for the fourth quarter of 2017, SCANA recorded an additional
impairment loss of $908 million:




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               [Of this impairment amount] $180 million . . . arises from . . . an
               agreement in the fourth quarter of 2017 to purchase in 2018 an existing
               540-MW combines cycle gas generating station along with
               SCE&G’s commitment to regulators and the public that the
               recovery of the initial capital investment in the facility would not
               be sought from customers. . . . . $280 million of this impairment
               was recorded after consideration of the regulatory and political
               developments described in Form 10-K

                                                      ***

               A pre-tax impairment loss was recorded in the aggregate amount of
               $361 million to write off costs which had been previously
               deferred primarily as regulatory assets, in connection with the
               Nuclear Project.

                                                      ***

               [A]n $87 million pre-tax impairment loss was recorded in order
               to reduce the estimated fair value of the carrying value of
               nuclear fuel acquired for use in Unit 2 and Unit 3.

       ANSWER NO. 408: Deloitte denies the allegations set forth in paragraph 408.

       409. In its Form 10-Q for the first quarter of 2018, SCANA recorded additional
impairment losses of $3.6 million in order to “further reduce to estimated fair value the
carrying value of nuclear fuel which had been acquired for use in Unit 2 and Unit 3.”

       ANSWER NO. 409: Deloitte denies the allegations set forth in paragraph 409, except

admits that SCANA filed a Form 10-Q for the first quarter of 2018, and refers to the Form 10-Q

for its complete contents.

       410. Finally, in its Form 10-Q for the fourth quarter of 2018, SCANA recorded
additional impairment losses of $1.372 billion, reaching a total of approximately $2.5 billion:

               [T]he Company and Consolidated SCE&G concluded that Nuclear
               Project capital costs exceeding the amount established in the
               Merger Approval Order were probable of loss, regardless of
               whether the SCANA Combination was completed and recorded
               an impairment charge of approximately $1.372 billion
               (approximately $870.1 million net of tax) in the fourth quarter
               of 2018.

       ANSWER NO. 410: Deloitte denies the allegations set forth in paragraph 410.



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       411. SCANA also announced its expectation that additional, related losses of
approximately $1.3 billion would be incurred subsequent to 2018. This amount included a
regulatory liability for over $1.0 billion in customer refunds and restitution associated with the
above noted nine utility rate increases implemented between 2008 and 2016:

               A pre-tax impairment charge of approximately $105 million . . .
               related to certain assets that had been constructed in connection with
               the Nuclear Project that were not abandoned but were instead
               transferred to Unit 1.

               A regulatory liability for refunds and restitution to electric
               customers of approximately $1.007 billion.

                                                       ***

               A regulatory liability for refunds to natural gas customers totaling
               $2.45 million.

                                                       ***

               A liability related to charitable contributions in South Carolina of
               approximately $22 million. A write-off of excess deferred taxes of
               approximately $145 million related to the regulatory liability for the
               monetization of guaranty settlement.

       ANSWER NO. 411: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 411.

VI.    POST-CLASS PERIOD EVENTS

       A.      AFTER FACING STRONG OPPOSITION, SCANA MERGES WITH
               DOMINION

         412. On January 3, 2018, the morning of which SCANA’s stock was trading at $48 per
share, Dominion Energy, Inc. (“Dominion”) announced that it would buy SCANA for $7.9 billion
in a stock-for-stock deal (the “Merger”). Under the terms of the Merger, SCANA’s investors would
receive 0.669 shares of Dominion for each share of SCANA that they owned, valuing the stock at
about $55.35 per share. Dominion promised $1,000 payments and 5% rate cuts to the “average
residential electric customer,” who had been overcharged by SCANA to fund the Nuclear Project.
As part of the Merger, Dominion would also acquire $6.7 billion of SCANA's debt and write off
more than $1.7 billion in capital and assets related to the Nuclear Project.




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       ANSWER NO. 412: Deloitte denies the allegations set forth in paragraph 412, except

admits that Dominion and SCANA issued a joint press release on January 3, 2018, and refers to

the content of that press release and the accompanying exhibits for their complete contents.

        413. According to the January 4, 2018 press release filed by SCANA and Dominion
announcing the Merger, the transaction required the approval of SCANA’s shareholders, the U.S.
Federal Trade Commission, the U.S. Department of Justice under the Hart-Scott-Rodino Act, the
Nuclear Regulatory Commission, the Federal Energy Regulatory Commission, and the public
service commissions of South Carolina, North Carolina, and Georgia. The CEO of Dominion,
Thomas Farrell, stated on January 29, 2018, that he was “optimistic” that the Merger would obtain
all necessary regulatory, legislative, and shareholder approvals in order to complete the transaction
before the end of the year. Almost immediately, lawsuits arose attempting to block the Merger. On
March 15, 2018, however, Dominion’s Vice President of Corporate Communications, Chet Wade,
stated, “We have been very clear, we said if someone else comes in and offers something better,
[SCANA] should take it.”

       ANSWER NO. 413: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 413, except admits that SCANA and

Dominion jointly filed a press release, and refers to the press release for its complete contents.

       414. The Merger was also threatened by proposed legislation that would block SCANA
—and any company that acquired SCANA—from charging customers inflated electricity rates to
pay for the abandoned Nuclear Project. On January 31, 2018, the South Carolina House voted by
a margin of 119 to 1 to approve House Bill 4375, which would block SCANA from continuing to
charge customers approximately $37 million per month—$27 per household—for the abandoned
Nuclear Project. Bill 4375 would also empower the PSC to nullify several of the rate increases that
SCANA obtained to help fund the Nuclear Project.

       ANSWER NO. 414: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 414.

        415. Speaker of the South Carolina House Jay Lucas spoke about the bill during debate,
stating that the purpose of Bill 4375 was to ensure that “fraud, concealment, omission,
misrepresentation, non-disclosure of a material fact by a utility should never be rewarded.”

       ANSWER NO. 415: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 415.

      416. While the South Carolina Senate expressed enthusiasm for Bill 4375, upon the
House’s vote on the bill, Dominion issued a statement arguing that the bill would compromise the
Merger. Dominion stated that the bill, if it passed, would “put a standalone SCE&G in a precarious


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financial position.” Dominion claimed that the law “could offer temporary relief for SCE&G
customers, [it] . . . unfortunately could threaten the permanent solution offered by Dominion,” and
that the “significant financial consequences” of the bill “would not allow us to provide $12 billion
of relief to SCE&G’s customers.”

       ANSWER NO. 416: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 416.

        417. On February 1, 2018, the House bill was introduced in the Senate and referred to
the Senate Committee on the Judiciary. After multiple rounds of amendments in both the Senate
and the House, a joint Senate and House conference committee reached a deal and Bill 4375 was
adopted by both the Senate and the House on June 27, 2018 and on June 28, 2018 the Senate
ratified House Bill 4375, which temporarily cut SCE&G’s rates by almost 15%. However, a
spokesperson from the governor’s office stated that the Governor Henry McMaster would “veto
any legislation that reaches his desk [that] doesn’t completely eliminate the nuclear surcharge [of
18%] . . . because no South Carolinian should be forced to pay another dime for nuclear reactors
they will never get” and accordingly, on June 28, 2017 Governor Henry McMaster vetoed Bill
4375. This veto was quickly overturned by the legislature that same day. On July 2, 2018, SCE&G
asked the District of South Carolina for an injunction preventing the PSC from implementing the
rate cuts, but this motion was denied on August 6, 2018, and the rate cut went into effect on August
7, 2018. SCE&G’s appeal of the denial of the injunction was denied by the Fourth Circuit on
September 21, 2018.

       ANSWER NO. 417: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 417.

        418. On February 14, 2018, as the South Carolina Senate was taking up House Bill 4375,
the Senate introduced an amendment to a separate resolution—Senate Bill 954—to establish a
deadline of December 21, 2018, and no earlier, for the PSC to issue its final order on SCANA’s
abandonment petition and to allow the merger of SCANA and Dominion to proceed. Because
Dominion has threatened to abandon its acquisition of SCANA in light of House Bill 4375, and
SCANA has warned that the bill would throw it into financial distress, the Senate stated that it
needed additional time to consider the consequences of House Bill 4375 and the Merger. The
amendment passed unanimously the following day, and the Senate sent the bill back to the House
for re-reading; the House approved the bill and referred it to the House Judiciary Committee, which
approved the bill, and sent it back to the House for another reading, which the House approved
again. On February 20, 2018, SCANA and Dominion wrote jointly to the Honorable Jocelyn G.
Boyd, the Chief Clerk/Administrator of the PSC, to express their support for the amendment. On
March 7 and 8, 2018, the House voted again to approve the bill and return it to the Senate. On
March 28, 2018, the Senate adopted the amendment.

       ANSWER NO. 418: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 418.



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       419. On July 31, 2018, one year after SCANA abandoned the Nuclear Project, its
shareholders voted to merge the Company with Dominion Energy. On December 14, 2018, the
PSC voted to allow Dominion to purchase SCE&G for $15 billion, and the merger was finalized
on January 2, 2019.

       ANSWER NO. 419: Deloitte admits the allegations set forth in paragraph 419.

       B.      MOODY’S DOWNGRADES SCANA’S                           CREDIT        RATINGS        TO
               “SPECULATIVE ‘JUNK’ GRADE”

        420. On February 5, 2018, Moody’s Investors Service (“Moody’s”) downgraded its
ratings of SCANA and SCE&G and continued its review of a potential further downgrade that
began on November 1, 2017. Moody’s stated in its announcement of the downgrade, “The review
was originally initiated as a result of escalating political and regulatory contentiousness following
the organization’s decision to cease construction of the V.C. Summer new nuclear units 2 and 3.”
Moody’s downgrade followed upon the South Carolina House’s passage of Bill 4375, described
above, which would repeal the rates that SCE&G is collecting under the BLRA for the abandoned
Nuclear Project and impose “experimental” rates in their place. Moody’s stated that “[t]he
proposed immediate reduction in revenue would have a materially negative impact on SCE&G
and SCANA’s cash flow credit metrics.” Recognizing that Bill 4375 had not yet become South
Carolina law, but noting that (as of February 5, 2018) it had the full support of Governor McMaster
and at least some of the Senate, Moody’s stated that the downgrade was driven by “a political and
regulatory environment that has become exceedingly contentious and uncertain,” and a
understanding that the state legislature has reacted negatively to “recent credit neutral proposals
by SCANA and by SCANA and Dominion Energy, Inc. in conjunction with their proposed merger,
that would better balance the cost of nuclear abandonment.” As such, Moody’s stated, SCANA
will likely be forced to “absorb a greater portion of these costs, which would likely materially
weaken their financial position.”

       ANSWER NO. 420: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 420.

        421. On February 6, 2018, SCANA confirmed that, “[w]ith the downgrade by Moody’s,
all of SCANA’s current credit ratings . . . are now below investment grade, which is commonly
referred to as ‘speculative “junk” grade.’”

       ANSWER NO. 421: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 421.

       C.      A SENIOR SCANA EXECUTIVE’S WHISTLEBLOWER COMPLAINT
               BECOMES PUBLIC

       422. On March 29, 2018, The Post and Courier published an article titled “Top SCANA
accountant accused executives of mismanaging S.C. nuclear plant to prop up earnings.” The article
revealed that SCANA’s former Vice President of Finance for Nuclear Construction, Carlette


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Walker, had left a voicemail with Santee Cooper’s Marion Cherry, one of Santee Cooper’s three
on-site employees at the Nuclear Project, sometime between January and May 2016—just months
after Bechtel provided its assessment and recommendations to the two companies—imploring him
to get Santee Cooper to stop paying SCANA any more money for the Nuclear Project. 134 In
particular, Walker told Cherry that SCANA management had “broken every friggin’ law you can
break” and “[t]hey’re doing it because they want to make money and they’re propping up
earnings to be able to make their bonuses.”

         ANSWER NO. 422: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 422, except admits that the article was

published, and refers to the article for its complete contents.

        423. As a high-level SCANA executive, Walker regularly interacted with SCANA
officers and was in a position to know about the Nuclear Project and the inner workings at SCANA.
Walker joined SCE&G’s internal audit department in 1983 and later worked as an assistant
controller, for SCE&G’s Electric Generation division and then for all of SCE&G. In 2002,
Walker’s responsibilities as Assistant Controller were increased to include all SCANA-regulated
subsidiaries. In 2006, she was promoted to Corporate Compliance and Ethics and Audit Officer
and in 2009, she was promoted to Vice President for Nuclear Finance Administration. At some
point thereafter, Walker assumed the role of Vice President of Finance for Nuclear Construction.
According to The Post and Courier, “[f]or years, Walker headed SCANA’s project finance team,
overseeing the multi-million dollar payments the company made to its contractors. She was in
close contact with SCANA’s top echelon, internal emails show.” Walker confirmed the same in
her later testimony to the PSC. Walker reported to Addison during the Class Period until she left
the Company in 2016.

         ANSWER NO. 423: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 423, except admits that the article was

published, and refers to the article for its complete contents.

        424. In the voicemail to Santee Cooper, Walker referred to what SCANA’s management
was telling Santee Cooper as “bullshit.” Walker continued, noting that SCANA was “continu[ing]
to mismanage” the Nuclear Project and were lying to Santee Cooper for their own financial gain:

                 I just wanted to let you know that I know the truth now. And I don’t
                 want you and Santee [Cooper] to get screwed anymore by the
                 executives of SCE&G and SCANA. Kevin Marsh is not the guy that
                 everybody thinks he is. He is a liar. And he is just like Steve [Byrne]
                 and Jeff [Archie] and Jimmy [Addison] and Marty, so they’re all of the

134
    The Post and Courier posted Walker’s voicemail on its website, and it can be accessed at the following link:
https://www.postandcourier.com/business/top-scana-accountant-accused-executives-of-mismanaging-s-c-
nuclear/article_743584d4-3295-11e8-8465-47a2cc905671.html.


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                  same cloth. They all think they’re the smartest guys in the room. But
                  they’re all on the friggin’ take. Nobody knows this but I went to a
                  lawyer yesterday and they have broken every friggin’ law that you
                  can break.

                                                   ***

                  Michael [Crosby] and Lonnie [Carter] and you [Marion Cherry] need
                  to push back and don’t let them continue to mismanage that project.
                  Just don’t let them. Don’t sign anything. Refuse to pay. Don’t pay
                  SCANA. Push back and just say, “No, we’re not going to do it.”
                  Because they are mismanaging that project and it’s at y’all’s
                  expense. They’re doing it because they want to make money and
                  they’re propping up earnings to be able to make their bonuses. And
                  it’s going to be at your expense. So if y’all haven’t signed that
                  agreement on the purchase price, call whoever you need to call and tell
                  them, “Don’t sign anything with that management team.”

           ANSWER NO. 424: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 424, except admits that footnote 134 contains

a link to a purported voicemail from Walker.

        425. According to the article, Walker “voluntarily retired from SCANA after more than
three decades with the company” in May 2016. She did so, even though she received pay raises
each year, eventually earning more than $565,000 in 2015. Walker later testified that she was
“victim of a conspiracy of five senior executives to run me out of the company because of their
fear that I was not going to support their decision to lie and deceive both the Public Service
Commission and the investing community.”

           ANSWER NO. 425: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 425, except admits that the article was

published, and refers to the cited materials for their complete contents.

        426. As discussed above, Deloitte was responsible for considering fraud or potential
fraud in the course of its audits. This should have included identification and inquiry of individuals
within the Company about their views regarding fraud risks, including, in particular, whether they
have knowledge of fraud, alleged fraud, or suspected fraud. 135




135
      AS 2110.


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         ANSWER NO. 426: Paragraph 426 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

426, and refers to the cited standards for their complete contents.

        427. Given Walker’s senior management position as the VP of Finance for Nuclear
Construction, and her role in the Nuclear Project, Deloitte should have spoken to Walker in the
course of its audit. Indeed, as discussed above at Section IV.E.6, Bechtel interviewed Walker
during the course of its assessment of the Nuclear Project due to her key role. Had Deloitte done
so, it would have learned of Walker’s significant concerns regarding SCANA management’s
fraudulent activity regarding the Nuclear Project, as well as her whistleblower complaint.

         ANSWER NO. 427: Paragraph 427 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

427.

         D.       DELOITTE’S KNOWLEDGE OF THE BECHTEL REPORTS BECOMES
                  PUBLIC

        428. One of the Bechtel Reports was publicly released on September 4, 2017. 136
However, Deloitte’s knowledge of the Bechtel Reports was not known to the public until over a
year after the Bechtel Reports themselves were released. Both SCANA and Deloitte employees
remained silent on whether Deloitte had reviewed either of the Bechtel Reports, or any of the
communications or supporting materials relating to the Bechtel Reports, until October 3, 2018,
when Jimmy Addison, CFO of SCANA, conclusively testified that Deloitte had in fact reviewed
the Bechtel Reports prior to issuing its clean audit report. 137

         ANSWER NO. 428: Deloitte denies the allegations set forth in paragraph 428, except

admits that one of the Bechtel Reports was publicly released on September 4, 2017.

       429. Indeed, Addison’s testimony confirmed internal SCANA communications where
SCANA’s executives and internal accounting personnel discuss that Deloitte would ask about why
Bechtel’s ongoing work was not being disclosed in the Company’s SEC filings. For example, in a
September 21, 2015 email, James Swan IV, SCANA’s Controller, states: “FYI – Deloitte will be
asking about whether (or why not) we mention the Bechtel consulting engagement [...] in the next
10-Q. If Santee ends up mentioning it, they may feel strongly that we should too.” 138 He went on

136
    Audit highlighted problems with South Carolina nuclear project a year before cancellation, Post and Courier, Sept.
4, 2017.
137
    It appears that the transcript of this deposition became available publicly sometime in the month of October 2018.
See October 29, 2018 Letter from James H. Lucas, Speaker of the House, re VC Summer Nuclear Dockets (referencing
that the ORS has “recently pre-filed testimony in this matter.”)
138
    Motion Exhibit A, Email from Alvis Bynum dated November 22, 2016, ORS_SCEG_01469466-9467.


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to state that “[t]he initial thinking I believe is that we will not mention it [in the next 10-Q]. . . Stay
tuned.”139

           ANSWER NO. 429: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 429, except admits that it sets forth partial

quotations from the September 21, 2015 email, and refers to the email for its complete contents.

         430. Mr. Swan further observed in the same email that Deloitte “may ask about whether
we ought to say anything about the ORS’ engagement of a CPA firm to consider the value/cost of
the BLRA. I don’t know what we would say about that, and I do not advocate talking about it. But
it is public anyway, so if Deloitte presses and is willing to offer up some idea [sic] on language, I
am open to it, I guess.”140

           ANSWER NO. 430: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 430, except admits that it sets forth partial

quotations from the September 21, 2015 email, and refers to the email for its complete contents.

           E.     SCANA SETTLES CLASS ACTION ALLEGATIONS

       431. On November 24, 2018, SCANA and SCE&G announced it had reached a
settlement in a consumer class action lawsuit alleging misconduct and mismanagement by SCANA
regarding the Nuclear Project (Lightsey, et. al. v. South Carolina Electric & Gas Company, et. al.,
Case No. 2017-CP-25-0335). The settlement included a $2 billion Common Benefit Fund,
including $115 million that would have been paid to outgoing SCANA and SCE&G executives as
bonus pay, to be distributed to the class members. Final approval for the settlement was granted
on June 11, 2019.

           ANSWER NO. 431: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 431, except admits that there was a lawsuit

as described in these allegations and refers to the docket and its content.

        432. On January 7, 2020, SCANA and the Court-appointed Lead Plaintiff in a securities
fraud class action against SCANA and certain of its officers requested that the District of South
Carolina approve of a $192.5 million settlement the parties had reached to resolve class action
claims the investors had brought alleging SCANA and its executives concealed from the public
the construction delays and cost overruns within the Nuclear Project (In re: SCANA Corp.
Securities Litigation, 3:17-cv-02616, D.S.C.) The $192.5 million settlement includes $160 million


139
      Motion Exhibit A, Email from Alvis Bynum dated November 22, 2016, ORS_SCEG_01469466-9467.
140
      Motion Exhibit A, Email from Alvis Bynum dated November 22, 2016, ORS_SCEG_01469466-9467.


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in cash, and $32.5 million in freely tradable Dominion common stock or cash at the option of
SCANA. The settlement was preliminarily approved on February 11, 2020.

        ANSWER NO. 432: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 432, except admits that there was a lawsuit

as described in these allegations and refers to the docket and its content.

        F.      SEC FILES A COMPLAINT ALLEGING SECURITIES FRAUD AND
                CIVIL AND CRIMINAL INVESTIGATIONS CONTINUE

        433. On February 27, 2020, the Securities and Exchange Commission filed a complaint
against SCANA, Marsh, Byrne, and Dominion Energy (which acquired SCANA in January 2019),
alleging that SCANA’s Class Period statements regarding the status and ultimate failure of the $9
billion Nuclear Project violated the securities laws. Specifically, the SEC complaint alleges that
SCANA knowingly made false and misleading statements in its regulatory filings, earnings calls,
and press releases, stating that the Nuclear Project was on track to qualify for $1.4 billion of federal
tax credits, even though they knew it was significantly delayed and would not be completed on
time by January 1, 2021. The SEC complaint also alleges that SCANA’s false and misleading
statements artificially inflated the Company’s stock price and helped SCANA sell $1 billion of
corporate debt at favorable rates and obtain approval from utility regulators to charge its customers
higher rates.

        ANSWER NO. 433: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 433, except admits that the SEC filed a

complaint on February 27, 2020, and refers to the complaint for its complete contents.

        434. According to Dominion’s Form 10-Q for the first quarter of 2020 filed with the
SEC on May 5, 2020 (“Dominion 1Q 2020 10-Q”), Dominion has “reached an agreement in
principle” to settle the SEC’s claims against SCANA, which would require SCANA to pay a civil
monetary penalty totaling $25 million, and for SCANA and Dominion to pay disgorgement and
prejudgment interest totaling $112.5 million, with the latter amount deemed satisfied by the
settlement in the securities class action against SCANA. See supra ¶ 430. This proposed settlement
is contingent on the review and approval by the SEC and this Court. The SEC’s claims against
Marsh and Byrne, according to a May 6, 2020 news report by Reuters, remain pending.

        ANSWER NO. 434: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 434, except admits that Dominion filed a

Form 10-Q on the referenced date, and refers to that document for its complete content.

       435. Other civil and criminal investigations into the fraud at SCANA are still ongoing.
For example, according to Dominion’s 1Q 2020 10-Q, Dominion has entered into a cooperation


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agreement with the U.S. Attorney’s Office and the South Carolina Attorney General’s Office,
which would provide that upon full cooperation with their investigations.

       ANSWER NO. 435: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 435.

VII.   SUMMARY OF SCIENTER ALLEGATIONS

        436. As set forth above, PCAOB auditing standards required Deloitte to obtain sufficient
audit evidence that is persuasive and provides a reasonable basis for the high level of assurance
that the financial statements and notes are materially correct. Deloitte was also required to exercise
due professional care and skepticism throughout its audits of SCANA. To meet these professional
standards and comply with GAAS, Deloitte either received or should have requested and reviewed
dozens of internal documents and metrics that make clear that SCANA’s financial statements were
not in accordance with GAAP, and that the Nuclear Project would not be in service in time to
obtain the critical Nuclear Tax Credits. Internal communications also make clear that at no point
did SCANA try to hide any documents or information relevant to the Nuclear Project from
Deloitte. To the contrary; internal communications demonstrate that SCANA anticipated certain
inquiries from Deloitte and intended to comply.

       ANSWER NO. 436: Paragraph 436 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

436, and refers to the auditing standards for their complete contents.

       437. Internal documents and testimony make clear that Deloitte received the following
information directly contrary to SCANA’s financial statements:

              Bechtel Reports and Presentations: In October 2015, Bechtel found that SCANA’s
               forecasts and schedules for the Nuclear Project were “unrealistic,” that there was
               insufficient and inadequate oversight over all aspects of the Nuclear Project, and
               that Unit 2 would not be complete until “18-26 months” after the current June 2019
               date— or at earliest, December 2020—and that Unit 3 would not be complete until
               “24-32 months” after the current June 2020 date—or at earliest, June 2022.
               Bechtel’s First Report, issued on November 9, 2015, definitively concluded that
               “the current schedule is at risk” because “installation rates, productivity, and
               staffing levels all point to project completion later than the current forecast.”
               Bechtel further concluded that the current schedule would be delayed up to three
               years, with the second reactor likely not coming on-line until June 2023, and June
               2022 at the earliest—long after the critical deadline for the federal tax credits.
               Bechtel also advised that the Nuclear Project’s monthly construction progress
               rate—which was averaging only 0.5% at the time—had to increase dramatically,
               by 500%, to 3%. According to testimony by SCANA’s former CFO and internal
               emails, Deloitte was well-aware of—and in fact, reviewed and analyzed—
               Bechtel’s findings and Reports as they were made.


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              Special Audits of Project Costs: As a result of its “special audits” of the Nuclear
               Projects costs, Deloitte knew that the Nuclear Project costs were well in excess of
               budgets given the level of completion, and that the Nuclear Project was not
               progressing as budgeted—significant evidence that SCANA would not be able to
               complete the Nuclear Project by 2021 in order to receive the Nuclear Tax Credits.

       ANSWER NO. 437: Deloitte denies the allegations set forth in paragraph 437.

        438. In addition to the Bechtel Reports and the information it obtained in connection
with its special audits, a deluge of internal documents and performance metrics available to
Deloitte that it should have reviewed pursuant to its obligations under PCAOB Standards also
consistently documented significant red flags with the Nuclear Project, including that it was
hopelessly delayed, plagued by excessive costs, and could not be in service by 2021, the drop-dead
date essential to receiving the Nuclear Tax Credits. These documents included the following:

              SCANA Board and SCANA-Santee Cooper Joint Board Minutes and
               Presentations: Complying with PCAOB Standards required Deloitte to review
               SCANA’s Board of Director and SCANA-Santee Cooper Joint Board of Directors
               meeting minutes, presentations and materials. According to these minutes,
               presentations and materials, Deloitte knew or should have known:

               o      By March 3, 2016, that “schedule adherence [was]
                      unrealistic,” [p]lans and schedules contained unreasonable
                      assumptions,” and the project management failures “do not
                      support construction need dates.”

               o      By March 21, 2016, that “schedule adherence [was]
                      unrealistic” because the “[p]lans and schedules contain
                      unreasonable assumptions and do not reflect actual project
                      circumstances,” that “project completion dates [were]
                      artificially constrained,” that “[c]ritical path material
                      deliveries . . . do not support construction need dates,” and
                      that “[m]issed milestones push-out and are rarely recovered.

               o      By June 20, 2016, that both the Santee Cooper and SCANA
                      Boards “expressed concern about the financial difficulties
                      being faced by Toshiba Corporation and Westinghouse
                      Electric Company and how those problems could possibly
                      impact the timely and successful completion of the project.”

               o      By June 20, 2016, that SCANA had failed to even convene a
                      CORB, despite the necessity of one being raised several times
                      by Santee Cooper at joint board meetings over a period of
                      several months.

               o      By July 26, 2016, that the “project performance factor” was
                      “consistently above the goal” and “trending in a negative


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               direction,” “[t]he majority of project milestones [had] not
               met on their scheduled dates,” and “[t]he percentage of
               schedule activities completed on time [was] well below the
               goal and does not allow for a reliable Integrated Project
               Schedule.”

        o      By February 13, 2017, that the work productivity factor
               remained at an abysmal 0.7% per month at the end of 2016,
               that only 30.9% of the project had been completed to date,
               and that between October 2015 and February 2017, just over
               10% of the Nuclear Project was completed.

       Risk Management Committee Meeting Minutes and Presentations: Complying
        with PCAOB Standards required Deloitte to review SCANA’s Risk Management
        Committee meeting minutes, presentations and materials. According to these
        minutes, presentations and materials, including from meetings held on January 25,
        March 28, and June 27, 2016, Deloitte knew or should have known SCANA had
        identified “schedule delays” and the receipt of “production tax credits” as “key
        risk[s]” facing the Company, and rated them “Red,” indicating that there was
        significant risk that the Company would not qualify for the tax credits.

       Regulatory Correspondence: In or around June 30, 2016, the Executive Director
        of the ORS sent a letter to SCANA, stating that the ORS was in “a heightened state
        of concern” due to “cost overruns and schedule delays,” that “the validity of the
        current schedule” was “highly suspect,” and that “ORS has no confidence that Unit
        3 can meet the current Federal Production Tax Credit Deadline of December 31,
        2020.”

       The CORB Report and Presentations: After significant delay, SCANA finally
        established a Construction Oversight Review Board (“CORB”) in July 2016.
        Complying with PCAOB Standards required Deloitte to review any CORB
        minutes, presentations and reports. After the CORB conducted “initial site visits”
        in July and August 2016, and provided an “executive debrief” on August 16, 2016,
        in September 16, 2016, the CORB issued its First Report, finding that, among other
        things that: (1) “the Unit 2 & Unit 3 project schedules include significant risks to
        achieve substantial completion”; (2) the schedule being used by SCANA did not
        even include “all work to complete the project that should be in the schedule”; (3)
        the timeline for completion of the project was continuing to slip; (4) there was a
        “growing backlog of constructability issues that are not getting the attention needed
        to not impact constructability”; (5) SCANA’s project oversight was “insufficient”;
        and (6) “[w]ithout improved metrics, it will be difficult to ensure the Project is and
        remains on track.” In December 2016, CORB issued a second report and
        presentation, during which the CORB made clear that SCANA still did not have a
        realistic schedule to complete the Nuclear Project.

       Historical Date-to-Date Performance Metrics: To comply with PCAOB
        Standards, Deloitte should have been reviewing and testing on a regular basis the


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        Nuclear Project’s historical date-to-date performance metrics as compared to
        budgeted and forecasted amounts. According to internal documents discussing the
        Nuclear Project’s historical date-to-date performance metric, Deloitte knew or
        should have known by at least January 2015, that under the current rate of
        performance, the Nuclear Project would not be complete in time to receive the
        Nuclear Tax Credits.

       Current Rate of Progress Metrics: Pursuant to PCAOB Standards, Deloitte should
        have been reviewing and testing on a regular basis the Nuclear Project’s rate of
        progress metrics. According to internal documents discussing the Nuclear Project’s
        rate of progress, Deloitte knew or should have known by at least February 2015,
        that the Nuclear Project would not be in service in time to receive the Nuclear Tax
        Credits. Indeed, throughout the Class Period, monthly progress on the Nuclear
        Project was stagnant, averaging 0.7% and never exceeding 0.8%, far below the 3%
        rate identified by Bechtel as critical to completing the Nuclear Project on time:

                  January 2016                 0.3%
                  February 2016                0.5%
                  March 2016                   0.6%
                  April 2016                   0.6%
                  May 2016                     0.7%
                  June 2016                    0.8%

        Further, in January 2015, SCANA’s own internal calculations showed that the
        Nuclear Project was only approximately 16% complete, and had progressed only
        8% in the prior 2 years—a rate of 0.33% progress completed per month. At that
        rate of progress, only about 30% of the Nuclear Project would be completed by July
        2019.

       Overall Performance Factor Metrics: To comply with PCAOB Standards, Deloitte
        should have been reviewing and testing on a regular basis the Nuclear Project’s
        overall performance factor metrics. According to internal documents, the overall
        performance factor for the Nuclear Project for the last six months of 2014 was
        around 1.8. By February 2015, the performance factor had increased to 2.37—
        meaning that it was taking more than twice as many labor hours to complete a task
        than planned. In contrast, the deadlines for completion of the Nuclear Project
        assumed a performance factor of 1.15. Thus, Deloitte knew or should have known
        that based on these metrics, Nuclear Project would not be in service in time to
        receive the Nuclear Tax Credits.

       Toshiba’s Public Announcements Calling into Question the Viability of the
        Nuclear Project: On December 26, 2016, Toshiba announced an estimated
        impairment of “several billion dollars” due to “cost overruns and missed deadlines”
        on projects including the Nuclear Project. On February 14, 2017, Toshiba
        announced the possibility that it would sell all or a part of its stake in Westinghouse
        and take a $6.3 billion write-down related to the Nuclear Project. These public


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               announcements—both of which came prior to Deloitte’s clean audit report on
               SCANA’s 2016 Form 10-K financial statements—significantly heighted the
               possibility that the Nuclear Project would not be in service at all and that, at a
               minimum, made clear that the Nuclear Project was highly unlikely to be in service
               by 2021 in order to obtain the Nuclear Tax Credits.

              Santee Cooper’s Serious Concerns: Santee Cooper repeatedly raised issues
               regarding the construction schedule and the fact that the Nuclear Project would not
               be complete in time to obtain the Nuclear Tax credits with SCANA. Given Santee
               Cooper’s role as a co-owner of the Nuclear Project, pursuant to PCAOB Standards,
               Deloitte was required to speak to Santee Cooper. Had it done so, it would have
               learned of Santee Cooper’s serious concerns regarding the status and management
               of the Nuclear Project.

              The Nuclear Project Whistleblower: Sometime during the first half of 2016,
               Charlette Walker—Vice President of Finance for Nuclear Construction responsible
               for overseeing the multi-million dollar payments SCANA made to its contractors—
               blew the whistle on SCANA’s fraud. Given Ms. Walker’s role and responsibilities
               with regard to the Nuclear Project, pursuant to PCAOB Standards, Deloitte was
               required to speak with Ms. Walker in connection with its audits. Had it done so, it
               would have learned of her allegations of fraud.

       ANSWER NO. 438: Paragraph 438 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

438, and refers to the auditing standards for their complete contents.

        439. At a result of the foregoing, Deloitte’s clean audit reports did not fairly align with
information both in its possession and required to be reviewed by it at the time it issued its clean
audit reports, and it did not believe its representations in its clean audit reports that SCANA’s
financial statements were presented in conformity with GAAP or that SCANA’s interim reports
were accurate and free from material misstatements.

       ANSWER NO. 439: Deloitte denies the allegations set forth in paragraph 439.

       440. In addition to its actual knowledge and the substantial red flags Deloitte was
required to review in connection with its audits, other information demonstrates Deloitte’s scienter,
including:
               The Timing of SCANA’s Announcement of the Full Abandonment of the
                Nuclear Project: Deloitte issued an unqualified, clean audit report on SCANA’s
                2016 Form 10K financial statements on February 24, 2017. Just 5 months later, on
                July 31, 2017, SCANA announced that it was abandoning the Nuclear Project, that
                it could not place any of the Units into service until after January 1, 2021, and that
                the Nuclear Project was “prohibitively expensive.” Construction on the Nuclear
                Project was only approximately 30% complete at the time.



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            Ongoing Criminal and Civil Investigations: The Nuclear Project fraud has resulted
             in numerous, ongoing investigations and litigation, including investigations by the
             Department of Justice, the South Carolina Attorney General, the Federal Bureau of
             Investigations and the Securities Exchange Commission. Numerous SCANA
             executives have pleaded the Fifth Amendment in civil litigation as a result of those
             ongoing investigations, including by individuals not yet publicly named in the SEC
             Complaint. Subpoenas issued in connection with those investigations seek
             documents pertaining to Deloitte’s audits of SCANA’s financial statements.

            The Breadth and Length of Deloitte’s PCAOB Violations: Deloitte’s PCAOB
             violations were longstanding and broad in scope. They included a failure to conduct
             even the most basic of audit functions, including a failure to: (1) gain a sufficient
             understanding of SCANA’s business and the Nuclear Project; (2) properly plan its
             audits; (3) obtain persuasive and sufficient audit evidence necessary to provide a
             reasonable basis for the high level of assurance they provided users of the financial
             statements; (4) resolve inconsistencies in available evidence, including information
             in the management representation letters, as required by GAAS; (5) consider the
             work of engineering and construction management experts; and (6) comply with
             PCAOB standards that require an auditor to evaluate whether “the financial
             statements, including the related notes, are informative of matters that may affect
             their use, understanding, and interpretation...”

            The Simplicity of the GAAP Implicated: The risks of material misstatements in
             SCANA’s financial statements were straight-forward and identified by Deloitte in
             its audit reports of a similarly situated company, and the accounting principles at
             issue are not complicated and do not implicate complex issues of accounting
             judgment.

            Critical Nature of the Nuclear Project to SCANA: The Nuclear Project’s success
             was essential to SCANA’s financial health, with management admitting that it was
             “betting the family farm” on its success. It was the largest capital project undertaken
             in SCANA’s history. When initiated, the cost to construct the Nuclear Project was
             more than two times SCANA’s market capitalization at the time. Without
             completion of the Nuclear Project in time to receive the Nuclear Tax Credits,
             SCANA was unlikely to be able to continue to operate.

      ANSWER NO. 440: Deloitte denies the allegations set forth in paragraph 440.

VIII. DELOITTE’S FALSE AND MISLEADING STATEMENTS AND OMISSIONS

      A.     SCANA’S 2015 FORM 10-K AND DELOITTE’S UNQUALIFIED 2015
             AUDIT REPORT

      441. SCANA filed its annual report on Form 10-K for the year ended December 31,
2015 with the SEC on February 26, 2016 (“2015 Form 10-K”).

      ANSWER NO. 441: Deloitte admits the allegations set forth in paragraph 441.


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        442. Deloitte issued an unqualified audit report on SCANA’s financial statements
included in the 2015 Form 10-K. In it, Deloitte represented that: (1) it had performed its audit of
SCANA’s 2015 financial statements “in accordance with the standards of the Public Company
Accounting Oversight Board”; (2) it had planned and performed its audit “to obtain reasonable
assurance about whether the financial statements are free of material misstatement”; and (3) its
audit provided a “reasonable basis” for its reports. Deloitte further stated that SCANA’s and
SCE&G’s financial statements “present fairly, in all material respects, the financial position” of
SCANA and SCE&G “in conformity with accounting principles generally accepted in the United
States of America.”

       ANSWER NO. 442: Deloitte denies the allegations set forth in paragraph 442, except

admits that D&T issued an audit opinion in the 2015 Form 10-K, and refers to the audit opinion

for its complete contents.

       443.    Specifically, Deloitte stated the following:

               We have audited the accompanying consolidated balance sheets of
               SCANA Corporation and subsidiaries (the “Company”) as of
               December 31, 2015 and 2014, and the related consolidated
               statements of income, comprehensive income, cash flows, and
               changes in common equity for each of the three years in the period
               ended December 31, 2015. Our audits also included the financial
               statement schedule listed in Part IV at Item 15. . . .

               We conducted our audits in accordance with the standards of the
               Public Company Accounting Oversight Board (United States).
               Those standards require that we plan and perform the audit to
               obtain reasonable assurance about whether the financial
               statements are free of material misstatement. An audit includes
               examining, on a test basis, evidence supporting the amounts and
               disclosures in the financial statements. An audit also includes
               assessing the accounting principles used and significant estimates
               made by management, as well as evaluating the overall financial
               statement presentation. We believe that our audits provide a
               reasonable basis for our opinion.

               In our opinion, such consolidated financial statements present
               fairly, in all material respects, the financial position of the
               Company as of December 31, 2015 and 2014, and the results of
               its operations and its cash flows for each of the three years in the
               period ended December 31, 2015, in conformity with accounting
               principles generally accepted in the United States of America.
               Also, in our opinion, such financial statement schedule, when
               considered in relation to the basic consolidated financial



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               statements taken as a whole, presents fairly, in all material
               respects, the information set forth therein.

       ANSWER NO. 443: Deloitte admits that D&T issued an audit opinion in the 2015 Form

10-K, which is partially quoted in paragraph 443, and refers to the audit opinion for its complete

contents.

        444. Deloitte also issued an unqualified report as to the Company’s internal control over
financial reporting, stating that:

               We have also audited, in accordance with the standards of the Public
               Company Accounting Oversight Board (United States), the
               Company’s internal control over financial reporting as of December
               31, 2015, based on the criteria established in Internal Control-
               Integrated Framework (2013) issued by the Committee of
               Sponsoring Organizations of the Treadway Commission and our
               report dated February 26, 2016 expressed an unqualified opinion on
               the Company’s internal control over financial reporting.

                                                      ***

               [PCAOB standards] require that we plan and perform the audit to
               obtain reasonable assurance about whether effective internal control
               over financial reporting was maintained in all material respects. Our
               audit included obtaining an understanding of internal control over
               financial reporting, assessing the risk that a material weakness
               exists, testing and evaluating the design and operating effectiveness
               of internal control based on the assessed risk, and performing such
               other procedures as we considered necessary in the circumstances.
               We believe that our audit provides a reasonable basis for our
               opinion.

               A company’s internal control over financial reporting is a process
               designed . . . to provide reasonable assurance regarding the
               reliability of financial reporting and the preparation of financial
               statements for external purposes in accordance with generally
               accepted accounting principles. A company’s internal control over
               financial reporting includes those policies and procedures that (1)
               pertain to the maintenance of records that, in reasonable detail,
               accurately and fairly reflect the transactions and dispositions of the
               assets of the company; (2) provide reasonable assurance that
               transactions are recorded as necessary to permit preparation of
               financial statements in accordance with generally accepted
               accounting principles, and that receipts and expenditures of the
               company are being made only in accordance with authorizations of


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               management and directors of the company; and (3) provide
               reasonable assurance regarding prevention or timely detection of
               unauthorized acquisition, use, or disposition of the company’s assets
               that could have a material effect on the financial statements.

                                                      ***

               In our opinion, the Company maintained, in all material
               respects, effective internal control over financial reporting as of
               December 31, 2015, based on the criteria established in Internal
               Control - Integrated Framework (2013) issued by the Committee of
               Sponsoring Organizations of the Treadway Commission.

       ANSWER NO. 444: Deloitte admits that D&T issued an audit opinion in the 2015 Form

10-K, which is partially quoted in paragraph 444, refers to the audit opinion for its complete

contents, and denies any allegations inconsistent therewith.

        445. These statements were materially false and misleading when made because Deloitte
did not conduct its audit in accordance with the standards of the PCAOB (Section IV.F., supra).
Specifically, Deloitte failed to: (1) obtain persuasive and sufficient evidence to provide reasonable
assurance that the Nuclear Project would be in service by 2021 and that SCANA would receive
the Nuclear Project Tax Credits—to the contrary, Deloitte obtained significant, material evidence
that the Nuclear Project would not be in service on time in order to obtain the Nuclear Tax Credits;
(2) plan and perform required audit procedures in response to the risk of material misstatement
relating to SCANA’s capitalized construction work in progress, including amounts capitalized in
connection with the Nuclear Project; and (3) plan and perform required audit procedures in
response to the risk that SCANA’s disclosed rate revisions, estimated project costs and related unit
completion schedules were unsupported or otherwise materially misstated. These statements were
also materially false and misleading when made because SCANA did not maintain effective
internal control over financial reporting and Deloitte failed to properly assess the risk that a
material weakness existed in SCANA’s financial reporting as a result (see Section IV.F., supra).
Specifically, Deloitte was required to understand, identify and test those internal controls at
SCANA that were in place to prevent, detect and/or correct material misstatements and omissions
in SCANA’s financial statements, including its accounting for and disclosures pertaining to, the
Nuclear Project. Deloitte knew or should have known that significant inconsistencies existed
between SCANA’s Nuclear Project financial statement disclosures and other critical information
Deloitte obtained, including the Project Management and Risk Management reports, accumulation
of costs, the budget to actual comparisons, and the progress metrics. These inconsistencies
indicated that SCANA’s related disclosure controls were not properly designed or operating
effectively. Further, in violation of PCAOB AS 2201, An Audit of Internal Control Over Financial
Reporting That Is Integrated with An Audit of Financial Statements, Deloitte failed to
appropriately respond to these inconsistences.




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       ANSWER NO. 445: Paragraph 445 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

445, and refers to the auditing standards for their complete contents.

        446. Finally, as set forth below, these statements were materially false and misleading
when made because Deloitte knew information and recklessly ignored numerous red flags
demonstrating that SCANA’s annual report and financial statements therein were materially
misstated and omitted material information regarding the status of the Nuclear Project and,
therefore, were not presented in conformity with GAAP.

       ANSWER NO. 446: Deloitte denies the allegations set forth in paragraph 446.

               1.      False and Misleading Statements and Omissions Regarding the
                       Nuclear Project Completion Date and SCANA’s Eligibility to Receive
                       $1.4 Billion in Nuclear Tax Credits

        447. With regard to when the Nuclear Project would be in service to qualify for $1.4
billion in Nuclear Tax Credits, SCANA 2015 financial statements misleadingly stated:

               As of December 31, 2015, SCE&G’s investment in the New
               Units, including related transmission, totaled $3.6 billion, for
               which the financing costs on $3.2 billion have been reflected in
               rates under the BLRA. . . .

               The Revised, Fully-Integrated Construction Schedule indicated that
               the substantial completion of Unit 2 was expected to occur in mid-
               June 2019 and that the substantial completion of Unit 3 was
               expected to be approximately 12 months later. The Consortium
               continues to refine and update the Revised, Fully-Integrated
               Construction Schedule as designs are finalized, as construction
               progresses, and as additional information is received.

               In September 2015, the SCPSC approved an updated BLRA
               milestone schedule based on revised substantial completion dates
               for Units 2 and 3 of June 2019 and June 2020, respectively, each
               subject to an 18-month contingency period. In addition, the SCPSC
               approved certain updated owner's costs ($245 million) and other
               capital costs ($453 million), of which $539 million were associated
               with the schedule delays and other contested costs. In this
               proceeding, SCE&G’s total projected capital costs (in 2007
               dollars) and gross construction cost estimates (including
               escalation and AFC) were estimated to be $5.2 billion and $6.8
               billion, respectively. . . .




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               On October 27, 2015, SCE&G, Santee Cooper and the Consortium
               reached a settlement regarding the above mentioned disputes, and
               the EPC Contract was amended. The October 2015 Amendment
               became effective in December 2015, upon the consummation of the
               acquisition by WEC of the stock of Stone & Webster from CB&I.
               Following that acquisition, Stone & Webster continues to be a
               member of the Consortium as a subsidiary of WEC rather than
               CB&I, and WEC has engaged Fluor Corporation as a subcontracted
               construction manager.

               Among other things, the October 2015 Amendment: . . . revised
               the guaranteed substantial completion dates of Units 2 and 3 to
               August 31, 2019 and 2020, respectively . . . Under the October
               2015 Amendment, SCE&G’s total estimated project costs
               increased by approximately $286 million over the $6.8 billion
               approved by the SCPSC in September 2015, bringing its total
               estimated gross construction cost of the project (including
               escalation and AFC) to approximately $7.1 billion.

        ANSWER NO. 447: Deloitte denies the allegations set forth in paragraph 447, except

admits that it sets forth a partial quotation from SCANA’s 2015 Form 10-K, and refers to the Form

10-K.

        448. The foregoing statements concerning the guaranteed substantial completion date of
August 2019 for Unit 2 and August 2020 for Unit 3, as well as the costs of completing the Nuclear
Project were materially false and misleading because they were directly contrary to numerous
pieces of reliable evidence in the possession of, or that should have been reviewed by, Deloitte,
including: (i) the Bechtel Report, which found that SCANA’s schedule for completing the Nuclear
Project was unrealistic and that the Nuclear Project would not be in service in time to receive the
$1.4 billion in tax credits; (ii) its own Special Audits of the Nuclear Project costs which provided
evidence that the Nuclear Project was subject to significant cost overruns and construction delays;
(iii) SCANA Board of Director meeting minutes, SCANA/Santee Cooper Joint Board of Director
meeting minutes, and SCANA Risk Management Committee meeting minutes, which made clear
the completion dates and costs were unachievable; (iv) internal SCANA projections, including
projected dates of completion and related costs, construction productivity rates, overall
construction complete rates, monthly percent complete rates, and performance factors, which
demonstrated that with the current rate of progress, the Nuclear Project would not be in service in
time to qualify for the production tax credits; (v) internal SCANA projections which demonstrated
that the Nuclear Project would not be completed within budget; (vi) communications between
SCANA and its regulators, including the ORS, which indicated severe doubts regarding the
validity of the Nuclear Project’s construction schedule; (vii) key communications and management
project reports, including EAC and capital expenditure summaries and project status reports
provided to the Board of Directors, relating to Board of Director-related communications and
managements’ internal reporting processes, which showed clear awareness that the Nuclear Project
was severely beset with continuing delays; (viii) representations made by SCANA management to


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Deloitte that were inconsistent with SCANA’s financial statements and internal documents; and
(ix) the fact that Ms. Walker believed that SCANA was acutely mismanaging the Nuclear Project
and engaging in fraud.

       ANSWER NO. 448: Deloitte denies the allegations set forth in paragraph 448.

         449. SCANA’s 2015 financial statements also stated the following regarding SCANA’s
eligibility for $1.4 billion in Nuclear Tax Credits:

               Nuclear Production Tax Credits

               The IRS has notified SCE&G that, subject to a national megawatt
               capacity limitation, the electricity to be produced by each of the New
               Units (advanced nuclear units, as defined) would qualify for nuclear
               production tax credits under Section 45J of the Internal Revenue
               Code to the extent that such New Unit is operational before January
               1, 2021 and other eligibility requirements are met. These nuclear
               production tax credits (related to SCE&G’s 55% share of both
               New Units) could total as much as approximately $1.4 billion.
               Such credits would be earned over the first eight years of each New
               Unit's operations and would be realized by SCE&G over those years
               or during allowable carry-forward periods. Based on the
               guaranteed substantial completion dates provided above [August
               2019 and 2020], both New Units are expected to be operational
               and to qualify for the nuclear production tax credits; however,
               further delays in the schedule or changes in tax law could impact
               such conclusions. When and to the extent that production tax credits
               are realized, their benefits are expected to be provided directly to
               SCE&G’s electric customers.

       ANSWER NO. 449: Deloitte denies the allegations set forth in paragraph 449, except

admits that it sets forth partial quotations from SCANA’s 2015 financial statements, and refers to

the financial statements for its complete contents.

        450. The foregoing statements concerning the guaranteed substantial completion date of
August 2019 for Unit 2 and August 2020 for Unit 3, as well as the costs of completing the Nuclear
Project were materially false and misleading because they were directly contrary to numerous
pieces of reliable evidence in the possession of, or that should have been reviewed by, Deloitte,
including: (i) the Bechtel Report, which found that SCANA’s schedule for completing the Nuclear
Project was unrealistic and that the Nuclear Project would not be in service in time to receive the
$1.4 billion in tax credits; (ii) its own Special Audits of the Nuclear Project costs which provided
evidence that the Nuclear Project was subject to significant cost overruns and construction delays;
(iii) SCANA Board of Director meeting minutes, SCANA/Santee Cooper Joint Board of Director
meeting minutes, and SCANA Risk Management Committee meeting minutes, which made clear
the completion dates and costs were unachievable; (iv) internal SCANA projections, including


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projected dates of completion and related costs, construction productivity rates, overall construction
complete rates, monthly percent complete rates, and performance factors, which demonstrated that
with the current rate of progress, the Nuclear Project would not be in service in time to qualify for
the production tax credits; (v) internal SCANA projections which demonstrated that the Nuclear
Project would not be completed within budget; (vi) communications between SCANA and its
regulators, including the ORS, which indicated severe doubts regarding the validity of the Nuclear
Project’s construction schedule; (vii) key communications and management project reports,
including EAC and capital expenditure summaries and project status reports provided to the Board
of Directors, relating to Board of Directors-related communications and managements’ internal
reporting processes, which showed clear awareness that the Nuclear Project was severely beset with
continuing delays; (viii) representations made by SCANA management to Deloitte that were
inconsistent with SCANA’s financial statements and internal documents; and (ix) the fact that Ms.
Walker believed that SCANA was acutely mismanaging the Nuclear Project and engaging in fraud.

       ANSWER NO. 450: Deloitte denies the allegations set forth in paragraph 450.

               2.      False and Misleading Statements and Omissions Concerning SCANA’s
                       Oversight of the Nuclear Project

       451. SCANA’s 2015 Form 10-K also misrepresented the Company’s purportedly
“prudent” (i.e., not reckless) oversight of the Nuclear Project:

               Under the BLRA, the SCPSC has approved, among other things, a
               milestone schedule and a capital costs estimates schedule for the
               New Units. This approval constitutes a final and binding
               determination that the New Units are used and useful for utility
               purposes, and that the capital costs associated with the New
               Units are prudent utility costs and expenses and are properly
               included in rates, so long as the New Units are constructed or are
               being constructed within the parameters of the approved
               milestone schedule, including specified contingencies, and the
               approved capital costs estimates schedule.

       ANSWER NO. 451: Deloitte denies the allegations set forth in paragraph 451.

        452. The foregoing statements were false and misleading because they were directly
contrary to numerous pieces of reliable evidence that were, or should have been, in Deloitte’s
possession demonstrating that the Nuclear Project was not being “constructed within the approved
milestone schedule” and that, therefore, SCANA was not “prudently” overseeing the Nuclear
Project, including: (i) the Bechtel Report, which found that SCANA’s schedule for completing the
Nuclear Project was unrealistic and that the Nuclear Project would not be in service in time to
receive the $1.4 billion in tax credits; (ii) its own Special Audits of the Nuclear Project costs which
provided evidence that the Nuclear Project was subject to significant cost overruns and
construction delays; (iii) SCANA Board of Director meeting minutes, SCANA/Santee Cooper
Joint Board of Director meeting minutes, and SCANA Risk Management Committee meeting
minutes, which made clear the completion dates and costs were unachievable; (iv) internal
SCANA projections, including projected dates of completion and related costs, construction


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productivity rates, overall construction complete rates, monthly percent complete rates, and
performance factors, which demonstrated that with the current rate of progress, the Nuclear Project
would not be in service in time to qualify for the production tax credits; (v) internal SCANA
projections which demonstrated that the Nuclear Project would not be completed within budget;
(vi) communications between SCANA and its regulators, including the ORS, which indicated
severe doubts regarding the validity of the Nuclear Project’s construction schedule; (vii) key
communications and management project reports, including EAC and capital expenditure
summaries and project status reports provided to the Board of Directors, relating to Board of
Director-related communications and managements’ internal reporting processes, which showed
clear awareness that the Nuclear Project was severely beset with continuing delays; (viii)
representations made by SCANA management to Deloitte that were inconsistent with SCANA’s
financial statements and internal documents; and (ix) the fact that Ms. Walker believed that
SCANA was acutely mismanaging the Nuclear Project and engaging in fraud.

       ANSWER NO. 452: Deloitte denies the allegations set forth in paragraph 452.

               3.     False and Misleading Statements and Omissions Concerning the Bond
                      Obtained from Westinghouse

    453. SCANA’s 2015 Form 10-K also misrepresented the utility of the bond obtained by
SCANA from Westinghouse:

               The payment obligations under the EPC Contract are joint and
               several obligations of WEC and Stone & Webster, and in connection
               with the October 2015 Amendment, Toshiba Corporation, WEC’s
               parent company, reaffirmed its guaranty of WEC’s payment
               obligations. Based on Toshiba’s current credit ratings and
               pursuant to the terms of the EPC Contract, SCE&G has
               exercised its rights to demand a payment and performance bond
               from WEC.

       ANSWER NO. 453: Deloitte denies the allegations set forth in paragraph 453.

        454. This statement was materially false and misleading because it omitted to disclose
the fact that the bond was too small to cover the Nuclear Project’s costs, increasing the risk that
the Nuclear Project would be in service on time to obtain the Nuclear Tax Credits. Numerous
internal documents, including Deloitte’s own audits of the Nuclear Project’s costs, make clear that
the Nuclear Project’s costs were well in excess of the Nuclear Project’s budget, and far surpassed
the bond obtained by SCANA from Westinghouse.

       ANSWER NO. 454: Deloitte denies the allegations set forth in paragraph 454.

       B.      SCANA’S 2016 FORMS 10-Q

        455. SCANA filed its Forms 10-Q for the first quarter of 2016, second quarter of 2016
and third quarter of 2016 with the SEC on May 6, 2016, August 5, 2016, and November 4, 2016,
respectively (the “2016 Forms 10-Q”). SCANA represented in each of the 2016 Forms 10-Q, that:


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       Nuclear Production Tax Credits

               The IRS has notified SCE&G that, subject to a national megawatt
               capacity limitation, the electricity to be produced by each of the New
               Units (advanced nuclear units, as defined) would qualify for nuclear
               production tax credits under Section 45J of the Internal Revenue
               Code to the extent that such New Unit is operational before January
               1, 2021 and other eligibility requirements are met. These nuclear
               production tax credits (related to SCE&G's 55% share of both
               New Units) could total as much as approximately $1.4 billion.
               Such credits would be earned over the first eight years of each New
               Unit's operations and would be realized by SCE&G over those years
               or during allowable carry-forward periods. Based on the
               guaranteed substantial completion dates provided above [August
               2019 and 2020], both New Units are expected to be operational
               and to qualify for the nuclear production tax credits; however,
               further delays in the schedule or changes in tax law could impact
               such conclusions. When and to the extent that production tax credits
               are realized, their benefits are expected to be provided directly to
               SCE&G's electric customers.

       ANSWER NO. 455: Deloitte denies the allegations set forth in paragraph 455, except

admits that it sets forth partial quotations from SCANA’s Form 10-Qs that were filed on May 6,

2016, August 5, 2016, and November 4, 2016, and refers to the Form 10-Qs for their complete

contents.

        456. The foregoing statements concerning the guaranteed substantial completion date of
June 2019 for Unit 2 and June 2020 for Unit 3 and the availability of the Nuclear Tax Credits were
materially false and misleading because they were directly contrary to numerous pieces of reliable
evidence in the possession of, or that should have been reviewed by, Deloitte, including: (i) the
Bechtel Report, which found that SCANA’s schedule for completing the Nuclear Project was
unrealistic and that the Nuclear Project would not be in service in time to receive the $1.4 billion
in tax credits; (ii) its own Special Audits of the Nuclear Project costs, which provided evidence
that the Nuclear Project was subject to significant cost overruns and construction delays; (iii)
SCANA Board of Director minutes, SCANA/Santee Cooper Joint Board of Director Minutes, and
SCANA Risk Management Committee meeting minutes, which made clear the completion dates
and costs were unachievable; (iv) internal SCANA projections, including projected dates of
completion and related costs, construction productivity rates, overall construction complete rates,
monthly percent complete rates, and performance factors, which demonstrated that with the current
rate of progress, the Nuclear Project would not be in service in time to qualify for the production
tax credits; (v) internal SCANA projections which demonstrated that the Nuclear Project would


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not be completed within budget; (vi) communications between SCANA and its regulators,
including the ORS, which indicated severe doubts regarding the validity of the Nuclear Project’s
construction schedule; (vii) key communications and management project reports, including EAC
and capital expenditure summaries and project status reports provided to the Board of Directors,
relating to Board of Director-related communications and managements’ internal reporting
processes, which showed clear awareness that the Nuclear Project was severely beset with
continuing delays; (viii) representations made by SCANA management to Deloitte that were
inconsistent with SCANA’s financial statements and internal documents; and (ix) the fact that Ms.
Walker believed that SCANA was acutely mismanaging the Nuclear Project and engaging in fraud.

       ANSWER NO. 456: Deloitte denies the allegations set forth in paragraph 456.

        457. Despite its knowledge of numerous pieces of reliable evidence directly
contradicting the foregoing statements, Deloitte failed to either require SCANA management to
correct these representations, or withdraw as SCANA’s auditor, in violation of PCAOB standards.
Deloitte’s failure to do so are omissions of material fact.

       ANSWER NO. 457: Deloitte denies the allegations set forth in paragraph 457.

       C.      SCANA’S 2016 FORM 10-K AND DELOITTE’S UNQUALIFIED 2016
               AUDIT REPORT

      458. SCANA filed its annual report on Form 10-K for the year ended December 31,
2016 with the SEC on February 24, 2017 (“2016 Form 10-K”).

       ANSWER NO. 458: Deloitte admits the allegations set forth in paragraph 458.

        459. Deloitte issued an unqualified audit report on SCANA’s financial statements
included in the 2016 Form 10-K. In it, Deloitte represented that: (1) it had performed its audit of
SCANA’s 2016 financial statements “in accordance with the standards of the Public Company
Accounting Oversight Board”; (2) it had planned and performed its audit “to obtain reasonable
assurance about whether the financial statements are free of material misstatement”; and (3) its
audits provided a “reasonable basis” for Deloitte’s reports. Deloitte further stated that SCANA’s
and SCE&G’s financial statements “present fairly, in all material respects, the financial position”
of SCANA and SCE&G “in conformity with accounting principles generally accepted in the
United States.”

       ANSWER NO. 459: Deloitte admits that D&T issued an audit opinion that SCANA

included in its 2016 Form 10-K, which is partially quoted in paragraph 459, refers to the audit

opinion for its complete contents, and denies any allegations inconsistent therewith.

       460.    Specifically, Deloitte stated the following:

               We have audited the accompanying consolidated balance sheets of
               SCANA Corporation and subsidiaries (the “Company”) as of


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               December 31, 2016 and 2015, and the related consolidated
               statements of income, comprehensive income, cash flows, and
               changes in common equity for each of the three years in the period
               ended December 31, 2016. Our audits also included the financial
               statement schedule listed in Part IV at Item 15 . . .

               We conducted our audits in accordance with the standards of the
               Public Company Accounting Oversight Board (United States).
               Those standards require that we plan and perform the audit to
               obtain reasonable assurance about whether the financial
               statements are free of material misstatement. An audit includes
               examining, on a test basis, evidence supporting the amounts and
               disclosures in the financial statements. An audit also includes
               assessing the accounting principles used and significant estimates
               made by management, as well as evaluating the overall financial
               statement presentation. We believe that our audits provide a
               reasonable basis for our opinion.

               In our opinion, such consolidated financial statements present
               fairly, in all material respects, the financial position of the
               Company as of December 31, 2016 and 2015, and the results of
               its operations and its cash flows for each of the three years in the
               period ended December 31, 2016, in conformity with accounting
               principles generally accepted in the United States of America.
               Also, in our opinion, such financial statement schedule, when
               considered in relation to the basic consolidated financial
               statements taken as a whole, presents fairly, in all material
               respects, the information set forth therein.

       ANSWER NO. 460: Deloitte admits that D&T issued an audit opinion in the 2016 Form

10-K, which is partially quoted in paragraph 460, refers to the audit opinion for its complete

contents, and denies any allegations inconsistent therewith.

        461. Deloitte also issued an unqualified report as to the Company’s internal control over
financial reporting, stating that:

               We have audited the internal control over financial reporting of
               SCANA Corporation and subsidiaries (the “Company”) as of
               December 31, 2016, based on criteria established in Internal Control
               - Integrated Framework (2013) issued by the Committee of
               Sponsoring Organizations of the Treadway Commission.

                                                     ***




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               We conducted our audit in accordance with the standards of the
               Public Company Accounting Oversight Board (United States).
               Those standards require that we plan and perform the audit to obtain
               reasonable assurance about whether effective internal control over
               financial reporting was maintained in all material respects. Our audit
               included obtaining an understanding of internal control over
               financial reporting, assessing the risk that a material weakness
               exists, testing and evaluating the design and operating effectiveness
               of internal control based on the assessed risk, and performing such
               other procedures as we considered necessary in the circumstances.
               We believe that our audit provides a reasonable basis for our
               opinion.

               A company’s internal control over financial reporting is a process
               designed . . . to provide reasonable assurance regarding the
               reliability of financial reporting and the preparation of financial
               statements for external purposes in accordance with generally
               accepted accounting principles. A company’s internal control over
               financial reporting includes those policies and procedures that (1)
               pertain to the maintenance of records that, in reasonable detail,
               accurately and fairly reflect the transactions and dispositions of the
               assets of the company; (2) provide reasonable assurance that
               transactions are recorded as necessary to permit preparation of
               financial statements in accordance with generally accepted
               accounting principles, and that receipts and expenditures of the
               company are being made only in accordance with authorizations of
               management and directors of the company; and (3) provide
               reasonable assurance regarding prevention or timely detection of
               unauthorized acquisition, use, or disposition of the company’s assets
               that could have a material effect on the financial statements.

                                                      ***

               In our opinion, the Company maintained, in all material
               respects, effective internal control over financial reporting as of
               December 31, 2016, based on the criteria established in Internal
               Control - Integrated Framework (2013) issued by the Committee of
               Sponsoring Organizations of the Treadway Commission.

       ANSWER NO. 461: Deloitte admits that D&T issued an audit opinion in the 2016 Form

10-K, which is partially quoted in paragraph 461, refers to the audit opinion for its complete

contents, and denies any allegations inconsistent therewith.

        462. These statements were materially false and misleading when made because Deloitte
did not conduct its audit in accordance with the standards of the PCAOB (Section IV.F., supra).


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Specifically, Deloitte failed to: (1) obtain persuasive and sufficient evidence to provide reasonable
assurance that the Nuclear Project would be in service by 2021 and that SCANA would receive the
Nuclear Project Tax Credits—to the contrary; Deloitte obtained significant, material evidence that
the Nuclear Project would not be in service on time in order to obtain the Nuclear Tax Credits; (2)
plan and perform required audit procedures in response to the risk of material misstatement relating
to SCANA’s capitalized construction work in progress, including amounts capitalized in connection
with the Nuclear Project; and (3) plan and perform required audit procedures in response to the risk
that SCANA’s disclosed rate revisions, estimated project costs and related unit completion schedules
were unsupported or otherwise materially misstated.

       ANSWER NO 462: Deloitte denies the allegations set forth in paragraph 462.

        463. These statements were also materially false and misleading when made because
SCANA did not maintain effective internal control over financial reporting and Deloitte failed to
properly assess the risk that a material weakness existed in SCANA’s financial reporting as a result
(Section IV.F., supra). Specifically, Deloitte was required to understand, identify and test those
internal controls at SCANA that were in place to prevent, detect and/or correct material
misstatements and omissions in SCANA’s financial statements, including its accounting for and
disclosures pertaining to, the Nuclear Project. Deloitte knew or should have known that significant
inconsistencies existed between SCANA’s Nuclear Project financial statement disclosures and
other critical information Deloitte obtained, including the Project Management and Risk
Management reports, accumulation of costs, the budget to actual comparisons, and the progress
metrics. These inconsistencies indicated that SCANA’s related disclosure controls were not
properly designed or operating effectively. Further, in violation of PCAOB AS 2201, An Audit of
Internal Control Over Financial Reporting That Is Integrated with An Audit of Financial
Statements, Deloitte failed to appropriately respond to these inconsistences.

       ANSWER NO. 463: Paragraph 463 contains conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in paragraph

463.

        464. Finally, as set forth below, these statements were materially false and misleading
when made because Deloitte knew information and recklessly ignored numerous red flags
demonstrating that SCANA’s annual report and financial statements therein were materially
misstated and omitted material information regarding the status of the Nuclear Project and,
therefore, were not presented in conformity with GAAP.

       ANSWER NO. 464: Deloitte denies the allegations set forth in paragraph 464.




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               1.      False and Misleading Statements and Omissions Regarding the
                       Nuclear Project Completion Date and SCANA’s Eligibility to Receive
                       $1.4 Billion in Nuclear Tax Credits

         465. With regard to when the Nuclear Project would be in service and SCANA’s
eligibility to receive the $1.4 billion in Nuclear Tax Credits, SCANA’s 2016 financial statements
misleadingly stated:

               The approved construction schedule designates contractual
               guaranteed substantial completion dates of August 31, 2019 and
               August 31, 2020 for Units 2 and 3, respectively, although recent
               communications from WEC indicate substantial completion
               dates of April 2020 and December 2020 for Units 2 and 3,
               respectively.

        ANSWER NO. 465: Deloitte denies the allegations set forth in paragraph 465, except

admits that it contains a partial quotation from SCANA’s 2016 Form 10-K, and refers to the Form

10-K.

        466. The foregoing statements concerning the guaranteed substantial completion date of
April 2020 for Unit 2 and December 2020 for Unit 3 were materially false and misleading because
they were directly contrary to numerous pieces of reliable evidence in the possession of, or that
should have been reviewed by, Deloitte, including: (i) the Bechtel Report, which found that
SCANA’s schedule for completing the Nuclear Project was unrealistic and that the Nuclear Project
would not be in service in time to receive the $1.4 billion in tax credits; (ii) its own Special Audits
of the Nuclear Project costs, which provided evidence that the Nuclear Project was subject to
significant cost overruns and construction delays; (iii) SCANA Board of Director minutes,
SCANA/Santee Cooper Joint Board of Director Minutes, and SCANA Risk Management
Committee meeting minutes, which made clear the completion dates and costs were unachievable;
(iv) internal SCANA projections, including projected dates of completion and related costs,
construction productivity rates, overall construction complete rates, monthly percent complete
rates, and performance factors, which demonstrated that with the current rate of progress, the
Nuclear Project would not be in service in time to qualify for the production tax credits; (v) internal
SCANA projections which demonstrated that the Nuclear Project would not be completed within
budget; (vi) communications between SCANA and its regulators, including the ORS, which
indicated severe doubts regarding the validity of the Nuclear Project’s construction schedule; (vii)
key communications and management project reports, including EAC and capital expenditure
summaries and project status reports provided to the Board of Directors, relating to Board of
Director-related communications and managements’ internal reporting processes, which showed
clear awareness that the Nuclear Project was severely beset with continuing delays; (viii)
representations made by SCANA management to Deloitte that were inconsistent with SCANA’s
financial statements and internal documents; and (ix) the fact that Ms. Walker believed that SCANA
was acutely mismanaging the Nuclear Project and engaging in fraud.

        ANSWER NO. 466: Deloitte denies the allegations set forth in paragraph 466.


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         467. SCANA’s 2016 financial statements also stated the following regarding SCANA’s
eligibility for $1.4 billion in Nuclear Tax Credits:

               Nuclear Production Tax Credits

               The IRS has notified SCE&G that, subject to a national megawatt
               capacity limitation, the electricity to be produced by each of the New
               Units (advanced nuclear units, as defined) would qualify for nuclear
               production tax credits under Section 45J of the IRC to the extent that
               such New Unit is operational before January 1, 2021 and other
               eligibility requirements are met. These nuclear production tax
               credits (related to SCE&G's 55% share of both New Units) could
               total as much as approximately $1.4 billion. Such credits would be
               earned over the first eight years of each New Unit's operations and
               would be realized by SCE&G over those years or during allowable
               carry-forward periods. Based on current tax law and the
               contractual guaranteed substantial completion dates (and the
               recently revised forecasted dates of completion) provided above,
               both New Units would be operational and would qualify for the
               nuclear production tax credits; however, any further delays in the
               schedule or changes in tax law could adversely impact these
               conclusions. . . . When and to the extent that production tax credits
               are realized, their benefits are expected to be provided directly to
               SCE&G’s electric customers.

       ANSWER NO. 467: Deloitte denies the allegations set forth in paragraph 467, except

admits that it sets forth partial quotations from SCANA’s Form 10-K for 2016, and refers to the

Form 10-K for its complete contents.

       468. The foregoing statements concerning the availability of the Nuclear Tax Credits for
completion by the end of 2020 were materially false and misleading because they were directly
contrary to numerous pieces of reliable evidence in the possession of, or that should have been
reviewed by, Deloitte, including:

       ANSWER NO 468: Deloitte denies the allegations set forth in paragraph 468.

        469. The foregoing statements were false and misleading because they was directly
contrary to numerous pieces of reliable evidence that was, or should have been, in Deloitte’s
possession demonstrating that the Nuclear Project was not being “constructed within the approved
milestone schedule” and that, therefore, SCANA was not “prudently” overseeing the Nuclear
Project, including: (i) the Bechtel Report, which found that SCANA’s schedule for completing the
Nuclear Project was unrealistic and that the Nuclear Project would not be in service in time to
receive the $1.4 billion in tax credits; (ii) its own Special Audits of the Nuclear Project costs which
provided evidence that the Nuclear Project was subject to significant cost overruns and
construction delays; (iii) SCANA Board of Director minutes, SCANA/Santee Cooper Joint Board


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of Director Minutes, and SCANA Risk Management Committee meeting minutes, which made
clear the completion dates and costs were unachievable; (iv) internal SCANA projections,
including projected dates of completion and related costs, construction productivity rates, overall
construction complete rates, monthly percent complete rates, and performance factors, which
demonstrated that with the current rate of progress, the Nuclear Project would not be in service in
time to qualify for the production tax credits; (v) internal SCANA projections which demonstrated
that the Nuclear Project would not be completed within budget; (vi) communications between
SCANA and its regulators, including the ORS, which indicated severe doubts regarding the
validity of the Nuclear Project’s construction schedule; (vii) key communications and management
project reports, including EAC and capital expenditure summaries and project status reports
provided to the Board of Directors, relating to Board of Director-related communications and
managements’ internal reporting processes, which showed clear awareness that the Nuclear Project
was severely beset with continuing delays; (viii) representations made by SCANA management to
Deloitte that were inconsistent with SCANA’s financial statements and internal documents; and
(ix) the fact that Ms. Walker believed that SCANA was acutely mismanaging the Nuclear Project
and engaging in fraud.

       ANSWER NO. 469: Deloitte denies the allegations set forth in paragraph 469.

               2.     False and Misleading Statements and Omissions Concerning SCANA’s
                      Oversight of the Nuclear Project

       470. SCANA’s 2016 Form 10-K also misrepresented the Company’s purportedly
“prudent” (i.e., not reckless) oversight of the Nuclear Project:

               Under the BLRA, the SCPSC has approved, among other things, a
               milestone schedule and a capital costs estimates schedule for the
               New Units. This approval constitutes a final and binding
               determination that the New Units are used and useful for utility
               purposes, and that the capital costs associated with the New
               Units are prudent utility costs and expenses and are properly
               included in rates, so long as the New Units are constructed or are
               being constructed within the parameters of the approved
               milestone schedule, including specified contingencies, and the
               approved capital costs estimates schedule.

       ANSWER NO. 470: Deloitte denies the allegations set forth in paragraph 470, except

admits that it sets forth partial quotations from SCANA’s Form 10-K for 2016, and refers to the

Form 10-K for its complete contents.

        471. The foregoing statements were false and misleading because they were directly
contrary to numerous pieces of reliable evidence that was, or should have been, in Deloitte’s
possession demonstrating that the Nuclear Project was not being “constructed within the approved
milestone schedule” and that, therefore, SCANA was not “prudently” overseeing the Nuclear
Project, including:


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       ANSWER NO. 471: Deloitte denies the allegations set forth in paragraph 471.

        472. The foregoing statements were false and misleading because they was directly
contrary to numerous pieces of reliable evidence that was, or should have been, in Deloitte’s
possession demonstrating that the Nuclear Project was not being “constructed within the approved
milestone schedule” and that, therefore, SCANA was not “prudently” overseeing the Nuclear
Project, including: (i) the Bechtel Report, which found that SCANA’s schedule for completing the
Nuclear Project was unrealistic and that the Nuclear Project would not be in service in time to
receive the $1.4 billion in tax credits; (ii) its own Special Audits of the Nuclear Project costs which
provided evidence that the Nuclear Project was subject to significant cost overruns and
construction delays; (iii) SCANA Board of Director minutes, SCANA/Santee Cooper Joint Board
of Director Minutes, and SCANA Risk Management Committee meeting minutes, which made
clear the completion dates and costs were unachievable; (iv) internal SCANA projections,
including projected dates of completion and related costs, construction productivity rates, overall
construction complete rates, monthly percent complete rates, and performance factors, which
demonstrated that with the current rate of progress, the Nuclear Project would not be in service in
time to qualify for the production tax credits; (v) internal SCANA projections which demonstrated
that the Nuclear Project would not be completed within budget; (vi) communications between
SCANA and its regulators, including the ORS, which indicated severe doubts regarding the
validity of the Nuclear Project’s construction schedule; (vii) key communications and management
project reports, including EAC and capital expenditure summaries and project status reports
provided to the Board of Directors, relating to Board of Director-related communications and
managements’ internal reporting processes, which showed clear awareness that the Nuclear Project
was severely beset with continuing delays; (viii) representations made by SCANA management to
Deloitte that were inconsistent with SCANA’s financial statements and internal documents; and
(ix) the fact that Ms. Walker believed that SCANA was acutely mismanaging the Nuclear Project
and engaging in fraud.

       ANSWER NO. 472: Deloitte denies the allegations set forth in paragraph 472.

IX.    LOSS CAUSATION

        473. Defendants’ wrongful conduct, as alleged herein, directly and proximately caused
Lead Plaintiff and the Class to suffer substantial losses. During the Class Period, Plaintiff and the
Class purchased SCANA securities at artificially inflated prices and were damaged thereby when
the price of SCANA securities declined when the truth was revealed. The price of SCANA
securities significantly declined (causing investors to suffer losses) when the Defendants’
misrepresentations, and/or the information alleged herein to have been concealed from the market,
and/or the effects thereof, were revealed, and/or when the risks and truths concealed by Deloitte’s
fraud materialized.

       ANSWER NO. 473: Deloitte denies the allegations set forth in paragraph 473.

        474. Specifically, Defendants’ misconduct concealed that, among other things, (i) the
Nuclear Project would not be in service by 2021, and that the “guaranteed” substantial completion
dates were highly unlikely based on historical performance; (ii) due to construction delays, it was
clear that SCANA would not meet the 2020 deadline and, thus, would not receive tax credits of up


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to $1.4 billion pursuant to the Nuclear Tax Production Credits; and (iii) SCANA’s representations
to the PSC in support of its BLRA submissions, including the BLRA rate revisions, estimated
project costs, and related unit completion schedules, were inaccurate.

        ANSWER NO. 474: Deloitte denies the allegations set forth in paragraph 474.

       475. When those statements were corrected and the risks concealed by them
materialized, investors suffered losses as the price of SCANA securities declined. Because of the
disclosure of the truth of the Defendants’ fraud, SCANA’s common stock price declined over
50%, from a high closing price of 76.12 per share on July 6, 2016, to a closing price of $37.39 per
share on December 21, 2017.

        ANSWER NO. 475: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 475.

        476. The disclosures that corrected the market prices of SCANA securities and/or
revealed a previously concealed, materialized risk to reduce the artificial inflation caused by the
Defendants’ materially false and misleading statements and omissions are detailed below and
summarized in the following chart. See also Section V., supra (discussing each alleged corrective
disclosure and/or materialization of the risk event in greater depth). Specifically, the chart
identifies each corrective disclosure and/or materialization of the risk event and the price declines
in SCANA common stock resulting from the event:

     DATE
  (DATE OF                       COMMON
    STOCK        CLOSING           STOCK
    PRICE          STOCK           PRICE
    DROP)          PRICE          CHANGE                        CORRECTIVE EVENT
 12/27/16       $72.92          -2.03%        Toshiba announced estimated impairment of billions of dollars
 (12/28/16)                                   connected to Nuclear Project.
 2/14/17        $66.86          -4.53%        Toshiba announced $6.3 billion writedown related to nuclear
                                              program and that it may have to sell its stake in Westinghouse.
 2/16/17        $67.32          -0.22%        SCANA holds conference call and discusses Toshiba
 (2/17/17)                                    announcement and possible impact on SCANA and Nuclear
                                              Project.”

                                              Wells Fargo issued a report on February 16, 2017, stating that
                                              “we think the current valuation arguably overstates the risk,
                                              particularly considering the protections afforded SCG under
                                              the Baseload Review Act.”
 3/22/17        $67.74          -0.78%        Morgan Stanley issues report predicting “further cost overruns
                                              and delays” at the Nuclear Project, and estimating that total
                                              costs would be 108% above the original cost estimate, and $5.2
                                              billion greater than the most recent cost estimate.
 3/22/17        $66.71          -1.52%        News coverage of Morgan Stanley report and publication of
 (3/23/17)                                    Reuters article reporting that Westinghouse had secured
                                              bankruptcy counsel and indicating that bankruptcy
                                              announcement was imminent.




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    DATE
 (DATE OF                COMMON
   STOCK     CLOSING       STOCK
   PRICE       STOCK       PRICE
   DROP)       PRICE      CHANGE                        CORRECTIVE EVENT
7/27/17     $61.29      -6.63%      SCANA and Santee Cooper announce that (i) Toshiba’s
(7/28/17)                           agreement to honor its $2.168 billion parental guarantee will
                                    not be sufficient, as the costs of the two Units will “materially
                                    exceed” prior estimates, and (ii) the Nuclear Project will not be
                                    completed by 2021, “the current deadline for SCE&G to gain
                                    production tax credits for completing the reactors.”
8/2/17      $65.34      -2.70%      Following news covering testimony by Marsh, Byrne and
(8/3/17)                            Addison before the PSC, which stated that it was “a grim day”
                                    and that the “Commission was blindsided,” SC lawmakers
                                    form South Carolina Energy Caucus in response to SCANA’s
                                    decision to abandon the Nuclear Project, with a goal to force
                                    “the shareholders of SCANA Corp. to eat any remaining costs
                                    tied to the high-profile cancellation of two multi-billion
                                    nuclear reactors.”
8/4/17      $63.79      -2.37%      SC Attorney General announces initiation of investigation into
                                    SCANA “to ensure that all laws were complied with and all
                                    applicable procedures were followed,” and news that
                                    legislators were planning on closely investigating SCANA’s
                                    abandonment petition.
8/9/17      $62.01      -1.10%      Reports that the ORS moved to dismiss SCANA’s
(8/10/17)                           abandonment petition, and the Speaker of SC’s House of
                                    Representatives intervened to join that motion.
8/10/17     $60.69      -2.13%      Post and Courier article reports that Marsh told lawmakers that
(8/11/17)                           he would not want to take on the Nuclear Project now “after it
                                    fell years behind schedule” and soared “billions of dollars over
                                    budget.” Article also reported lawmaker statements that unless
                                    SCANA pulled its request to charge ratepayers for the failed
                                    project, “you may force the General Assembly to be more rash
                                    than we would otherwise want to be.”
9/7/17      $59.58      -0.75%      Reports on the fallout from the release of the Final Bechtel
                                    Report and internal documents and communications that reveal
                                    new information about SCANA executives’ knowledge of the
                                    significant risks facing the Nuclear Project at least by February
                                    2016, as well as knowledge of a significant risk of bankruptcy
                                    facing Toshiba and Westinghouse and the adverse impact on the
                                    viability of the Nuclear Project from early in 2016.
9/21/17     $55.22      -3.43%      SCANA announces that it had been served with a subpoena
(9/22/17)                           from the US Attorney; followed by news of a federal grand jury
                                    being convened to look into
                                    SCANA’s role in the failed Nuclear Project. Lawmakers make
                                    public comments that the US Attorney could uncover securities
                                    fraud violations. On September 22, 2017, an article is
                                    published detailing the insider trading of certain SCANA
                                    executives.
9/26/17     $51.22      -7.83%      SC AG issues opinion that BLRA was “constitutionally
(9/27/17)                           suspect,” calling into question its enforceability. ORS then files
                                    a request with the PSC to block SCANA from charging
                                    ratepayers going forward, and force SCANA to refund
                                    ratepayers for prior charges. On September 27, 2017, The State




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    DATE
  (DATE OF                      COMMON
   STOCK         CLOSING         STOCK
    PRICE         STOCK          PRICE
    DROP)         PRICE         CHANGE                           CORRECTIVE EVENT
                                              reports on the existence of an earlier Bechtel Report,
                                              suggesting that the initial report was “originally much worse.”
 9/29/17        $48.49          -4.90%        Credit rating agencies Fitch and Standard & Poor’s both
                                              downgrade SCANA’s credit ratings and place SCANA on
                                              negative “watch” lists, indicating that further downgrades
                                              might be in store.
 10/19/17       $48.65          -0.98%        Gov. McMaster asks SCANA to stop charging customers for
                                              Nuclear Project, and to use the $2 billion from Toshiba to repay
                                              those customers rather than fund the Nuclear Project.
 10/26/2017-    $46.50          -2.78%        Earnings decline to $34 million, driven in large part by a $210
 10/27/2017                                   million impairment taken on grounds that “the public, political
                                              and regulatory response to the abandonment decision has been
                                              extremely contentious.”

                                              During a conference call held later in the afternoon on October
                                              26, 2017, Marsh explains that the Company was pursuing
                                              settlement with the regulators, but that “[t]his is a very different
                                              situation, given the attention that’s been given to it.”

                                              On October 27, 2017, analysts from Morgan Stanley lower its
                                              price target on the grounds that analysts were “growing
                                              increasingly concerned” about negative scenarios playing out
                                              for the Company.
 10/31/17       $43.14          -6.03%        Marsh and Byrne resign, after news of their ouster.
 12/21/17       $37.39          -9.51%        The PSC denies request to dismiss rate relief suit; Morgan
                                              Stanley report on December 21 states that petitioner success in
                                              any of the pending cases before PSC would dramatically
                                              reduce SCANA value.

       ANSWER NO. 476: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 476.

        477. The timing and magnitude of the price declines in SCANA’s common stock negate
any inference that the losses suffered by Lead Plaintiff and the other Class members were caused
by changed market conditions, macroeconomic or industry factors or Company- specific facts
unrelated to Defendants’ fraudulent conduct. Indeed, analyst commentary after each corrective
disclosure and/or materialization of the risk event attributed the large negative reaction in the stock
specifically to the alleged disclosures. See Section V, supra.

       ANSWER NO. 477: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 477.

        478. Accordingly, as a result of their purchases of SCANA’s publicly traded SCANA
securities, during the Class Period, Lead Plaintiff and other members of the Class suffered
economic loss and damages.


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        ANSWER NO. 478: Deloitte denies knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in paragraph 478.

X.      THE INAPPLICABILITY OF THE STATUTORY SAFE HARBOR

        479. The statutory safe harbor applicable to forward-looking statements under certain
circumstances does not apply to any of the false or misleading statements pleaded in this
Complaint. The statements complained of herein were historical statements or statements of
current facts and conditions at the time the statements were made. For example, many of the
statements relate to the current or historical status of the Nuclear Project, including that the project
is progressing well or that prior challenges have been resolved. To the extent that any of these
statements might be construed to touch on future intent, they are mixed statements of present facts
and future intent and are not entitled to safe harbor protection with respect to the part of the
statement that refers to the present. Further, to the extent that any of the false or misleading
statements alleged herein can be construed as forward-looking, the statements were not
accompanied by any meaningful cautionary language identifying important facts that could cause
actual results to differ materially from those in the statements.

        ANSWER NO. 479: Paragraph 479 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in

paragraph 479.

       480. Alternatively, to the extent the statutory safe harbor otherwise would apply to any
forward-looking statements pleaded herein, Defendants are liable for those false and misleading
forward-looking statements because at the time each of those statements was made, the speakers
knew the statement was false or misleading.

        ANSWER NO. 480: Paragraph 480 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in

paragraph 480.

XI.     THE PRESUMPTION OF RELIANCE

      481. Lead Plaintiff is entitled to a presumption of reliance under Affiliated Ute Citizens
of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein against
Defendants are predicated upon omission of material fact that there was a duty to disclose.

        ANSWER NO. 481: Paragraph 481 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations in paragraph 481.




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       482. Lead Plaintiff and the Class are also entitled to a presumption of reliance on
Defendants’ material misrepresentations and omissions pursuant to the fraud-on-the-market
doctrine because, during the Class Period:

       (a)       SCANA’s common stock was actively traded in an efficient market on the New
                 York Stock Exchange, a highly efficient and liquid market;

       (b)       SCANA’s common stock traded at high weekly volumes;

       (c)       As a regulated issuer, SCANA filed periodic public reports with the SEC;

       (d)       SCANA was eligible to file registration statements with the SEC on Form S-3;

       (e)       SCANA regularly communicated with public investors by means of established
                 market communication mechanisms, including through regular dissemination of
                 press releases on the major news wire services and through other wide-ranging
                 public disclosures, such as communications with the financial press, securities
                 analysts and other similar reporting services;

       (f)       The market reacted promptly to public information disseminated by SCANA;

       (g)       SCANA securities were covered by numerous securities analysts employed by
                 major brokerage firms who wrote reports that were distributed to the sales force
                 and certain customers of their respective firms. Each of these reports was publicly
                 available and entered the public marketplace;

       (h)       The material misrepresentations and omissions alleged herein would tend to induce
                 a reasonable investor to misjudge the value of SCANA securities; and

       (i)       Without knowledge of the misrepresented or omitted material facts alleged herein,
                 Lead Plaintiff and other members of the Class purchased or acquired SCANA
                 securities between the time Defendants misrepresented or failed to disclose material
                 facts and the time the true facts were disclosed.

       ANSWER NO. 482: Paragraph 482 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in

paragraph 482.

       483. Accordingly, Lead Plaintiff and other members of the Class relied, and are entitled
to have relied, upon the integrity of the market prices for SCANA’s securities, and are entitled to
a presumption of reliance on Defendants’ materially false and misleading statements and
omissions during the Class Period.




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        ANSWER NO. 483: Paragraph 483 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in

paragraph 483.

XII.    CLASS ACTION ALLEGATIONS

         484. Lead Plaintiff brings this action as a class action pursuant to Rule 23(a) and (b)(3)
of the Federal Rules of Civil Procedure on behalf of all persons or entities who purchased or
otherwise acquired SCANA publicly traded securities from February 26, 2016 through December
20, 2017, inclusive, and who were damaged thereby. Excluded from the Class are Defendants and
their families, the officers and directors and affiliates of SCANA and Defendants, at all relevant
times, members of their immediate families and their legal representatives, heirs, successors or
assigns, any entity in which Defendants or SCANA officers or directors have or had a controlling
interest, SCANA’s employee retirement and benefit plan(s), and the legal representatives,
affiliates, heirs, successors-in-interest, or assigns of any such excluded person or entity.

        ANSWER NO. 484: Paragraph 484 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte admits that Lead Plaintiff purports to bring

this action as a class action pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil

Procedure on behalf of a class of persons who the paragraph defines, but Deloitte denies that

certification of that class is appropriate.

        485. The members of the Class are so numerous that joinder of all members is
impracticable. Throughout the Class Period, SCANA common stock was actively traded on the
NYSE. While the exact number of Class members is unknown to Lead Plaintiff at this time and
can be ascertained only through appropriate discovery, Lead Plaintiff believes that there are
hundreds or thousands of members in the proposed Class. Record owners and other members of
the Class may be identified from records maintained by SCANA or its transfer agent, and may be
notified of the pendency of this action by mail, using the form of notice similar to that customarily
used in securities class actions.

        ANSWER NO. 485: Paragraph 485 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in

paragraph 485.

       486. The disposition of the claims in a class action will provide substantial benefits to
the parties and the Court. As of October 31, 2017, SCANA had 142,616,254 shares of stock
outstanding, which were owned publicly by at least hundreds of persons and entities.



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       ANSWER NO. 486: Deloitte denies the allegations set forth in paragraph 486, except

denies knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in the final sentence of paragraph 486.

       487. Common questions of law and fact exist as to all members of the Class and
predominate over any questions solely affecting individual members of the Class. Among the
questions of law and fact common to the Class are:

                Whether the federal securities laws were violated by Defendants’ acts as alleged
                 herein;

                Whether statements made by Defendants to the investing public during the Class
                 Period misrepresented material facts about Deloitte’s audits of SCANA and the
                 business, operations, and management of SCANA;

                Whether Defendants acted knowingly or recklessly in issuing false and misleading
                 financial statements;

                Whether the prices of SCANA securities during the Class Period were artificially
                 inflated because of the Defendants’ conduct complained of herein; and

                Whether the members of the Class have sustained damages and, if so, what is the
                 proper measure of damages.

       ANSWER NO. 487: Paragraph 487 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in

paragraph 487.

        488. Lead Plaintiff’s claims are typical of the claims of the other members of the Class,
as all members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
the federal law that is complained of herein.

       ANSWER NO. 488: Paragraph 488 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in

paragraph 488.

       489. Lead Plaintiff will adequately protect the interests of the Class and has retained
competent counsel experienced in class action securities litigation. Lead Plaintiff has no interests
which conflict with those of the Class.




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        ANSWER NO. 489: Paragraph 489 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in

paragraph 489.

       490. A class action is superior to other available method for the fair and efficient
adjudication of this controversy.

        ANSWER NO. 490: Paragraph 490 sets forth conclusions of law to which no response is

required. To the extent a response is required, Deloitte denies the allegations set forth in

paragraph 490.

                                       CAUSES OF ACTION
                                           COUNT ONE:
                                    For Violation of Section 10(b)
                                of the Exchange Act And Rule 10b-5

       491. Lead Plaintiff incorporates by reference each and every preceding paragraph as
though fully set forth herein.

        ANSWER NO. 491: Deloitte incorporates by reference all preceding answers as though

fully set forth herein.

        492. During the Class Period, Defendants disseminated or approved the false statements
set forth above, which they knew or deliberately disregarded were false and misleading in that they
contained misrepresentations and failed to disclose material facts necessary in order to make the
statements made, in light of the circumstances under which they were made, not misleading.

        ANSWER NO. 492: Deloitte denies the allegations set forth in paragraph 492.

        493.     Defendants violated 10(b) of the Exchange Act and Rule 10b-5 in that they

        (i)      Employed devices, schemes, and artifices to defraud;
        (ii)     Made untrue statements of material facts or omitted to state material facts necessary
                 in order to make the statements made, in light of the circumstances under which
                 they were made, not misleading; or
        (iii)    Engaged in acts, practices, and a course of business that operated as a fraud or deceit
                 upon Lead Plaintiff and others similarly situated in connection with their purchases
                 of SCANA securities during the class period.

        ANSWER NO. 493: Deloitte denies the allegations set forth in paragraph 493.




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        494. By virtue of their positions, Defendants had actual knowledge of the materially
false and misleading statements and material omissions alleged herein, and intended thereby to
deceive Lead Plaintiff and the other members of the Class, or, in the alternative, Defendants acted
with reckless disregard for the truth in that they failed or refused to ascertain and disclose such
facts as would reveal the materially false and misleading nature of the statements made, although
such facts were readily available to Defendants. Said acts and omissions of Defendants were
committed willfully or with reckless disregard for the truth. In addition, each Defendant knew or
recklessly disregarded that material facts were being misrepresented or omitted as described above.

       ANSWER NO. 494: Deloitte denies the allegations set forth in paragraph 494.

        495. Information showing that Defendants acted knowingly or with reckless disregard
for the truth is peculiarly within Defendants’ knowledge and control. As SCANA’s outside
independent auditor throughout the Class Period, Defendants had knowledge of the details of
SCANA’s internal affairs. Deloitte knew, or was reckless in not knowing, that SCANA’s reported
annual financial results for the fiscal years ended December 31, 2015 and December 31, 2016,
which were disseminated to the investing public, were not presented in accordance with GAAP;
and that the audits they conducted were not performed in accordance with PCAOB Standards and,
therefore, each of Deloitte’s unqualified audit reports during the Class Period were materially false
and misleading. As described above, Deloitte failed to perform audits and reviews in accordance
with accepted auditing principles and procedures.

       ANSWER NO. 495: Deloitte denies the allegations set forth in paragraph 495.

        496. All quarterly and annual filings by SCANA with the SEC (on which the public
relies) during the Class Period contained material misstatements and omissions. Deloitte,
SCANA’s outside independent auditor throughout the Class Period, failed to detect these
discrepancies and irregularities, or to take reasonable actions to correct them. Had Deloitte not
violated PCAOB Standards, it would have detected the fraudulent valuations and material
misstatements in SCANA’s financial statements during the Class Period.

       ANSWER NO. 496: Deloitte denies the allegations set forth in paragraph 496.

        497. As a result of Deloitte’s clean reports of SCANA’s misstated financial reports and
Deloitte’s own false and misleading statements and omissions in its unqualified audit reports, the
market price of SCANA’s securities were artificially-inflated throughout the Class Period.

       ANSWER NO. 497: Deloitte denies the allegations set forth in paragraph 497.

        498. Lead Plaintiff and the other members of the Class have suffered damages in that, in
reliance on the integrity of the market, they paid artificially inflated prices for SCANA securities.
Lead Plaintiff and the other members of the Class would not have purchased SCANA securities at
the prices they paid, or at all, if they had been aware that the market prices had been artificially
and falsely inflated by Defendants’ misleading statements.

       ANSWER NO. 498: Deloitte denies the allegations set forth in paragraph 498.



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       499. By virtue of the foregoing, Deloitte violated Section 10(b) of the Exchange Act and
Rule 10b-5 promulgated thereunder.

          ANSWER NO. 499: Deloitte denies the allegations set forth in paragraph 499.

       500. For the reasons set forth herein, Deloitte is liable in whole or in part for the damages
suffered by Lead Plaintiff and to Section 10(b) Class members.

          ANSWER NO. 500: Deloitte denies the allegations set forth in paragraph 500.

XIII. PRAYER FOR RELIEF

          WHEREFORE, Lead Plaintiff prays for judgment as follows:

                 A.     Declaring that this action is a proper class action and certifying Lead
                        Plaintiff as class representative under Rule 23 of the Federal Rules of Civil
                        Procedure;

                 B.     Awarding compensatory damages in favor of Lead Plaintiff and the other
                        Class members against all Defendants, jointly and severally, for all
                        damages sustained as a result of Defendants’ wrongdoing, in an amount to
                        be proven at trial, including interest thereon;

                 C.     Awarding Lead Plaintiff and the other members of the Class their
                        reasonable costs and expenses incurred in this action, including attorneys’
                        fees and expert fees; and D. Awarding such other and further relief as the
                        Court may deem just and proper.

          ANSWER: Deloitte denies that Plaintiffs are entitled to relief against them. Deloitte

requests that the Court dismiss all claims asserted against Deloitte with prejudice and that the Court

award reasonable costs and expenses incurred in this action, including counsel fees and expert

fees, and such other relief as the Court deems just and proper.

XIV. JURY TRIAL DEMAND

 Lead Plaintiff hereby demands a trial by jury.

          ANSWER: Deloitte reserves its right to move to strike Lead Plaintiff’s demand for a jury

 trial.




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                         DELOITTE’S AFFIRMATIVE DEFENSES

                                   First Affirmative Defense

       Plaintiffs lack standing to raise the claims asserted in the Complaint.

                                  Second Affirmative Defense

       Plaintiffs fail to state a claim upon which relief may be granted.

                                   Third Affirmative Defense

       The Complaint fails to plead fraud with particularity.

                                  Fourth Affirmative Defense

        The claims asserted in the Complaint are barred because Deloitte did not have the level of
scienter required to impose liability for the conduct alleged in the Complaint.

                                   Fifth Affirmative Defense

       The alleged misrepresentations or omissions by Deloitte were based on good faith, with
the absence of fraudulent intent, and in reasonable reliance upon information provided by others
upon whom Deloitte was entitled to rely.

                                   Sixth Affirmative Defense

       Deloitte’s conduct was not outside the accepted standards of practice for auditors. Deloitte
complied with all applicable professional standards.

                                  Seventh Affirmative Defense

       The claims are time-barred, in whole or in part, by the statute of limitations in 28 U.S.C.
§ 1658(b).

                                  Eighth Affirmative Defense

       The alleged misstatements constitute inactionable statements of opinion. Omnicare, Inc.
v. Laborers Dist. Council Constr. Indus. Pension Fund, 575 U.S. 175 (2015).

                                   Ninth Affirmative Defense

       The claims asserted in the Complaint are barred, in whole or in part, by the bespeaks
caution doctrine.




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                                    Tenth Affirmative Defense

       The claims asserted in the Complaint are barred, in whole or in part, by the safe harbor
provisions for forward-looking statements in the Private Securities Litigation Reform Act of 1995
(15 U.S.C. §§ 77z-2, 78u-5).

                                  Eleventh Affirmative Defense

        The claims asserted in the Complaint are barred, in whole or in part, for lack of causation
and reliance. Specifically, Plaintiffs have sustained no legally cognizable damage by virtue of any
alleged misrepresentations or omissions made by Deloitte because such alleged misrepresentations
and omissions did not cause the drop in the price or value of the securities at issue in this case, and
did not cause any alleged inflation of the price or value of the securities at issue in this case.

                                   Twelfth Affirmative Defense

       Deloitte cannot be held liable for any alleged misstatements, omissions, actions, conduct
or knowledge of any individual or entity other than Deloitte.

                                 Thirteenth Affirmative Defense

       To the extent the Complaint purports to allege the fraud on the market doctrine, that
doctrine is inapplicable including because the market for SCANA securities was not an efficient
market.

                                 Fourteenth Affirmative Defense

       Plaintiffs’ claims are barred by the “truth on the market” corollary to the “fraud on the
market” theory of reliance because the information allegedly misrepresented or omitted was
known to the market, already in the public domain and/or reasonably available to shareholders.

                                  Fifteenth Affirmative Defense

       Plaintiffs’ action is not properly maintained as a class action because the requirements
under federal law for class certification are not met.

                                  Sixteenth Affirmative Defense

       Deloitte was the victim of fraud, deceit, misrepresentation, concealment, negligence and/or
breach of contract practiced upon it by others, in that information was not provided to Deloitte,
was misrepresented to Deloitte, and/or was concealed from Deloitte while Deloitte was rendering
professional services, and any recovery against Deloitte shall be barred or diminished as a result.

                                 Seventeenth Affirmative Defense

        Plaintiffs’ damages, if any, were caused solely by the conduct of others and are not the
result of any conduct of Deloitte.


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                                 Eighteenth Affirmative Defense

       Plaintiffs’ damages, if any, were not proximately caused by any conduct of Deloitte, but
were the result of superseding or intervening conduct for which Deloitte cannot be held liable.

                                 Nineteenth Affirmative Defense

        Any damages must be reduced, diminished, and/or eliminated in proportion to the wrongful
conduct of persons and/or entities other than Deloitte, such that any verdict or judgment against
Deloitte does not exceed Deloitte’s proportionate fault, if any.

                                 Twentieth Affirmative Defense

        Any recovery is barred in whole or in part by any and all applicable offsets to any losses
Plaintiffs may have suffered, including, without limitation, any settlement amounts that Plaintiffs
receive from any other parties and any other recoveries obtained by Plaintiffs mitigating their
alleged damages.

                               Twenty-First Affirmative Defense

        Deloitte is not jointly and severally liable for Plaintiffs’ alleged damages because Deloitte
did not knowingly commit a violation of the securities laws.

                              Twenty-Second Affirmative Defense

       Plaintiffs have failed to mitigate their alleged damages.

                               Twenty-Third Affirmative Defense

       Plaintiffs’ claims are barred in whole or in part by the equitable doctrine of laches.

                              Twenty-Fourth Affirmative Defense

     Plaintiffs’ claims were released pursuant to the settlement of the action captioned In re
SCANA Corporation Securities Litigation, Civil Action No. 3:17-CV-2616-MBS (D.S.C.).



                                              Respectfully submitted,

                                               s/ Christopher A. Ogiba
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Charleston, South Carolina
December 22, 2020




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